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  N-2/A 1 d797775dn2a.htm NEXPOINT STRATEGIC OPPORTUNITIES FUND

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                                   As filed with the Securities and Exchange Commission on August 27, 2019
                                                                                                         1933 Act File No. 333-230078
                                                                                                           1940 Act File No. 811-21869


                                    UNITED STATES
                        SECURITIES AND EXCHANGE COMMISSION
                                                          WASHINGTON, D.C. 20549



                                                                   FORM N-2
                                                            (Check appropriate box or boxes)
                                           REGISTRATION STATEMENT
                                                                  UNDER
                                                     THE SECURITIES ACT OF 1933                                                                 ☒
                                                      Pre-Effective Amendment No. 1
                                                                              AND
                                           REGISTRATION STATEMENT
                                                          UNDER
                                            THE INVESTMENT COMPANY ACT OF 1940                                                                  ☒
                                                      Amendment No. 36



                     NexPoint Strategic Opportunities Fund
                                       (Exact Name of Registrant as Specified in the Declaration of Trust)



                                                             300 Crescent Court, Suite 700
                                                                  Dallas, Texas 75201
                                                        (Addre ss of Prin cipal Exe cu tive O ffice s)

                                                                       (866) 351-4440
                                                (Re gistran t’s Te le ph on e Nu m be r, in clu din g are a code )




                 (Name and Address of Agent for Service)                                                 Copies of Communications to:
                       Ms. Lauren Thedford, Esq.                                                              R. Charles Miller, Esq.
                  NexPoint Strategic Opportunities Fund                                                          K&L Gates LLP
                     300 Crescent Court, Suite 700                                                             1601 K Street, NW
                          Dallas, Texas 75201                                                                 Washington, DC 20006



                                                Approximate Date of Proposed Public Offering:
                                     From time to time after the effective date of this Registration Statement.

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        If any of the securities being registered on this form are offered on a delayed or continuous basis in reliance on Rule 415 under the
  Securities Act of 1933, other than securities offered in connection with a dividend reinvestment plan, check the following box. ☒

        It is proposed that this filing will become effective (check appropriate box)

        ☒      when declared effective pursuant to section 8(c)

        ☐      on March 19, 2018 pursuant to Rule 486(b) as applied by no-action relief granted to the Registrant on June 26, 2013




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                              CALCULATION OF REGISTRATION FEE UNDER THE SECURITIES ACT OF 1933
                                                                                                                 Propose d
                                                                                                                Maxim u m
                                                        Title of                                                Aggre gate             Am ou n t of
                                         S e cu ritie s Be in g Re giste re d                               O ffe rin g Price (1)   Re gistration Fe e
  Preferred Shares of Beneficial Interest (2)
  Subscription Rights for Preferred Shares (2)




  Total                                                                                                        $500,000,000          $60,600.00(3)
  (1)     Estimated pursuant to Rule 457(o) solely for the purpose of determining the registration fee. The proposed maximum offering price
          per security will be determined, from time to time, by the Registrant in connection with the sale by the Registrant of the securities
          registered under this registration statement.
  (2)     There is being registered hereunder an indeterminate principal amount of preferred shares or subscription rights to purchase
          preferred shares as may be sold, from time to time. In no event will the aggregate offering price of all securities issued from time to
          time pursuant to this registration statement exceed $500,000,000.
  (3)     A registration fee amount of $60,600 was paid with respect to the Registrant’s registration statement on Form N-2 (File No. 333-
          230078 filed on March 5, 2019.

  The registrant hereby amends this registration statement on such date or dates as may be necessary to delay its effective date until the
  registrant shall file a further amendment which specifically state that this registration statement shall thereafter become effective in
  accordance with Section 8(a) of the Securities Act of 1933 or until the registration statement shall become effective on such dates as the
  Commission, acting pursuant to said Section 8(a), may determine.




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                                                NEXPOINT STRATEGIC OPPORTUNITIES FUND

                                                            CROSS REFERENCE SHEET
                                                                PARTS A AND B

  Item No. Registration Statement Caption                                            Caption in P art A or P art B
  1.          Outside Front Cover                                                    Front Cover
  2.          Inside Front and Back Cover Page                                       Front and Back Cover
  3.          Fee Table and Synopsis                                                 Prospectus Summary/Fees and Expenses of the Trust
  4.          Financial Highlights                                                   Financial Highlights
  5.          Plan of Distribution                                                   Plan of Distribution
  6.          Selling Shareholders                                                   Not Applicable
  7.          Use of Proceeds                                                        Use of Proceeds
  8.          General Description of Registrant                                      The Fund
  9.          Management                                                             Management of the Trust
  10.         Capital Stock, Long-Term Debt, and Other Securities                    Description of Capital Structure
  11.         Defaults and Arrears on Senior Securities                              Not Applicable
  12.         Legal Proceedings                                                      Legal Proceedings
  13.         Table of Contents of the Statement of Additional Information           Table of Contents of the Statement of Additional Information
  14.         Cover Page                                                             Cover Page
  15.         Table of Contents                                                      Table of Contents
  16.         General Information and History                                        The Fund
  17.         Investment Objective and Policies                                      Investment Strategies and Risks
  18.         Management                                                             Management of the Trust
  19.         Control Persons and Principal Holders of Securities                    Control Persons and Principal Holders of Securities
  20.         Investment Advisory and Other Services                                 Investment Adviser
  21.         Portfolio Managers                                                     Portfolio Managers
  22.         Brokerage Allocation and Other Practices                               Portfolio Transactions and Brokerage
  23.         Tax Status                                                             Tax Matters
  24.         Financial Statements                                                   Financial Statements


                                                                         Part C

  The information required to be included in Part C is set forth under the appropriate Item, so numbered, in Part C of the Registration
  Statement.




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                     NexPoint Strategic Opportunities Fund
                                                          Prospectus dated August 27, 2019

                                                              Preferred Shares

                                   Subscription Rights to Purchase Preferred Shares


       NexPoint Strategic Opportunities Fund (formerly, NexPoint Credit Strategies Fund) is a non-diversified, closed-end management
  investment company that commenced operations on June 29, 2006, following its initial public offering. Throughout this Prospectus,
  NexPoint Strategic Opportunities Fund is referred to as the “Trust.”

       The Trust’s investment objectives are to provide both current income and capital appreciation. The Trust seeks to achieve its
  investment objectives by investing primarily in the following categories of securities and instruments of corporations and other
  business entities: (i) secured and unsecured floating and fixed rate loans; (ii) bonds and other debt obligations; (iii) debt obligations of
  stressed, distressed and bankrupt issuers; (iv) structured products, including but not limited to, mortgage-backed and other asset-
  backed securities and collateralized debt obligations; (v) equities; (vi) other investment companies, including business development
  companies (“BDCs”); and (vii) real estate investment trusts (“REITs”). The Trust may also invest in derivative instruments that have
  economic characteristics similar to instruments in investment categories (i) - (vii). Subject to these general guidelines, NexPoint
  Advisors, L.P. (the “Investment Adviser”) has broad discretion to allocate the Trust’s assets among these investment categories and
  other investments and to change allocations as conditions warrant.

       Additionally, the Trust has a fundamental policy to concentrate its investments in the real estate industry, and, under normal
  market conditions, the Trust invests at least 25% of the value of its total assets at the time of purchase in the securities of issuers
  conducting their principal business activities in the real estate industry.

        You should read this Prospectus and the related Prospectus Supplement, which contains important information about the Trust,
  before deciding whether to invest, and retain it for future reference. A Statement of Additional Information (“SAI”), dated August 27,
  containing additional information about the Trust has been filed with the Commission and is incorporated by reference in its entirety
  into this Prospectus. You can review the table of contents of the SAI on page 110 of this Prospectus. You may request a free copy of the
  SAI request the Trust’s most recent annual and semi-annual reports, request information about the Trust and make shareholder inquiries
  by calling 1-866-351-4440 or by writing to the Trust at 300 Crescent Court, Suite 700, Dallas, Texas 75201. You may also obtain a copy of
  the SAI (and other information regarding the Trust) from the Commission’s Public Reference Room in Washington, D.C. by calling
  1-202-551-8090. The Commission charges a fee for copies. The Trust’s most recent annual and semi-annual reports are available, free of
  charge, on the Trust’s website at www.nexpointadvisors.com. You can obtain the same information, free of charge, from the
  Commission’s web site at www.sec.gov.



       Investing in our securities involves a high degree of risk and may be considered speculative. Before investing in the Trust’s
  securities, you should read the discussion of the material risks of investing in the Trust, including the risks of leverage, in the
  “Principal Risks of the Trust” section of this Prospectus.

       Neither the U.S. Securities and Exchange Commission nor any state securities commission has approved or disapproved of these
  securities or determined that this Prospectus is truthful or complete. Any representation to the contrary is a criminal offense.

        Beginning on January 1, 2021, as permitted by regulations adopted by the U.S. Securities and Exchange Commission, paper copies
  of the Fund’s annual and semi-annual shareholder reports will no longer be sent by mail, unless you specifically request paper copies of
  the reports. Instead, the reports will be made available on the Fund’s website (highlandfunds.com), and you will be notified by mail each
  time a report is posted and provided with a website link to access the report.

       If you already elected to receive shareholder reports electronically, you will not be affected by this change and you need not take
  any action. You may elect to receive shareholder reports and other communications from a Fund electronically by contacting your
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  financial intermediary (such as a broker-dealer or bank) or, if you are a direct investor, by contacting the Fund’s transfer agent at 1-877-
  665-1287.

        Beginning on January 1, 2019, you may elect to receive all future reports in paper free of charge. If you invest through a financial
  intermediary, you can contact your financial intermediary to request that you continue to receive paper copies of your shareholder
  reports. If you invest directly with the Fund, you can call 1-877-665-1287 to let the Fund know you wish to continue receiving paper
  copies of your shareholder reports. Your election to receive reports in paper will apply to all funds held in your account if you invest
  through your financial intermediary or all funds held with the fund complex if you invest directly with the Fund.

       The Trust’s securities do not represent a deposit or obligation of, and are not guaranteed or endorsed by, any bank or other
  insured depository institution, and are not federally insured by the Federal Deposit Insurance Corporation, the Federal Reserve Board or
  any other government agency.




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        You should rely only on the information contained or incorporated by reference in this Prospectus. The Trust has not authorized
  any other person to provide you with different information. If anyone provides you with different or inconsistent information, you
  should not rely on it. The Trust is not making an offer to sell these securities in any jurisdiction where the offer or sale is not
  permitted. The information in this Prospectus and any accompanying Prospectus Supplements is accurate only as of the date of this
  Prospectus or such Prospectus Supplement, as applicable, and under no circumstances should the delivery of this Prospectus or any
  accompanying Prospectus Supplement or the sale of any securities imply that the information in this Prospectus or such
  accompanying Prospectus Supplement is accurate as of any later date or that the affairs of the Trust have not changed since the date
  hereof or thereof. Our business, financial condition, results of operations and prospects may have changed since then. We will update
  the information in these documents to reflect material changes only as required by law.

                                                                             i




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                                             Cautionary Notice Regarding Forward-Looking Statements

        This Prospectus and the SAI contain “forward-looking statements.” Forward-looking statements relate to future events or the
  Trust’s future financial performance. Forward-looking statements can generally be identified by terminology such as “may,” “will,”
  “should,” “expects,” “plans,” “anticipates,” “could,” “intends,” “target,” “projects,” “contemplates,” “believes,” “estimates,”
  “predicts,” “potential” or “continue” or the negative of these terms or other similar words. Important assumptions in forward-looking
  statements include the Trust’s ability to acquire or originate new investments and to achieve certain margins and levels of profitability.
  In light of these and other uncertainties, the inclusion of a projection or forward-looking statement should not be regarded as a
  representation by the Trust that its plans or objectives will be achieved.

       There are a number of important risks and uncertainties that could cause the Trust’s actual results to differ materially from those
  indicated by such forward-looking statements. These risks include, but are not limited to, the following:
         •      Investment risk;
         •      Changes in interest rates;
         •      Risks associated with investing in high yield securities (also known as “junk securities”), senior loans and other debt and
                equity securities;
         •      Risks of investing in obligations of stressed, distressed and bankrupt issuers;
         •      Risks associated with the Trust’s use of leverage;
         •      Risk associated with investments in REITs;
         •      Derivatives and structured finance securities risk; and
         •      Market risk generally.

        For a discussion of these and additional risks as well as other factors that could cause the Trust’s actual results to differ from
  forward-looking statements contained in this Prospectus and in the SAI please see the discussion under “Principal Risks of the Trust.”
  You should not place undue reliance on these forward-looking statements. The forward-looking statements made in this Prospectus and
  in the SAI relate only to events as of the date on which the statements are made. The Trust undertakes no obligation to update any
  forward-looking statement to reflect events or circumstances occurring after the date of this Prospectus and SAI except as required by
  federal securities laws.

       The forward-looking statements contained in this Prospectus are excluded from the safe harbor protection provided by Section
  27A of the Securities Act of 1933, as amended, and the forward looking statements contained in our periodic reports are excluded from
  the safe harbor protection provided by Section 21E of the Securities Exchange Act of 1934, as amended.


                                                                About this Prospectus

        This Prospectus is part of a registration statement that we have filed with the Commission using the “shelf” registration process.
  Under the shelf registration process, we may offer, from time to time, in one or more offerings or series, up to $500,000,000 of our fixed
  rate preferred shares or subscription rights for fixed rate preferred shares, on the terms to be determined at the time of the offering. The
  securities may be offered at prices and on terms described in one or more Supplements to this Prospectus. This Prospectus provides
  you with a general description of the securities that we may offer. Each time we use this Prospectus to offer securities, we will provide a
  Prospectus Supplement that will contain specific information about the terms of that offering. The Prospectus Supplement may also add,
  update or change information contained in this Prospectus. Please carefully read this Prospectus and any Prospectus Supplement,
  together with any exhibits, any material terms of which will be summarized in the Prospectus and any applicable Prospectus Supplement,
  and the additional information described under the headings “Principal Risks of the Trust” and “Where You Can Find Additional
  Information” before you make an investment decision.

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                                                                 Prospectus Summary

  The following summary highlights information contained elsewhere in this Prospectus. This summary may not contain all of the
  information that you should consider before investing in the Trust. You should review the more detailed information contained in this
  Prospectus and in the Statement of Additional Information, especially the information set forth under the heading “Principal Risks of
  the Trust.”

  The Trust                                             The Trust is a non-diversified, closed-end management investment company. The
                                                        Trust commenced operations on June 29, 2006, following its initial public offering.
  Offerings                                             The Trust may offer, on an immediate, continuous or delayed basis, in one or more
                                                        offerings (each, an “Offering” and together, the “Offerings”), up to $500,000,000 of the
                                                        Trust’s fixed rate preferred shares or rights to purchase fixed rate preferred shares
                                                        (sometimes referred to as subscription rights), which we refer to collectively as the
                                                        “securities,” on terms to be determined at the time of the Offerings. The securities may
                                                        be offered at prices and on terms to be set forth in one or more Prospectus
                                                        Supplements to this Prospectus, unless otherwise required by the Commission or its
                                                        staff. Offerings of the securities will be subject to the provisions of the Investment
                                                        Company Act of 1940, as amended (the “1940 Act”), which generally require that the
                                                        price at which a closed-end investment company sells its common shares (exclusive of
                                                        distribution commissions and discounts) must equal or exceed the net asset value per
                                                        share of a company’s common shares (calculated within 48 hours of pricing), except (i)
                                                        in connection with a rights offering to our existing shareholders, (ii) with the consent
                                                        of the majority of our common shareholders, or (iii) under such circumstances as the
                                                        Commission may permit. Any offering of securities by a closed-end investment
                                                        company that requires shareholder approval must occur, if at all, within one year after
                                                        receiving such shareholder approval.
                                                        The Prospectus Supplement relating to any sale of fixed rate preferred shares will set
                                                        forth the liquidation preference and information about the dividend period, dividend
                                                        rate, any call protection or non-call period and other matters. The Prospectus
                                                        Supplement relating to any offering of subscription rights will set forth the number of
                                                        common and/or fixed rate preferred shares issuable upon the exercise of each right and
                                                        the other terms of such rights offering. You should read this Prospectus and the related
                                                        Prospectus Supplement carefully before you decide to invest in any of the securities.
                                                        While the aggregate number and amount of securities we may issue pursuant to this
                                                        registration statement is limited to $500,000,000 of securities, our Board of Trustees
                                                        (the “Board”) may, without any action by the shareholders, amend our Agreement and
                                                        Declaration of Trust from time to time to increase or decrease the aggregate number of
                                                        shares or the number of shares of any class or series that we have authority to issue.
                                                        The Trust may offer the securities directly to one or more purchasers, through agents
                                                        that the Trust or the purchasers designate from time to time, or to or through
                                                        underwriters or dealers (including agents, underwriters or dealers affiliated with the
                                                        Trust’s investment adviser). The Prospectus Supplement relating to the Offering will
                                                        identify any agents or underwriters involved in the sale of the securities, and will set
                                                        forth any applicable purchase price, fee, commission or discount arrangement between
                                                        the Trust and such agents or underwriters or among underwriters or the basis upon
                                                        which such amount may be calculated. See “Plan of Distribution.” The securities may
                                                        not be sold through agents, underwriters or dealers without delivery of a Prospectus
                                                        Supplement describing the method and terms of the Offering. The Trust (and thus,
                                                        indirectly, the Trust’s common shareholders) will bear all of the expenses of any such
                                                        offering.

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  Preferred Shares                                      The term the preferred shares may be fixed by the Board and may materially limit and/or
                                                        qualify the rights of holders of the Trust’s common shares. If the Trust’s Board
                                                        determines that it may be advantageous to the holders of the Trust’s common shares
                                                        for the Trust to utilize additional leverage, the Trust may issue additional series of fixed
                                                        rate preferred shares. Any fixed rate preferred shares issued by the Trust will pay
                                                        distributions at a fixed rate. Leverage creates a greater risk of loss as well as a potential
                                                        for more gains for the common shares than if leverage were not used. The Trust may
                                                        also determine in the future to issue other forms of senior securities, such as securities
                                                        representing debt, subject to the limitations of the Investment Company Act. The
                                                        Trust may also engage in investment management techniques which will not be
                                                        considered senior securities if the Trust establishes a segregated account with cash or
                                                        other liquid assets or sets aside assets on the accounting records equal to the Trust’s
                                                        obligations in respect of such techniques. The Trust may also borrow money, to the
                                                        extent permitted by the Investment Company Act.
  Investment Adviser and Administrator                  NexPoint Advisors, L.P. (the “Investment Adviser”) is the investment adviser and
                                                        administrator of the Trust. As of June 30, 2019, the Investment Adviser, together with
                                                        its affiliates, managed approximately $9.9 billion in assets on behalf of investors around
                                                        the world. In return for its advisory services, the Investment Adviser receives an
                                                        annual fee, payable monthly, in an amount equal to 1.00% of the average weekly value
                                                        of the Trust’s Managed Assets. In return for its administrative services, the
                                                        Investment Adviser receives an annual fee, payable monthly, in an amount equal to
                                                        0.20% of the average weekly value of the Trust’s Managed Assets. “Managed Assets”
                                                        means the total assets of the Trust, including assets attributable to any form of
                                                        investment leverage, minus all accrued expenses incurred in the normal course of
                                                        operations, but not excluding any liabilities or obligations attributable to investment
                                                        leverage obtained through (i) indebtedness of any type (including, without limitation,
                                                        borrowing through a credit facility or the issuance of debt securities), (ii) the issuance
                                                        of preferred shares or other similar preference securities, (iii) the reinvestment of
                                                        collateral received for securities loaned in accordance with the Trust’s investment
                                                        objectives and policies, and/or (iv) any other means. The Investment Adviser, at its
                                                        own expense, has the authority to engage both a sub-adviser and a sub-administrator,
                                                        each of which may be an affiliate of the Investment Adviser. See “Management of the
                                                        Trust — Investment Adviser” and “Management of the Trust —
                                                        Administrator/Sub-Administrator.”
                                                        Potential Conflicts of Interest. As a result of the Trust’s arrangements with Highland
                                                        Capital Management, L.P. (“Highland”), an affiliate of the Investment Adviser, there
                                                        may be times when Highland, the Investment Adviser or their affiliates have interests
                                                        that differ from those of the Trust’s shareholders, giving rise to a conflict of interest.
                                                        Highland and the Investment Adviser are under common ownership, and the Trust’s
                                                        officers serve or may serve as officers, directors or principals of entities that operate in
                                                        the same or a related line of business as the Trust does, or of investment funds
                                                        managed by the Investment Adviser or its affiliates. Similarly, the Investment Adviser
                                                        or its affiliates may have other clients with similar, different or competing investment
                                                        objectives. In serving in these multiple capacities, they may have obligations to other
                                                        clients or investors in those entities, the fulfillment of which may not be in the best
                                                        interests of the Trust or its shareholders. For example, the Trust’s officers have, and
                                                        will continue to have, management responsibilities for other investment funds,
                                                        accounts or other investment vehicles managed or sponsored by the Investment
                                                        Adviser and its affiliates.
                                                        The Trust’s investment objective may overlap, in part or in whole, with the investment
                                                        objective of such affiliated investment funds, accounts or other investment vehicles.
                                                        As a result, those individuals may face conflicts in the allocation of investment
                                                        opportunities among the Trust and other investment funds or accounts advised by or
                                                        affiliated with the Investment Adviser. The Investment Adviser will seek to allocate
                                                        investment opportunities among eligible accounts in a

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                                                        manner that is fair and equitable over time and consistent with its allocation policy.
                                                        However, the Trust can offer no assurance that such opportunities will be allocated to
                                                        it fairly or equitably in the short-term or over time.
                                                        Currently, a substantial portion of the Trust’s net assets are invested in REITs, asset-
                                                        backed securities and/or collateralized loan obligations (“CLOs”) sponsored, organized
                                                        and/or managed by Highland and its affiliates. The Investment Adviser will monitor for
                                                        conflicts of interest in accordance with its fiduciary duties and will provide the
                                                        independent trustees of the Trust with an opportunity to periodically review the
                                                        Trust’s investments in such REITs, asset-backed securities and/or CLOs and assure
                                                        themselves that continued investment in such securities remains in the best interests
                                                        of the Trust and its shareholders. Please see “Risk Factors—Potential Conflicts of
                                                        Interest” for a description of risks associated with conflicts of interest. See
                                                        “Management of the Trust — Investment Adviser.”

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  Custodian and Transfer Agent                          The custodian of the assets of the Trust is Bank of New York Mellon (240 Greenwich
                                                        Street, New York, New York 10286). The custodian performs custodial services for the
                                                        Trust. American Stock Transfer & Trust Company, LLC (6201 15th Avenue, Brooklyn,
                                                        New York 11219; telephone (718) 921-8200) serves as the Trust’s transfer agent with
                                                        respect to its securities.
  Closed-End Structure                                  Closed-end funds differ from open-end management investment companies (commonly
                                                        referred to as mutual funds) in that closed-end funds generally list their shares for
                                                        trading on a securities exchange and do not redeem their shares at the option of the
                                                        shareholder. By comparison, mutual funds issue securities redeemable at net asset
                                                        value (“NAV”) at the option of the shareholder and typically engage in a continuous
                                                        offering of their shares. Mutual funds are subject to continuous asset in-flows and
                                                        out-flows that can complicate portfolio management, whereas closed-end funds
                                                        generally can stay more fully invested in securities consistent with the closed-end
                                                        fund’s investment objective and policies. In addition, in comparison to open-end
                                                        funds, closed-end funds have greater flexibility in their ability to make certain types of
                                                        investments, including investments in illiquid securities.
                                                        Shares of closed-end investment companies listed for trading on a securities exchange
                                                        frequently trade at a discount from NAV, but in some cases trade at a premium. The
                                                        market price may be affected by NAV, dividend or distribution levels (which are
                                                        dependent, in part, on expenses), supply of and demand for the shares, stability of
                                                        dividends or distributions, trading volume of the shares, general market and economic
                                                        conditions and other factors beyond the control of the closed-end fund. The foregoing
                                                        factors may result in the market price of the common shares of the Trust being greater
                                                        than, less than or equal to, NAV. The Board has reviewed the structure of the Trust in
                                                        light of its investment objective and policies and has determined that the closed-end
                                                        structure is appropriate. As described in this Prospectus, however, the Board may
                                                        review periodically the trading range and activity of the Trust’s common shares with
                                                        respect to their NAV and may take certain actions to seek to reduce or eliminate any
                                                        such discount. Such actions may include open market repurchases or tender offers for
                                                        the common shares at NAV or the possible conversion of the Trust to an open-end
                                                        investment company. There can be no assurance that the Board will decide to
                                                        undertake any of these actions or that, if undertaken, such actions would result in the
                                                        common shares trading at a price equal to or close to NAV per Share. In addition, as
                                                        noted above, the Board determined in connection with the initial offering of common
                                                        shares of the Trust that the closed-end structure is desirable, given the Trust’s
                                                        investment objective and policies. Investors should assume, therefore, that it is highly
                                                        unlikely that the Board would vote to convert the Trust to an open-end investment
                                                        company. See “Anti-Takeover Provisions in the Agreement and Declaration of Trust;
                                                        Closed-End Fund Structure; Repurchase of Common Shares; Discount.”
  Listing                                               The Trust’s outstanding common shares are listed on the New York Stock Exchange
                                                        (“NYSE”) under the symbol “NHF”. Since the Trust commended trading on the NYSE,
                                                        the Trust’s common shares have traded at a discount to NAV as high as -40.89% and a
                                                        premium as high as 9.78%. Any additional series of fixed rate preferred shares or
                                                        subscription rights issued in the future pursuant to a Prospectus Supplement by the
                                                        Trust may be listed on the NYSE.
  Use of Proceeds                                       Unless otherwise specified in a Prospectus Supplement, the Trust will use the net
                                                        proceeds of the sale of securities to invest in accordance with the Trust’s investment
                                                        objectives and policies as stated below, or use such proceeds for other general
                                                        corporate purposes. See “Use of Proceeds.”

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  Investment Objectives and Policies                    The Trust’s investment objectives are to provide both current income and capital
                                                        appreciation. The Trust seeks to achieve its investment objectives by investing
                                                        primarily in the following categories of securities and instruments of corporations and
                                                        other business entities: (i) secured and unsecured floating and fixed rate loans; (ii)
                                                        bonds and other debt obligations; (iii) debt obligations of stressed, distressed and
                                                        bankrupt issuers; (iv) structured products, including but not limited to, mortgage-
                                                        backed and other asset-backed securities and collateralized debt obligations; (v)
                                                        equities; (vi) other investment companies, including BDCs; and (vii) REITs. The Trust
                                                        may also invest in other securities and instruments, including derivative instruments.
                                                        Subject to these general guidelines, the Investment Adviser has broad discretion to
                                                        allocate the Trust’s assets among these investment categories and other investments
                                                        and to change allocations as conditions warrant.
                                                        The Trust has a fundamental policy to concentrate its investments in the real estate
                                                        industry, and, under normal market conditions, the Trust invests at least 25% of the
                                                        value of its total assets at the time of purchase in the securities of issuers conducting
                                                        their principal business activities in the real estate industry. Within the categories of
                                                        obligations and securities in which the Trust invests, the Investment Adviser employs
                                                        various trading strategies, including capital structure arbitrage, pair trades and
                                                        shorting. Capital structure arbitrage is a strategy in which the Trust seeks
                                                        opportunities created by mispricing in different markets of various instruments issued
                                                        by one corporation. Pair trades involve matching a long position with a short position
                                                        in two stocks of different issuers in the same sector, betting that the “spread” between
                                                        the two will eventually converge. Short selling (also known as shorting or going short)
                                                        is a strategy in which the Trust sells a security it does not own in anticipation that the
                                                        market price of that security will decline. See “Portfolio Composition” for further
                                                        description of these strategies.
                                                        The Trust may also invest in these categories of obligations and securities through the
                                                        use of derivatives. The Trust is not limited in the amount it may invest in derivatives,
                                                        and it may use derivatives for speculative purposes. There is no limitation on the
                                                        amount of securities and other instruments rated below investment grade, which are
                                                        commonly referred to as “junk securities,” that the Trust may purchase, and under
                                                        normal circumstances substantially all of the Trust’s investment portfolio is expected
                                                        to consist of junk-rated securities and non-investment grade investments and
                                                        instruments or securities and other instruments which, if unrated, are considered to be
                                                        of similar quality.
                                                        The Trust may invest a significant portion of its assets in issuers that are in default or
                                                        that present a high risk of default. Junk securities are subject to greater risk of loss of
                                                        principal and interest and may be less liquid than investment grade securities. The
                                                        Trust may invest up to 15% of its net assets in entities that are excluded from
                                                        registration under the Investment Company Act by virtue of section 3(c)(1) and 3(c)(7)
                                                        of the Investment Company Act (such as private equity funds or hedge funds). This
                                                        limitation does not apply to any CLOs, certain of which may rely on Section 3(c)(1) or
                                                        3(c)(7) of the Investment Company Act. The Trust’s investment objectives may be
                                                        changed without shareholder approval. There can be no assurance that the Trust’s
                                                        investment objectives will be achieved. See “Investment Objectives and Policies.”

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  Investment Strategies                                 Under normal market conditions, the Trust invests across various markets in which the
                                                        Investment Adviser holds significant investment experience: primarily the leveraged
                                                        loan, high yield, other credit investments, structured products, real estate,
                                                        communications, natural resources, stressed and distressed markets and equity
                                                        markets. The Investment Adviser makes investment decisions based on quantitative
                                                        analysis, which employs sophisticated, data-intensive models to drive the investment
                                                        process. The Investment Adviser has full discretion regarding the capital markets from
                                                        which it can access investment opportunities in accordance with the investment
                                                        limitations set forth in this Prospectus.
                                                        The Investment Adviser uses trading strategies to seek to exploit pricing inefficiencies
                                                        across the credit markets, or debt markets, and within an individual issuer’s capital
                                                        structure. The Investment Adviser varies the Trust’s investments by strategy,
                                                        industry, security type and credit market, but reserves the right to re-position the
                                                        Trust’s investment portfolio among these criteria depending on market dynamics, and
                                                        thus the Trust may experience high portfolio turnover. The Investment Adviser
                                                        manages interest rate, default, currency and systemic risks through a variety of trading
                                                        methods and market tools, including derivative hedging instruments, as it deems
                                                        appropriate.
                                                        This multi-strategy investment program allows the Investment Adviser to assess what
                                                        it considers to be the best opportunities across multiple markets and to adjust quickly
                                                        the Trust’s trading strategies and market focus to changing conditions. The
                                                        Investment Adviser focuses primarily on the U.S. marketplace, but may pursue
                                                        opportunities in the non-U.S. credit or securities markets by investing in credit or
                                                        securities market investments that are either issued by entities domiciled outside of the
                                                        U.S., or denominated in currencies other than the U.S. dollar, or both (“Non-U.S.
                                                        Securities”).
                                                        The Trust invests and trades in listed and unlisted, public and private, rated and
                                                        unrated, debt and equity instruments and other obligations, including structured debt
                                                        and equity instruments and financial derivatives. Investments may include investments
                                                        in stressed and distressed positions, which may include publicly-traded debt and
                                                        equity securities (including securities of REITs, BDCs and master limited partnerships
                                                        (“MLPs”)), obligations which were privately placed with banks, insurance companies
                                                        and other lending institutions, trade claims, accounts receivable and any other form of
                                                        obligation recognized as a claim in a bankruptcy or workout process.
                                                        REITs are pooled investment vehicles that invest primarily in income-producing real
                                                        estate or real estate-related loans or interests. Foreign REIT equivalents are entities
                                                        located in jurisdictions that have adopted legislation substantially similar to the REIT
                                                        tax provisions in that they provide for favorable tax treatment for the foreign REIT
                                                        equivalent and require distributions of income to shareholders. The Trust seeks to gain
                                                        exposure to the real estate markets, in whole or in part, by investing in certain REIT
                                                        subsidiaries of the Trust, notably NexPoint Real Estate Opportunities, LLC (formerly
                                                        Freedom REIT) (“NREO”) and NexPoint Real Estate Capital, LLC (“NREC”).
                                                        With respect to the Trust’s real estate investments, the Adviser seeks to: (i) recognize
                                                        and allocate capital based upon where the Adviser believes we are in the current real
                                                        estate cycle, and as a result (ii) minimize drawdowns during market downturns and
                                                        maximize risk adjusted returns during all market cycles, though there can be no
                                                        assurance that this strategy will achieve this objective. The Trust will rely on the
                                                        expertise of the Adviser and its affiliates to determine the appropriate structure for
                                                        structured credit investments, which may include bridge loans, common and preferred
                                                        equity or other debt-like positions, as well as the acquisition of such instruments from
                                                        banks, servicers or other third parties.




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                                         Preferred equity and mezzanine investments in real estate transactions come in various
                                                        forms which may or may not be documented in the borrower’s organizational
                                                        documents. Generally, real estate preferred equity and/or mezzanine investments are
                                                        typically junior to first mortgage financing but senior to the borrower’s or sponsor’s
                                                        equity contribution. The investments are typically structured as an investment by a
                                                        third-party investor in the real estate owner or various affiliates in the chain of
                                                        ownership in exchange for a direct or indirect ownership interest in the real estate
                                                        owner entitling it to a preferred/priority return on its investment. Sometimes, the
                                                        investment is structured much like a loan where (i) “interest” on the investment is
                                                        required to be paid monthly by the “borrower” regardless of available property cash
                                                        flow; (ii) the entire investment is required to be paid by a certain maturity date;
                                                        (iii) default rate “interest” and penalties are assessed against the “borrower” in the
                                                        event payments are not made timely; and (iv) a default in the repayment of investment
                                                        potentially results in the loss of management and/or ownership control by the
                                                        “borrower” in the company in favor of the investor or other third-party.
                                                        As part of its investment program, the Trust may invest, from time to time, in securities
                                                        or other instruments that are sold in private placements and that are neither listed on
                                                        an exchange, nor traded over the counter. The Trust may also receive equity or equity-
                                                        related securities in connection with a workout transaction or may invest directly in
                                                        equity securities.
                                                        The Trust may employ currency hedges (either in the forward or options markets) in
                                                        certain circumstances to reduce currency risk and may engage in other derivative
                                                        transactions for hedging purposes or to enhance total return. The Trust may also lend
                                                        securities and engage in short sales of securities. In addition, the Trust may invest in
                                                        the securities of companies whose capital structures are highly leveraged.

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                                                        From time to time, the Investment Adviser may also invest a portion of the Trust’s
                                                        assets in short-term U.S. government obligations, certificates of deposit, commercial
                                                        paper and other money market instruments, including repurchase agreements with
                                                        respect to such obligations and pooled investment vehicles (for example, money
                                                        market funds) that invest in these obligations, to enable the Trust to make investments
                                                        quickly, to serve as collateral with respect to certain of its investments, and for other
                                                        cash management purposes. A greater percentage of Trust assets may be invested in
                                                        such obligations if the Investment Adviser believes that a defensive position is
                                                        appropriate because of the outlook for security prices or in order to respond to adverse
                                                        market, economic, business or political conditions. See “Investment Objectives and
                                                        Policies — Investment Strategies.”
  Use of Leverage                                       As provided in the Investment Company Act and subject to certain exceptions, the
                                                        Trust may issue debt or preferred shares with the condition that immediately after
                                                        issuance the value of its total assets, less ordinary course liabilities, exceeds 300% of
                                                        the amount of the debt outstanding and exceeds 200% of the sum of the amount of
                                                        debt and preferred shares outstanding.
                                                        Thus, the Trust may use leverage in the form of borrowings in an amount up to 33
                                                        1/3% of the Trust’s total assets (including the proceeds of such leverage) and may use
                                                        leverage in the form of preferred shares in an amount up to 50% of the Trust’s total
                                                        assets (including the proceeds of such leverage). As of the date of this Prospectus, the
                                                        Trust has no preferred shares outstanding. The total leverage of the Trust is generally
                                                        expected to range between 25% and 30% of the Trust’s total assets. The Trust seeks a
                                                        leverage ratio, based on a variety of factors including market conditions and the
                                                        Investment Adviser’s market outlook, where the rate of return, net of applicable Trust
                                                        expenses, on the Trust’s portfolio investments purchased with leverage exceeds the
                                                        costs associated with such leverage. The leverage ratio as of August 13, 2019 was
                                                        25%.
                                                        The Trust, as of January 31, 2018, was leveraged through borrowings from a committed
                                                        facility with BNP Paribas Prime Brokerage, Inc. (“BNP”) with a total commitment of
                                                        $135,000,000. As of June 30, 2019, the Trust had drawn on the $66.0 million committed
                                                        facility.
                                                        In addition, the Trust intends to leverage its portfolio through a master repurchase
                                                        agreement entered into with BNP Paribas Securities Corp. (“BNP Securities”) on
                                                        November 16, 2017, as amended, that allows the Trust to enter into reverse repurchase
                                                        transactions from time to time pursuant to the terms of the master repurchase
                                                        agreement.
                                                        On August 14, 2018, the Trust, and two of its wholly-owned subsidiaries, NexPoint
                                                        Real Estate Capital, LLC (“NREC”) and NexPoint Real Estate Opportunities, LLC
                                                        (“NREO”), entered into a $75.0 million revolving bridge credit agreement with KeyBank
                                                        National Association. The revolving balance stepped down to $60.0 million after
                                                        September 14, 2018. As of June 30, 2019, The Trust had drawn $55.4 million on the
                                                        bridge facility.
                                                        The Trust’s asset coverage ratio as of June 30, 2019 was 524.7% See “Principal Risks of
                                                        the Trust — Leverage Risk” for a brief description of the Trust’s committed facility,
                                                        master repurchase agreement and bridge credit agreement.

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                                                        Following the completion of an Offering, the Trust may increase the amount of
                                                        leverage outstanding. The Trust may engage in additional borrowings, issue notes, or
                                                        issue preferred shares in order to maintain the Trust’s desired leverage ratio. Leverage
                                                        creates a greater risk of loss, as well as a potential for more gain, for the common
                                                        shares than if leverage were not used. Interest on borrowings (or dividends on
                                                        preferred shares) may be at a fixed or floating rate and generally will be based on short-
                                                        term rates. The costs associated with the Trust’s use of leverage, including the
                                                        issuance of such leverage and the payment of dividends or interest on such leverage,
                                                        will be borne entirely by the holders of common shares. As long as the rate of return,
                                                        net of applicable Trust expenses, on the Trust’s portfolio investments purchased with
                                                        leverage exceeds the costs associated with such leverage, the Trust will generate more
                                                        return or income than will be needed to pay such costs. In this event, the excess will be
                                                        available to pay higher dividends to holders of common shares. Conversely, if the
                                                        Trust’s return on such assets is less than the cost of leverage and other Trust
                                                        expenses, the return to the holders of the common shares will diminish. To the extent
                                                        that the Trust uses leverage, the NAV and market price of the common shares and the
                                                        yield to holders of common shares will be more volatile. The Trust’s leveraging
                                                        strategy may not be successful. See “Principal Risks of the Trust—Leverage Risk.”
  Distributions                                         Common Shares Distributions. Subject to market conditions, the Trust plans to pay
                                                        distributions monthly and capital gain distributions annually to common shareholders.
                                                        Preferred Shares Distributions. As required by the Investment Company Act, all
                                                        preferred shares of the Trust must have the same seniority with respect to
                                                        distributions. Accordingly, no complete distribution due for a particular dividend
                                                        period will be declared or paid on any series of preferred shares of the Trust for any
                                                        dividend period, or part thereof, unless full cumulative dividends and distributions due
                                                        through the most recent dividend payment dates for all series of outstanding preferred
                                                        shares of the Trust are declared and paid. If full cumulative distributions due have not
                                                        been declared and made on all outstanding preferred shares of the Trust, any
                                                        distributions on such preferred shares will be made as nearly pro rata as possible in
                                                        proportion to the respective amounts of distributions accumulated but unmade on
                                                        each such series of preferred shares on the relevant dividend payment date.
                                                        The Trust’s annualized distributions may in the future contain a return of capital and
                                                        should not be considered as the dividend yield or total return of an investment in its
                                                        common or preferred shares. Shareholders who receive the payment of a distribution
                                                        consisting of a return of capital may be under the impression that they are receiving
                                                        net profits when they are not. Shareholders should not assume that the source of a
                                                        distribution from the Trust is net profit. The composition of each distribution is
                                                        estimated based on the earnings of the Trust as of the record date for each
                                                        distribution. The actual composition of each of the current year’s distributions will be
                                                        based on the Trust’s investment activity through the end of the calendar year.
                                                        Distributions on fixed rate preferred shares, at the applicable annual rate of the per
                                                        share liquidation preference, are cumulative from the original issue date and are
                                                        payable, when, as and if declared by the Board, out of funds legally available therefor.
  Principal Risks of the Trust                          The following is a summary of the principal risks associated with an investment in the
                                                        Trust’s securities. Investors should also refer to “Principal Risks of the Trust” in
                                                        this Prospectus for a more detailed explanation of the risks associated with investing
                                                        in the Trust’s securities. Given the risks described below, an investment in the
                                                        securities of the Trust may not be appropriate for all investors.

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                                                        You should carefully consider your ability to assume these risks before making an
                                                        investment in securities of the Trust.

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                                                        REIT-Specific Risk. REITs may be affected by changes in the real estate markets
                                                        generally as well as changes in the values of the properties owned by the REIT or
                                                        securing the mortgages owned by the REIT (which changes in value could be
                                                        influenced by market conditions for real estate in general or fluctuations in the value of
                                                        rights to natural resources appurtenant to the property held by the REIT). REITs are
                                                        dependent upon management skill and are not diversified. REITs are also subject to
                                                        heavy cash flow dependency, defaults by borrowers, self-liquidation, and the
                                                        possibility of failing to qualify for special tax treatment under the Internal Revenue
                                                        Code of 1986, as amended (the “Code”) and to maintain an exemption under the
                                                        Investment Company Act. For example, because a REIT may acquire debt securities of
                                                        issuers primarily engaged in or related to the real estate industry, it also could
                                                        conceivably own real estate directly as a result of a default on such securities. Any
                                                        rental income or income from the disposition of such real estate could adversely affect
                                                        its ability to retain its tax status, which would have adverse tax consequences on its
                                                        shareholders. Finally, certain REITs may be self-liquidating at the end of a specified
                                                        term, and run the risk of liquidating at an economically inopportune time.
                                                        The Trust seeks to gain exposure to the real estate markets, in whole or in part, through
                                                        investing in certain REIT subsidiaries of the Trust. The Trust invests in NREO,
                                                        organized under the laws of Delaware on September 17, 2012 and NREC, organized
                                                        under the laws of Delaware on March 31, 2014 (each, a “Subsidiary”). Each Subsidiary
                                                        has elected to be taxed as a REIT. Each Subsidiary is generally subject to the same
                                                        investment policies and restrictions of the Trust. As of June 30, 2019, NREO and NREC
                                                        accounted for approximately 2.9% and 22.0% respectively, of the Trust’s Managed
                                                        Assets, and approximately 2.8% and 21.7% respectively, of the Trust’s total (gross)
                                                        assets. The Investment Adviser does not charge an additional fee on assets held in
                                                        each Subsidiary. The Trust intends to limit its investments in each Subsidiary and
                                                        related entities to the extent necessary to qualify as a RIC for tax purposes. In general,
                                                        and subject to certain exceptions not applicable here, a RIC is not permitted to invest,
                                                        including through corporations in which the RIC owns a 20% or more voting stock
                                                        interest, more than 25% of its total assets in any one issuer, or in any two or more
                                                        issuers which the taxpayer controls and which are determined to be engaged in the
                                                        same or similar trades or businesses or related trades or businesses.
                                                        In 2015, the Trust completed its spin-off of NexPoint Residential Trust, Inc. (“NXRT”)
                                                        pursuant to an exemptive order obtained from the Commission. No assurance can be
                                                        given that the Trust would be able to obtain another exemptive order in the event that
                                                        it should again believe a spin-off of a REIT subsidiary to be in the best interests of the
                                                        Trust’s shareholders. As a result, the Trust may not be able to dispose of its interests
                                                        in a REIT subsidiary in the manner the Investment Adviser believes would be most
                                                        efficient.
                                                        Interest Rate Risk. Interest rate risk is the risk that debt securities, and the Trust’s net
                                                        assets, may decline in value because of changes in interest rates. Generally, fixed rate
                                                        debt securities will decrease in value when interest rates rise and increase in value
                                                        when interest rates decline. To the extent the Trust invests in fixed rate debt securities
                                                        with longer duration, the Trust is subject to greater interest rate risk than funds
                                                        investing solely in shorter-term fixed rate debt securities. In addition, in a period of
                                                        rising interest rates, the higher cost of any leverage employed by the Trust and/or
                                                        increasing defaults by issuers of high-yield securities would likely exacerbate any
                                                        decline in the Trust’s NAV.
                                                        Prepayment Risk. If interest rates fall, the principal on bonds and loans held by the
                                                        Trust may be paid earlier than expected. If this happens, the proceeds from a prepaid
                                                        security may be reinvested by the Trust in securities bearing lower interest

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                                                        rates, resulting in a possible decline in the Trust’s income and distributions to
                                                        shareholders. The Trust may invest in pools of mortgages or other assets issued or
                                                        guaranteed by private issuers or U.S. government agencies and instrumentalities.
                                                        Mortgage-related securities are especially sensitive to prepayment risk because
                                                        borrowers often refinance their mortgages when interest rates decline.
                                                        Risks of Investing in High-Yield Securities, also Known as “Junk Securities.” A
                                                        substantial portion of the Trust’s investments will consist of investments that may
                                                        generally be characterized as “high-yield securities” or “junk securities,” and the Trust
                                                        may invest without limit in such securities. Such securities are typically rated below
                                                        investment grade by one or more nationally recognized statistical rating organizations
                                                        or are unrated but of comparable credit quality to obligations rated below investment
                                                        grade, and have greater credit and liquidity risk than more highly rated obligations.
                                                        High-yield securities are generally unsecured and may be subordinate to other
                                                        obligations of the obligor. The lower rating of high-yield securities reflects a greater
                                                        possibility that adverse changes in the financial condition of the issuer or in general
                                                        economic conditions (including, for example, a substantial period of rising interest
                                                        rates or declining earnings) or both may impair the ability of the issuer to make
                                                        payment of principal and interest. Many issuers of high-yield securities are highly
                                                        leveraged, and their relatively high debt to equity ratios create increased risks that their
                                                        operations might not generate sufficient cash flow to service their obligations. Overall
                                                        declines in the high-yield bond and other markets may adversely affect such issuers by
                                                        inhibiting their ability to refinance their obligations at maturity.

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                                                        Illiquidity of Investments. The investments made by the Trust may be very illiquid, and
                                                        consequently, the Trust may not be able to sell such investments at prices that reflect
                                                        the Investment Adviser’s assessment of their fair value or the amount paid for such
                                                        investments by the Trust or to sell such investments in a timely fashion. An inability to
                                                        sell a portfolio position can adversely affect the Trust’s value or prevent the Trust from
                                                        being able to take advantage of other investment opportunities. Illiquidity may result
                                                        from the absence of an established market for the investments as well as legal,
                                                        contractual or other restrictions on their resale by the Trust and other factors.
                                                        Furthermore, the nature of the Trust’s investments, especially those in financially
                                                        stressed and distressed companies, may require a long holding period prior to being
                                                        able to determine whether the investment will be profitable or not. There is no limit on
                                                        the amount of the Trust’s investment portfolio that can be invested in illiquid
                                                        securities.
                                                        Risks of Investing in Senior Loans. Senior loans, such as bank loans, are typically at
                                                        the most senior level of the capital structure, and are sometimes secured by specific
                                                        collateral, including, but not limited to, trademarks, patents, accounts receivable,
                                                        inventory, equipment, buildings, real estate, franchises and common and preferred
                                                        stock of the obligor or its affiliates. A portion of the Trust’s investments may consist
                                                        of loans and participations therein originated by banks and other financial institutions,
                                                        typically referred to as “bank loans.” The Trust’s investments may include loans of a
                                                        type generally incurred by borrowers in connection with highly leveraged transactions,
                                                        often to finance internal growth, acquisitions, mergers or stock purchases, or for other
                                                        reasons. As a result of the additional debt incurred by the borrower in the course of
                                                        the transaction, the borrower’s creditworthiness is often judged by the rating agencies
                                                        to be below investment grade. Such loans are typically private corporate loans
                                                        negotiated by one or more commercial banks or financial institutions and syndicated
                                                        among a group of commercial banks and financial institutions. In order to induce the
                                                        lenders to extend credit and to offer a favorable interest rate, the borrower often
                                                        provides the lenders with extensive information about its business that is not generally
                                                        available to the public. To the extent the Trust receives material non-public information,
                                                        it may be prohibited from trading in certain securities, even when it might otherwise be
                                                        beneficial to do so.

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                                                        Legislation Risk. To the extent that legislation or state or federal regulators impose
                                                        additional requirements or restrictions with respect to the ability of financial
                                                        institutions to make loans in connection with highly leveraged transactions, the
                                                        availability of senior loan interests for investment by the Trust may be adversely
                                                        affected. In addition, such requirements or restrictions may reduce or eliminate sources
                                                        of financing for affected borrowers. Further, to the extent that legislation or federal or
                                                        state regulators require such institutions to dispose of senior loan interests relating to
                                                        highly leveraged transactions or subject such senior loan interests to increased
                                                        regulatory scrutiny, such financial institutions may determine to sell senior loan
                                                        interests in a manner that results in a price that, in the opinion of the Investment
                                                        Adviser, is not indicative of fair value. Were the Trust to attempt to sell a senior loan
                                                        interest at a time when a financial institution was engaging in such a sale with respect
                                                        to the senior loan interest, the price at which the Trust could consummate such a sale
                                                        might be adversely affected.
                                                        Second Lien Loans Risk. Second lien loans are subject to the same risks associated
                                                        with investment in senior loans and non-investment grade securities. However, second
                                                        lien loans are second in right of payment to senior loans and therefore are subject to
                                                        additional risk that the cash flow of the borrower and any property securing the loan
                                                        may be insufficient to meet scheduled payments after giving effect to the senior
                                                        secured obligations of the borrower. Second lien loans are expected to have greater
                                                        price volatility than senior loans and may be less liquid. There is also a possibility that
                                                        originators will not be able to sell participations in second lien loans, which would
                                                        create greater credit risk exposure.
                                                        Other Secured Loans Risk. Secured loans other than senior loans and second lien
                                                        loans are subject to the same risks associated with investment in senior loans, second
                                                        lien loans and non-investment grade securities. However, such loans may rank lower in
                                                        right of payment than any outstanding senior loans and second lien loans of the
                                                        borrower and therefore are subject to additional risk that the cash flow of the borrower
                                                        and any property securing the loan may be insufficient to meet scheduled payments
                                                        after giving effect to the higher-ranking secured obligations of the borrower. Lower-
                                                        ranking secured loans are expected to have greater price volatility than senior loans
                                                        and second lien loans and may be less liquid. There is also a possibility that
                                                        originators will not be able to sell participations in lower-ranking secured loans, which
                                                        would create greater credit risk exposure.
                                                        Unsecured Loans Risk. Unsecured loans are subject to the same risks associated with
                                                        investment in senior loans, second lien loans, other secured loans and non-investment
                                                        grade securities. However, because unsecured loans have lower priority in right of
                                                        payment to any higher ranking obligations of the borrower and are not backed by a
                                                        security interest in any specific collateral, they are subject to additional risk that the
                                                        cash flow of the borrower and available assets may be insufficient to meet scheduled
                                                        payments after giving effect to any higher ranking obligations of the borrower.
                                                        Unsecured loans are expected to have greater price volatility than senior loans, second
                                                        lien loans and other secured loans and may be less liquid. There is also a possibility
                                                        that originators will not be able to sell participations in unsecured loans, which would
                                                        create greater credit risk exposure.

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                                                        Risks of Investing in Obligations of Stressed, Distressed and Bankrupt Issuers. The
                                                        Trust is authorized to invest in the securities and other obligations of stressed,
                                                        distressed and bankrupt issuers, including debt obligations that are in covenant or
                                                        payment default. There is no limit on the amount of the Trust’s investment portfolio
                                                        that can be invested in stressed, distressed or bankrupt issuers, and the Trust may
                                                        invest for purposes of control. Such investments generally trade significantly below
                                                        par and are considered highly speculative. The repayment of defaulted obligations is
                                                        subject to significant uncertainties. Defaulted obligations might be repaid only after
                                                        lengthy workout or bankruptcy proceedings, during which the issuer might not make
                                                        any interest or other payments. Typically such workout or bankruptcy proceedings
                                                        result in only partial recoveries, which may be in the form of cash payments or an
                                                        exchange of the defaulted obligation for other debt or equity securities of the issuer or
                                                        its affiliates, which may in turn be illiquid or highly speculative. It is also possible that
                                                        there could be limited or no recovery for creditors in a bankruptcy or workout.

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                                                        Insolvency Considerations with Respect to Issuers of Debt Obligations. Various laws
                                                        enacted for the protection of creditors may apply to the debt obligations held by the
                                                        Trust. The information in this paragraph is applicable with respect to U.S. issuers
                                                        subject to U.S. bankruptcy laws. Insolvency considerations may differ with respect to
                                                        other issuers. If a court in a lawsuit brought by an unpaid creditor or representative of
                                                        creditors of an issuer of a debt obligation, such as a trustee in bankruptcy or a
                                                        creditors’ committee, were to find that the issuer did not receive fair consideration or
                                                        reasonably equivalent value for incurring the indebtedness constituting the debt
                                                        obligation and, after giving effect to such indebtedness, the issuer (i) was insolvent,
                                                        (ii) was engaged in a business for which the remaining assets of such issuer
                                                        constituted unreasonably small capital, or (iii) intended to incur, or believed that it
                                                        would incur, debts beyond its ability to pay such debts as they mature, such court
                                                        could determine to invalidate, in whole or in part, such indebtedness as a fraudulent
                                                        conveyance, to subordinate such indebtedness to existing or future creditors of such
                                                        issuer, or to recover amounts previously paid by such issuer in satisfaction of such
                                                        indebtedness.

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                                                        Litigation Risk. The Trust is sometimes subject to legal proceedings and claims based
                                                        on the securities and instruments in which the Trust invests. Litigation may result in
                                                        substantial costs and may seriously harm the Trust’s investments and overall financial
                                                        condition. In addition, legal claims that have not yet been asserted against the Trust
                                                        may be asserted in the future.
                                                        Leverage Risk. When deemed appropriate by the Investment Adviser and subject to
                                                        applicable regulations, the Trust may use leverage in its investment program, including
                                                        through the issuance of preferred shares, borrowings from a credit facility, issuing
                                                        notes or other debt securities and investments in certain types of options, such as
                                                        puts, calls and warrants. While such strategies and techniques increase the
                                                        opportunity to achieve higher returns on the amounts invested, they also increase the
                                                        risk of loss. To the extent the Trust purchases securities with borrowed funds, its net
                                                        assets will tend to increase or decrease at a greater rate than if borrowed funds are not
                                                        used. The level of interest rates generally, and the rates at which such funds may be
                                                        borrowed in particular, could affect the operating results of the Trust. If the interest
                                                        expense on borrowings were to exceed the net return on the portfolio securities
                                                        purchased with borrowed funds, the Trust’s use of leverage would result in a lower
                                                        rate of return than if the Trust were not leveraged.
                                                        The Trust’s leveraged capital structure creates special risks not associated with
                                                        unleveraged funds having a similar investment objective and policies. These include
                                                        the possibility of greater loss and the likelihood of higher volatility of the NAV of the
                                                        Trust and the asset coverage for the preferred shares.

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                                                        Other Investment Companies. The Trust may invest in the securities of other
                                                        investment companies, which can include open-end funds, closed-end funds, unit
                                                        investment trusts and BDCs. Investment companies combine shareholders’ funds for
                                                        investment in a variety of instruments, including equity securities, debt securities, and
                                                        money market instruments and may invest primarily in a particular type of security, a
                                                        particular industry or a mix of securities and industries. An investment company is not
                                                        taxed on income distributed to shareholders if, among other things, it distributes to its
                                                        shareholders substantially all of its taxable income for each taxable year. As a
                                                        shareholder of another investment company, the Trust, and therefore its shareholders,
                                                        will bear a proportionate share of the expenses of such other investment companies,
                                                        including management fees, administration fees and custodial fees, in addition to the
                                                        expenses of the Trust. Under one provision of the Investment Company Act, the Trust
                                                        may not acquire the securities of other investment companies if, as a result, (i) more
                                                        than 10% of the Trust’s total assets would be invested in securities of other
                                                        investment companies, (ii) such purchase would result in more than 3% of the total
                                                        outstanding voting securities of any one investment company being held by the Trust
                                                        or (iii) more than 5% of the Trust’s total assets would be invested in any one
                                                        investment company. Other provisions of the Investment Company Act are less
                                                        restrictive, provided that the Trust is able to meet certain conditions. These limitations
                                                        do not apply to the acquisition of shares of any investment company in connection
                                                        with a merger, consolidation, reorganization or acquisition of substantially all of the
                                                        assets of another investment company.
                                                        Preferred Share Risk. Preferred share risk is the risk associated with the issuance of
                                                        preferred shares to leverage the common shares. If preferred shares are issued, the
                                                        NAV and market value of the common shares will be more volatile, and the yield to the
                                                        holders of common shares will tend to fluctuate with changes in the shorter-term
                                                        dividend rates on the preferred shares. The Trust will pay (and the holders of common
                                                        shares will bear) all costs and expenses relating to the issuance and ongoing
                                                        maintenance of the preferred shares, including higher advisory fees. Accordingly, the
                                                        issuance of preferred shares may not result in a higher yield or return to the holders of
                                                        the common shares. If the dividend rate and other costs of the preferred shares
                                                        approach the net rate of return on the Trust’s investment portfolio, the benefit of
                                                        leverage to the holders of the common shares would be reduced. If the dividend rate
                                                        and other costs of the preferred shares exceed the net rate of return on the Trust’s
                                                        investment portfolio, the leverage will result in a lower rate of return to the holders of
                                                        common shares than if the Trust had not issued preferred shares.

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                                                        Common Stock Risk. The Trust may invest in common stock. Although investments in
                                                        common stock have historically generated higher average total returns than fixed
                                                        income securities over the long-term, investments in common stock also have
                                                        historically experienced significantly more volatility in those returns. Therefore, the
                                                        Trust’s investments in common stock could result in worse performance than would be
                                                        the case had the Trust been invested solely in debt securities. An adverse event, such
                                                        as an unfavorable earnings report, may depress the value of a particular investment in
                                                        common stock held by the Trust. Also, the price of common stock is sensitive to
                                                        general movements in the stock market and a drop in the stock market may depress the
                                                        price of a common stock to which the Trust has exposure. Common stock prices
                                                        fluctuate for several reasons, including changes in investors’ perceptions of the
                                                        financial condition of an issuer or the general condition of the relevant stock market, or
                                                        when political or economic events affecting an issuer occur. In addition, common stock
                                                        prices may be particularly sensitive to rising interest rates, as the cost of capital rises
                                                        and borrowing costs increase.
                                                        Dividend Risk. Dividends on common stock are not fixed but are declared at the
                                                        discretion of an issuer’s board of directors. There is no guarantee that the issuers of
                                                        the common stocks in which the Trust invests will declare dividends in the future or
                                                        that, if declared, the dividends will remain at current levels or increase over time.

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                                                        Non-U.S. Securities Risk. The Trust may invest without limit in Non-U.S. Securities.
                                                        The Trust may invest in Non-U.S. Securities of so-called emerging market issuers. The
                                                        Trust currently does not expect to invest more than 15%, but may invest up to 20%, of
                                                        its assets in emerging market issuers. Investing in Non-U.S. Securities involves certain
                                                        risks not involved in domestic investments, including, but not limited to: (i)
                                                        fluctuations in foreign exchange rates; (ii) future foreign economic, financial, political
                                                        and social developments; (iii) different legal systems; (iv) the possible imposition of
                                                        exchange controls or other foreign governmental laws or restrictions; (v) lower trading
                                                        volume; (vi) much greater price volatility and illiquidity of certain non-U.S. securities
                                                        markets; (vii) different trading and settlement practices; (viii) less governmental
                                                        supervision; (ix) changes in currency exchange rates; (x) high and volatile rates of
                                                        inflation; (xi) fluctuating interest rates; (xii) less publicly available information; and (xiii)
                                                        different accounting, auditing and financial recordkeeping standards and requirements.
                                                        In addition, certain investments in Non-U.S. Securities may be subject to foreign
                                                        withholding or other taxes on interest, dividends, capital gains or other income. Those
                                                        taxes will reduce the Trust’s yield on any such securities.

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                                                        Emerging Markets Risk. The Trust currently does not expect to invest more than 15%,
                                                        but may invest up to 20% of its total assets in securities of issuers based in emerging
                                                        markets. An emerging market country is any country having an economy and market
                                                        that are (or would be) considered by the World Bank to be emerging or developing or
                                                        is listed in the Morgan Stanley Capital International Emerging Markets Index. Emerging
                                                        market countries are located in regions such as Asia, Latin America, the Middle East,
                                                        Southern Europe, Eastern Europe (including the former republics of the Soviet Union
                                                        and the Eastern Bloc) and Africa. Investing in securities of issuers based in emerging
                                                        markets entails all of the risks of investing in securities of non-U.S. issuers, but to a
                                                        heightened degree. These heightened risks include: (i) greater risks of expropriation,
                                                        confiscatory taxation, nationalization, and less social, political and economic stability;
                                                        (ii) the smaller size of the markets for such securities and a lower volume of trading,
                                                        resulting in lack of liquidity and in price volatility; and (iii) certain national policies
                                                        which may restrict the Trust’s investment opportunities including restrictions on
                                                        investing in issuers or industries deemed sensitive to relevant national interests.
                                                        Foreign Currency Risk. Because the Trust may invest in securities denominated or
                                                        quoted in currencies other than the U.S. dollar, changes in foreign currency exchange
                                                        rates may affect the value of securities owned by the Trust, the unrealized appreciation
                                                        or depreciation of investments and gains on and income from investments. Currencies
                                                        of certain countries may be volatile and therefore may affect the value of securities
                                                        denominated in such currencies, which means that the Trust’s NAV could decline as a
                                                        result of changes in the exchange rates between foreign currencies and the U.S. dollar.
                                                        These risks often are heightened for investments in smaller or emerging capital
                                                        markets. In addition, the Trust may enter into foreign currency transactions in an
                                                        attempt to enhance total return, which may further expose the Trust to the risks of
                                                        foreign currency movements and other risks. The use of foreign currency transactions
                                                        can result in the Trust incurring losses as a result of the imposition of exchange
                                                        controls, suspension of settlements or the inability of the Trust to deliver or receive a
                                                        specified currency.
                                                        Investments in Unseasoned Companies. The Trust may invest in the securities of less
                                                        seasoned companies. These investments may present greater opportunities for growth,
                                                        but also involve greater risks than customarily are associated with investments in
                                                        securities of more established companies. Some of the companies in which the Trust
                                                        may invest will be start-up companies that may have insubstantial operational or
                                                        earnings history or may have limited products, markets, financial resources or
                                                        management depth. Some may also be emerging companies at the research and
                                                        development stage with no products or technologies to market or approved for
                                                        marketing. Securities of emerging companies may lack an active secondary market and
                                                        may be subject to more abrupt or erratic price movements than securities of larger, more
                                                        established companies or stock market averages in general. Competitors of certain
                                                        companies may have substantially greater financial resources than many of the
                                                        companies in which the Trust may invest.

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                                                        Initial Public Offerings Risk. The Trust may invest in shares of companies through
                                                        initial public offerings (“IPOs”). IPOs and companies that have recently gone public
                                                        have the potential to produce substantial gains for the Trust. However, the Trust may
                                                        not have access to or invest in IPOs that are ultimately profitable for investors. The
                                                        investment performance of the Trust during periods when it is unable to invest
                                                        significantly or at all in IPOs may be lower than during periods when the Trust is able
                                                        to do so. Securities issued in IPOs are subject to many of the same risks as investing in
                                                        companies with smaller market capitalizations. Securities issued in IPOs have no
                                                        trading history, and information about the companies may be available for limited
                                                        periods of time. In addition, the prices of securities sold in IPOs may be highly volatile
                                                        or may decline shortly after the IPO.
                                                        Securities Lending Risk. Under the Trust’s current securities lending agreement, the
                                                        Trust may lend its portfolio securities (up to a maximum of one-third of its total assets)
                                                        to financial institutions on an approved list of borrowers. Securities lending is subject
                                                        to the risk that loaned securities may not be available to the Trust on a timely basis and
                                                        the Trust may, therefore, lose the opportunity to sell the securities at a desirable price.
                                                        Any loss in the market price of securities loaned by the Trust that occurs during the
                                                        term of the loan would be borne by the Trust and would adversely affect the Trust’s
                                                        performance. Also, there may be delays in recovery, or no recovery, of securities
                                                        loaned should the borrower of the securities fail financially while the loan is
                                                        outstanding. In addition, voting rights with respect to loaned securities generally pass
                                                        to the borrower. The Trust, as the lender, retains the right to recall the loans and obtain
                                                        the return of the securities loaned in order to vote the loaned securities. However, in
                                                        many circumstances the Trust may be unable to recall the securities in time to vote or
                                                        may determine that the benefits to the Trust of voting are outweighed by the indirect
                                                        or direct costs of such a recall. In these circumstances, loaned securities may be voted
                                                        or not voted in a manner adverse to the best interests of the Trust. All of the
                                                        aforementioned risks may be greater for Non-U.S. Securities.
                                                        Risks Associated with Options on Securities. There are several risks associated with
                                                        transactions in options on securities, such as exchange-listed, over-the-counter and
                                                        index options. For example, there are significant differences between the securities and
                                                        options markets that could result in an imperfect correlation between these markets,
                                                        causing a given transaction not to achieve its objectives. A decision as to whether,
                                                        when and how to use options involves the exercise of skill and judgment, and even a
                                                        well-conceived transaction may be unsuccessful to some degree because of market
                                                        behavior or unexpected events.

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                                                        Exchange-Listed Option Risks. A liquid market may not exist when the Trust seeks to
                                                        close out an option position on an options exchange. Reasons for the absence of a
                                                        liquid secondary market on an exchange include the following: (i) there may be
                                                        insufficient trading interest in certain options; (ii) restrictions may be imposed by an
                                                        exchange on opening transactions or closing transactions or both; (iii) trading halts,
                                                        suspensions or other restrictions may be imposed with respect to particular classes or
                                                        series of options; (iv) unusual or unforeseen circumstances may interrupt normal
                                                        operations on an exchange; (v) the facilities of an exchange or the Options Clearing
                                                        Corporation “OCC” may not at all times be adequate to handle current trading volume;
                                                        or (vi) one or more exchanges could, for economic or other reasons, decide or be
                                                        compelled at some future date to discontinue the trading of options (or a particular
                                                        class or series of options). If trading were discontinued, the secondary market on that
                                                        exchange (or in that class or series of options) would cease to exist. However,
                                                        outstanding options on that exchange that had been issued by the OCC as a result of
                                                        trades on that exchange would continue to be exercisable in accordance with their
                                                        terms. If the Trust were unable to close out a covered call option that it had written on
                                                        a security, it would not be able to sell the underlying security unless the option expired
                                                        without exercise.

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                                                        Over-the-Counter Option Risk. The Trust may purchase and write (sell) unlisted
                                                        (“OTC” or “over-the-counter”) options. Options written by the Trust with respect to
                                                        Non-U.S. Securities, indices or sectors generally will be OTC options. OTC options
                                                        differ from exchange-listed options in that they are two-party contracts, with exercise
                                                        price, premium and other terms negotiated between buyer and seller, and generally do
                                                        not have as much market liquidity as exchange-listed options. The counterparties to
                                                        these transactions typically will be major international banks, broker-dealers and
                                                        financial institutions. The Trust may be required to treat as illiquid those securities
                                                        being used to cover certain written OTC options. The OTC options written by the
                                                        Trust will not be issued, guaranteed or cleared by the OCC. In addition, the Trust’s
                                                        ability to terminate the OTC options may be more limited than with exchange-traded
                                                        options. Banks, broker-dealers or other financial institutions participating in such
                                                        transactions may fail to settle a transaction in accordance with the terms of the option
                                                        as written. In the event of default or insolvency of the counterparty, the Trust may be
                                                        unable to liquidate an OTC option position.
                                                        Index Option Risk. The Trust may purchase and sell index put and call options from
                                                        time to time. The purchaser of an index put option has the right to any depreciation in
                                                        the value of the index below the exercise price of the option on or before the expiration
                                                        date. The purchaser of an index call option has the right to any appreciation in the
                                                        value of the index over the exercise price of the option on or before the expiration date.
                                                        Because the exercise of an index option is settled in cash, sellers of index call options,
                                                        such as the Trust, cannot provide in advance for their potential settlement obligations
                                                        by acquiring and holding the underlying securities. The Trust will lose money if it is
                                                        required to pay the purchaser of an index option the difference between the cash value
                                                        of the index on which the option was written and the exercise price and such difference
                                                        is greater than the premium received by the Trust for writing the option. The value of
                                                        index options written by the Trust, which will be priced daily, will be affected by
                                                        changes in the value and dividend rates of the underlying common stocks in the
                                                        respective index, changes in the actual or perceived volatility of the stock market and
                                                        the remaining time to the options’ expiration. The value of the index options also may
                                                        be adversely affected if the market for the index options becomes less liquid or smaller.
                                                        Distributions paid by the Trust on its common shares may be derived in part from the
                                                        net index option premiums it receives from selling index put and call options, less the
                                                        cost of paying settlement amounts to purchasers of the options that exercise their
                                                        options. Net index option premiums can vary widely over the short term and long term.
                                                        Asset-Backed Securities Risk. Payment of interest and repayment of principal on asset-
                                                        backed securities is largely dependent upon the cash flows generated by the assets
                                                        backing the securities and, in certain cases, supported by letters of credit, surety
                                                        bonds or other credit enhancements. Asset-backed security values may also be
                                                        affected by the creditworthiness of the servicing agent for the pool, the originator of
                                                        the loans or receivables and any entities providing the credit enhancement. In addition,
                                                        the underlying assets are subject to prepayments that shorten the securities’ weighted
                                                        average maturity and may lower their return.
                                                        Mortgage-Backed Securities Risk. A mortgage-backed security, which represents an
                                                        interest in a pool of assets such as mortgage loans, will mature once all the mortgages
                                                        in the pool mature or are prepaid. Therefore, mortgage-backed securities do not have a
                                                        fixed maturity, and their expected maturities may vary when interest rates rise or fall.

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                                                        When interest rates fall, homeowners are more likely to prepay their mortgage loans.
                                                        An increased rate of prepayments on the Trust’s mortgage-backed securities will result
                                                        in an unforeseen loss of interest income to the Trust, as the Trust may be required to
                                                        reinvest assets at a lower interest rate. Because prepayments increase when interest
                                                        rates fall, the price of mortgage-backed securities does not increase as much as that of
                                                        other fixed income securities when interest rates fall.
                                                        When interest rates rise, homeowners are less likely to prepay their mortgage loans. A
                                                        decreased rate of prepayments lengthens the expected maturity of a mortgage-backed
                                                        security. Therefore, the prices of mortgage-backed securities may decrease more than
                                                        prices of other fixed income securities when interest rates rise.

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                                                        Repurchase Agreement Risk. The Trust may enter into reverse repurchase transactions
                                                        with BNP Securities or other banks and securities dealers. A reverse repurchase
                                                        transaction is a repurchase transaction in which the Trust is the seller of, rather than
                                                        the investor in, securities or other assets and agrees to repurchase them at a date
                                                        certain or on demand. Use of a reverse repurchase transaction may be preferable to a
                                                        regular sale and later repurchase of securities or other assets because it avoids certain
                                                        market risks and transaction costs. Reverse repurchase transactions involve the risk
                                                        that the market value of securities and/or other assets purchased by the Trust with the
                                                        proceeds received by the Trust in connection with such reverse repurchase
                                                        transactions may decline below the market value of the securities the Trust is obligated
                                                        to repurchase under such reverse repurchase transactions. They also involve the risk
                                                        that the counterparty liquidates the securities delivered to it by the Trust under the
                                                        reverse repurchase agreement following the occurrence of an event of default under
                                                        the reverse repurchase agreement by the Trust. At the time when the Trust enters into
                                                        a reverse repurchase transactions, liquid securities (cash, U.S. Government securities
                                                        or other “high grade” debt obligations) of the Trust having a value at least as great as
                                                        the Purchase Price of the securities to be purchased will be segregated on the books of
                                                        the Trust throughout the period of the obligation. The use of these investment
                                                        strategies may increase NAV fluctuation.

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                                                        Derivatives Risk. Derivative transactions in which the Trust may engage for hedging
                                                        and speculative purposes or to enhance total return, including engaging in
                                                        transactions such as options, futures, swaps, foreign currency transactions, forward
                                                        foreign currency contracts, currency swaps or options on currency futures and other
                                                        derivatives transactions (collectively, “Derivative Transactions”), involve certain risks
                                                        and special considerations. Derivatives Risk is a combination of several risks,
                                                        including the risks that: (1) an investment in a derivative instrument may not correlate
                                                        well with the performance of the securities or asset class to which the Trust seeks
                                                        exposure, (2) derivative contracts, including options, may expire worthless and the use
                                                        of derivatives may result in losses to the Trust, (3) a derivative instrument entailing
                                                        leverage may result in a loss greater than the principal amount invested, (4) derivatives
                                                        not traded on an exchange may be subject to credit risk, for example, if the
                                                        counterparty does not meet its obligations (see also “Counterparty Risk”), and (5)
                                                        derivatives not traded on an exchange may be subject to liquidity risk and the related
                                                        risk that the instrument is difficult or impossible to value accurately. Derivatives are
                                                        financial contracts whose value depends on, or is derived from, the value of underlying
                                                        assets, reference rates, or indices. Derivatives involve the risk that changes in their
                                                        value may not move as expected relative to the value of the assets, rates, or indices
                                                        they are designed to track. Derivatives include futures, non-U.S. currency contracts,
                                                        swap contracts, warrants, and options contracts. Derivatives may relate to securities,
                                                        interest rates, currencies or currency exchange rates, inflation rates, commodities, and
                                                        indices.

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                                                        Derivatives; Future Developments. The above discussion relates to the Trust’s
                                                        proposed use of certain types of derivatives currently available. However, the Trust is
                                                        not limited to the transactions described above. In addition, the relevant markets and
                                                        related regulations are constantly changing and, in the future, the Trust may use
                                                        derivatives not currently available or widely in use.
                                                        Regulatory Risk. Legal, tax and regulatory changes could occur and may adversely
                                                        affect the Trust and its ability to pursue its investment strategies and/or increase the
                                                        costs of implementing such strategies. New (or revised) laws or regulations may be
                                                        imposed by the Commission, the U.S. Commodity Futures Trading Commission (the
                                                        “CFTC”), the Internal Revenue Service (“IRS”), the U.S. Federal Reserve or other
                                                        banking regulators, other governmental regulatory authorities or self-regulatory
                                                        organizations that supervise the financial markets that could adversely affect the Trust.
                                                        In particular, these agencies are empowered to promulgate a variety of new rules
                                                        pursuant to financial reform legislation in the United States. The Trust also may be
                                                        adversely affected by changes in the enforcement or interpretation of existing statutes
                                                        and rules by these governmental regulatory authorities or self regulatory
                                                        organizations.

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                                                        Regulatory Risk – Commodity Pool Operator. The Trust is operated by a person who
                                                        has claimed an exclusion from the definition of the term “commodity pool operator”
                                                        under the Commodity Exchange Act (“CEA”) pursuant to Rule 4.5 under the CEA;
                                                        therefore, the Investment Adviser (with respect to the Trust) is not subject to
                                                        registration or regulation as a “commodity pool operator” under the CEA. To remain
                                                        eligible for the exclusion, the Trust will be limited in its ability to use certain derivatives
                                                        instruments regulated under the CEA (“commodity interests”), including futures, most
                                                        swaps and options on futures. In the event that the Trust’s investments in commodity
                                                        interests exceed a certain threshold, the Investment Adviser may be required to
                                                        register as a “commodity pool operator” and/or “commodity trading advisor” with the
                                                        CFTC with respect to the Trust. The Investment Adviser’s eligibility to claim the
                                                        exclusion with respect to the Trust will be based upon the level and scope of the
                                                        Trust’s investment in commodity interests, the purposes of such investments and the
                                                        manner in which the Trust holds out its use of commodity interests. For example, CFTC
                                                        Rule 4.5 requires a fund with respect to which the operator is claiming the exclusion to,
                                                        among other things, satisfy one of the two following trading thresholds: (i) the
                                                        aggregate initial margin and premiums required to establish positions in commodity
                                                        interests cannot exceed 5% of the liquidation value of a fund’s portfolio, after taking
                                                        into account unrealized profits and unrealized losses; or (ii) the aggregate net notional
                                                        value of commodity interests not used solely for “bona fide hedging purposes,”
                                                        determined at the time the most recent position was established, cannot generally
                                                        exceed 100% of the liquidation value of a fund’s portfolio, after taking into account
                                                        unrealized profits and unrealized losses on any such positions it has entered into. The
                                                        Trust currently intends to operate in a manner that would permit the Investment
                                                        Adviser to continue to claim the exclusion under Rule 4.5, which may adversely affect
                                                        the Investment Adviser’s ability to manage the Trust under certain market conditions
                                                        and may adversely affect the Trust’s total return. In the event the Investment Adviser
                                                        becomes unable to rely on the exclusion in Rule 4.5 and is required to register with the
                                                        CFTC as a commodity pool operator, the Trust’s expenses may increase, adversely
                                                        affecting the Trust’s total return.

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                                                        Counterparty Risk. The Trust will be subject to credit risk with respect to the
                                                        counterparties to the derivative contracts purchased or sold by the Trust. Recently,
                                                        several broker-dealers and other financial institutions have experienced extreme
                                                        financial difficulty, sometimes resulting in bankruptcy of the institution. Although the
                                                        Investment Adviser monitors the creditworthiness of the Trust’s counterparties, there
                                                        can be no assurance that the Trust’s counterparties will not experience similar
                                                        difficulties, possibly resulting in losses to the Trust. If a counterparty becomes
                                                        bankrupt, or otherwise fails to perform its obligations under a derivative contract due
                                                        to financial difficulties, the Trust may experience significant delays in obtaining any
                                                        recovery under the derivative contract in a bankruptcy or other reorganization
                                                        proceeding. The Trust may obtain only a limited recovery or may obtain no recovery in
                                                        such circumstances. Material exposure to a single or small group of counterparties
                                                        increases the Trust’s counterparty risk.
                                                        Credit Default Swaps Risk. The Trust may enter into credit default swap agreements,
                                                        which may have as reference obligations one or more debt securities or an index of
                                                        such securities. In a credit default swap, one party (the “protection buyer”) is
                                                        obligated to pay the other party (the “protection seller”) a stream of payments over the
                                                        term of the contract, provided that no credit event, such as a default or, in some
                                                        instances, a downgrade in credit rating, occurs on the reference obligation. If a credit
                                                        event occurs, the protection seller must generally pay the protection buyer the “par
                                                        value” (the agreed-upon notional value) of the referenced debt obligation in exchange
                                                        for an equal face amount of deliverable reference obligations.

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                                                        Market Risk Generally. The profitability of a significant portion of the Trust’s
                                                        investment program depends to a great extent upon correctly assessing the future
                                                        course of the price movements of securities and other investments and the movements
                                                        of interest rates. The Investment Adviser may not be able to predict accurately these
                                                        price and interest rate movements. With respect to certain investment strategies the
                                                        Trust utilizes, there is a high degree of market risk.
                                                        Reinvestment Risk. The Trust reinvests the cash flows received from a security. The
                                                        additional income from such reinvestment, sometimes called interest-on-interest, is
                                                        reliant on the prevailing interest rate levels at the time of reinvestment. There is a risk
                                                        that the interest rate at which interim cash flows can be reinvested will fall.
                                                        Reinvestment risk is greater for longer holding periods and for securities with large,
                                                        early cash flows such as high-coupon bonds. Reinvestment risk also applies generally
                                                        to the reinvestment of the proceeds the Trust receives upon the maturity or sale of a
                                                        portfolio security.

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                                                        Timing Risk. Many agency, corporate and municipal bonds, and most mortgage-
                                                        backed securities, contain a provision that allows the issuer to “call” all or part of the
                                                        issue before the bond’s maturity date — often after five or ten years. The issuer
                                                        usually retains the right to refinance the bond in the future if market interest rates
                                                        decline below the coupon rate. There are three disadvantages to the call provision.
                                                        First, the cash flow pattern of a callable bond is not known with certainty. Second,
                                                        because an issuer is more likely to call the bonds when interest rates have dropped, the
                                                        Trust is exposed to reinvestment risk, i.e., the Trust may have to reinvest at lower
                                                        interest rates the proceeds received when the bond is called. Finally, the capital
                                                        appreciation potential of a bond will be reduced because the price of a callable bond
                                                        may not rise much above the price at which the issuer may call the bond.
                                                        Inflation Risk. Inflation risk results from the variation in the value of cash flows from a
                                                        security due to inflation, as measured in terms of purchasing power. For example, if the
                                                        Trust purchases a bond in which it can realize a coupon rate of 5%, but the rate of
                                                        inflation increases from 2% to 6%, then the purchasing power of the cash flow has
                                                        declined. For all but adjustable bonds or floating rate bonds, the Trust is exposed to
                                                        inflation risk because the interest rate the issuer promises to make is fixed for the life of
                                                        the security. To the extent that interest rates reflect the expected inflation rate, floating
                                                        rate bonds have a lower level of inflation risk. In addition, during any periods of rising
                                                        inflation, dividend rates of any variable rate preferred stock issued by the Trust would
                                                        likely increase, which would tend to further reduce returns to common shareholders.
                                                        Arbitrage Risks. The Trust engages in capital structure arbitrage and other arbitrage
                                                        strategies. Arbitrage strategies entail various risks, including the risk that external
                                                        events, regulatory approvals and other factors will impact the consummation of
                                                        announced corporate events and/or the prices of certain positions. In addition,
                                                        hedging is an important feature of capital structure arbitrage. There is no guarantee
                                                        that the Investment Adviser will be able to hedge the Trust’s investment portfolio in
                                                        the manner necessary to employ successfully the Trust’s strategy.
                                                        Short Sales Risk. Short selling involves selling securities that may or may not be
                                                        owned and borrowing the same securities for delivery to the purchaser, with an
                                                        obligation to replace the borrowed securities at a later date. Short selling allows the
                                                        Trust to profit from declines in market prices to the extent such decline exceeds the
                                                        transaction costs and the costs of borrowing the securities. However, because the
                                                        borrowed securities must be replaced by purchases at market prices in order to close
                                                        out the short position, any appreciation in the price of the borrowed securities would
                                                        result in a loss. The securities necessary to cover a short position may not be available
                                                        for purchase. Purchasing securities to close out the short position can itself cause the
                                                        price of the securities to rise further, thereby exacerbating the loss. The Trust may
                                                        mitigate such losses by replacing the securities sold short before the market price has
                                                        increased significantly. Under adverse market conditions, the Trust might have
                                                        difficulty purchasing securities to meet its short sale delivery obligations, and might
                                                        have to sell portfolio securities to raise the capital necessary to meet its short sale
                                                        obligations at a time when fundamental investment considerations would not favor
                                                        such sales. Short sales by the Trust that are not made “against the box” theoretically
                                                        involve unlimited loss potential, since the market price of securities sold short may
                                                        continuously increase.

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                                                        REIT Tax Risk for REIT Subsidiaries. In addition to NREO and NREC, we may form one
                                                        or more subsidiaries that will elect to be taxed as REITs beginning with the first year in
                                                        which they commence material operations. In order for each subsidiary to qualify and
                                                        maintain its qualification as a REIT, it must satisfy certain requirements set forth in the
                                                        Code and Treasury Regulations that depend on various factual matters and
                                                        circumstances. The Trust and the Investment Adviser intend to structure each REIT
                                                        subsidiary and its activities in a manner designed to satisfy all of these requirements.
                                                        However, the application of such requirements is not entirely clear, and it is possible
                                                        that the IRS may interpret or apply those requirements in a manner that jeopardizes the
                                                        ability of such REIT subsidiary to satisfy all of the requirements for qualification as a
                                                        REIT.

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                                                        MLP Risk. The Trust may invest in “MLP” securities. MLPs typically are characterized
                                                        as “publicly traded partnerships” that qualify to be treated as partnerships for U.S.
                                                        federal income tax purposes and are principally engaged in one or more aspects of the
                                                        exploration, production, processing, transmission, marketing, storage or delivery of
                                                        energy-related commodities, such as natural gas, natural gas liquids, coal, crude oil or
                                                        refined petroleum products (collectively, the energy industry). As a result, holders of
                                                        MLP securities will be subject to risks related to the energy industry, including: (i)
                                                        fluctuations in commodity prices; (ii) reduced volumes of natural gas or other energy
                                                        commodities available for transporting, processing, storing or distributing; (iii)
                                                        slowdowns in new construction and acquisitions; (iv) reduced demand for
                                                        commodities such as crude oil, natural gas and refined petroleum products; (v)
                                                        depletion of natural gas reserves or other commodities; (vi) extreme weather and
                                                        environmental hazards; (vii) stricter laws, regulations or enforcement policies; and (viii)
                                                        dangers inherent to the energy industry, such as leaks, fires, explosions, damage to
                                                        facilities and equipment resulting from natural disasters, inadvertent damage to
                                                        facilities and equipment and terrorist acts.

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                                                        BDC Risk. BDCs generally invest in less mature private companies or thinly traded
                                                        U.S. public companies which involve greater risk than well-established publicly-traded
                                                        companies. The Trust will indirectly bear its proportionate share of any management
                                                        and other operating expenses and of any performance-based or incentive fees charged
                                                        by the BDCs in which it invests, in addition to the expenses paid by the Trust. The
                                                        Investment Company Act imposes certain constraints upon the operations of a BDC.
                                                        Generally, little public information exists for private and thinly traded companies in
                                                        which a BDC may invest and there is a risk that investors may not be able to make a
                                                        fully informed evaluation of a BDC and its portfolio of investments. In addition, to
                                                        qualify and remain eligible for the special tax treatment accorded to regulated
                                                        investment companies (“RICs”) and their shareholders, the BDCs in which the Trust
                                                        invests must meet certain source-of-income, asset diversification and annual
                                                        distribution requirements. If a BDC in which the Trust invests fails to qualify as a RIC,
                                                        such BDC would be liable for federal, and possibly state, corporate taxes on its taxable
                                                        income and gains. Such failure by a BDC could substantially reduce the BDC’s net
                                                        assets and the amount of income available for distribution to the Trust, which would in
                                                        turn decrease the total return of the Trust in respect of such investment.
                                                        Risks of Investing in Structured Finance Securities. A portion of the Trust’s
                                                        investments may consist of equipment trust certificates, collateralized mortgage
                                                        obligations, collateralized bond obligations (“CBOs”), CLOs or similar instruments.
                                                        Such structured finance securities are generally backed by an asset or a pool of assets,
                                                        which serve as collateral. Depending on the type of security, the collateral may take the
                                                        form of a portfolio of mortgage loans or bonds or other assets. The Trust and other
                                                        investors in structured finance securities ultimately bear the credit risk of the
                                                        underlying collateral. In some instances, the structured finance securities are issued in
                                                        multiple tranches, offering investors various maturity and credit risk characteristics,
                                                        often categorized as senior, mezzanine and subordinated/equity according to their
                                                        degree of risk. If there are defaults or the relevant collateral otherwise underperforms,
                                                        scheduled payments to senior tranches of such securities take precedence over those
                                                        of mezzanine tranches, and scheduled payments to mezzanine tranches take
                                                        precedence over those to subordinated/equity tranches. In light of the above
                                                        considerations, structured finance securities may present risks similar to those of the
                                                        other types of debt obligations in which the Trust may invest and, in fact, such risks
                                                        may be of greater significance in the case of structured finance securities. Moreover,
                                                        investing in structured finance securities may entail a variety of unique risks. In
                                                        addition to the risks noted above and other risks, structured finance securities may be
                                                        subject to prepayment risk. In addition, the performance of a structured finance
                                                        security will be affected by a variety of factors, including the security’s priority in the
                                                        capital structure of the issuer thereof, the availability of any credit enhancement, the
                                                        level and timing of payments and recoveries on and the characteristics of the
                                                        underlying receivables, loans or other assets that are being securitized, remoteness of
                                                        those assets from the originator or transferor, the adequacy of and ability to realize
                                                        upon any related collateral and the capability of the servicer of the securitized assets.
                                                        In addition, the complex structure of the security may produce unexpected investment
                                                        results, especially during times of market stress or volatility. Investments in structured
                                                        finance securities may also be subject to illiquidity risk. Collateralized mortgage
                                                        obligations may have risks similar to those of mortgage-backed securities. See
                                                        “Mortgage-Backed Securities Risk” for more information.

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                                                        Risks of Investing in Preferred Securities. There are special risks associated with
                                                        investing in preferred securities, including:
                                                             •     Deferral. Preferred securities may include provisions that permit the issuer, at
                                                                   its discretion, to defer distributions for a stated period without any adverse
                                                                   consequences to the issuer. If the Trust owns a preferred security that is
                                                                   deferring the payment of its distributions, the Trust may be required to
                                                                   report income for U.S. federal income tax purposes to the extent of any such
                                                                   deferred distribution even though the Trust has not yet received such
                                                                   income. In order to receive the special treatment accorded to RICs and their
                                                                   shareholders under the Code and to avoid U.S. federal income or excise taxes
                                                                   at the Trust level, the Trust may be required to distribute this reported
                                                                   income to shareholders in the tax year in which the income is reported
                                                                   (without a corresponding receipt of cash). Therefore, the Trust may be
                                                                   required to pay out as an income distribution in any such tax year an amount
                                                                   greater than the total amount of income the Trust actually received, and,
                                                                   among other things, to sell portfolio securities, including at potentially
                                                                   disadvantageous times or prices, to obtain cash needed for these income
                                                                   distributions.
                                                             •     Subordination. Preferred securities are subordinated to bonds and other
                                                                   debt instruments in a company’s capital structure in terms of priority to
                                                                   corporate income and liquidation payments, and therefore will be subject to
                                                                   greater credit risk than more senior debt instruments.
                                                             •     Liquidity. Preferred securities may be substantially less liquid than many
                                                                   other securities, such as common stock or U.S. government securities.
                                                             •     Limited Voting Rights. Generally, preferred security holders have no voting
                                                                   rights with respect to the issuing company unless preferred dividends have
                                                                   been in arrears for a specified number of periods, at which time the preferred
                                                                   security holders may elect a number of directors to the issuer’s board.
                                                                   Generally, once all the arrearages have been paid, the preferred security
                                                                   holders no longer have voting rights.
                                                        Risks of Investing in Swaps. Investments in swaps involve the exchange by the Trust
                                                        with another party of their respective commitments. Use of swaps subjects the Trust to
                                                        risk of default by the counterparty. If there is a default by the counterparty to such a
                                                        transaction, there may be contractual remedies pursuant to the agreements related to
                                                        the transaction although contractual remedies may not be sufficient in the event the
                                                        counterparty is insolvent. The Trust may enter into credit default swaps, currency
                                                        swaps or other swaps which may be surrogates for other instruments such as currency
                                                        forwards or options. Swap agreements are sophisticated financial instruments that
                                                        typically involve a small investment of cash relative to the magnitude of risks assumed.
                                                        Swaps can be highly volatile and may have a considerable impact on the Trust’s
                                                        performance, as the potential gain or loss on any swap transaction is not necessarily
                                                        subject to any fixed limit.

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                                                        Risks of Investing in Synthetic Securities. In addition to credit risks associated with
                                                        holding non-investment grade loans and high-yield debt securities, with respect to
                                                        synthetic securities the Trust will usually have a contractual relationship only with the
                                                        counterparty of such synthetic securities, and not the issuer (the “Reference Obligor”)
                                                        of the debt security or other obligation upon which the synthetic security is based (the
                                                        “Reference Obligation”). The Trust generally will have no right to enforce directly
                                                        compliance by the Reference Obligor with the terms of the Reference Obligation nor
                                                        any rights of setoff against the Reference Obligor, nor have any voting rights with
                                                        respect to the Reference Obligation. The Trust will not benefit directly from any
                                                        collateral supporting the Reference Obligation or have the benefit of the remedies on
                                                        default that would normally be available to a holder of such Reference Obligation. In
                                                        addition, in the event of insolvency of its counterparty, the Trust will be treated as a
                                                        general creditor of such counterparty and will not have any claim with respect to the
                                                        credit risk of the counterparty as well as that of the Reference Obligor. As a result,
                                                        investments in synthetic securities are subject to an additional degree of risk because
                                                        they are subject to the credit risk of the counterparty as well as that of the Reference
                                                        Obligor. The Investment Adviser may not perform independent credit analyses of any
                                                        particular counterparty, or any entity guaranteeing the obligations of such
                                                        counterparty. See “Prospectus Summary – Principal Risks of the Trust – Counterparty
                                                        Risk.”
                                                        The Trust currently does not expect to invest more than 10% of its assets in synthetic
                                                        securities as measured on a mark-to-market basis. However, the Trust’s investments in
                                                        synthetic securities may exceed this amount from time to time.
                                                        Valuation Risk. Portfolio securities may be valued using techniques other than market
                                                        quotations, under the circumstances described under “Determination of Net Asset
                                                        Value.” The value established for a portfolio security may be different than what would
                                                        be produced through the use of another methodology or if it had been priced using
                                                        market quotations. Portfolio securities that are valued using techniques other than
                                                        market quotations, including “fair valued” securities, may be subject to greater
                                                        fluctuation in their value from one day to the next than would be the case if market
                                                        quotations were used. In addition, there is no assurance that the Fund could sell a
                                                        portfolio security for the value established for it at any time and it is possible that the
                                                        Fund would incur a loss because a portfolio security is sold at a discount to its
                                                        established value.
                                                        Fair value is defined as the amount for which assets could be sold in an orderly
                                                        disposition over a reasonable period of time, taking into account the nature of the
                                                        asset. Fair value pricing, however, involves judgments that are inherently subjective
                                                        and inexact, since fair valuation procedures are used only when it is not possible to be
                                                        sure what value should be attributed to a particular asset or when an event will affect
                                                        the market price of an asset and to what extent. As a result, fair value pricing may not
                                                        reflect actual market value, and it is possible that the fair value determined for a
                                                        security will be materially different from the value that actually could be or is realized
                                                        upon the sale of that asset.




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                                                        Risks of Non-Diversification and Other Focused Strategies. While the Investment
                                                        Adviser invests in a number of fixed-income and equity instruments issued by different
                                                        issuers and employs multiple investment strategies with respect to the Trust’s
                                                        investment portfolio, it is possible that a significant amount of the Trust’s investments
                                                        could be invested in the instruments of only a few companies or other issuers or that at
                                                        any particular point in time one investment strategy could be more heavily weighted
                                                        than the others. The focus of the Trust’s investment portfolio in any one issuer would
                                                        subject the Trust to a greater degree of risk with respect to defaults by such issuer or
                                                        other adverse events affecting that issuer, and the focus of the portfolio in any one
                                                        industry or group of industries would subject the Trust to a greater degree of risk with
                                                        respect to economic downturns relating to such industry or industries. The focus of
                                                        the Trust’s investment portfolio in any one investment strategy would subject the
                                                        Trust to a greater degree of risk than if the Trust’s investment portfolio were varied in
                                                        its investments with respect to several investment strategies.

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                                                        Risks Related to Current Market Conditions. Recently, debt markets have experienced
                                                        a period of high volatility, which has negatively impacted market liquidity conditions
                                                        and prices. Initially, the concerns on the part of market participants were focused on
                                                        the subprime segment of the mortgage-backed securities market. These concerns
                                                        expanded to include derivatives, securitized assets and a broad range of other debt
                                                        securities, including those rated investment grade, the U.S. and international credit and
                                                        interbank money markets generally, and a wide range of financial institutions and
                                                        markets, asset classes, and sectors. As a result, debt instruments have experienced,
                                                        and may in the future experience, liquidity issues, increased price volatility, credit
                                                        downgrades, and increased likelihood of default. Debt securities may be difficult to
                                                        value during such periods. These market conditions may have an adverse effect on the
                                                        Trust’s investments and hamper the Trust’s ability to sell the debt securities in which it
                                                        invests or to find and purchase suitable debt instruments. Because the Trust invests
                                                        heavily in fixed income securities and related investments, it may underperform during
                                                        periods of rising interest rates. Market conditions may also make it more difficult or
                                                        impossible for the Trust to use leverage to the degree required, or make any such
                                                        leverage more expensive (for example, by increasing interest expense). In addition,
                                                        these conditions may directly and adversely affect the setting of dividend rates on the
                                                        common shares.
                                                        Risks of Investing in a Trust with Anti-Takeover Provisions. The Trust’s Agreement
                                                        and Declaration of Trust includes provisions that could limit the ability of other entities
                                                        or persons to acquire control of the Trust or convert the Trust to open-end status.
                                                        Key Adviser Personnel Risk. The Trust’s ability to identify and invest in attractive
                                                        opportunities is dependent upon the Investment Adviser. If one or more key
                                                        individuals leaves the Investment Adviser, the Investment Adviser may not be able to
                                                        hire qualified replacements or may require an extended time to do so. This situation
                                                        could prevent the Trust from achieving its investment objectives.

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                                                        Risks Relating to Dilution of Shareholders’ Interests. Shareholders’ interests in the
                                                        Trust may be diluted if they do not fully exercise their subscription rights in any rights
                                                        offering. In addition, if the subscription price is less than our NAV per share, then there
                                                        will be an immediate dilution of the aggregate NAV of our shares. In the event we issue
                                                        subscription rights, shareholders who do not fully exercise their rights should expect
                                                        that they will, at the completion of a rights offering pursuant to this Prospectus, own a
                                                        smaller proportional interest in us than would otherwise be the case if they fully
                                                        exercised their rights. Such dilution is not currently determinable because it is not
                                                        known what proportion of the shares will be purchased as a result of such rights
                                                        offering. Any such dilution will disproportionately affect non-exercising shareholders.
                                                        This dilution could be substantial. The amount of any decrease in NAV is not
                                                        predictable because it is not known at this time what the subscription price and NAV
                                                        per share will be on the expiration date of the rights offering or what proportion of the
                                                        shares will be purchased as a result of such rights offering.
                                                        Risks Relating to Trust’s Tax Status. To remain eligible for the special tax treatment
                                                        accorded to RICs and their shareholders under the Code, the Trust must meet certain
                                                        source of income, asset diversification and annual distribution requirements. If the
                                                        Trust were to fail to comply with the income, diversification or distribution
                                                        requirements, the Trust could in some cases cure such failure, including by paying a
                                                        Trust-level tax, paying interest, making additional distributions, or disposing of certain
                                                        assets. If the Trust were ineligible to or otherwise did not cure such failure for any year,
                                                        or were to otherwise fail to qualify as a RIC accorded special tax treatment, all of its
                                                        taxable income regardless of whether timely distributed to shareholders would be
                                                        subject to corporate-level tax and all of its distributions from earnings and profits
                                                        (including from net long-term capital gains) would be taxable to shareholders as
                                                        ordinary income. For individual shareholders who meet certain holding period
                                                        requirements, such distributions would be eligible for reduced tax rates applicable to
                                                        qualified dividend income. In any such event, the resulting corporate taxes could
                                                        substantially reduce the Trust’s net assets, the amount of income available for
                                                        distribution and the amount of its distributions. Any such failure would have a material
                                                        adverse effect on the Trust and its shareholders. In addition, in some cases, the Trust
                                                        could be required to recognize unrealized gains, pay substantial taxes and interest and
                                                        make substantial distributions in order to re-qualify as a RIC.
                                                        RIC-Related Risks of Investments Generating Non-Cash Taxable Income. Certain of
                                                        the Trust’s investments will require the Trust to recognize taxable income in a taxable
                                                        year in excess of the cash generated on those investments during that year. In
                                                        particular, the Trust expects that a substantial portion of its investments in loans and
                                                        other debt obligations will be treated as having “market discount” and/or “original
                                                        issue discount” for U.S. federal income tax purposes, which, in some cases, could be
                                                        significant. Because the Trust may be required to recognize income in respect of these
                                                        investments before or without receiving cash representing such income, the Trust may
                                                        have difficulty satisfying the annual distribution requirements applicable to RICs and
                                                        avoiding Trust-level U.S. federal income or excise taxes. Accordingly, the Trust may be
                                                        required to sell portfolio securities, including at potentially disadvantageous times or
                                                        prices, raise additional debt or equity capital, or reduce new investments, to obtain the
                                                        cash needed to make these income distributions. If the Trust liquidates portfolio
                                                        securities to raise cash, the Trust may realize gain or loss on such liquidations; in the
                                                        event the Trust realizes net long-term or short-term capital gains from such liquidation
                                                        transactions, its shareholders may receive larger capital gain or ordinary dividends,
                                                        respectively, than they would in the absence of such transactions.

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                                                        Limitations of Credit Ratings. Credit ratings represent only the opinion of the rating
                                                        agency with respect to the ability of the issuer to make principal and interest payments
                                                        on the securities. In determining a credit rating, rating agencies do not evaluate the
                                                        risks of fluctuations in market value. Further, there may be limits on the effectiveness of
                                                        the rating agencies’ financial models. For these and other reasons, a credit rating may
                                                        not fully reflect the risks inherent in the relevant security. Further, a rating organization
                                                        may have a conflict of interest with respect to a security for which it assigns a
                                                        particular rating. For example, if the issuer or sponsor of a security pays a rating
                                                        agency for the analysis of the security, an inherent conflict of interest may exist that
                                                        could affect the reliability of the rating. In addition, credit rating agencies may or may
                                                        not make timely changes in a rating to reflect changes in the economy or in the
                                                        conditions of the issuer that affect the market value of the security. In other words, a
                                                        security or an issuer may maintain a certain credit rating even though conditions have
                                                        deteriorated since the rating was issued. Consequently, credit ratings should not
                                                        necessarily be relied upon as an indicator of investment quality. If a rating organization
                                                        changes the rating assigned to one or more of the Trust’s portfolio securities, the Trust
                                                        is not required to sell the relevant securities.
                                                        Certain Affiliations. Certain broker-dealers may be considered to be affiliated persons
                                                        of the Trust or the Investment Adviser. Absent an exemption from the SEC or other
                                                        regulatory relief, the Trust is generally precluded from effecting certain principal
                                                        transactions with affiliated brokers, and its ability to purchase securities being
                                                        underwritten by an affiliated broker or a syndicate including an affiliated broker, or to
                                                        utilize affiliated brokers for agency transactions, is subject to restrictions. This could
                                                        limit the Trust’s ability to engage in securities transactions and take advantage of
                                                        market opportunities. In addition, unless and until the underwriting syndicate is broken
                                                        in connection with the IPO of the securities, the Trust will be precluded from effecting
                                                        principal transactions with brokers who are members of the syndicate.
                                                        Operational and Technology Risk. Cyberattacks, disruptions, or failures that affect the
                                                        Trust’s service providers, counterparties, market participants, or issuers of securities
                                                        held by the Trust may adversely affect the Trust and its shareholders, including by
                                                        causing losses for the Trust or impairing Trust operations.
                                                        Concentration Risk - Real Estate. The Trust is required to invest at least 25% of the
                                                        value of its total assets at the time of purchase in the securities of issuers conducting
                                                        their principal business activities in the real estate industry. Under this policy, the
                                                        Trust may be subject to greater market fluctuations than a fund that does not
                                                        concentrate its investments in a particular industry. Financial, economic, business, and
                                                        other developments affecting issuers in the real estate industry will have a greater
                                                        effect on the Trust, and if securities of the real estate industry fall out of favor, the
                                                        Trust could underperform, or its NAV may be more volatile than, funds that have
                                                        greater industry diversification.
                                                        Real Estate Industry Risk. Issuers principally engaged in real estate industry, including
                                                        REITs, may be subject to risks similar to the risks associated with the direct ownership
                                                        of real estate, including: (i) changes in general economic and market conditions; (ii)
                                                        changes in the value of real estate properties; (iii) risks related to local economic
                                                        conditions, overbuilding and increased competition; (iv) increases in property taxes
                                                        and operating expenses; (v) changes in zoning laws; (vi) casualty and condemnation
                                                        losses; (vii) variations in rental income, neighborhood values or the appeal of property
                                                        to tenants; (viii) the availability of financing and (ix) changes in interest rates and
                                                        leverage.

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                                                        Communications Industry Risk. The market for communications products and services
                                                        is characterized by rapidly changing technology, rapid product obsolescence, cyclical
                                                        market patterns, evolving industry standards and frequent new product introductions.
                                                        The success of the communications industry issuers depends in substantial part on
                                                        the timely and successful introduction of new products and services. An unexpected
                                                        change in in the market for products or services based on a particular technology
                                                        could have a material adverse affect on an issuer’s operating results. Furthermore,
                                                        there can be no assurance that communications industry issuers will be able to
                                                        respond in a timely manner to compete in the rapidly developing marketplace. Many
                                                        communications companies rely on a combination of patents, copyrights, trademarks
                                                        and trade secret laws to establish and protect their intellectual property. There can be
                                                        no assurance that the steps taken to protect intellectual property will be adequate to
                                                        prevent misappropriation or that competitors will not independently develop products
                                                        or services that are substantially equivalent or superior to such issuers’ products or
                                                        services.

  Given the risks described above, an investment in the securities may not be appropriate for all investors. You should carefully
  consider your ability to assume these risks before making an investment in the Trust.

        The Trust’s common and preferred shares are registered under the Securities Exchange Act of 1934, as amended (the “Exchange
  Act”) and we are required to file reports, proxy statements and other information with the Commission. The materials we file are available
  at the Commission’s public reference room at 100 F Street, N.E., Washington, D.C. 20549. You may obtain information about the
  operation of the Commission’s public reference room by calling the Commission at 1-800-SEC-0330. In addition, the Commission
  maintains an Internet website, at http://www.sec.gov, that contains reports, proxy and information statements, and other information
  regarding issuers, including us, that file documents electronically with the Commission.


                                                        Summary of Trust Fees and Expenses

  The following table shows the Trust’s expenses, including preferred shares offering expenses, as a percentage of net assets attributable
  to common shares.

                          Shareholder Transaction Expenses
                          Sales load (as a percentage of offering price)                                             — %
                          Offering expenses borne by holders of common shares (as a percentage of
                            offering price)                                                                        0.05%(1)
                          Dividend reinvestment and cash purchase plan fees                                       None(2)
                          Preferred Shares Offering Expenses Borne by the Trust (as a percentage of
                            net assets attributable to common shares)

                                                                                         Pe rce n tage of Ne t Asse ts
                                                                                     Attribu table to C om m on S h are s
                                                                                         (Give s Effe ct to Le ve rage
                                                                                          Th rou gh Borrowin gs (3))
                          Annual Expenses
                          Management fees                                                                           1.60%(4)
                          Other expenses                                                                            1.74%(5)
                               Dividend expense on short sales                                                      0.16%
                               Interest payments on borrowed funds                                                  1.27%(6)
                               Remainder of other expenses                                                          0.31%
                          Total annual expenses                                                                     3.34%
                          Dividends on Preferred Shares                                                               —%
                          Total Annual Expenses and Dividends on
                            Preferred Shares                                                                        3.34%




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  (1) The fees and expenses of the Offering will be borne by the Trust and indirectly by all of its common shareholders, including those
        who do not exercise their Rights.
  (2)   Common shareholders will pay a brokerage commission of $0.04 per share sold if they direct the Plan Agent (as defined in the
        accompanying Prospectus) to sell common shares held in a dividend reinvestment account. See “Dividend Reinvestment Plan” in
        the accompanying Prospectus.

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  (3)   Assumes leverage in the amount of 25% of net assets. As of December 31, 2018, the Trust employed leverage in an amount equal
        to 23.7% of net assets. The Trust may use leverage through borrowings and/or preferred shares. The Trust currently leverages
        through borrowings from two committed facilities and through a master repurchase agreement. See “Principal Risks of the Trust —
        Leverage Risk” in the accompanying Prospectus for a brief description of the Trust’s Committed Facility with BNP, the Repurchase
        Agreement with BNP Securities and the Committed Facility with KeyBank National Association.
  (4)   Management fees are the investment advisory and administrative services fees paid to the Investment Adviser, which are
        computed based on Managed Assets. See “Management of the Trust — Investment Adviser” and “Management of the Trust —
        Administrator/Sub-Administrator” in the accompanying Prospectus. Such fees have been converted to net assets for purposes of
        the fee table presentation as follows: management fees, assuming no leverage, divided by (one minus the Trust’s assumed leverage
        of 25% of the Trust’s total assets). Because the base management fees of 1.20% (including an administrative fee of 0.20%) are
        based on the Trust’s gross assets, when the Trust uses leverage, the base management fees as a percentage of net assets
        attributable to common shares will increase because the Trust’s common shareholders bear all of the fees and expenses of the
        Trust.
  (5)   “Other Expenses,” which is based on the Trust’s estimated current expenses, includes costs associated with the Trust’s short sales
        on securities, including dividend and interest expenses associated with securities sold short. When a cash dividend is declared or
        interest is payable on a security for which the Trust holds a short position, the Trust incurs the obligation to pay an amount equal
        to that dividend or interest to the lender of the shorted security. Thus, the estimate for dividend and interest expenses paid is also
        based on the dividend yields or interest payments of securities that would be sold short as part of anticipated trading practices
        (which may involve avoiding dividend or interest expenses with respect to certain short sale transactions by closing out the
        position prior to the underlying issuer’s ex-dividend or ex-interest date). “Other Expenses” also includes the dividend and interest
        expense that the Trust is expected to incur during the current fiscal year.
  (6)   Assumes the use of leverage in the form of borrowings representing 25% of the Trust’s total assets (including assets obtained
        through such borrowing) at an effective annual interest rate cost to the Trust of 3.81%. This variable rate is based on current
        interest rates under the Trust’s borrowing facilities and is subject to change. The interest rate will increase in rising interest rate
        environments and, therefore, the actual interest expense borne by Trust shareholders will increase over time in a rising interest rate
        environment. The Margin Facility has a rolling 90-day term. There is no guarantee that the Trust will be able to renew its credit
        facility on these or other favorable terms in the future. While the Trust has no present intention to issue preferred shares within the
        next twelve months, if an attractive preferred shares financing opportunity were to come to the Trust’s attention during that period,
        the Trust may consider that opportunity.
  (7)   Dividends on Preferred Shares, which will be disclosed in the related Prospectus Supplement, represent the aggregate of (1) the
        estimated distributions on the existing preferred shares outstanding and (2) the distributions that would be made assuming $—
        million of preferred shares is issued with a fixed dividend rate of —%. There can, of course, be no guarantee that any preferred
        shares would be issued or, if issued, the terms thereof. This information will be updated if and when preferred shares are
        outstanding.


                                                                       EXAMPLE

        The following example illustrates the projected expenses that you would pay on a $1,000 investment in preferred shares of the
  Trust (including the estimated costs of this offering borne by the Trust of $455,000), assuming (1) that the Trust’s current net assets do
  not increase or decrease, (2) that the Trust maintains a leverage ratio of 20% from all sources of leverage, (3) that the Trust incurs total
  annual expenses of 3.34% of net assets attributable to common shares through year 10, and (4) a 5% annual return. The following
  example also assumes all dividends and distributions are reinvested at NAV. The example should not be considered a representation of
  future expenses, and actual expenses (including leverage and other expenses) may be greater or less than those shown.

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                                                                                               1 Ye ar       3 Ye ars        5 Ye ars        10 Ye ars
        Total expenses incurred                                                                $     34      $     103       $     175       $    363

  **    The example includes Dividends of Preferred Shares. If Dividends on Preferred Shares were not included in the example calculation,
        the expenses for the 1-, 3-, 5- and 10-year periods in the table above would be as follows (based on the same assumptions as
        above): $34, $103, $175 and $363. The applicable Prospectus Supplement to be used in connection with any sales of securities will
        set forth any applicable sales load and the estimated offering expenses borne by the Trust.


                                                                 Financial Highlights

        The following Financial Highlights table is intended to help you understand the Trust’s financial performance since inception. The
  information in the table was audited by PricewaterhouseCoopers LLP, an independent registered public accounting firm. Financial
  statements for the fiscal year ended December 31, 2018 and the Report of the Independent Registered Accounting Firm thereon appear
  in the Trust’s Annual Report for the Fiscal Year Ended December 31, 2018 are incorporated by reference into the Statement of Additional
  Information (“SAI”) and available from the Trust upon request. The Trust’s performance has been enhanced by the existence of
  contractual waivers of fees and expenses, which may not continue into the future.


  Selected data for a share outstanding throughout each period is as follows:

                                                                                               For th e Ye ars En de d De ce m be r 31,
                                                                                 2018          2017            2016           2015*                 2014
  Net Asset Value, Beginning of Year                                          $ 26.02         $ 25.89       $ 22.92         $ 53.92               $ 11.34
  Income from Investment Operations:
  Net investment income(a)                                                           0.75          0.93            4.08            8.75(b)               0.82
  Net realized and unrealized gain/(loss)                                            0.83          2.88            1.69          (16.08)                 2.02
  Total from investment operations                                                   1.58          3.81            5.77           (7.33)                 2.84
  Less Distributions Declared to Common Shareholders:
  From net investment income                                                         (0.77)        (2.39)         (2.80)          (2.88)                 (0.70)
  From return of capital                                                             (1.63)        (0.01)          —               —                      —
  From spin-off(d)                                                                    —             —              —             (20.79)                  —
  Total distributions declared to common shareholders                                (2.40)        (2.40)         (2.80)         (23.67)                 (0.70)
  Issuance of Common Shares (e):
  Shares Issued:                                                                (1.46)          (1.28)         —                —                    —
  Net Asset Value, End of Period                                              $ 23.74         $ 26.02       $ 25.89         $ 22.92               $ 13.48
  Market Value, End of Period                                                 $ 19.93         $ 25.29       $ 22.77         $ 20.44               $ 11.23
  Market Value Total Return(f)                                                  (8.93)%         27.31%        27.69%          (18.09)%              26.77%
  Ratios to Average Net Assets/ Supplemental Data:
  Net assets, end of period (in 000’s)                                        $767,711        $592,309      $414,800        $366,078              $860,877
  Common Shares Information at End of Period:
  Ratios based on average net assets of common shares:
  Gross operating expenses (g)                                                       2.65%         2.58%           3.12%           3.43%                 2.48%
  Net investment income/(loss)                                                       3.02%         3.69%          17.34%          24.23%(h)              6.45%
  Common and Preferred Shares Information at End of Period:
  Ratios based on average managed assets of common shares:
  Gross operating expenses (g)                                                      2.14%          2.21%            2.17%           2.23%              1.68%
  Net investment income/(loss)                                                      2.44%          3.16%          12.05%          15.79%(i)            4.38%
  Portfolio turnover rate(j)                                                          48%            36%              41%             31%                59%
  Average commission rate paid(k)                                                0.0263         0.0286           0.0294          0.0223             0.0266

  *     Per share data prior to October 6, 2015 has been adjusted to give effect to a 4 to 1 reverse stock split.

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  (a) Net investment income (loss) per share was calculated using average shares outstanding during the period.
  (b) Includes non-recurring dividend from NREO.
  (c) Less than 0.005%
  (d) On April 1, 2015, the Fund completed a spinoff transaction whereby shares of NexPoint Residential Trust, Inc. were distributed to
      shareholders in a pro-rata taxable distribution
  (e) Shares issued at a discount to NAV. The per share impact was derived by computing (A) the number of shares issued times (B) the
      difference between the net proceeds per share and NAV divided by (C) the total shares outstanding following the share issuance.
  (f) Based on market value per share. Distributions, if any, are assumed for purposes of this calculation to be reinvested at prices
      obtained under the Fund’s Dividend Reinvestment Plan.
  (g) Supplemental expense ratios are shown below:

                                                                                                              For th e Ye ars En de d De ce m be r 31,
                                                                                                       2018          2017         2016      2015       2014
  Ratios based on average net assets of common shares:
  Net operating expenses (net of waiver/reimbursement, if applicable, but gross of all other
     operating expenses)                                                                               2.65%  2.58%  3.12% 3.43% 2.48%
  Interest expense and commitment fees                                                                 0.90%  0.69%  0.93% 0.71% 0.50%
  Dividends and fees on securities sold short                                                          — %(c) — %(c) 0.07% 0.24% 0.07%

                                                                                                              For th e Ye ars En de d De ce m be r 31,
                                                                                                       2018          2017         2016      2015       2014
  Ratios based on Managed Assets of common shares:
  Net operating expenses (net of waiver/reimbursement, if applicable, but gross of all other
     operating expenses)                                                                               2.14%  2.21%  2.17% 2.23% 1.68%
  Interest expense and commitment fees                                                                 0.73%  0.59%  0.65% 0.46% 0.34%
  Dividends and fees on securities sold short                                                          — %(c) — %(c) 0.05% 0.15% 0.04%

  (h)   Net investment income (excluding non-recurring dividend from NREO) was 9.76%.
  (i)   Net investment income (excluding non-recurring dividend from NREO) was 6.36%.
  (j)   Excludes in-kind activity.
  (k)   Represents the total dollar amount of commissions paid on portfolio transactions divided by total number of portfolio shares
        purchased and sold for which commissions were charged.

  The following table sets forth additional information regarding the Trust’s credit facility since inception:

                                                                                          Total
                                                                                       Am ou n t           Asse t C ove rage pe r
                    Ye ar                                                            O u tstan din g      $1,000 of In de bte dn e ss
                    2007                                                              248,000,000         $                     3,504
                    2008                                                              141,000,000         $                     3,562
                    2009                                                              112,000,000         $                     5,096
                    2010                                                              120,000,000         $                     5,106
                    2011                                                              173,000,000         $                     3,561
                    2012                                                              225,000,000         $                     3,117
                    2013                                                              318,500,000         $                     3,275
                    2014                                                              385,336,455         $                     3,230
                    2015                                                              186,625,3151        $                     2,9621,2
                    2016                                                              124,983,081         $                     4,319
                    2017                                                               31,933,494         $                    19,548
                    2018                                                              239,507,979         $                     4,205

  1     Excludes borrowings of $29,300,000 deemed to be temporary in accordance with Section 18 of the Investment Company Act.
  2     The Trust closes its net asset value daily, and using asset prices available at the time of the December 31, 2015 NAV close, the
        Trust calculated asset coverage of greater than 300%. The Trust received updated prices for certain instruments in January that
        were used for financial reporting purposes. These updated prices pushed the percentage of asset coverage down to 296.2%. As of
        February 4, 2016, the date that the Trust declared the February monthly dividend, the percentage of asset coverage was over 300%.

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                                                       NexPoint Strategic Opportunities Fund

                                                                  Plan of Distribution

        We may offer, from time to time, in one or more Offerings, up to $500,000,000 of our fixed rate preferred shares or subscription rights
  (either transferable or non-transferable), separately or as units comprising any combination of the foregoing, on the terms to be
  determined at the time of such Offering. The Prospectus Supplement relating to any sale of fixed rate preferred shares will set forth the
  liquidation preference and information about the dividend period, dividend rate, any call protection or non-call period and other matters.
  The Prospectus Supplement relating to any offering of subscription rights will set forth the number of common and/or fixed rate
  preferred shares issuable upon the exercise of each right and the other terms of such rights offering. We may sell the securities through
  underwriters or dealers, directly to one or more purchasers, through agents or through a combination of any such methods of sale
  (including agents, underwriters or dealers affiliated with the Investment Adviser). Any underwriter or agent involved in the offer and
  sale of the securities will be named in the applicable Prospectus Supplement.

        While the aggregate number and amount of securities we may issue pursuant to this registration statement is limited to
  $500,000,000 of securities, our Board may, without any action by the shareholders, amend our Agreement and Declaration of Trust from
  time to time to increase or decrease the aggregate number of shares or the number of shares of any class or series that we have authority
  to issue. We may not sell any of our securities through agents, underwriters or dealers without delivery of a Prospectus Supplement
  describing the method and terms of the particular offering.

        The distribution of the securities may be effected from time to time in one or more transactions at a fixed price or prices, which may
  be changed, at prevailing market prices at the time of sale, at prices related to such prevailing market prices, or at negotiated prices;
  provided, however, that the price per share at which our common shares are sold, less any underwriting commissions or discounts, must
  equal or exceed the NAV per share of our common shares at the time of the offering except (i) in connection with a rights offering to our
  existing shareholders, (ii) with the consent of the majority of our common shareholders, or (iii) under such circumstances as the
  Commission may permit.

        In connection with the sale of the securities, underwriters or agents may receive compensation from us or from purchasers of the
  securities, for whom they may act as agents, in the form of discounts, concessions, commissions, structuring fees, distribution
  assistance payments or other compensation. Underwriters may sell the securities to or through dealers and such dealers may receive
  compensation in the form of discounts, concessions or commissions from the underwriters and/or commissions from the purchasers for
  whom they may act as agents. Underwriters, dealers and agents that participate in the distribution of the securities may be deemed to be
  underwriters under the Securities Act of 1933, as amended (the “Securities Act”) and any discounts, commissions or other
  compensation they receive from us and any profit realized by them on the resale of the securities may be deemed to be underwriting
  discounts and commissions under the Securities Act. Any such underwriter or agent will be identified and any such compensation
  received from us will be described in the applicable Prospectus Supplement. The maximum commission or discount to be received by
  any member of the Financial Industry Regulatory Authority (“FINRA”) or independent broker-dealer will not be greater than 9% for the
  sale of any securities being registered.

        We may sell the securities through agents from time to time. The Prospectus Supplement will name any agent involved in the offer
  or sale of the securities and any commissions we pay to them. Generally, any agent will be acting on a best efforts basis for the period of
  its appointment.

       Any securities sold pursuant to a Prospectus Supplement may be traded on the New York Stock Exchange (the “NYSE”), or
  another exchange on which the securities are traded.

       Under agreements that we may enter, underwriters, dealers and agents who participate in the distribution of shares of our
  securities may be entitled to indemnification by us against certain liabilities, including liabilities under the Securities Act. Underwriters,
  dealers and agents may engage in transactions with, or perform services for, us in the ordinary course of business.

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        In order to comply with the securities laws of certain states, if applicable, our securities offered hereby will be sold in such
  jurisdictions only through registered or licensed brokers or dealers.

        The Trust’s common shareholders will indirectly bear all of the various expenses incurred in connection with the distribution
  activities described herein.


                                                                    Use of Proceeds

       The Trust will invest the net proceeds of the Offer in accordance with the Trust’s investment objectives and policies as stated in
  the accompanying Prospectus Supplement. Assuming current market conditions, the Trust estimates that investment of the net
  proceeds of an Offering will be substantially complete within one to three months of the completion of such Offering. Pending such
  investment, it is anticipated that the proceeds of the Offering may be invested in cash and/or short-term debt securities. These
  temporary investments are expected to provide a lower net return than we hope to achieve from our targeted investments. Following the
  completion of the Offering, the Trust may increase the amount of leverage outstanding. See “Use of Leverage.”


                                                                       The Trust

        The Trust is a non-diversified, closed-end management investment company. The Trust was organized as a Delaware statutory
  trust on March 10, 2006, pursuant to an Agreement and Declaration of Trust governed by the laws of the State of Delaware. The Trust
  commenced operations on June 29, 2006, following its IPO. The Trust’s principal office is located at 300 Crescent Court, Suite 700,
  Dallas, Texas 75201 and its telephone number is 1-866-351-4440.


                                                         Investment Objectives and Policies

       The Trust’s investment objectives are to provide both current income and capital appreciation. The Trust seeks to achieve its
  investment objectives by investing primarily in the following categories of securities and instruments of corporations and other
  business entities: (i) secured and unsecured floating and fixed rate loans; (ii) bonds and other debt obligations; (iii) debt obligations of
  stressed, distressed and bankrupt issuers; (iv) structured products, including but not limited to, mortgage-backed and other asset-
  backed securities and collateralized debt obligations; (v) equities; (vi) other investment companies, including BDCs; and (vii) REITs.
  The Trust may also invest in other securities and instruments, including derivative instruments. Subject to these general guidelines, the
  Investment Adviser has broad discretion to allocate the Trust’s assets among these investment categories and other investments and to
  change allocations as conditions warrant. In order to pursue most effectively its opportunistic investment strategy, the Trust will not
  maintain fixed duration, maturity or credit quality policies. The Trust may invest in debt obligations of any credit quality. The Trust may
  invest in securities and obligations of domestic issuers and in credit or securities market investments that are Non-U.S. Securities.

        Additionally, the Trust has a fundamental policy to concentrate its investments in the real estate industry, and, under normal
  market conditions, the Trust invests at least 25% of the value of its total assets at the time of purchase in the securities of issuers
  conducting their principal business activities in the real estate industry. Within the categories of obligations and securities in which the
  Trust invests, the Investment Adviser employs various trading strategies, including capital structure arbitrage, pair trades and shorting.
  Capital structure arbitrage is a strategy in which the Trust seeks opportunities created by mispricing in different markets of various
  instruments issued by one corporation. Pair trades involve matching a long position with a short position in two stocks of different
  issuers in the same sector, betting that the “spread” between the two will eventually converge. Short selling (also known as shorting or
  going short) is a strategy in which the Trust sells a security it does not own in anticipation that the market price of that security will
  decline. See “Portfolio Composition” for further description of these strategies. The Trust may also invest in these categories of
  obligations and securities through the use of derivatives. The Trust is not limited in the amount it may invest in derivatives, and it may
  use derivatives for speculative purposes. There is no limitation on the amount of securities and other instruments rated below
  investment grade, which are commonly referred to as “junk securities,” that the Trust may purchase, and under normal circumstances
  substantially all of the Trust’s investment portfolio is expected to consist of such securities and instruments or securities and other
  instruments which, if unrated, are considered to be of similar quality. The Trust may invest a significant portion of its assets in issuers
  that are in default or that present a high risk of default. Junk securities are subject to greater risk of loss of principal and interest and may
  be less liquid than investment grade securities. The Trust may invest up to 15% of its net assets in entities that are excluded from
  registration under the Investment Company Act by virtue of section 3(c)(1) and 3(c)(7) of the Investment Company Act (such as private
  equity funds or hedge funds). This limitation does not apply to any CLOs, certain of which may rely on Section 3(c)(1) or 3(c)(7) of the
  Investment Company Act.
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       The Trust’s investment objectives may be changed without shareholder approval. There can be no assurance that the Trust’s
  investment objectives will be achieved.


                                                                 Investment Strategies

        Under normal market conditions, the Trust invests across various markets in which the Investment Adviser holds significant
  investment experience: primarily the leveraged loan, high yield, structured products, real estate, communications, natural resources and
  stressed and distressed markets. The Investment Adviser makes investment decisions based on quantitative analysis, which employs
  sophisticated, data-intensive models to drive the investment process. The Trust has a fundamental policy to concentrate its
  investments in the real estate industry, and, under normal market conditions, the Trust invests at least 25% of the value of its total
  assets at the time of purchase in the securities of issuers conducting their principal business activities in the real estate industry and the
  Investment Adviser has full discretion regarding the capital markets from which it can access investment opportunities in accordance
  with the investment limitations set forth in this Prospectus.

        The Investment Adviser uses trading strategies to seek to exploit pricing inefficiencies across the credit markets, or debt markets,
  and within an individual issuer’s capital structure. The Investment Adviser varies its investments by strategy, industry, security type
  and credit market, but reserves the right to re-position its portfolio among these criteria depending on market dynamics, and thus the
  Trust may experience high portfolio turnover. The Investment Adviser manages interest rate, default, currency and systemic risks
  through a variety of trading methods and market tools, including derivative hedging instruments, as it deems appropriate. This multi-
  strategy investment program allows the Investment Adviser to assess what it considers to be the best opportunities across multiple
  markets and to adjust quickly the Trust’s trading strategies and market focus to changing conditions. The Investment Adviser focuses
  primarily on the U.S. marketplace, but may pursue opportunities in the non-U.S. credit or securities markets by investing the Trust’s
  assets in Non-U.S. Securities.

        The Investment Adviser may select investments from a wide range of trading strategies and credit markets in order to vary the
  Trust’s investments and to optimize the risk-reward parameters of the Trust. The Investment Adviser does not intend to invest the
  Trust’s assets according to pre-determined allocations. The investment team and other personnel of the Investment Adviser use a wide
  range of resources to identify attractive individual investments and promising investment strategies for consideration in connection
  with investments by the Trust. The following is a description of the general types of securities in which the Trust may invest. This
  description is merely a summary, and the Investment Adviser has discretion to cause the Trust to invest in other types of securities and
  to follow other investment criteria and guidelines as described herein.

       The Trust invests and trades in listed and unlisted, public and private, rated and unrated, debt and equity instruments and other
  obligations, including structured debt and equity instruments and financial derivatives. Investments may include investments in
  stressed and distressed positions, which may include publicly-traded debt and equity securities (including securities of REITs, BDCs
  and MLPs), obligations which were privately placed with banks, insurance companies and other lending institutions, trade claims,
  accounts receivable and any other form of obligation recognized as a claim in a bankruptcy or workout process. The Trust may invest in
  securities traded in foreign countries and denominated in foreign currencies.

        REITs are pooled investment vehicles that invest primarily in income-producing real estate or real estate-related loans or interests.
  Foreign REIT equivalents are entities located in jurisdictions that have adopted legislation substantially similar to the REIT tax
  provisions in that they provide for favorable tax treatment for the foreign REIT equivalent and require distributions of income to
  shareholders. The Trust seeks to gain exposure to the real estate markets, in whole or in part, by investing in certain REIT subsidiaries
  of the Trust, notably NexPoint Real Estate Opportunities, LLC (formerly Freedom REIT) (“NREO”) and NexPoint Real Estate Capital, LLC
  (“NREC”).

         With respect to the Trust’s real estate investments, the Adviser seeks to: (i) recognize and allocate capital based upon where the
  Adviser believes we are in the current real estate cycle, and as a result (ii) minimize drawdowns during market downturns and maximize
  risk adjusted returns during all market cycles, though there can be no assurance that this strategy will achieve this objective. The Trust
  will rely on the expertise of the Adviser and its affiliates to determine the appropriate structure for structured credit investments, which
  may include bridge loans, common and preferred equity or other debt-like positions, as well as the acquisition of such instruments from
  banks, servicers or other third parties.

       Preferred equity and mezzanine investments in real estate transactions come in various forms which may or may not be
  documented in the borrower’s organizational documents. Generally, real estate preferred equity and/or mezzanine investments are
  typically junior to first mortgage financing but senior to the borrower’s or sponsor’s equity contribution. The investments are typically
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  structured as an investment by a third-party investor in the real estate owner or various affiliates in the chain of ownership in exchange
  for a direct or indirect ownership interest in the real estate owner entitling it to a preferred/priority return on its investment. Sometimes,
  the investment is structured much like a loan where (i) “interest” on the investment is required to be paid monthly by the “borrower”
  regardless of available property cash flow; (ii) the entire investment is required to be paid by a certain maturity date; (iii) default rate
  “interest” and penalties are assessed against the “borrower” in the event payments are not made timely; and (iv) a default in the
  repayment of investment potentially results in the loss of management and/or ownership control by the “borrower” in the company in
  favor of the investor or other third-party.

       As part of its investment program, the Trust may invest, from time to time, in securities or other instruments that are sold in private
  placements and that are neither listed on an exchange, nor traded over the counter. The Trust may also receive equity or equity-related
  securities in connection with a workout transaction or may invest directly in equity securities.

       The Trust may employ currency hedges (either in the forward or options markets) in certain circumstances to reduce currency risk
  and may engage in other derivative transactions for hedging purposes or to enhance total return. The Trust may also lend securities and
  engage in short sales of securities. The Trust currently leverages through borrowings from a committed facility, through a master
  repurchase agreement and through a bridge credit agreement. Additionally, the Trust may continue to use leverage in the future through
  borrowings or the issuance of preferred shares. However, the Trust has no present intention to issue preferred shares within the next
  twelve months. However, it is possible that an attractive preferred shares financing opportunity may arise, which the Trust may
  consider. In addition, the Trust may invest in the securities of companies whose capital structures are highly leveraged.

        From time to time, the Investment Adviser may also invest a portion of the Trust’s assets in short-term U.S. government
  obligations, certificates of deposit, commercial paper and other money market instruments, including repurchase agreements with
  respect to such obligations and pooled investment vehicles (for example, money market funds) that invest in these obligations, to
  enable the Trust to make investments quickly, to serve as collateral with respect to certain of its investments, and for other cash
  management purposes. A greater percentage of Trust assets may be invested in such obligations if the Investment Adviser believes
  that a defensive position is appropriate because of the outlook for security prices or in order to respond to adverse market, economic,
  business or political conditions.

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       As of June 30, 2019, 14% of the Trust’s investment portfolio consisted of unrated securities, 3% of the Trust’s investment portfolio
  consisted of securities rated below investment grade, also known as “junk securities,” 1% of the Trust’s investment portfolio consisted
  of securities of issuers that are in default, 1% of the Trust’s investment portfolio consisted of securities rated investment grade, 47% of
  the Trust’s investment portfolio consisted of equities (excluding investments considered to be debt obligations) and 34% of the Trust’s
  investment portfolio consisted of REITs. All of the unrated securities referenced in the prior sentence have credit characteristics
  substantially equivalent to below investment grade securities, which are also known as “junk securities.”

             For a more complete discussion of the Trust’s investment portfolio composition, see “Portfolio Composition” below.


                                                                 Portfolio Composition

       The Trust’s investment portfolio will be composed principally of the following investments. Additional information relating to the
  Trust’s investment policies and restrictions and the Trust’s portfolio investments is contained in the SAI.

        Senior Loans. Senior loans hold the most senior position in the capital structure of a business entity, are typically secured with
  specific collateral and have a claim on the general assets of the borrower that is senior to that held by subordinated debtholders and
  stockholders of the borrower. The proceeds of senior loans primarily are used to finance leveraged buyouts, recapitalizations, mergers,
  acquisitions, stock repurchases, and, to a lesser extent, to finance internal growth and for other corporate purposes. Senior loans
  typically have rates of interest which are redetermined either daily, monthly, quarterly or semi-annually by reference to a base lending
  rate, plus a premium. These base lending rates generally are the London Interbank Offered Rate (“LIBOR”), the prime rate offered by one
  or more major U.S. banks (“Prime Rate”) or the certificate of deposit (“CD”) rate or other base lending rates used by commercial lenders.

        Senior loans will generally be supported by liens in the Trust’s favor on all or a portion of the assets of the portfolio company or
  on assets of affiliates of the portfolio company. Although the Trust may seek to dispose of such collateral in the event of default, it may
  be delayed in exercising such rights or its rights may be contested by others. In addition, the value of the collateral may deteriorate so
  that the collateral is insufficient for the Trust to recover its investment in the event of default.

       The Trust also may invest in unsecured loans, other floating rate debt securities such as notes, bonds and asset-backed securities
  (such as securities issued by special purchase funds investing in bank loans), investment grade and below-investment grade fixed
  income debt obligations and money market instruments, such as commercial paper. The Trust also may purchase obligations issued in
  connection with a restructuring pursuant to Chapter 11 of the U.S. Bankruptcy Code.

        Loans and other corporate debt obligations are subject to the risk of non-payment of scheduled interest or principal. Such
  non-payment would result in a reduction of income to the Trust, a reduction in the value of the investment and a potential decrease in
  the NAV of the Trust. Liquidation of any collateral securing a senior loan may not satisfy a borrower’s obligation in the event of
  non-payment of scheduled interest or principal payments, or that such collateral could be readily liquidated. In the event of bankruptcy
  of a borrower, the Trust could experience delays or limitations with respect to its ability to realize the benefits of the collateral securing a
  senior loan. To the extent that a senior loan is collateralized by stock in the borrower or its subsidiaries, such stock may lose all or
  substantially all of its value in the event of the bankruptcy of a borrower. Some senior loans are subject to the risk that a court, pursuant
  to fraudulent conveyance or other similar laws, could subordinate senior loans to presently existing or future indebtedness of the
  borrower or take other action detrimental to the holders of senior loans including, in certain circumstances, invalidating such senior
  loans or causing interest previously paid to be refunded to the borrower. If interest were required to be refunded, it could negatively
  affect the Trust’s performance. To the extent a senior loan is subordinated in the capital structure, it will have characteristics similar to
  other subordinated debtholders, including a greater risk of nonpayment of interest or principal.

         Many loans in which the Investment Adviser anticipates the Trust will invest, and the issuers of such loans, may not be rated by a
  rating agency, will not be registered with the Commission or any state securities commission and will not be listed on any national
  securities exchange. The amount of public information available with respect to issuers of senior loans will generally be less extensive
  than that available for issuers of registered or exchange listed securities. In evaluating the creditworthiness of borrowers, the
  Investment Adviser will consider, and may rely in part, on analyses performed by others. The Investment Adviser does not view ratings
  as the determinative factor in its investment decisions and relies more upon its credit analysis abilities than upon ratings. Borrowers may
  have outstanding debt obligations that are rated below investment grade by a rating agency. A high percentage of senior loans held by
  the Trust may be rated, if at all, below investment grade by independent rating agencies. In the event senior loans are not rated, they are
  likely to be the equivalent of below investment grade quality. Debt securities which are unsecured and rated below investment grade
  (i.e., Ba and below by Moody’s Investors Service, Inc. (“Moody’s”) or BB and below by Standard & Poor’s Ratings Group, a division of

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  The McGraw-Hill Companies, Inc. (“S&P”)) and comparable unrated bonds, are viewed by the rating agencies as having speculative
  characteristics and are commonly known as “junk bonds.” A description of the ratings of corporate

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  bonds by Moody’s and S&P is included as Appendix A to the SAI. Because senior loans are senior in a borrower’s capital structure and
  are often secured by specific collateral, the Investment Adviser believes that senior loans have more favorable loss recovery rates as
  compared to most other types of below investment grade debt obligations. However, the Trust’s actual loss recovery experience may
  not be consistent with the Investment Adviser’s prior experience and the Trust’s senior loans may not achieve any specific loss
  recovery rates.

        No active trading market may exist for many senior loans, and some senior loans may be subject to restrictions on resale. The Trust
  is not limited in the percentage of its assets that may be invested in senior loans and other securities deemed to be illiquid. A secondary
  market may be subject to irregular trading activity, wide bid/ask spreads and extended trade settlement periods, which may impair the
  ability to realize full value on the disposition of an illiquid senior loan, and cause a material decline in the Trust’s NAV.

        Senior loans generally are arranged through private negotiations between a borrower and a group of financial institutions initially
  represented by an agent who is usually one of the originating lenders. In larger transactions, it is common to have several agents.
  Generally, however, only one such agent has primary responsibility for ongoing administration of a senior loan. Agents are typically
  paid fees by the borrower for their services. The agent is primarily responsible for negotiating the credit agreement which establishes
  the terms and conditions of the senior loan and the rights of the borrower and the lenders. The agent is also responsible for monitoring
  collateral and for exercising remedies available to the lenders such as foreclosure upon collateral.

       Credit agreements may provide for the termination of the agent’s status in the event that it fails to act as required under the
  relevant credit agreement, becomes insolvent, enters Federal Deposit Insurance Corporation (“FDIC”) receivership or, if not FDIC
  insured, enters into bankruptcy. Should such an agent, lender or assignor with respect to an assignment interpositioned between the
  Trust and the borrower become insolvent or enter FDIC receivership or bankruptcy, any interest in the senior loan of such person and
  any loan payment held by such person for the benefit of the Trust should not be included in such person’s or entity’s bankruptcy
  estate. If, however, any such amount were included in such person’s or entity’s bankruptcy estate, the Trust would incur certain costs
  and delays in realizing payment or could suffer a loss of principal or interest. In this event, the Trust could experience a decrease in NAV.

       The Trust’s investments in senior loans may take one of several forms, including acting as one of the group of lenders originating
  a senior loan, purchasing an assignment of a portion of a senior loan from a third party or acquiring a participation in a senior loan.
  When the Trust is a member of the originating syndicate for a senior loan, it may share in a fee paid to the syndicate. When the Trust
  acquires a participation in, or an assignment of, a senior loan, it may pay a fee to, or forego a portion of interest payments from, the
  lender selling the participation or assignment. The Trust will act as lender, or purchase an assignment or participation, with respect to a
  senior loan only if the agent is determined by the Investment Adviser to be creditworthy.

        When the Trust is one of the original lenders, it will have a direct contractual relationship with the borrower and can enforce
  compliance by the borrower with terms of the credit agreement. It also may have negotiated rights with respect to any funds acquired by
  other lenders through setoff. Original lenders also negotiate voting and consent rights under the credit agreement. Actions subject to
  lender vote or consent generally require the vote or consent of the majority of the holders of some specified percentage of the
  outstanding principal amount of the senior loan. Certain decisions, such as reducing the interest rate, or extending the maturity of a
  senior loan, or releasing collateral securing a senior loan, among others, frequently require the unanimous vote or consent of all lenders
  affected.

        When the Trust is a purchaser of an assignment, it typically succeeds to all the rights and obligations under the credit agreement
  of the assigning lender and becomes a lender under the credit agreement with the same rights and obligations as the assigning lender.
  Assignments are, however, arranged through private negotiations between potential assignees and potential assignors, and the rights
  and obligations acquired by the purchaser of an assignment may be more limited than those held by the assigning lender.

        The Trust may also invest in participations in senior loans. The rights of the Trust when it acquires a participation are likely to be
  more limited than the rights of an original lender or an investor who acquired an assignment. Participation by the Trust in a lender’s
  portion of a senior loan typically means that the Trust has only a contractual relationship with the lender, not with the borrower. This
  means that the Trust has the right to receive payments of principal, interest and any fees to which it is entitled only from the lender
  selling the participation and only upon receipt by the lender of payments from the borrower.

        With a participation, the Trust will have no rights to enforce compliance by the borrower with the terms of the credit agreement or
  any rights with respect to any funds acquired by other lenders through setoff against the borrower. In addition, the Trust may not
  directly benefit from the collateral supporting the senior loan because it may be treated as a general creditor of the lender instead of a
  senior secured creditor of the borrower. As a result, the Trust may be subject to delays, expenses and risks that are greater than those
  that exist when the Trust is the original lender or holds an assignment. This means the Trust must assume the credit risk of both the
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  borrower and the lender selling the participation. The Trust will consider a purchase of participations only in those situations where the
  Investment Adviser considers the participating lender to be creditworthy.

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        In the event of a bankruptcy or insolvency of a borrower, the obligation of the borrower to repay the senior loan may be subject to
  certain defenses that can be asserted by such borrower against the Trust as a result of improper conduct of the lender selling the
  participation. A participation in a senior loan will be deemed to be a senior loan for the purposes of the Trust’s investment objectives
  and policies.

        The Trust may have difficulty disposing of assignments and participations. Because there is no liquid market for such securities,
  the Trust anticipates that such securities could be sold only to a limited number of institutional investors. The lack of a liquid secondary
  market will have an adverse impact on the value of such securities and on the Trust’s ability to dispose of particular assignments or
  participations when necessary to meet the Trust’s liquidity needs or in response to a specific economic event, such as a deterioration in
  the creditworthiness of the borrower. The lack of a liquid secondary market for assignments and participations also may make it more
  difficult for the Trust to assign a value to those securities for purposes of valuing the Trust’s investment portfolio and calculating its
  NAV.

       Investing in senior loans involves investment risk. Some borrowers default on their senior loan payments. The Trust attempts to
  manage this credit risk through multiple different investments within the portfolio and ongoing analysis and monitoring of borrowers.
  The Trust also is subject to market, liquidity, interest rate and other risks. See “Principal Risks of the Trust.”

         Loans other than senior loans may not be acceptable collateral under the Trust’s current credit facility or under any future credit
  facilities, or may require a higher collateral-to-loan ratio, and therefore to the extent the Trust invests in such loans its ability to borrow
  may be reduced.

       Second Lien Loans. Second lien loans are loans made by public and private corporations and other non-governmental entities and
  issuers for a variety of purposes. Second lien loans are second in right of payment to one or more senior loans of the related borrower.
  Second lien loans typically are secured by a second priority security interest or lien to or on specified collateral securing the borrower’s
  obligation under the loan and typically have similar protections and rights as senior loans. Second lien loans are not (and by their terms
  cannot) become subordinate in right of payment to any obligation of the related borrower other than senior loans of such borrower.
  Second lien loans, like senior loans, typically have adjustable floating rate interest payments. Because second lien loans are second to
  senior loans, they present a greater degree of investment risk but often pay interest at higher rates reflecting this additional risk. Such
  investments generally are of below investment grade quality. Other than their subordinated status, second lien loans have many
  characteristics and risks similar to senior loans discussed above. In addition, second lien loans of below investment grade quality share
  many of the risk characteristics of non-investment grade securities. As in the case of senior loans, the Trust may purchase interests in
  second lien loans through assignments or participations.

        Second lien loans are subject to the same risks associated with investment in senior loans and non-investment grade securities.
  Because second lien loans are second in right of payment to one or more senior loans of the related borrower, they therefore are subject
  to additional risk that the cash flow of the borrower and any property securing the loan may be insufficient to meet scheduled payments
  after giving effect to the senior secured obligations of the borrower. Second lien loans are also expected to have greater price volatility
  than senior loans and may be less liquid. There is also a possibility that originators will not be able to sell participations in second lien
  loans, which would create greater credit risk exposure.

        The risks associated with second lien loans are higher than the risks of loans with first priority over the collateral. In the event of
  default on a second lien loan, the first priority lien holder has first claim to the underlying collateral of the loan. It is possible that no
  collateral value would remain for the second priority lien holder, resulting in a loss to the Trust.

        Other Secured Loans. Secured loans other than senior loans and second lien loans are made by public and private corporations
  and other non-governmental entities and issuers for a variety of purposes. Such secured loans may rank lower in right of payment to
  one or more senior loans and second lien loans of the borrower. Such secured loans typically are secured by a lower priority security
  interest or lien to or on specified collateral securing the borrower’s obligation under the loan, and typically have more subordinated
  protections and rights than senior loans and second lien loans. Secured loans may become subordinated in right of payment to more
  senior obligations of the borrower issued in the future. Such secured loans may have fixed or adjustable floating rate interest payments.
  Because such secured loans may rank lower as to right of payment than senior loans and second lien loans of the borrower, they may
  present a greater degree of investment risk than senior loans and second lien loans but often pay interest at higher rates reflecting this
  additional risk. Such investments generally are of below investment grade quality. Other than their more subordinated status, such
  investments have many characteristics and risks similar to senior loans and second lien loans discussed above. In addition, secured
  loans of below investment grade quality share many of the risk characteristics of non-investment grade securities. As in the case of
  senior loans and second lien loans, the Trust may purchase interests in other secured loans through assignments or participations.
  Other secured loans are subject to the same risks associated with investment in senior loans, second lien loans and non-investment
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  grade securities. Because such loans, however, may rank lower in right of payment to senior loans and second lien loans of the
  borrower, they may be subject to additional risk that the cash flow of the borrower and any property securing the loan may be
  insufficient to repay the scheduled payments after giving effect to more senior secured obligations of the borrower. Such secured loans
  are also expected to have greater price volatility than senior loans and second lien loans and may be less liquid. There is also a
  possibility that originators will not be able to sell participations in other secured loans, which would create greater credit risk exposure.

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        Unsecured Loans. Unsecured loans are loans made by public and private corporations and other non-governmental entities and
  issuers for a variety of purposes. Unsecured loans generally have lower priority in right of payment compared to holders of secured
  debt of the borrower. Unsecured loans are not secured by a security interest or lien to or on specified collateral securing the borrower’s
  obligation under the loan. Unsecured loans by their terms may be or may become subordinate in right of payment to other obligations of
  the borrower, including senior loans, second lien loans and other secured loans. Unsecured loans may have fixed or adjustable floating
  rate interest payments. Because unsecured loans are subordinate to the secured debt of the borrower, they present a greater degree of
  investment risk but often pay interest at higher rates reflecting this additional risk. Such investments generally are of non-investment
  grade quality. Other than their subordinated and unsecured status, such investments have many characteristics and risks similar to
  senior loans, second lien loans and other secured loans discussed above. In addition, unsecured loans of non-investment grade quality
  share many of the risk characteristics of non-investment grade securities. As in the case of secured loans, the Trust may purchase
  interests in unsecured loans through assignments or participations.

        Unsecured loans are subject to the same risks associated with investment in senior loans, second lien loans, other secured loans
  and non-investment grade securities. However, because unsecured loans rank lower in right of payment to any secured obligations of
  the borrower, they may be subject to the additional risk that the cash flow of the borrower and available assets may be insufficient to
  meet scheduled payments after giving effect to the secured obligations of the borrower. Unsecured loans are also expected to have
  greater price volatility than secured loans and may be less liquid. There is also a possibility that loan originators will not be able to sell
  participations in unsecured loans, which would create greater credit risk exposure.

        Mezzanine Debt. The Trust’s assets may include mezzanine loans. Structurally, mezzanine loans usually rank subordinate in
  priority of payment to senior debt, such as senior bank debt, and are often unsecured. However, mezzanine loans rank senior to common
  and preferred equity in a borrower’s capital structure. Mezzanine debt is often used in leveraged buyout and real estate finance
  transactions. Typically, mezzanine loans have elements of both debt and equity instruments, offering the fixed returns in the form of
  interest payments associated with senior debt, while providing lenders an opportunity to participate in the capital appreciation of a
  borrower, if any, through an equity interest. This equity interest typically takes the form of warrants. Due to their higher risk profile and
  often less restrictive covenants as compared to senior loans, mezzanine loans generally earn a higher return than senior secured loans.
  The warrants associated with mezzanine loans are typically detachable, which allows lenders to receive repayment of their principal on
  an agreed amortization schedule while retaining their equity interest in the borrower. Mezzanine loans also may include a “put” feature,
  which permits the holder to sell its equity interest back to the borrower at a price determined through an agreed-upon formula. The Trust
  believes that mezzanine loans offer an alternative investment opportunity based upon their historical returns and resilience during
  economic downturns.

         Investment Grade Securities. The Trust may invest in a wide variety of bonds that are rated or determined by the Investment
  Adviser to be of investment grade quality of varying maturities issued by U.S. corporations and other business entities. Bonds are fixed
  or variable rate debt obligations, including bills, notes, debentures, money market instruments and similar instruments and securities.
  Bonds generally are used by corporations and other issuers to borrow money from investors for a variety of business purposes. The
  issuer pays the investor a fixed or variable rate of interest and normally must repay the amount borrowed on or before maturity. Certain
  bonds are “perpetual” in that they have no maturity date. Some investment grade securities, such as zero coupon bonds, do not pay
  current interest, but are sold at a discount from their face values. Although more creditworthy and generally less risky than
  non-investment grade securities, investment grade securities are still subject to market and credit risk. Market risk relates to changes in a
  security’s value as a result of interest rate changes generally. Investment grade securities have varying levels of sensitivity to changes
  in interest rates and varying degrees of credit quality. In general, bond prices rise when interest rates fall, and fall when interest rates
  rise. Longer-term bonds and zero coupon bonds are generally more sensitive to interest rate changes. Credit risk relates to the ability of
  the issuer to make payments of principal and interest. The values of investment grade securities like those of other debt securities may
  be affected by changes in the credit rating or financial condition of an issuer. Investment grade securities are generally considered
  medium- and high-quality securities. Some, however, may possess speculative characteristics, and may be more sensitive to economic
  changes and to changes in the financial condition of issuers. The market prices of investment grade securities in the lowest investment
  grade categories may fluctuate more than higher-quality securities and may decline significantly in periods of general or regional
  economic difficulty. Like non-investment grade securities, such investment grade securities in the lowest investment grade categories
  may be thinly traded, making them difficult to sell promptly at an acceptable price.

        Other Fixed Income Securities. The Trust also may purchase unsecured loans, other floating rate or fixed rate debt securities such
  as notes, bonds and asset-backed securities (such as securities issued by special purpose funds investing in bank loans), investment
  grade and below investment grade fixed income debt obligations and money market instruments, such as commercial paper. The high
  yield securities in which the Trust invests are rated Ba or lower by Moody’s or BB or lower by S&P or are unrated but determined by the
  Investment Adviser to be of comparable quality. Debt securities rated below investment grade are commonly referred to as “junk
  securities” and are considered speculative with respect to the issuer’s capacity to pay interest and repay principal.
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  Below investment grade debt securities involve greater risk of loss, are subject to greater price volatility and are less liquid, especially
  during periods of economic uncertainty or change, than higher rated debt securities. The Trust’s fixed-income securities may have fixed
  or variable principal payments and all types of interest rate and dividend payment and reset terms, including fixed rate, adjustable rate,
  zero coupon, contingent, deferred, payment in kind and auction rate features. The Trust may invest in fixed-income securities with a
  broad range of maturities. The Trust may invest in zero coupon bonds, deferred interest bonds and bonds or preferred stock on which
  the interest is payable-in-kind (PIK bonds). To the extent the Trust invests in such instruments, they will not contribute to the Trust’s
  goal of current income. Zero coupon and deferred interest bonds are debt obligations which are issued at a significant discount from
  face value. While zero coupon bonds do not require the periodic payment of interest, deferred interest bonds provide for a period of
  delay before the regular payment of interest begins. PIK bonds are debt obligations that provide that the issuer thereof may, at its
  option, pay interest on such bonds in cash or in the form of additional debt obligations. Such investments may experience greater
  volatility in market value due to changes in interest rates. The Trust may be required to recognize income on these investments for U.S.
  federal income tax purposes even though the Trust receives no corresponding interest payment in cash on the investments. As a result,
  in order to receive the special treatment accorded to regulated investment companies (“RICs”) and their shareholders under the Internal
  Revenue Code of 1986, as amended (the “Code”) and to avoid any U.S. federal income or excise taxes at the Trust level, the Trust may
  be required to pay out as an income distribution each year an amount greater than the total amount of interest and other income the
  Trust actually received. The Trust may be required to, among other things, sell securities, including at potentially disadvantageous
  times or prices, to obtain cash needed for income distributions, and may realize gain or loss from such liquidations. In the event the
  Trust realizes net long-term or short-term capital gains from such liquidation transactions, its shareholders may receive larger capital
  gain or ordinary dividends, respectively, than they would in the absence of such transactions.

         Non-Investment Grade Securities. The Trust may invest a significant portion of its assets in securities rated below investment
  grade, such as those rated Ba or lower by Moody’s and BB or lower by S&P or securities comparably rated by other rating agencies or
  in unrated securities determined by the Investment Adviser to be of comparable quality. Securities rated Ba by Moody’s are judged to
  have speculative elements, their future cannot be considered as well assured and often the protection of interest and principal payments
  may be very moderate. Securities rated BB by S&P are regarded as having predominantly speculative characteristics and, while such
  obligations have less near-term vulnerability to default than other speculative grade debt, they face major ongoing uncertainties or
  exposure to adverse business, financial or economic conditions which could lead to inadequate capacity to meet timely interest and
  principal payments. Securities rated C are regarded as having extremely poor prospects of ever attaining any real investment standing.
  Securities rated D are in default and the payment of interest and/or repayment of principal is in arrears. The Trust may purchase
  securities rated as low as D. When the Investment Adviser believes it to be in the best interests of the Trust’s shareholders, the Trust
  will reduce its investment in lower grade securities.

        Lower grade securities, though generally high-yielding, are characterized by high risk. They may be subject to certain risks with
  respect to the issuing entity and to greater market fluctuations than certain lower yielding, higher rated securities. The secondary market
  for lower grade securities may be less liquid than that of higher rated securities. Adverse conditions could make it difficult at times for
  the Trust to sell certain securities or could result in lower prices than those used in calculating the Trust’s NAV.

        The prices of debt securities generally are inversely related to interest rate changes; however, the price volatility caused by
  fluctuating interest rates of securities also is inversely related to the coupon of such securities. Accordingly, below investment grade
  securities may be relatively less sensitive to interest rate changes than higher quality securities of comparable maturity, because of their
  higher coupon. This higher coupon is what the investor receives in return for bearing greater credit risk. The higher credit risk
  associated with below investment grade securities potentially can have a greater effect on the value of such securities than may be the
  case with higher quality issues of comparable maturity, and may cause the value of the Trust’s securities to fluctuate. Distressed debt
  securities often are priced based on estimated recovery value and are less sensitive to interest rate movement.

        Lower grade securities may be particularly susceptible to economic downturns. It is likely that an economic recession could
  severely disrupt the market for such securities and may have an adverse impact on the value of such securities. In addition, it is likely
  that any such economic downturn could adversely affect the ability of the issuers of such securities to repay principal and pay interest
  thereon and increase the incidence of default for such securities.

        The ratings of Moody’s, S&P and any other rating agencies represent their opinions as to the quality of the obligations which
  they undertake to rate. Ratings are relative and subjective and, although ratings may be useful in evaluating the safety of interest and
  principal payments, they do not evaluate the market value risk of such obligations. Although these ratings may be an initial criterion for
  selection of portfolio investments, the Investment Adviser also will independently evaluate these securities and the ability of the
  issuers of such securities to pay interest and principal. To the extent that the Trust invests in lower grade securities that have not been
  rated by a rating agency, the Trust’s ability to achieve its investment objectives will be more dependent on the Investment Adviser’s
  credit analysis than would be the case when the Trust invests in rated securities.
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        Asset-Backed Securities. The Trust may invest a portion of its assets in asset-backed securities. Asset-backed securities are
  generally issued as pass-through certificates, which represent undivided fractional ownership interests in an underlying pool of assets,

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  or as debt instruments, which are also known as collateralized obligations, and are generally issued as the debt of a special purpose
  entity organized solely for the purpose of owning such assets and issuing such debt. Asset-backed securities are often backed by a
  pool of assets representing the obligations of a number of different parties. Credit card receivables are generally unsecured, and the
  debtors are entitled to the protection of a number of state and federal consumer credit laws which give debtors the right to setoff certain
  amounts owed on the credit cards, thereby reducing the balance due. Most issuers of automobile receivables permit the servicers to
  retain possession of the underlying obligations. If the servicer were to sell these obligations to another party, there is a risk that the
  purchaser would acquire an interest superior to that of the holders of the related automobile receivables. In addition, because of the
  large number of vehicles involved in a typical issuance and technical requirements under state laws, the trustee for the holders of the
  automobile receivables may not have an effective security interest in all of the obligations backing such receivables. Therefore, there is
  a possibility that recoveries on repossessed collateral may not, in some cases, be able to support payments on these securities.

       Royalty Securitizations. Companies holding rights to intellectual property may create bankruptcy remote special purpose entities
  whose underlying assets are royalty license agreements and intellectual property rights related to a product. A significant portion of the
  Trust’s investments will be related to pharmaceutical royalties that are secured by rights related to one or more drugs. The Trust may,
  however, invest in royalty streams related to other industries.

        Royalty securities may include bonds, loans and equity issued by the special purpose entity. The Investment Adviser believes
  that the terms of royalty securities that are bonds may be favorable as compared to the broader debt universe, and that the returns are
  not highly correlated with general credit market events.

       In a typical structure in the pharmaceutical industry, a small pharmaceutical company that develops a compound may license the
  commercial opportunity to a large-cap pharmaceutical company in exchange for payments upon completion of certain milestones (for
  example, Food and Drug Administration (“FDA”) approval) and a percentage of future product sales. Upon securing the right to receive
  royalties on product sales, the small pharmaceutical company finances a loan or bond secured by the royalty stream, which is typically
  non-recourse to either of the pharmaceutical companies.

        In addition, a company, the sponsor, may create a wholly owned subsidiary, the issuer, that issues the royalty securities. The
  sponsor sells, assigns and contributes to the issuer rights under one or more license agreements, including the right to receive royalties
  and certain other payments from sales of the pharmaceutical or other products. The sponsor also pledges the equity ownership interests
  in the issuer to the trustee under the indenture related to the notes. In return, the sponsor receives the proceeds of the securities from
  the issuer. The issuer of the securities grants a security interest in its assets to the trustee and is responsible for the debt service on the
  notes. An interest reserve account may be established to provide a source for payments should there be a cash flow shortfall for one or
  more periods. Many structures include a 100% cash flow sweep, which means that the principal is paid down by all cash flows received.
  Although the notes may have a legal maturity date of up to five to sixteen years from issuance, the expected weighted average maturity
  of the notes may be significantly shorter because of expected required principal repayments if funds are available.

        If the issuer of the loan or bond defaults, any recourse will be limited to the issuer (which is formed for the limited purpose of
  purchasing and holding the license agreement or related intellectual property) and the collateral. The pharmaceutical or other company
  sponsoring the special purpose entity will generally not have the obligation to contribute additional equity to the issuer. If the sponsor
  of the issuer were to become a debtor in a bankruptcy case, a creditor, debtor in possession or trustee could request that the bankruptcy
  court substantively consolidate the issuer of the royalty security with the sponsor and/or recharacterize the transaction pursuant to
  which the royalty stream was transferred to the issuer and/or take other actions challenging the transaction. To the extent that these
  efforts are successful, these actions may adversely impact the securities and the Trust.

         Collateralized Loan Obligations and Bond Obligations. The Trust may invest in certain asset-backed securities that are
  securitizing certain financial assets by issuing securities in the form of negotiable paper that are issued by a financing company
  (generally called a Special Purpose Vehicle or “SPV”). These securitized assets are, as a rule, corporate financial assets brought into a
  pool according to specific diversification rules. The SPV is a company founded solely for the purpose of securitizing these claims and its
  only asset is the diversified asset pool. On this basis, marketable securities are issued which, due to the diversification of the underlying
  risk, are generally considered to represent a lower level of risk than the original assets taken separately. The redemption of the securities
  issued by the SPV takes place at maturity out of the cash flow generated by the collected claims.

       A CLO is a structured security issued by an SPV that was created to reapportion the risk and return characteristics of a pool of
  assets. The assets, typically senior loans, are used as collateral supporting the various debt and equity tranches issued by the SPV. The
  key feature of the CLO structure is the prioritization of the cash flows from a pool of debt (and, to a lesser degree, equity) securities
  among the several classes of securities issued by a CLO. The Trust may invest in both equity and debt tranches issued by the SPV.

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        The Trust may also invest in CBOs, which are structured securities backed by a diversified pool of high-yield, public or private
  fixed income securities. These may be fixed pools or may be “market value” (or managed) pools

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  of collateral. The CBO issues debt securities that are typically separated into tranches representing different degrees of credit quality.
  The top tranche of securities has the greatest collateralization and pays the lowest interest rate. Lower CBO tranches have a lesser
  degree of collateralization quality and pay higher interest rates intended to compensate for the attendant risks. The bottom tranche
  specifically receives the residual interest payments (i.e., money that is left over after the higher tranches have been paid) rather than a
  fixed interest rate. The return on the lower tranches of CBOs/CLOs is especially sensitive to the rate of defaults in the collateral pool and
  lower tranches of CBOs/CLOs typically present the highest risk of loss of entire investment and are required to bear losses before the
  higher tranches. Under normal market conditions, the Trust expects to invest in the lower tranches of CBOs/CLOs, including equity
  tranches.

       Distressed Debt. The Trust is authorized to invest in the securities and other obligations of distressed and bankrupt issuers,
  including debt obligations that are in covenant or payment default. Such investments generally trade significantly below par and are
  considered speculative. The repayment of defaulted obligations is subject to significant uncertainties. Defaulted obligations might be
  repaid only after lengthy workout or bankruptcy proceedings, during which the issuer might not make any interest or other payments.
  Typically such workout or bankruptcy proceedings result in only partial recovery of cash payments or an exchange of the defaulted
  obligation for other debt or equity securities of the issuer or its affiliates, which may in turn be illiquid or speculative. The Trust may
  invest in securities of a company for purposes of gaining control.

        Stressed Debt. The Trust is authorized to invest in securities and other obligations of stressed issuers. Stressed issuers are issuers
  that are not yet deemed distressed or bankrupt and whose debt securities are trading at a discount to par, but not yet at distressed
  levels. An example would be an issuer that is in technical default of its credit agreement, or undergoing strategic or operational changes,
  which results in market pricing uncertainty.

        Credit Derivatives. The Trust may engage in credit derivative transactions for hedging or capital appreciation purposes. There are
  two broad categories of credit derivatives: default price risk derivatives and market spread derivatives. Default price risk derivatives are
  linked to the price of reference securities or loans after a default by the issuer or borrower, respectively. Market spread derivatives are
  based on the risk that changes in market factors, such as credit spreads, can cause a decline in the value of a security, loan or index.

         There are currently three basic transactional forms for credit derivatives: swaps, options and structured instruments. The use of
  credit derivatives is a highly specialized activity which involves strategies and risks different from those associated with ordinary
  portfolio security transactions. If the Investment Adviser is incorrect in its forecasts of default risks, market spreads or other applicable
  factors, the investment performance of the Trust would diminish compared with what it would have been if these techniques were not
  used. Moreover, even if the Investment Adviser is correct in its forecasts, there is a risk that a credit derivative position may correlate
  imperfectly with the price of the asset or liability being purchased. There is no limit on the amount of credit derivative transactions that
  may be entered into by the Trust. The Trust’s risk of loss in a credit derivative transaction varies with the form of the transaction. For
  example, if the Trust purchases a default option on a security, and if no default occurs with respect to the security, the Trust’s loss is
  limited to the premium it paid for the default option. In contrast, if there is a default by the grantor of a default option, the Trust’s loss
  will include both the premium that it paid for the option and the decline in value of the underlying security that the default option
  protects.

         The sections entitled “Derivative Transactions and Risk Management” and “Additional Characteristics and Risks of Derivative
  Transactions” in the Trust’s SAI contain further information about the characteristics, risks and possible benefits of Derivative
  Transactions and the Trust’s other policies and limitations (which are not fundamental policies) relating to investment in futures
  contracts and options. The principal risks relating to the use of futures contracts and other Derivative Transactions are: (i) less than
  perfect correlation between the prices of the instrument and the market value of the securities in the Trust’s investment portfolio;
  (ii) possible lack of a liquid secondary market for closing out a position in such instruments; (iii) losses resulting from interest rate or
  other market movements not anticipated by the Investment Adviser; and (iv) the obligation to meet additional variation margin or other
  payment requirements, all of which could result in the Trust being in a worse position than if such techniques had not been used.

        Credit Default Swaps. The Trust may enter into credit default swap agreements for hedging or capital appreciation purposes. The
  “buyer” in a credit default contract is obligated to pay the “seller” a periodic stream of payments over the term of the contract provided
  that no event of default on an underlying reference obligation has occurred. If an event of default occurs, the seller must pay the buyer
  the “par value” (full notional value) of the reference obligation in exchange for the reference obligation. The Trust may be either the
  buyer or seller in the transaction. If the Trust is a buyer and no event of default occurs, the Trust loses its investment and recovers
  nothing. However, if an event of default occurs, the buyer receives full notional value for a reference obligation that may have little or no
  value. As a seller, the Trust receives income throughout the term of the contract, which typically is between six months and three years,
  provided that there is no default event.

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        Credit default swaps involve greater risks than if the Trust had invested in the reference obligation directly. In addition to general
  market risks, credit default swaps are subject to illiquidity risk, counterparty risk and credit risks. The Trust will enter into swap
  agreements only with counterparties that are judged by the Investment Adviser to present acceptable credit risk to the Trust. A buyer
  also will lose its investment and recover nothing should no event of default occur. If an event of default were to occur, the value of the
  reference obligation received by the seller, coupled with the periodic payments previously received, may be less than the full notional
  value it pays to the buyer, resulting in a loss of value to the seller. Credit default swaps also involve the risk of imperfect correlation
  between the value of such instruments and the underlying assets and may involve commissions or other costs. When buying
  protection under a swap, the risk of loss with respect to swaps generally is limited to the net amount of payments that the Trust is
  contractually obligated to make. When selling protection under a swap, however, the risk of loss is often the notional value of the
  underlying asset, which can result in a loss substantially greater than the amount invested in the swap itself. In addition, collateral
  posting requirements are individually negotiated and there is no regulatory requirement that a counterparty post collateral to secure its
  obligations or a specified amount of cash, depending upon the terms of the swap, under a credit default swap. Furthermore, there is no
  requirement that a party be informed in advance when a credit default swap agreement is transferred. Accordingly, the Trust may have
  difficulty identifying the party responsible for payment of its claims. The notional value of credit default swaps with respect to a
  particular investment is often larger than the total par value of such investment outstanding and, in event of a default, there may be
  difficulties in making the required deliveries of the reference investments, possibly delaying payments. The market for credit default
  swaps has become more volatile recently as the creditworthiness of certain counterparties has been questioned and/or downgraded. If a
  counterparty’s credit becomes significantly impaired, multiple requests for collateral posting in a short period of time could increase the
  risk that the Trust may not receive adequate collateral. There is no readily available market for trading credit default swaps. The Trust
  generally may exit its obligations under a credit default swap only by terminating the contract and paying applicable breakage fees, or
  by entering into an offsetting credit default swap position, which may cause the Trust to incur more losses. When the Trust acts as a
  seller of a credit default swap agreement it is exposed to many of the same risks of leverage described under “Principal Risks of the Trust
  — Leverage Risk” in this Prospectus. If the Trust uses credit default swaps to leverage its portfolio, the Trust will be exposed to
  additional risks, including the risk that the Trust’s use of leverage will magnify the effect of any losses the Trust incurs since if an event
  of default occurs the seller must pay the buyer the full notional value of the reference obligation. The Trust will at all times segregate
  liquid securities or cash in an amount at least equal to the notional amount of the credit default swap due to the buyer if the credit event
  occurs. Such segregation will ensure that the Trust has assets available to satisfy its obligations and will limit any potential leveraging
  of the Trust’s portfolio with respect to the transaction. Such segregation will not limit the Trust’s exposure to loss.

       The Trust is generally not limited in the amount it may invest in credit default swaps and all other derivatives. The Trust may use
  derivatives for speculative purposes.

        Senior Loan Based Derivatives. The Trust may obtain exposure to senior loans and baskets of senior loans through the use of
  derivative instruments. The Investment Adviser reserves the right to utilize these instruments and similar instruments that may be
  available in the future. For example, the Trust may invest in a derivative instrument known as the Loan-Only Credit Default Swap Index
  (“LCDX”), a tradeable index with 100 equally-weighted underlying single-name long-only credit default swaps (“LCDS”). Each
  underlying LCDS references an issuer whose loans trade in the secondary leveraged loan market. The Trust can either buy the Index
  (take on credit exposure) or sell the Index (pass credit exposure to a counterparty). In either case, the Trust is in essence taking a macro
  view of the market as a whole rather than on a particular issuer. To compensate investors for the change in the value of the Index over
  time, an upfront payment is made at the time of a trade to account for the change in the present value of the Index since inception. The
  payment is the difference between par (or 100) and the amount of the purchase price, plus or minus (depending on whether the Trust is a
  buyer or seller of the Index) accrued interest. Each version of the Index launches with a fixed coupon which the seller of the Index pays
  quarterly (and the buyer of the Index receives quarterly). The amount of payments received or paid is the coupon times the notional
  amount. While investing in these types of derivatives will increase the universe of debt securities to which the Trust is exposed, such
  investments entail risks that are not typically associated with investments in other debt securities. The liquidity of the market for these
  types of instruments will be subject to liquidity in the secured loan and derivatives markets. The Trust may also be subject to the risk
  that the counterparty in a derivative transaction will default on its obligations. These transactions generally involve the risk of loss due
  to unanticipated adverse changes in securities prices, interest rates, the inability to close out a position, imperfect correlation between a
  position and the desired hedge, uncertainty regarding the tax rules applicable to these transactions and portfolio management
  constraints on securities subject to such transactions. The potential loss on derivative instruments may be substantially greater than
  the initial investment therein.

       Investments in the Index may involve greater risks than if the Trust had invested in the reference obligation directly. The Trust will
  not engage in these transactions for speculative purposes and will use them only as a means to hedge or manage the risks associated
  with assets held in, or anticipated to be purchased for, the investment portfolio or obligations incurred by the Trust.



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        Credit-Linked Notes. The Trust may invest in credit-linked notes (“CLNs”) for risk management purposes and to vary its portfolio.
  A CLN is a derivative instrument. It is a synthetic obligation between two or more parties where the payment of principal and/or interest
  is based on the performance of some obligation (a reference obligation). In addition to credit risk of the reference obligations and
  interest rate risk, the buyer/seller of the CLN is subject to counterparty risk.

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       Common Stocks. The Trust may acquire an interest in common stocks in various ways, including upon the default of a senior loan
  secured by such common stock, in a workout or restructuring or by acquiring common stock for investment. The Trust may also acquire
  warrants or other rights to purchase a borrower’s common stock in connection with the making of a senior loan. Common stocks of a
  corporation or other entity entitle the holder to a pro rata share of the profits, if any, of the corporation without preference over any
  other shareholder or class of shareholders, including holders of such entity’s preferred stocks and other senior equity securities.
  Common stock usually carries with it the right to vote and frequently an exclusive right to do so.

       Preferred Stocks. The Trust may invest in preferred stocks. Preferred stocks are equity securities, but they have many
  characteristics of fixed income securities, such as a fixed dividend payment rate and/or a liquidity preference over the issuer’s common
  shares. However, because preferred stocks are equity securities, they may be more susceptible to risks traditionally associated with
  equity investments than the Trust’s fixed income securities.

        The market value of preferred stocks may be affected by favorable and unfavorable changes impacting companies in the utilities
  and financial services sectors, which are prominent issuers of preferred stocks, and by actual and anticipated changes in tax laws, such
  as changes in U.S. federal corporate income tax rates or the dividends-received deduction. Because the claim on an issuer’s earnings
  represented by traditional preferred stocks may become onerous when interest rates fall below the rate payable on such stocks, the
  issuer may redeem the stocks. Thus, in declining interest rate environments in particular, the Trust’s holdings of higher rate-paying fixed
  rate preferred stocks may be reduced and the Trust would be unable to acquire securities of comparable credit quality paying
  comparable rates with the redemption proceeds.

        Fixed rate preferred stocks have fixed dividend rates. They can be perpetual, with no mandatory redemption date, or issued with a
  fixed mandatory redemption date. Certain issues of preferred stock are convertible into other equity securities. Perpetual preferred
  stocks provide a fixed dividend throughout the life of the issue, with no mandatory retirement provisions, but may be callable. Sinking
  fund preferred stocks provide for the redemption of a portion of the issue on a regularly scheduled basis with, in most cases, the entire
  issue being retired at a future date. The value of fixed rate preferred stocks can be expected to vary inversely with interest rates.

       Adjustable rate preferred stocks have a variable dividend rate which is determined periodically, typically quarterly, according to a
  formula based on a specified premium or discount to the yield on particular U.S. Treasury securities, typically the highest base-rate yield
  of one of three U.S. Treasury securities: the 90-day Treasury bill; the 10-year Treasury note; and either the 20-year or 30-year Treasury
  bond or other index. The premium or discount to be added to or subtracted from this base-rate yield is fixed at the time of issuance and
  cannot be changed without the approval of the holders of the adjustable rate preferred stock. Some adjustable rate preferred stocks
  have a maximum and a minimum rate and in some cases are convertible into common stocks.

       Auction rate preferred stocks pay dividends that adjust based on periodic auctions. Such preferred stocks are similar to short-term
  corporate money market instruments in that an auction rate preferred stockholder has the opportunity to sell the preferred stock at par in
  an auction, normally conducted at least every 49 days, through which buyers set the dividend rate in a bidding process for the next
  period. The dividend rate set in the auction depends on market conditions and the credit quality of the particular issuer. Typically, the
  auction rate preferred stock’s dividend rate is limited to a specified maximum percentage of an external commercial paper index as of the
  auction date. Further, the terms of the auction rate preferred stocks generally provide that they are redeemable by the issuer at certain
  times or under certain conditions. In early 2008, auction rate preferred stocks became subject to numerous “failed” auctions, causing
  securities previously thought to be liquid to become illiquid. It is not known when, if ever, these auction markets will begin to function
  again. Special tax considerations may apply to the Trust’s investments in preferred stock. See “Tax Matters” below.

        Convertible Securities. The Trust’s investment in fixed income securities may include convertible securities. A convertible
  security is a bond, debenture, note, preferred stock or other security that may be converted into or exchanged for a prescribed amount
  of common stock or other equity security of the same or a different issuer within a particular period of time at a specified price or
  formula. A convertible security entitles the holder to receive interest paid or accrued on debt or the dividend paid on preferred stock
  until the convertible security matures or is redeemed, converted or exchanged. Before conversion, convertible securities have
  characteristics similar to nonconvertible income securities in that they ordinarily provide a stable stream of income with generally higher
  yields than those of common stocks of the same or similar issuers, but lower yields than comparable nonconvertible securities.

       The value of a convertible security is influenced by changes in interest rates, with investment value declining as interest rates
  increase and increasing as interest rates decline. The credit standing of the issuer and other factors also may have an effect on the
  convertible security’s investment value. Convertible securities rank senior to common stock in a corporation’s capital structure but are
  usually subordinated to comparable nonconvertible securities. Convertible securities may be subject to redemption at the option of the
  issuer at a price established in the convertible security’s governing instrument.

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        Depending on the relationship of the conversion price to the market value of the underlying securities, convertible securities may
  trade more like equity securities than debt instruments.

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        Money Market Instruments. The Trust may invest in money market instruments, which include short-term U.S. government
  securities, U.S. dollar-denominated, high quality commercial paper (unsecured promissory notes issued by corporations to finance their
  short-term credit needs), certificates of deposit, bankers’ acceptances and repurchase agreements relating to any of the foregoing, and
  pooled investment vehicles (for example, money market funds) that invest in these obligations. U.S. government securities include
  Treasury notes, bonds and bills, which are direct obligations of the U.S. government backed by the full faith and credit of the U.S. and
  securities issued by agencies and instrumentalities of the U.S. government, which may be guaranteed by the U.S. Treasury, may be
  supported by the issuer’s right to borrow from the U.S. Treasury or may be backed only by the credit of the federal agency or
  instrumentality itself.

        U.S. Government Securities. U.S. government securities in which the Trust invests include debt obligations of varying maturities
  issued by the U.S. Treasury or issued or guaranteed by an agency or instrumentality of the U.S. government, including the Federal
  Housing Administration, Federal Financing Bank, Farmers Home Administration, Export-Import Bank of the United States, Small
  Business Administration, Government National Mortgage Association (GNMA), General Services Administration, Central Bank for
  Cooperatives, Federal Farm Credit Banks, Federal Home Loan Banks, Federal Home Loan Mortgage Corporation (FHLMC), Federal
  National Mortgage Association (FNMA), Maritime Administration, Tennessee Valley Authority, District of Columbia Armory Board and
  various institutions that previously were or currently are part of the Farm Credit System (which has been undergoing reorganization
  since 1987). Some U.S. government securities, such as U.S. Treasury bills, Treasury notes and Treasury bonds, which differ only in their
  interest rates, maturities and times of issuance, are supported by the full faith and credit of the U.S. government. Others are supported
  by (i) the right of the issuer to borrow from the U.S. Treasury, such as securities of the Federal Home Loan Banks; (ii) the discretionary
  authority of the U.S. government to purchase the agency’s obligations; or (iii) only the credit of the issuer. The U.S. government may
  not in the future continue to provide financial support to U.S. government agencies, authorities or instrumentalities that are not
  supported by the full faith and credit of the United States. To the extent the Trust invests in U.S. Government securities that are not
  backed by the full faith and credit of the U.S. Treasury, such investments may involve a greater risk of loss of principal and interest
  since the Trust must look principally or solely to the issuing or guaranteeing agency or instrumentality for repayment.

        Securities guaranteed as to principal and interest by the U.S. government, its agencies, authorities or instrumentalities include
  (i) securities for which the payment of principal and interest is backed by an irrevocable letter of credit issued by the U.S. government or
  any of its agencies, authorities or instrumentalities; and (ii) participations in loans made to non-U.S. governments or other entities that
  are so guaranteed. The secondary market for certain of these participations is limited and therefore may be regarded as illiquid.

        In September 2008, the U.S. Treasury Department placed FNMA and FHLMC into conservatorship. The companies remain in
  conservatorship, and the effect that this conservatorship will have on the companies’ debt and equity securities is unclear. Although
  the U.S. government has recently provided financial support to FNMA and FHLMC, there can be no assurance that it will support these
  or other government-sponsored enterprises in the future. In addition, any such government support may benefit the holders of only
  certain classes of an issuer’s securities.

        Other Investment Companies. The Trust may invest in the securities of other investment companies, which can include open-end
  funds, closed-end funds, unit investment trusts and BDCs. Investment companies combine shareholders’ funds for investment in a
  variety of instruments, including equity securities, debt securities, and money market instruments and may invest primarily in a
  particular type of security, a particular industry or a mix of securities and industries. An investment company is not taxed on income
  distributed to shareholders if, among other things, it distributes to its shareholders substantially all of its taxable income for each taxable
  year. As a shareholder of another investment company, the Trust, and therefore its shareholders, will bear a proportionate share of the
  expenses of such other investment companies, including management fees, administration fees and custodial fees, in addition to the
  expenses of the Trust. Under one provision of the Investment Company Act, the Trust may not acquire the securities of other
  investment companies if, as a result, (i) more than 10% of the Trust’s total assets would be invested in securities of other investment
  companies, (ii) such purchase would result in more than 3% of the total outstanding voting securities of any one investment company
  being held by the Trust or (iii) more than 5% of the Trust’s total assets would be invested in any one investment company. Other
  provisions of the Investment Company Act are less restrictive, provided that the Trust is able to meet certain conditions. These
  limitations do not apply to the acquisition of shares of any investment company in connection with a merger, consolidation,
  reorganization or acquisition of substantially all of the assets of another investment company.

      The Trust, as a holder of the securities of other investment companies, will bear its pro rata portion of the other investment
  companies’ expenses, including advisory fees. These expenses will be in addition to the direct expenses incurred by the Trust.

       Exchange Traded Funds. Although not a principal investment strategy of the Trust, subject to the limitations on investment in
  other investment companies, the Trust may invest in exchange traded funds (“ETFs”). ETFs, such as SPDRs, NASDAQ 100 Index
  Trading Stock (QQQs), iShares and various country index funds, are funds whose shares are traded on a national securities exchange or
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  the National Association of Securities Dealers’ Automatic Quotation System (NASDAQ). ETFs may be based on underlying equity or
  fixed income securities. SPDRs, for example, seek to provide investment results that generally correspond to the performance of the

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  component common stocks of the S&P 500. ETFs do not sell individual shares directly to investors and only issue their shares in large
  blocks known as “creation units.” The investor purchasing a creation unit may sell the individual shares on a secondary market.
  Therefore, the liquidity of ETFs depends on the adequacy of the secondary market. An ETF’s investment objective may not be
  achieved. ETFs based on an index may not replicate and maintain exactly the composition and relative weightings of securities in the
  index and for these and other reasons the returns of an ETF may diverge significantly from the index which it is designated to track.
  ETFs are subject to the risks of investing in the underlying securities. The Trust, as a holder of the securities of the ETF, will bear its pro
  rata portion of the ETF’s expenses, including advisory fees. These expenses are in addition to the direct expenses of the Trust’s own
  operations.

        Master Limited Partnerships. The Trust may invest in MLPs. MLPs typically are characterized as “publicly traded partnerships”
  that qualify to be treated as partnerships for U.S. federal income tax purposes and are principally engaged in one or more aspects of the
  exploration, production, processing, transmission, marketing, storage or delivery of energy-related commodities, such as natural gas,
  natural gas liquids, coal, crude oil or refined petroleum products. The Trust’s MLP investments include investments that offer economic
  exposure to public MLPs in the form of common or subordinated units issued by MLPs, securities of entities holding primarily general
  partner or managing member interests in MLPs, debt securities of MLPs, and securities that are derivatives of interests in MLPs,
  including I-Shares, and derivative instruments in which the Trust may invest that have economic characteristics of MLP securities. The
  Trust intends to limit its investments in MLPs and related entities to the extent necessary to qualify as a RIC for tax purposes. In
  general, a RIC is not permitted to invest, including through corporations in which the RIC owns a 20% or more voting stock interest,
  more than 25% of its total assets in qualified publicly-traded partnerships.

        Real Estate Investment Trusts. The Trust may invest in REITs. REITs are pooled investment vehicles that invest primarily in
  income-producing real estate or real estate-related loans or interests. REITs are generally classified as equity REITs, mortgage REITs or a
  combination of equity and mortgage REITs. Equity REITs invest the majority of their assets directly in real property and derive income
  primarily from the collection of rents. Equity REITs can also realize capital gains by selling properties that have appreciated in value.
  Mortgage REITs invest the majority of their assets in real estate mortgages and derive income from the collection of interest payments.
  REITs are not taxed on income distributed to shareholders provided they comply with the applicable requirements of the Code. The
  Trust will indirectly bear its proportionate share of any management and other expenses paid by REITs in which it invests in addition to
  the expenses paid by the Trust. Debt securities issued by REITs are, for the most part, general and unsecured obligations and are
  subject to risks associated with REITs.

        The Trust seeks to gain exposure to the real estate markets, in whole or in part, through investment in each Subsidiary. Each
  Subsidiary has elected to be taxed as a REIT. Each Subsidiary is generally subject to the same investment policies and restrictions of the
  Trust. As of June 30, 2019, NREO and NREC accounted for approximately 2.9% and 22.0% respectively, of the Trust’s Managed Assets.
  The Investment Adviser does not charge an additional fee on assets held in each Subsidiary. The Trust intends to limit its investments
  in each Subsidiary and related entities to the extent necessary to qualify as a RIC for tax purposes. In general, and subject to certain
  exceptions not applicable here, a RIC is not permitted to invest, including through corporations in which the RIC owns a 20% or more
  voting stock interest, more than 25% of its total assets in any one issuer, or in any two or more issuers which the RIC controls and
  which are determined to be engaged in the same or similar trades or businesses or related trades or businesses.

        Structured Investments. The Trust may invest a portion of its assets in interests in entities organized and operated solely for the
  purpose of restructuring the investment characteristics of securities. This type of restructuring involves the deposit with or purchase by
  an entity, such as a corporation or a trust, of specified instruments and the issuance by that entity of one or more classes of securities
  (“Structured Investments”) backed by, or representing interests in the underlying instruments. The cash flow on the underlying
  instruments may be apportioned among the newly issued Structured Investments to create securities with different investment
  characteristics such as varying maturities, payment priorities and interest rate provisions, and the extent of the payments made with
  respect to Structured Investments is dependent on the extent of the cash flow on the underlying instruments. Because Structured
  Investments of the type in which the Trust anticipates it will invest typically involve no credit enhancement, their credit risk generally
  will be equivalent to that of the underlying instruments.

      The Trust is permitted to invest in a class of Structured Investments that is either subordinated or not subordinated to the right of
  payment of another class. Subordinated Structured Investments typically have higher yields and present greater risks than
  unsubordinated Structured Investments.

        Certain issuers of Structured Investments may be deemed to be “investment companies” as defined in the Investment Company
  Act. As a result, the Trust’s investment in these Structured Investments may be limited by the restrictions contained in the Investment
  Company Act. Structured Investments are typically sold in private placement transaction, and there currently is no active trading market
  for Structured Investments.
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        Zero Coupon Securities. The securities in which the Trust invests may include zero coupon securities, which are debt obligations
  that are issued or purchased at a significant discount from face value. The discount approximates the total amount of

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  interest the security will accrue and compound over the period until maturity or the particular interest payment date at a rate of interest
  reflecting the market rate of the security at the time of issuance. Zero coupon securities do not require the periodic payment of interest.
  These investments benefit the issuer by mitigating its need for cash to meet debt service, but generally require a higher rate of return to
  attract investors who are willing to defer receipt of cash. These investments may experience greater volatility in market value than
  securities that make regular payments of interest. The Trust is generally required to recognize income on these investments for U.S.
  federal income tax purposes even though the Trust receives no corresponding interest payment in cash on the investments. As a result,
  in order to receive the special treatment accorded to RICs and their shareholders under the Code and to avoid any U.S. federal income or
  excise taxes at the Trust level, the Trust may be required to pay out as an income distribution each year an amount greater than the total
  amount of interest or other income the Trust actually received. The Trust may be required to, among other things, sell portfolio
  securities, including at potentially disadvantageous times or prices, to obtain cash needed for these income distributions, and may
  realize gain or loss from such liquidations. In the event the Trust realizes net long-term or short-term capital gains from such liquidation
  transactions, its shareholders may receive larger capital gain or ordinary dividends, respectively, than they would in the absence of such
  transactions.

        Deferred Payment Obligations. Deferred payment securities are securities that remain zero coupon securities until a predetermined
  date, at which time the stated coupon rate becomes effective and interest becomes payable at regular intervals. Deferred payment
  securities are subject to greater fluctuations in value and may have lesser liquidity in the event of adverse market conditions than
  comparably rated securities paying cash interest at regular interest payment periods. Because, during the period before interest
  payments begin on deferred payment securities, the Trust will not receive cash payments on a current basis in respect of income it is
  required to recognize on these securities for U.S. federal income tax purposes, the Trust may be required to pay out as an income
  distribution each year an amount greater than the total amount of interest and other income the Trust actually received, in order to
  receive the special treatment accorded to RICs and their shareholders under the Code and to avoid any U.S. federal income or excise
  taxes at the Trust level. The Trust may be required to, among other things, sell portfolio securities, including at potentially
  disadvantageous times or prices, to obtain cash needed for these income distributions, and may realize gain or loss from such
  liquidations. In the event the Trust realizes net long-term or short-term capital gains from such liquidation transactions, its shareholders
  may receive larger capital gain or ordinary dividends, respectively, than they would in the absence of such transactions.

       Derivative Transactions. In addition to the credit and senior loan based derivatives discussed above the Trust may, but is not
  required to, use various Derivative Transactions described below to earn income, facilitate portfolio management and mitigate risks.
  Such Derivative Transactions are generally accepted under modern portfolio management theory and are regularly used by many mutual
  funds and other institutional investors. Although the Investment Adviser seeks to use the practices to further the Trust’s investment
  objectives, no assurance can be given that these practices will achieve this result. With changes in the market or the Investment
  Adviser’s strategy, it is possible that these instruments may be a more significant part of the Trust’s investment approach in the future.

       The Trust may purchase and sell derivative instruments such as exchange-listed and over-the-counter put and call options on
  securities, financial futures, equity, fixed-income and interest rate indices, and other financial instruments, purchase and sell financial
  futures contracts and options thereon, enter into various interest rate transactions such as swaps, caps, floors or collars and enter into
  various currency transactions such as currency forward contracts, currency futures contracts, currency swaps or options on currency
  or currency futures or credit transactions and credit default swaps. The Trust also may purchase derivative instruments that combine
  features of these instruments. The Trust generally seeks to use Derivative Transactions as a portfolio management or hedging
  technique to seek to protect against possible adverse changes in the market value of senior loans or other securities held in or to be
  purchased for the Trust’s investment portfolio, protect the value of the Trust’s investment portfolio, facilitate the sale of certain
  securities for investment purposes, manage the effective interest rate exposure of the Trust, protect against changes in currency
  exchange rates, manage the effective maturity or duration of the Trust’s investment portfolio, or establish positions in the derivatives
  markets as a temporary substitute for purchasing or selling particular securities.

        Derivative Transactions have risks, including the imperfect correlation between the value of such instruments and the underlying
  assets, the possible default of the other party to the transaction or illiquidity of the derivative instruments. Furthermore, the ability to
  use Derivative Transactions successfully depends on the Investment Adviser’s ability to predict pertinent market movements, which
  cannot be assured. Thus, the use of Derivative Transactions may result in losses greater than if they had not been used, may require the
  Trust to sell or purchase portfolio securities at inopportune times or for prices other than current market values, may limit the amount of
  appreciation the Trust can realize on an investment, or may cause the Trust to hold a security that it might otherwise sell. The use of
  currency transactions can result in the Trust incurring losses as a result of the imposition of exchange controls, suspension of
  settlements or the inability of the Trust to deliver or receive a specified currency. Additionally, amounts paid by the Trust as premiums
  and cash or other assets held in margin accounts with respect to Derivative Transactions are not otherwise available to the Trust for
  investment purposes. In addition, the Trust’s Derivative Transactions are generally subject to numerous special and complex tax rules.
  Because the tax rules applicable to such transactions may be uncertain under current law, an adverse determination or future Internal
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  Revenue Service (“IRS”) guidance with respect to these rules (which determination or guidance could be retroactive) may affect whether
  the Trust has made sufficient distributions, and otherwise satisfied the relevant requirements, to maintain its qualification as a

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  RIC and avoid Trust-level U.S. federal income or excise taxes. Therefore, the Trust’s investments in derivative instruments may be
  limited by these or other U.S. federal income tax considerations. Recently enacted legislation provides for new regulation of certain
  portions of the derivatives market, including clearing, margin, reporting, recordkeeping, and registration requirements. Because the
  legislation leaves much to rule making, its ultimate impact remains unclear. New regulations could, among other things, restrict the
  Trust’s ability to engage in derivatives transactions (for example, by making certain types of derivatives transactions no longer available
  to the Trust) and/or increase the costs of such derivatives transactions (for example, by increasing margin or capital requirements), and
  the Trust may be unable to execute its investment strategy as a result.

        A more complete discussion of Derivative Transactions and their risks is contained in the SAI.

       Other Derivatives; Future Developments. The above discussion relates to the Trust’s proposed use of certain types of derivatives
  currently available. However, the Trust is not limited to the transactions described above. In addition, the relevant markets and related
  regulations are constantly changing and, in the future, the Trust may use derivatives not currently available or widely in use.

        Swaps. Swap contracts may be purchased or sold to obtain investment exposure and/or to hedge against fluctuations in securities
  prices, currencies, interest rates or market conditions, to change the duration of the overall portfolio or to mitigate default risk. In a
  standard “swap” transaction, two parties agree to exchange the returns (or differentials in rates of return) on different currencies,
  securities, baskets of currencies or securities, indices or other instruments, which returns are calculated with respect to a “notional
  value,” i.e., the designated reference amount of exposure to the underlying instruments. The Trust intends to enter into swaps primarily
  on a net basis, i.e., the two payment streams are netted out, with the Trust receiving or paying, as the case may be, only the net amount
  of the two payments. If the other party to a swap contract entered into on net basis defaults, the Trust’s risk of loss will consist of the
  net amount of payments that the Trust is contractually entitled to receive. The net amount of the excess, if any, of the Trust’s
  obligations over its entitlements will be maintained in a segregated account by the Trust’s custodian. The Trust will not enter into a
  swap agreement unless the claims-paying ability of the other party thereto is considered to be an acceptable credit risk to the Trust by
  the Investment Adviser. If there is a default by the other party to such a transaction, the Trust will have contractual remedies pursuant
  to the agreements related to the transaction. Swap instruments are not exchange-listed securities and may be traded only in the
  over-the-counter market.

        Interest Rate Swaps. Interest rate swaps involve the exchange by the Trust with another party of their respective commitments to
  pay or receive interest (e.g., an exchange of fixed rate payments for floating rate payments). The Trust may use interest rate swaps for
  risk management purposes and as a speculative investment.

        Total Return Swaps. Total return swaps are contracts in which one party agrees to make payments of the total return from the
  designated underlying asset(s), which may include securities, baskets of securities, or securities indices, during the specified period, in
  return for receiving payments equal to a fixed or floating rate of interest or the total return from the other designated underlying asset(s).
  The Trust may use total return swaps for risk management purposes and as a speculative investment.

        Currency Swaps. Currency swaps involve the exchange of the two parties’ respective commitments to pay or receive fluctuations
  with respect to a notional amount of two different currencies (e.g., an exchange of payments with respect to fluctuations in the value of
  the U.S. dollar relative to the Japanese yen). The Trust may enter into currency swap contracts and baskets thereof for risk management
  purposes and as a speculative investment.

        Short Sales. The Trust may attempt to limit exposure to a possible market decline in the value of its portfolio securities through
  short sales of securities that the Investment Adviser believes possess volatility characteristics similar to those being hedged. In
  addition, the Trust intends to use short sales for non-hedging purposes to pursue its investment objectives. Subject to the requirements
  of the Investment Company Act and the Code, the Trust will not make a short sale if, after giving effect to such sale, the market value of
  all securities sold short by the Trust exceeds 25% of the value of its total assets. The Trust may make short sales “against the box” (as
  described below) without respect to such limitations.

        A short sale is a transaction in which the Trust sells a security it does not own in anticipation that the market price of that security
  will decline. When the Trust makes a short sale, it must borrow the security sold short from a broker-dealer and deliver it to the buyer
  upon conclusion of the sale. The Trust may have to pay a fee to borrow particular securities and is often obligated to pay over any
  payments received on such borrowed securities.

        The Trust’s obligation to replace the borrowed security will be secured by collateral deposited with the broker-dealer, usually cash,
  U.S. government securities or other liquid securities. The Trust will also be required to designate on its books and records similar
  collateral with its custodian to the extent, if any, necessary so that the aggregate collateral value is at all times at least equal to the
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  current market value of the security sold short. Depending on arrangements made with the broker-dealer from which it borrowed the
  security regarding payment over of any payments received by the Trust on such security, the Trust may not receive any payments
  (including interest) on its collateral deposited with such broker-dealer.

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        If the price of the security sold short increases between the time of the short sale and the time the Trust replaces the borrowed
  security, the Trust will incur a loss; conversely, if the price declines, the Trust will realize a gain. Any gain will be decreased, and any
  loss increased, by the transaction costs described above. Although the Trust’s gain is limited to the price at which it sold the security
  short, its potential loss is unlimited.

       The Trust may also sell a security short if it owns at least an equal amount of the security sold short or another security
  convertible or exchangeable for an equal amount of the security sold short without payment of further compensation (a short sale
  against the box). In a short sale against the box, the short seller is exposed to the risk of being forced to deliver stocks that it holds to
  close the position if the borrowed stock is called in by the lender, which would cause gain or loss to be recognized on the delivered
  stock. The Trust expects normally to close its short sales against the box by delivering newly acquired stock.

        Purchasing securities to close out the short position can itself cause the price of the securities to rise further, thereby exacerbating
  the loss. Short-selling exposes the Trust to unlimited risk with respect to that security due to the lack of an upper limit on the price to
  which an instrument can rise. Although the Trust reserves the right to utilize short sales, and currently intends to utilize short sales, the
  Investment Adviser is under no obligation to utilize short sales at all. Special tax considerations will apply to the Trust’s short sales. See
  “Tax Matters” below.

        Capital Structure Arbitrage. Capital structure arbitrage typically involves establishing long and short positions in securities (or
  their derivatives) at different tiers within an issuer’s capital structure in ratios designed to maintain a generally neutral overall exposure
  to the issuer while exploiting a pricing inefficiency. Some issuers may also have more than one class of shares or an equivalent vehicle
  that trades in a different market (e.g., European equities and their American Depository Receipt counterparts). This strategy seeks to
  profit from the disparity in prices between the various related securities in anticipation that over time all tiers and classes will become
  more efficiently priced relative to one another.

       Pair Trades. Pair trades involve the establishment of a long position in one security and a short position in another security at the
  same time. A pair trade attempts to minimize the effect of larger market trends and emphasizes the performance of one security relative to
  another.

        Repurchase Agreements. The Trust may invest up to 33 1/3% of its assets in repurchase agreements. It may enter into repurchase
  agreements with broker-dealers, member banks of the Federal Reserve System and other financial institutions. Repurchase agreements
  are loans or arrangements under which the Trust purchases securities and the seller agrees to repurchase the securities within a specific
  time and at a specific price. The repurchase price is generally higher than the Trust’s purchase price, with the difference being income to
  the Trust. Under the direction of the Board, the Investment Adviser reviews and monitors the creditworthiness of any institution which
  enters into a repurchase agreement with the Trust. The counterparty’s obligations under the repurchase agreement are collateralized
  with U.S. Treasury and/or agency obligations with a market value of not less than 100% of the obligations, valued daily. Collateral is
  held by the Trust’s custodian in a segregated, safekeeping account for the benefit of the Trust. Repurchase agreements afford the Trust
  an opportunity to earn income on temporarily available cash at relatively low risk. In the event of commencement of bankruptcy or
  insolvency proceedings with respect to the seller of the security before repurchase of the security under a repurchase agreement, the
  Trust may encounter delay and incur costs before being able to sell the security. Such a delay may involve loss of interest or a decline in
  price of the security. If the court characterizes the transaction as a loan and the Trust has not perfected a security interest in the
  security, the Trust may be required to return the security to the seller’s estate and be treated as an unsecured creditor of the seller. As an
  unsecured creditor, the Trust would be at risk of losing some or all of the principal and interest involved in the transaction.

        Reverse Repurchase Agreements. A reverse repurchase agreement is an investment technique under which the Trust sells an
  underlying debt security and simultaneously obtains the commitment of the purchaser (generally, a commercial bank or a broker or
  dealer) to sell the security back to the Trust at an agreed upon price on an agreed upon date. The repurchase price is generally higher
  than the Trust’s sale price. Reverse repurchase agreements could involve certain risks in the event of default or insolvency of the other
  party, including possible delays or restrictions upon the Trust’s ability to dispose of the underlying securities. An additional risk is that
  the market value of securities sold by the Trust under a reverse repurchase agreement could decline below the price at which the Trust
  is obligated to repurchase them. Reverse repurchase agreements will be considered borrowings by the Trust and as such would be
  subject to any restrictions on borrowing.

        Reverse repurchase agreements are also generally subject to earmarking and coverage requirements, with the result that the Trust
  will designate on its books and records on an ongoing basis cash, U.S. government securities, or other liquid securities in an amount at
  least equal to the Trust’s obligations under the reverse repurchase agreement.

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       Restricted and Illiquid Securities. Certain of the Trust’s investments may be illiquid. Illiquid securities are subject to legal or
  contractual restrictions on disposition or lack an established secondary trading market. The sale of restricted and illiquid securities often
  requires more time and results in higher brokerage charges or dealer discounts and other selling expenses than does the sale of
  securities eligible for trading on national securities exchanges or in the over-the-counter markets. Restricted securities may sell at a price
  lower than similar securities that are not subject to restrictions on resale.

        Pay-in-kind (PIK) Securities. PIK securities are securities which pay interest through the issuance of additional debt or equity
  securities. Similar to zero coupon obligations, PIK securities also carry additional risk as holders of these types of securities realize no
  cash until the cash payment date unless a portion of such securities is sold. If the issuer defaults, the Trust may obtain no return at all
  on its investment. The market price of PIK securities is affected by interest rate changes to a greater extent, and therefore tends to be
  more volatile, than that of securities which pay interest in cash. Additionally, the Trust may be required to recognize income on certain
  PIK securities for U.S. federal income tax purposes even though the Trust receives no corresponding interest payment in cash on the
  investments. As a result, in order to receive the special treatment accorded to RICs and their shareholders under the Code and to avoid
  any U.S. federal income or excise taxes at the Trust level, the Trust may be required to pay out as an income distribution each year an
  amount greater than the total amount of interest or other income the Trust actually received. The Trust may be required to, among other
  things, sell portfolio securities, including at potentially disadvantageous times or prices, to obtain cash needed for these income
  distributions, and may realize gain or loss from such liquidations. In the event the Trust realizes net long-term or short-term capital gains
  from such liquidation transactions, its shareholders may receive larger capital gain or ordinary dividends, respectively, than they would
  in the absence of such transactions.

        When-Issued, Delayed-Delivery and Forward Commitment Purchases. The Trust may purchase securities on a “when-issued”
  basis and may purchase or sell securities on a “forward commitment” basis in order to acquire the security or to offset against
  anticipated changes in interest rates and prices. When such transactions are negotiated, the price, which is generally expressed in yield
  terms, is fixed at the time the commitment is made, but delivery and payment for the securities take place at a later date. When-issued
  securities and forward commitments may be sold prior to the settlement date, but the Trust will enter into when-issued and forward
  commitments only with the intention of actually receiving or delivering the securities, as the case may be. If the Trust disposes of the
  right to acquire a when-issued security prior to its acquisition or disposes of its right to deliver or receive against a forward commitment,
  it might incur a gain or loss. At the time the Trust enters into a transaction on a when-issued or forward commitment basis, it will
  designate on its books and records cash or liquid securities equal to at least the value of the when-issued or forward commitment
  securities. The value of these assets will be monitored daily to ensure that their marked to market value will at all times equal or exceed
  the corresponding obligations of the Trust. There is always a risk that the securities may not be delivered and that the Trust may incur a
  loss. Settlements in the ordinary course, which may take substantially more than five business days, are not treated by the Trust as
  when-issued or forward commitment transactions and accordingly are not subject to the foregoing restrictions.

         Lending of Assets. Under the Trust’s current securities lending agreement, the Trust may lend up to 33 1/3% of its portfolio
  securities to financial institutions on an approved list of borrowers. The agreement requires that the loans be secured continuously by
  collateral maintained on a current basis at an amount at least equal to the market value of the securities loaned. The Trust generally
  accepts cash (U.S. and foreign currency), securities issued or guaranteed by the U.S. government or its agencies or instrumentalities, or
  sovereign debt as collateral for these lending transactions, although in the future, it may accept other types of collateral. The Trust
  continues to receive the equivalent of the interest or dividends paid by the issuer on the securities loaned as well as the benefit of an
  increase and the detriment of any decrease in the market value of the securities loaned and would also receive compensation based on
  investment of the collateral. The Trust would not, however, have the right to vote any securities having voting rights during the
  existence of the loan, but would have the right to call the loan in anticipation of an important vote to be taken among holders of the
  securities or of the giving or withholding of consent on a material matter affecting the investment (although it may not always be able to
  call the loan in time to vote or consent, or may choose not to for various reasons).

       As with other extensions of credit, there are risks of delay in recovery or even loss of rights in the collateral should the borrower of
  the securities fail financially. In addition, any income or gains and losses from investing and reinvesting any cash collateral delivered by
  a borrower pursuant to a loan are generally at the Trust’s risk, and to the extent any such losses reduce the amount of cash below the
  amount required to be returned to the borrower upon the termination of any loan, the Trust may be required to pay or cause to be paid
  to such borrower or another entity an amount equal to such shortfall in cash.

        Non-U.S. Securities. The Trust may invest without limit in Non-U.S. Securities, which may include securities denominated in U.S.
  dollars or in non-U.S. currencies or multinational currency units. The Trust may invest in Non-U.S. Securities of so-called emerging
  market issuers. The Trust does not currently expect to invest more than 15%, but may invest up to 20%, of its assets in emerging market
  issuers. For purposes of the Trust, a company is deemed to be a non-U.S. company if it meets any of the following tests: (i) such
  company was not organized in the United States; (ii) such company’s primary business office is not in the United States; (iii) the
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  principal trading market for such company’s securities is not located in the United States; (iv) less than 50% of such company’s assets
  are located in the United States; or (v) 50% or more of such issuer’s revenues are derived from outside the United States.

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  Non-U.S. securities markets generally are not as developed or efficient as those in the United States. Securities of some non-U.S. issuers
  are less liquid and more volatile than securities of comparable U.S. issuers. Similarly, volume and liquidity in most non-U.S. securities
  markets are less than in the United States and, at times, volatility of price can be greater than in the United States. In addition, certain
  investments in Non-U.S. Securities may be subject to foreign withholding or other taxes on interest, dividends, capital gains or other
  income. Those taxes will reduce the Trust’s yield on any such securities. See “Tax Matters” below.

        Because evidences of ownership of such securities usually are held outside the United States, the Trust would be subject to
  additional risks if it invested in Non-U.S. Securities, which include possible adverse political and economic developments, seizure or
  nationalization of foreign deposits and adoption of governmental restrictions which might adversely affect or restrict the payment of
  principal and interest on the Non-U.S. Securities to investors located outside the country of the issuer, whether from currency blockage
  or otherwise.

        Since Non-U.S. Securities may be purchased with and payable in foreign currencies, the value of these assets as measured in U.S.
  dollars may be affected favorably or unfavorably by changes in currency rates and exchange control regulations.

        Options. An option on a security is a contract that gives the holder of the option, in return for a premium, the right to buy from (in
  the case of a call) or sell to (in the case of a put) the writer of the option the security underlying the option at a specified exercise or
  “strike” price. The writer of an option on a security has the obligation upon exercise of the option to deliver the underlying security
  upon payment of the exercise price or to pay the exercise price upon delivery of the underlying security. Certain options, known as
  “American style” options, may be exercised at any time during the term of the option. Other options, known as “European style”
  options, may be exercised only on the expiration date of the option.

        If an option written by the Trust expires unexercised, the Trust realizes on the expiration date a capital gain equal to the premium
  received by the Trust at the time the option was written. If an option purchased by the Trust expires unexercised, the Trust realizes a
  capital loss equal to the premium paid. Prior to the earlier of exercise or expiration, an exchange-traded option may be closed out by an
  offsetting purchase or sale of an option of the same series (type, underlying security, exercise price and expiration). There can be no
  assurance, however, that a closing purchase or sale transaction can be effected when or at the price the Trust desires. The Trust may
  sell put or call options it has previously purchased, which could result in a net gain or loss depending on whether the amount realized
  on the sale is more or less than the premium and other transaction costs paid on the put or call option when purchased. The Trust will
  realize a capital gain from a closing purchase transaction if the cost of the closing option is less than the premium received from writing
  the option, or, if it is more, the Trust will realize a capital loss. If the premium received from a closing sale transaction is more than the
  premium paid to purchase the option, the Trust will realize a capital gain or, if it is less, the Trust will realize a capital loss.

        Futures Contracts and Options on Futures Contracts. The sale of a futures contract creates an obligation by the Trust, as seller,
  to deliver the specific type of financial instrument called for in the contract at a specified future time for a specified price. Options on
  futures contracts are similar to options on securities except that an option on a futures contract gives the purchaser the right in return
  for the premium paid to assume a position in a futures contract (a long position if the option is a call and a short position if the option is
  a put).

        At the time a futures contract is purchased or sold, the Trust must allocate cash or securities as a deposit payment (“initial
  margin”). It is expected that the initial margin that the Trust will pay may range from approximately 1% to approximately 5% of the value
  of the securities or commodities underlying the contract. In certain circumstances, however, such as periods of high volatility, the Trust
  may be required by an exchange to increase the level of its initial margin payment. Additionally, initial margin requirements may be
  increased generally in the future by regulatory action. An outstanding futures contract is valued daily and the payment in case of
  “variation margin” may be required, a process known as “marking to the market.” Transactions in listed options and futures are usually
  settled by entering into an offsetting transaction, and are subject to the risk that the position may not be able to be closed if no
  offsetting transaction can be arranged.

        Forward Foreign Currency Contracts. The Trust may enter into forward currency contracts to purchase or sell foreign currencies
  for a fixed amount of U.S. dollars or another foreign currency. A forward currency contract involves an obligation to purchase or sell a
  specific currency at a future date, which may be any fixed number of days from the date of the forward currency contract agreed upon
  by the parties, at a price set at the time the forward currency contract is entered into. Forward currency contracts are traded directly
  between currency traders (usually large commercial banks) and their customers.

        Short-Term Debt Securities; Temporary Defensive Position; Invest-Up Period. During the period in which the net proceeds of this
  offering of common shares are being invested, during periods of adverse market conditions, during periods in which the Investment
  Adviser determines that it is temporarily unable to follow the Trust’s investment strategy or that it would not be in the best interest of
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  the Trust to do so or pending reinvestment of proceeds received in connection with the sale of a portfolio security or the issuance of
  additional securities or borrowing money by the Trust, all or any portion of the Trust’s assets may be invested in cash or

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  cash equivalents. The Investment Adviser’s determination that it is temporarily unable to follow the Trust’s investment strategy or that
  it is impractical to do so will generally occur only in situations in which a market disruption event has occurred and where trading in the
  securities selected through application of the Trust’s investment strategy is extremely limited or absent. In such a case, the market price
  of the Trust’s securities may be adversely affected, and the Trust may not pursue or achieve its investment objectives.


                                                                    Use of Leverage

       As provided in the Investment Company Act and subject to certain exceptions, the Trust may issue debt or preferred shares with
  the condition that immediately after issuance the value of its total assets, less certain ordinary course liabilities, exceed 300% of the
  amount of the debt outstanding and exceed 200% of the sum of the amount of debt and preferred shares outstanding.

        Thus, the Trust may use leverage in the form of borrowings in an amount up to 33 1/3% of the Trust’s total assets (including the
  proceeds of such leverage) and may use leverage in the form of preferred shares in an amount up to 50% of the Trust’s total assets
  (including the proceeds of such leverage). The total leverage of the Trust is currently expected to range between 25% and 30% of the
  Trust’s total assets. The Trust seeks a leverage ratio, based on a variety of factors including market conditions and the Investment
  Adviser’s market outlook, for which the rate of return, net of applicable Trust expenses, on the Trust’s portfolio investments purchased
  with leverage exceeds the costs associated with such leverage.

        The Trust, as of June 30, 2019, was leveraged through borrowings from a committed facility with BNP Paribas Prime Brokerage, Inc.
  (“BNP”) with a total commitment of $135,000,000. As of June 30, 2019, the Trust had drawn $66.0 million on the committed facility. In
  addition, the Trust intends to leverage its portfolio through a master repurchase agreement entered into with BNP Paribas Securities
  Corporation (“BNP Securities”) on November 16, 2017, as amended, that allows the Trust to enter into reverse repurchase transactions
  from time to time pursuant to the terms of the master repurchase agreement. On August 14, 2018, the Trust, and two of its wholly-owned
  subsidiaries, NREC and NREO, entered into a $75.0 million revolving credit agreement with KeyBank National Association. The
  revolving balance stepped down to $60.0 million after September 14, 2018. As of June 30, 2019, The Trust had drawn $55.4 million on the
  committed facility. The Trust’s asset coverage ratio as of June 30, 2019 was 524.7%. See “Principal Risks of the Trust — Leverage Risk”
  for a brief description of the Trust’s committed facility, master repurchase agreement and bridge credit agreement.

        Following the completion of an Offering, the Trust may increase the amount of leverage outstanding. The Trust may engage in
  additional borrowings, issue notes, or issue preferred shares in order to maintain the Trust’s desired leverage ratio. Leverage creates a
  greater risk of loss, as well as a potential for more gain, for the common shares than if leverage were not used. Interest on borrowings (or
  dividends on preferred shares) may be at a fixed or floating rate and generally will be based on short-term rates. The costs associated
  with the Trust’s use of leverage, including the issuance of such leverage and the payment of dividends or interest on such leverage, will
  be borne entirely by the holders of common shares. As long as the rate of return, net of applicable Trust expenses, on the Trust’s
  portfolio investments purchased with leverage exceeds the costs associated with such leverage, the Trust will generate more return or
  income than will be needed to pay such costs. In this event, the excess will be available to pay higher dividends to holders of common
  shares. Conversely, if the Trust’s return on such assets is less than the cost of leverage and other Trust expenses, the return to the
  holders of the common shares will diminish. To the extent that the Trust uses leverage, the NAV and market price of the common shares
  and the yield to holders of common shares will be more volatile. The Trust’s leveraging strategy may not be successful. See “Principal
  Risks of the Trust—Leverage Risk.”

       Assuming the utilization of leverage in the amount of 25.0% of the Trust’s total assets and an annual interest rate of 3.81% payable
  on such leverage based on market rates as of June 30, 2019, the additional income that the Trust must earn (net of expenses) in order to
  cover such leverage is 3.26% of NAV. Actual costs of leverage may be higher or lower than that assumed in the previous example.

       The following table is designed to illustrate the effect on the return to a holder of the Trust’s common shares of leverage in the
  amount of approximately 25.0% of the Trust’s total assets, assuming hypothetical annual returns of the Trust’s investment portfolio of
  minus 10% to plus 10%. As the table shows, leverage generally increases the return to holders of common shares when portfolio return
  is positive and greater than the cost of leverage and decreases the return when the portfolio return is negative or less than the cost of
  leverage. The figures appearing in the table are hypothetical and actual returns may be greater or less than those appearing in the table.

  Assumed return on portfolio (net of expenses)                                                        -10%   -5%    0%   5%   10%
  Corresponding return to common stockholder                                                         -14.4% -7.8% -1.1% 5.6% 12.2%

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                                                             Principal Risks of the Trust

       The following is a description of the principal risks associated with an investment in the Trust’s common and preferred shares
  specifically, as well as those risks generally associated with investment in a company with investment objectives, investment policies,
  capital structure or trading markets similar to the Trust. Given the risks described below, an investment in the common shares of the
  Trust may not be appropriate for all investors. You should carefully consider your ability to assume these risks before making an
  investment in common shares of the Trust.


  INVESTMENT AND MARKET DISCOUNT RISK
        An investment in the Trust’s common shares is subject to investment risk, including the possible loss of the entire amount that
  you invest. As with any stock, the price of the Trust’s shares fluctuates with market conditions and other factors. If common shares are
  sold, the price received may be more or less than the original investment. Shares of closed-end management investment companies
  frequently trade at a discount to their NAV. The Trust’s common shares may trade at a price that is less than the offering price. This risk
  may be greater for investors who sell their shares in a relatively short period of time after completion of an Offering. Common shares are
  designed for long-term investors and should not be treated as trading vehicles.


  REIT-SPECIFIC RISK
        REITs may be affected by changes in the real estate markets generally as well as changes in the values of the properties owned by
  the REIT or securing the mortgages owned by the REIT (which changes in value could be influenced by market conditions for real
  estate in general or fluctuations in the value of rights to natural resources appurtenant to the property held by the REIT). REITs are
  dependent upon management skill and are not diversified. REITs are also subject to heavy cash flow dependency, defaults by
  borrowers, self-liquidation, and the possibility of failing to qualify for special tax treatment under the Code and to maintain an exemption
  under the Investment Company Act. For example, because a REIT may acquire debt securities of issuers primarily engaged in or related
  to the real estate industry, it also could conceivably own real estate directly as a result of a default on such securities. Any rental income
  or income from the disposition of such real estate could adversely affect its ability to retain its tax status, which would have adverse tax
  consequences on its shareholders. Finally, certain REITs may be self-liquidating at the end of a specified term, and run the risk of
  liquidating at an economically inopportune time.

        Each Subsidiary has elected to be taxed as a REIT. In order for each Subsidiary to qualify and maintain its qualification as a REIT, it
  must satisfy certain requirements set forth in the Code and Treasury Regulations that depend on various factual matters and
  circumstances. The Trust and the Investment Adviser intend to structure each REIT Subsidiary and its activities in a manner designed
  to satisfy all of these requirements. However, the application of such requirements is not entirely clear, and it is possible that the IRS
  may interpret or apply those requirements in a manner that jeopardizes the ability of such REIT Subsidiary to satisfy all of the
  requirements for qualification as a REIT.

        If a REIT Subsidiary fails to qualify as a REIT for any taxable year and it does not qualify for certain statutory relief provisions, it
  will be subject to U.S. federal income tax on its taxable income at corporate rates. In addition, it will generally be disqualified from
  treatment as a REIT for the four taxable years following the year of losing its REIT status. Losing its REIT status will reduce its net
  earnings available for investment or distribution to stockholders because of the additional tax liability. In addition, distributions to
  stockholders will no longer qualify for the dividends paid deduction, and the REIT Subsidiary will no longer be required to make
  distributions. If this occurs, such REIT Subsidiary might be required to borrow funds or liquidate some investments in order to pay the
  applicable tax.

        To obtain the favorable tax treatment afforded to REITs under the Code, each REIT Subsidiary generally will be required each year
  to distribute to its stockholders at least 90% of its REIT taxable income determined without regard to the dividends-paid deduction and
  excluding net capital gain. To the extent that it does not distribute all of its net capital gains, or distributes at least 90%, but less than
  100%, of its REIT taxable income, as adjusted, it will have to pay tax on amounts retained at regular ordinary and capital gains corporate
  tax rates. Furthermore, if it fails to distribute during each calendar year at least the sum of (a) 85% of its ordinary income for that year,
  (b) 95% of its capital gain net income for that year, and (c) any undistributed taxable income from prior periods, it would have to pay a
  4% nondeductible excise tax on the excess of the amounts required to be distributed over the sum of (a) the amounts that it actually
  distributed and (b) the amounts it retained and upon which it paid income tax at the corporate level. These requirements could cause it
  to distribute amounts that otherwise would be spent on investments in real estate assets, and it is possible that the REIT Subsidiary
  might be required to borrow funds, possibly at unfavorable rates, or sell assets to fund the required distributions.

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  INTEREST RATE RISK
        Interest rate risk is the risk that debt securities, and the Trust’s net assets, may decline in value because of changes in interest
  rates. Generally, debt securities will decrease in value when interest rates rise and increase in value when interest rates decline. This
  means that the NAV of the common shares will fluctuate with interest rate changes and the corresponding changes in the value of the
  Trust’s debt security holdings. To the extent the Trust invests in longer duration fixed rate debt securities, the Trust is subject to greater
  interest rate risk than funds investing solely in shorter-term fixed-rate debt securities. Interest rate risk may be heightened when interest
  rates are below or significantly below historical averages. As of the date of this Prospectus, interest rates in the U.S. are at or near
  historically low levels, increasing the exposure of debt securities to the risks associated with rising interest rates. Rising market interest
  rates could have unpredictable effects on the markets and may expose fixed-income and related markets to heightened volatility. Recent
  and potential future changes in government policy may affect interest rates. In addition, in a period of rising interest rates, the higher
  cost of any leverage employed by the Trust and/or increasing defaults by issuers of high yield securities would likely exacerbate any
  decline in the Trust’s NAV.

       Duration is a measure used to determine the sensitivity of a security’s price to changes in interest rates that incorporates a
  security’s yield, coupon, final maturity and call features, among other characteristics. Duration is useful primarily as a measure of the
  sensitivity of a fixed income security’s market price to interest rate (i.e. yield) movements. All other things remaining equal, for each one
  percentage point increase in interest rates, the value of a portfolio of fixed income investments would generally be expected to decline
  by one percent for every year of the portfolio’s average duration above zero. For example, the value of a portfolio of fixed income
  securities with an average duration of three years would generally be expected to decline by approximately 3% if interest rates rose by
  one percentage point.


  PREPAYMENT RISK
        If interest rates fall, the principal on bonds and loans held by the Trust may be paid earlier than expected. If this happens, the
  proceeds from a prepaid security may be reinvested by the Trust in securities bearing lower interest rates, resulting in a possible decline
  in the Trust’s income and distributions to shareholders. The Trust may invest in pools of mortgages or other assets issued or
  guaranteed by private issuers or U.S. government agencies and instrumentalities. Mortgage-related securities are especially sensitive to
  prepayment risk because borrowers often refinance their mortgages when interest rates decline.


  RISKS OF INVESTING IN HIGH-YIELD SECURITIES
        A substantial portion of the Trust’s investments will consist of investments that may generally be characterized as “high-yield
  securities” or “junk securities,” and the Trust may invest without limit in such securities. Such securities are typically rated below
  investment grade by one or more nationally recognized statistical rating organizations or are unrated but of comparable credit quality to
  obligations rated below investment grade, and have greater credit and liquidity risk than more highly rated obligations. High-yield
  securities are generally unsecured and may be subordinate to other obligations of the obligor. The lower rating of high-yield securities
  reflects a greater possibility that adverse changes in the financial condition of the issuer or in general economic conditions (including,
  for example, a substantial period of rising interest rates or declining earnings) or both may impair the ability of the issuer to make
  payment of principal and interest. Many issuers of high-yield securities are highly leveraged, and their relatively high debt to equity
  ratios create increased risks that their operations might not generate sufficient cash flow to service their obligations. Overall declines in
  the high-yield bond and other markets may adversely affect such issuers by inhibiting their ability to refinance their obligations at
  maturity.

        High-yield securities are often issued in connection with leveraged acquisitions or recapitalizations in which the issuers incur a
  substantially higher amount of indebtedness than the level at which they had previously operated. High-yield securities that are debt
  instruments have historically experienced greater default rates than has been the case for investment grade securities. The Trust may
  also invest in equity securities issued by entities whose obligations are unrated or are rated below investment grade.

       The Trust is authorized to invest in obligations of issuers that are generally trading at significantly higher yields than had been
  historically typical of the applicable issuer’s obligations. Such investments may include debt obligations that have a heightened
  probability of being in covenant or payment default in the future. Such investments generally are considered highly speculative. The
  repayment of defaulted obligations is subject to significant uncertainties. Defaulted obligations might be repaid only after lengthy
  workout or bankruptcy proceedings, during which the issuer might not make any interest or other payments. Typically such workout or
  bankruptcy proceedings result in only partial recovery of cash payments or an exchange of the defaulted security for other debt or
  equity securities of the issuer or its affiliates, which may in turn be illiquid or highly speculative.


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        High-yield securities purchased by the Trust are subject to certain additional risks to the extent that such obligations may be
  unsecured and subordinated to substantial amounts of senior indebtedness, all or a significant portion of which may be secured.
  Moreover, such obligations purchased by the Trust may not be protected by financial covenants or limitations upon additional
  indebtedness and are unlikely to be secured by collateral.

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  ILLIQUIDITY OF INVESTMENTS
          The investments made by the Trust may be very illiquid, and consequently, the Trust may not be able to sell such investments at
  prices that reflect the Investment Adviser’s assessment of their fair value or the amount paid for such investments by the Trust. An
  inability to sell a portfolio position can adversely affect the Trust’s value or prevent the Trust from being able to take advantage of other
  investment opportunities. Illiquidity may result from the absence of an established market for the investments as well as legal,
  contractual or other restrictions on their resale by the Trust and other factors. Furthermore, the nature of the Trust’s investments,
  especially those in financially stressed and distressed companies, may require a long holding period prior to being able to determine
  whether the investment will be profitable or not. There is no limit on the amount of the Trust’s investment portfolio that can be invested
  in illiquid securities.


  RISKS OF INVESTING IN SENIOR LOANS
        Senior loans, such as bank loans, are typically at the most senior level of the capital structure, and are sometimes secured by
  specific collateral, including, but not limited to, trademarks, patents, accounts receivable, inventory, equipment, buildings, real estate,
  franchises and common and preferred stock of the obligor or its affiliates. A portion of the Trust’s investments may consist of loans and
  participations therein originated by banks and other financial institutions, typically referred to as “bank loans.” The Trust’s investments
  may include loans of a type generally incurred by borrowers in connection with highly leveraged transactions, often to finance internal
  growth, acquisitions, mergers or stock purchases, or for other reasons. As a result of the additional debt incurred by the borrower in the
  course of the transaction, the borrower’s creditworthiness is often judged by the rating agencies to be below investment grade. Such
  loans are typically private corporate loans negotiated by one or more commercial banks or financial institutions and syndicated among a
  group of commercial banks and financial institutions. In order to induce the lenders to extend credit and to offer a favorable interest rate,
  the borrower often provides the lenders with extensive information about its business that is not generally available to the public. To the
  extent the Trust receives material non-public information, it may be prohibited from trading in certain securities, even when it might
  otherwise be beneficial to do so.

       Bank loans often, but not always, contain restrictive covenants designed to limit the activities of the borrower in an effort to
  protect the right of lenders to receive timely payments of principal and interest. Such covenants may include restrictions on distribution
  payments, specific mandatory minimum financial ratios, limits on total debt and other financial tests. Bank loans usually have shorter
  terms than subordinated obligations and may require mandatory prepayments from excess cash flow, asset dispositions and offerings of
  debt and/or equity securities. The bank loans and other debt obligations to be acquired by the Trust are likely to be below investment
  grade.

        The Trust may acquire interests in bank loans and other debt obligations either directly (by way of sale or assignment) or
  indirectly (by way of participation). The purchaser of an assignment typically succeeds to all the rights and obligations of the assigning
  institution and becomes a lender under the credit agreement with respect to the debt obligation; however, its rights can be more
  restricted than those of the assigning institution, and, in any event, the Trust may not be able unilaterally to enforce all rights and
  remedies under the loan and any associated collateral. A participation interest in a portion of a debt obligation typically results in a
  contractual relationship only with the institution participating out the interest, not with the borrower. In purchasing participations, the
  Trust generally will have no right to enforce compliance by the borrower with the terms of the loan agreement or any rights of setoff
  against the borrower, and the Trust may not directly benefit from the collateral supporting the debt obligation in which it has purchased
  the participation. As a result, the Trust will be exposed to the credit risk of both the borrower and the institution selling the participation.

        Purchasers of bank loans are predominantly commercial banks, investment funds and investment banks. As secondary market
  trading volumes increase, new bank loans frequently adopt standardized documentation to facilitate loan trading, which the Investment
  Adviser believes should improve market liquidity. However, no active trading market may exist for certain senior loans, which may impair
  the ability of the Trust to realize full value in the event of the need to liquidate such assets. Adverse market conditions may impair the
  liquidity of some actively traded senior loans. In addition, future levels of supply and demand in bank loan trading may not provide an
  adequate degree of liquidity and the current level of liquidity may not continue. Because of the provision to holders of such loans of
  confidential information relating to the borrower, the unique and customized nature of the loan agreement, the limited universe of eligible
  purchasers and the private syndication of the loan, bank loans are not as easily purchased or sold as a publicly-traded security.

       As with any debt instrument, senior loans are generally subject to the risk of price declines and as interest rates rise, the cost of
  borrowing increases, which may increase the risk of default. In addition, the interest rates of floating rate loans typically only adjust to
  changes in short-term

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  interest rates; long-term interest rates can vary dramatically from short-term interest rates. Declines in interest rates may increase
  prepayments of debt obligations and require the Trust to invest assets at lower yields.


  LEGISLATION RISK
        To the extent that legislation or state or federal regulators impose additional requirements or restrictions with respect to the ability
  of financial institutions to make loans in connection with highly leveraged transactions, the availability of senior loan interests for
  investment by the Trust may be adversely affected. In addition, such requirements or restrictions may reduce or eliminate sources of
  financing for affected borrowers. Further, to the extent that legislation or federal or state regulators require such institutions to dispose
  of senior loan interests relating to highly leveraged transactions or subject such senior loan interests to increased regulatory scrutiny,
  such financial institutions may determine to sell senior loan interests in a manner that results in a price that, in the opinion of the
  Investment Adviser, is not indicative of fair value. Were the Trust to attempt to sell a senior loan interest at a time when a financial
  institution was engaging in such a sale with respect to the senior loan interest, the price at which the Trust could consummate such a
  sale might be adversely affected.


  SECOND LIEN LOANS RISK
        Second lien loans are subject to the same risks associated with investment in senior loans and non-investment grade securities.
  However, second lien loans are second in right of payment to senior loans and therefore are subject to additional risk that the cash flow
  of the borrower and any property securing the loan may be insufficient to meet scheduled payments after giving effect to the senior
  secured obligations of the borrower. Second lien loans are expected to have greater price volatility than senior loans and may be less
  liquid. There is also a possibility that originators will not be able to sell participations in second lien loans, which would create greater
  credit risk exposure.


  OTHER SECURED LOANS RISK
       Secured loans other than senior loans and second lien loans are subject to the same risks associated with investment in senior
  loans, second lien loans and non-investment grade securities. However, such loans may rank lower in right of payment than any
  outstanding senior loans and second lien loans of the borrower and therefore are subject to additional risk that the cash flow of the
  borrower and any property securing the loan may be insufficient to meet scheduled payments after giving effect to the higher-ranking
  secured obligations of the borrower. Lower-ranking secured loans are expected to have greater price volatility than senior loans and
  second lien loans and may be less liquid. There is also a possibility that originators will not be able to sell participations in lower-ranking
  secured loans, which would create greater credit risk exposure.


  UNSECURED LOANS RISK
       Unsecured loans are subject to the same risks associated with investment in senior loans, second lien loans, other secured loans
  and non-investment grade securities. However, because unsecured loans have lower priority in right of payment to any higher ranking
  obligations of the borrower and are not backed by a security interest in any specific collateral, they are subject to additional risk that the
  cash flow of the borrower and available assets may be insufficient to meet scheduled payments after giving effect to any higher ranking
  obligations of the borrower. Unsecured loans are expected to have greater price volatility than senior loans, second lien loans and other
  secured loans and may be less liquid. There is also a possibility that originators will not be able to sell participations in unsecured loans,
  which would create greater credit risk exposure.

         Loans other than senior loans may not be acceptable collateral under the Trust’s current credit facility or under any future credit
  facilities, or may require a higher collateral-to-loan ratio, and therefore to the extent the Trust invests in such loans its ability to borrow
  may be reduced.

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  RISKS OF INVESTING IN OBLIGATIONS OF STRESSED, DISTRESSED AND BANKRUPT ISSUERS
         The Trust is authorized to invest in the securities and other obligations of stressed, distressed and bankrupt issuers, including
  debt obligations that are in covenant or payment default. There is no limit on the amount of the Trust’s investment portfolio that can be
  invested in stressed, distressed or bankrupt issuers, and the Trust may invest for purposes of control. Such investments generally trade
  significantly below par and are considered highly speculative. The repayment of defaulted obligations is subject to significant
  uncertainties. Defaulted obligations might be repaid only after lengthy workout or bankruptcy proceedings, during which the issuer
  might not make any interest or other payments. Typically such workout or bankruptcy proceedings result in only partial recoveries,
  which may be in the form of cash payments or an exchange of the defaulted obligation for other debt or equity securities of the issuer or
  its affiliates, which may in turn be illiquid or highly speculative. It is also possible that there could be limited or no recovery for creditors
  in a bankruptcy or workout.

         There are a number of significant risks inherent in the bankruptcy process, including, without limitation, those set forth in this
  paragraph. First, many events in a bankruptcy are the product of contested matters and adversary proceedings and are beyond the
  control of the creditors. While creditors are generally given an opportunity to object to significant actions, a bankruptcy court in the
  exercise of its broad equitable powers may approve actions that are contrary to the interests of the Trust. Second, a bankruptcy filing by
  an issuer may adversely and permanently affect the issuer. The issuer may lose its market position and key employees and otherwise
  become incapable of restoring itself as a viable entity. If for this or any other reason the proceeding is converted to a liquidation, the
  value of the issuer may not equal the liquidation value that was believed to exist at the time of the investment. Third, the duration of a
  bankruptcy proceeding is difficult to predict. A creditor’s return on investment can be adversely affected by delays while the plan of
  reorganization is being negotiated (or, in some cases, litigated), approved by the creditors and confirmed by the bankruptcy court and
  until it ultimately becomes effective. Fourth, the administrative costs in connection with a bankruptcy proceeding are frequently high
  and would be paid out of the debtor’s estate prior to any return to creditors. For example, if a proceeding involves protracted or difficult
  litigation, or turns into a liquidation, substantial assets may be devoted to administrative costs. Fifth, bankruptcy law permits the
  classification of “substantially similar” claims in determining the classification of claims in a reorganization. Because the standard for
  classification is vague, there exists the risk that the Trust’s influence with respect to the class of securities or other obligations it owns
  can be lost by increases in the number and amount of claims in that class or by different classification and treatment. Sixth, in certain
  circumstances in which the Trust acquires claims against the issuer to obtain a control position with respect to a class or classes of
  claims, the Trust’s influence with respect to all of the class or classes of securities or other obligations it owns can be lost if the
  bankruptcy court designates the Trust’s vote or votes on the Chapter 11 plan as a result of the Trust’s claim purchases. Seventh, in the
  early stages of the bankruptcy process it is often difficult to estimate the extent of, or even to identify, any contingent claims that might
  be made. Eighth, especially in the case of investments made prior to the commencement of bankruptcy proceedings, creditors can lose
  their ranking and priority if they exercise “domination and control” over a debtor and other creditors can demonstrate that they have
  been harmed by such actions. Ninth, certain claims that have priority by law (for example, claims for taxes) may be substantial.

        In any investment involving stressed and distressed debt obligations, there exists the risk that the transaction involving such debt
  obligations will be unsuccessful, take considerable time or will result in a distribution of cash or a new security or obligation in exchange
  for the stressed and distressed debt obligations, the value of which may be less than the Trust’s purchase price of such debt
  obligations. Furthermore, if an anticipated transaction does not occur, the Trust may be required to sell its investment at a loss. Given
  the substantial uncertainties concerning transactions involving stressed and distressed debt obligations in which the Trust invests,
  there is a potential risk of loss by the Trust of its entire investment in any particular investment.

        Investments in companies operating in workout modes or under Chapter 11 of the Bankruptcy Code are also, in certain
  circumstances, subject to certain additional liabilities, which may exceed the value of the Trust’s original investment in a company. For
  example, under certain circumstances, creditors who have inappropriately exercised control over the management and policies of a
  debtor may have their claims subordinated or disallowed or may be found liable for damages suffered by parties as a result of such
  actions. The Investment Adviser’s active management style may present a greater risk in this area than would a more passive approach.
  In addition, under certain circumstances, payments to the Trust and distributions by the Trust or payments on the debt may be
  reclaimed if any such payment is later determined to have been a fraudulent conveyance or a preferential payment.

       The Investment Adviser on behalf of the Trust (and its other clients) may participate on committees formed by creditors to
  negotiate with the management of financially troubled companies that may or may not be in bankruptcy or may negotiate directly with
  debtors with respect to restructuring issues. If the Trust does choose to join a committee, the Trust would likely be only one of many

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  participants, all of whom would be interested in obtaining an outcome that is in their individual best interests. The Trust may not be
  successful in obtaining results most favorable to it in such proceedings, although the Trust may incur significant legal and other
  expenses in attempting to do so. As a result of participation by the Trust on such committees, the Trust may be deemed to have duties
  to other creditors represented by the committees, which might thereby expose the Trust to liability to such other creditors who disagree
  with the Trust’s actions. Participation by the Trust on such committees may cause the Trust to be subject to certain restrictions on its
  ability to trade in a particular investment and may also make the Trust an “insider” or an “underwriter” for purposes of the federal
  securities laws. Either circumstance will restrict the Trust’s ability to trade in or acquire additional positions in a particular investment
  when it might otherwise desire to do so.

        Investments in distressed debt obligations that are at risk of or in default present special tax issues for the Trust. Tax rules are not
  entirely clear about issues such as whether and to what extent the Trust should recognize “market discount” on certain distressed debt
  obligations; when the Trust may cease to accrue interest, “original issue discount” or market discount; when and to what extent the
  Trust may take deductions for bad debts or worthless securities and how the Trust should allocate payments received on obligations in
  default between principal and income. These and other related issues will be addressed by the Trust when, as and if it invests in such
  obligations, in order to seek to ensure that it distributes sufficient income to maintain its eligibility for treatment as a RIC under the Code
  and that it does not become subject to Trust-level U.S. federal income or excise taxes.


  INSOLVENCY CONSIDERATIONS WITH RESPECT TO ISSUERS OF DEBT OBLIGATIONS
          Various laws enacted for the protection of creditors may apply to the debt obligations held by the Trust. The information in this
  paragraph is applicable with respect to U.S. issuers subject to U.S. bankruptcy laws. Insolvency considerations may differ with respect
  to other issuers. If a court in a lawsuit brought by an unpaid creditor or representative of creditors of an issuer of a debt obligation, such
  as a trustee in bankruptcy or a creditors’ committee, were to find that the issuer did not receive fair consideration or reasonably
  equivalent value for incurring the indebtedness constituting the debt obligation and, after giving effect to such indebtedness, the issuer
  (i) was insolvent, (ii) was engaged in a business for which the remaining assets of such issuer constituted unreasonably small capital, or
  (iii) intended to incur, or believed that it would incur, debts beyond its ability to pay such debts as they mature, such court could
  determine to invalidate, in whole or in part, such indebtedness as a fraudulent conveyance, to subordinate such indebtedness to
  existing or future creditors of such issuer, or to recover amounts previously paid by such issuer in satisfaction of such indebtedness.

        The measure of insolvency for purposes of the foregoing will vary. Generally, an issuer would be considered insolvent at a
  particular time if the sum of its debts were then greater than all of its property at a fair valuation, or if the present fair saleable value of its
  assets was then less than the amount that would be required to pay its probable liabilities on its existing debts as they became absolute
  and matured. There can be no assurance as to what standard a court would apply in order to determine whether the issuer was
  “insolvent” after giving effect to the incurrence of the indebtedness constituting the debt obligation or that, regardless of the method of
  valuation, a court would not determine that the issuer was “insolvent” upon giving effect to such incurrence. In addition, in the event of
  the insolvency of an issuer of a debt obligation, payments made on such debt obligation could be subject to avoidance as a
  “preference” if made within a certain period of time (which may be as long as one year) before insolvency. Similarly, a court might apply
  the doctrine of equitable subordination to subordinate the claim of a lending institution against an issuer, to claims of other creditors of
  the borrower, when the lending institution, another investor, or any of their transferees, is found to have engaged in unfair, inequitable,
  or fraudulent conduct. In general, if payments on a debt obligation are avoidable, whether as fraudulent conveyances or preferences,
  such payments can be recaptured either from the initial recipient (such as the Trust) or from subsequent transferees of such payments
  (such as the investors in the Trust). To the extent that any such payments are recaptured from the Trust the resulting loss will be borne
  by the investors. However, a court in a bankruptcy or insolvency proceeding would be able to direct the recapture of any such payment
  from such a recipient or transferee only to the extent that such court has jurisdiction over such recipient or transferee or its assets.
  Moreover, it is likely that avoidable payments could not be recaptured directly from any such recipient or transferee that has given value
  in exchange for its note, in good faith and without knowledge that the payments were avoidable. Although the Investment Adviser will
  seek to avoid conduct that would form the basis for a successful cause of action based upon fraudulent conveyance, preference or
  equitable subordination, these determinations are made in hindsight and a court could disagree with the Trust’s position, and, in any
  event, there can be no assurance as to whether any lending institution or other investor from which the Trust acquired the debt
  obligations engaged in any such conduct (or any other conduct that would subject the debt obligations and the issuer to insolvency
  laws) and, if it did, as to whether such creditor claims could be asserted in a U.S. court (or in the courts of any other country) against the
  Trust.


  LITIGATION RISK
       The Trust is sometimes subject to legal proceedings and claims based on the securities and instruments in which the Trust
  invests. Litigation may result in substantial costs and may seriously harm the Trust’s investments and overall financial condition. In
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  addition, legal claims that have not yet been asserted against the Trust may be asserted in the future.

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  LEVERAGE RISK
        When deemed appropriate by the Investment Adviser and subject to applicable regulations, the Trust may use leverage in its
  investment program, including through the issuance of preferred shares, borrowings from a credit facility, issuing notes or other debt
  securities and investments in certain types of options, such as puts, calls and warrants. While such strategies and techniques increase
  the opportunity to achieve higher returns on the amounts invested, they also increase the risk of loss. To the extent the Trust purchases
  securities with borrowed funds, its net assets will tend to increase or decrease at a greater rate than if borrowed funds are not used. The
  level of interest rates generally, and the rates at which such funds may be borrowed in particular, could affect the operating results of the
  Trust. If the interest expense on borrowings were to exceed the net return on the portfolio securities purchased with borrowed funds,
  the Trust’s use of leverage would result in a lower rate of return than if the Trust were not leveraged.

       The Trust’s leveraged capital structure creates special risks not associated with unleveraged funds having a similar investment
  objective and policies. These include the possibility of greater loss and the likelihood of higher volatility of the NAV of the Trust and
  the asset coverage for the preferred shares.

       Pursuant to regulations and/or published positions of the Commission, the Trust may be required to earmark liquid assets in an
  amount equal to the Trust’s daily marked-to-market value of its transactions in futures and options. To maintain this required margin, the
  Trust may have to sell portfolio securities at disadvantageous prices or times because it may not be possible to liquidate a position at a
  reasonable price. In addition, the earmarking of such assets will have the effect of limiting the Trust’s ability otherwise to invest those
  assets.

       The Trust also has the ability to use leverage through the issuance of preferred shares, borrowings from a credit facility, issuance
  of secured notes or other debt securities, or any combination of the three. The Trust currently leverages through borrowings from a
  committed facility, through a master repurchase agreement and through a bridge credit agreement. The use of leverage, which can be
  described as exposure to changes in price at a ratio greater than the amount of equity invested, either through the issuance of preferred
  shares, borrowings or other forms of market exposure, magnifies both the favorable and unfavorable effects of price movements in the
  investments made by the Trust. Insofar as the Trust continues to employ leverage in its investment operations, the Trust will be subject
  to substantial risks of loss.

       Therefore, if the market value of the Trust’s investment portfolio declines, any leverage will result in a greater decrease in NAV to
  common shareholders than if the Trust were not leveraged. Such greater NAV decrease will also tend to cause a greater decline in the
  market price for the common shares. Further, if at any time while the Trust has leverage outstanding it does not meet applicable asset
  coverage requirements (as discussed below), it may be required to suspend distributions to common shareholders until the requisite
  asset coverage is restored. Any such suspension might impair the ability of the Trust to meet the RIC distribution requirements and to
  avoid Trust-level U.S. federal income or excise taxes.

       As noted above, the Trust currently leverages through borrowings from a committed facility, through a master repurchase
  agreement and through a bridge credit agreement. The Trust had previously entered into a secured Credit Facility with State Street. Such
  borrowings constitute financial leverage.

         Indebtedness incurred under the Committed Facility is not convertible into any other securities of the Trust. Outstanding amounts
  would be payable at maturity or such earlier times as required by the Committed Facility agreement. The Trust may be required to prepay
  outstanding amounts under the Committed Facility or incur a penalty rate of interest in the event of the occurrence of certain events of
  default. The Committed Facility agreement obligates the Trust to provide certain indemnities to the agent and the lenders and their
  affiliates. The Trust is required to pay ongoing commitment fees on the undrawn amount under the terms of the Committed Facility
  agreement. With the use of borrowings, there is a risk that the interest rates paid by the Trust on the amount it borrows will be higher
  than the return on the Trust’s investments. The Committed Facility may in the future be replaced or refinanced by one or more credit
  facilities having substantially different terms or by the issuance of preferred shares, or the Trust may be unable to renew or replace its
  Committed Facility upon the termination of the current facilities, possibly requiring it to sell portfolio securities at times or prices that are
  disadvantageous. Any of these situations could adversely impact income or total return to shareholders.

        The Trust must comply with investment quality, diversification and other guidelines established by the Committed Facility
  agreement. The Trust does not anticipate that such guidelines will have a material adverse effect on the Trust’s common shareholders or
  its ability to achieve its investment objectives.

       Successful use of a leveraging strategy may depend on the Investment Adviser’s ability to predict correctly interest rates and
  market movements, and there is no assurance that a leveraging strategy will be successful during any period in which it is employed.

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  RISKS OF INVESTING IN OTHER INVESTMENT COMPANIES 267
        The Trust may invest in investment companies such as open-end funds (mutual funds), closed-end funds and ETFs (also referred
  to as “Underlying Funds”). The Trust may invest in Underlying Funds subject to the limitations set forth in the Investment Company
  Act. Underlying Funds typically incur fees that are separate from those fees incurred directly by the Trust; therefore, the Trust’s
  purchase of Underlying Funds’ securities results in the layering of expenses. The Trust’s shareholders indirectly bear a proportionate
  share of the operating expenses of Underlying Funds (including advisory fees) in addition to bearing the Trust’s expenses.

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        The Trust may invest in investment companies that are advised by the Investment Adviser or its affiliates, including ETFs, to the
  extent permitted by applicable law and/or pursuant to exemptive relief from the SEC. These investment companies typically incur fees
  that are separate from those fees incurred directly by the Trust. The Trust’s purchase of such investment company securities results in
  the layering of expenses, such that shareholders would indirectly bear a proportionate share of the operating expenses of such
  investment companies, including advisory fees, in addition to paying Trust expenses.

        Shares of closed-end funds are typically offered to the public in a one-time initial public offering by a group of underwriters who
  retain a spread or underwriting commission of between 4% or 6% of the initial public offering price. Such securities are then listed for
  trading on the New York Stock Exchange, the National Association of Securities Dealers Automated Quotation System (commonly
  known as “NASDAQ”) and, in some cases, may be traded in other over-the-counter markets. Because the shares of closed-end funds
  cannot be redeemed upon demand to the issuer like the shares of an open-end investment company (such as the Funds), investors seek
  to buy and sell shares of closed-end funds in the secondary market.

       The Trust generally will purchase shares of closed-end funds only in the secondary market. The Trust will incur normal brokerage
  costs on such purchases similar to the expenses the Trust would incur for the purchase of securities of any other type of issuer in the
  secondary market. The Trust may, however, also purchase securities of a closed-end fund in an initial public offering when, in the
  opinion of the Investment Adviser, based on a consideration of the nature of the closed-end fund’s proposed investments, the
  prevailing market conditions and the level of demand for such securities, they represent an attractive opportunity for growth of capital.
  The initial offering price typically will include a dealer spread, which may be higher than the applicable brokerage cost if the Trust
  purchased such securities in the secondary market.

        The shares of many closed-end funds, after their initial public offering, frequently trade at a price per share that is less than the
  NAV per share, the difference representing the “market discount” of such shares. This market discount may be due in part to the
  investment objective of long-term appreciation, which is sought by many closed-end funds, as well as to the fact that the shares of
  closed-end funds are not redeemable by the holder upon demand to the issuer at the next determined NAV but rather are subject to the
  principles of supply and demand in the secondary market. A relative lack of secondary market purchasers of closed-end fund shares
  also may contribute to such shares trading at a discount to their NAV.

        The Trust may invest in shares of closed-end funds that are trading at a discount to NAV or at a premium to NAV. There can be no
  assurance that the market discount on shares of any closed-end fund purchased by the Trust will ever decrease. In fact, it is possible
  that this market discount may increase and the Trust may suffer realized or unrealized capital losses due to further decline in the market
  price of the securities of such closed-end funds, thereby adversely affecting the NAV of the Trust’s shares. Similarly, there can be no
  assurance that any shares of a closed-end fund purchased by the Trust at a premium will continue to trade at a premium or that the
  premium will not decrease subsequent to a purchase of such shares by the Trust.

        Closed-end funds may issue senior securities (including preferred stock and debt obligations) for the purpose of leveraging the
  closed-end fund’s common shares in an attempt to enhance the current return to such closed-end fund’s common shareholders. The
  Trust’s investment in the common shares of closed-end funds that are financially leveraged may create an opportunity for greater total
  return on its investment, but at the same time may be expected to exhibit more volatility in market price and NAV than an investment in
  shares of investment companies without a leveraged capital structure.

        The majority of ETFs are passive funds that track their related index and have the flexibility of trading like a security. They are
  managed by professionals and provide the investor with diversification, cost and tax efficiency, liquidity, margin-ability, are useful for
  hedging, have the ability to go long and short, and some provide quarterly dividends. Additionally, some ETFs are unit investment
  trusts (UITs), which are unmanaged portfolios overseen by trustees.

       There is a risk that an ETF in which the Trust invests may terminate due to extraordinary events that may cause any of the service
  providers to the ETFs, such as the trustee or sponsor, to close or otherwise fail to perform their obligations to the ETF. Also, because
  the ETFs in which the Trust intends to principally invest may be granted licenses by agreement to use the indices as a basis for
  determining their compositions and/or otherwise to use certain trade names, the ETFs may terminate if such license agreements are
  terminated. In addition, an ETF may terminate if its entire NAV falls below a certain amount. Although the Trust believes that, in the
  event of the termination of an underlying ETF, it will be able to invest instead in shares of an alternate ETF tracking the same market
  index or another market index with the same general market, there is no guarantee that shares of an alternate ETF would be available for
  investment at that time. To the extent the Trust invests in a sector product, the Fund is subject to the risks associated with that sector.

        Certain ETFs that invest in commodities or commodity-related instruments may give rise to income that is not “qualifying income”
  for purposes of the 90% gross income test for qualification as a RIC for U.S. federal income tax purposes. The Trust’s investment in
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  such an ETF may bear on or be limited by the Trust’s intention to qualify as a RIC. Further, certain ETFs that invest in commodities or
  certain commodity-related derivatives may qualify as “qualified publicly traded partnerships” (“QPTPs”) for U.S. federal income tax
  purposes with the net income generated thereon treated as qualifying income for purposes of this 90% gross income test. Under the tax
  diversification requirements applicable to RICs, the Trust’s investment in one or more entities qualifying as QPTPs may not exceed 25%
  of the Fund’s total assets at the end of each quarter of each taxable year.


  PREFERRED SHARE RISK
        Preferred share risk is the risk associated with the issuance of preferred shares to leverage the common shares. If preferred shares
  are issued, the NAV and market value of the common shares will be more volatile, and the yield to the holders of common shares will
  tend to fluctuate with changes in the shorter-term dividend rates on the preferred shares. The Trust will pay (and

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  the holders of common shares will bear) all costs and expenses relating to the issuance and ongoing maintenance of the preferred
  shares, including higher advisory fees. Accordingly, the issuance of preferred shares may not result in a higher yield or return to the
  holders of the common shares. If the dividend rate and other costs of the preferred shares approach the net rate of return on the Trust’s
  investment portfolio, the benefit of leverage to the holders of the common shares would be reduced. If the dividend rate and other costs
  of the preferred shares exceed the net rate of return on the Trust’s investment portfolio, the leverage will result in a lower rate of return
  to the holders of common shares than if the Trust had not issued preferred shares.

        Similarly, any decline in the NAV of the Trust’s investments will be borne entirely by the holders of common shares. Therefore, if
  the market value of the Trust’s investment portfolio declines, the leverage will result in a greater decrease in NAV to the holders of
  common shares than if the Trust were not leveraged. This greater NAV decrease will also tend to cause a greater decline in the market
  price for the common shares. The Trust might be in danger of failing to maintain the required asset coverage of the preferred shares or of
  losing its ratings on the preferred shares or, in an extreme case, the Trust’s current investment income might not be sufficient to meet the
  dividend requirements on the preferred shares. In order to counteract such an event, the Trust might need to liquidate investments in
  order to fund a redemption of some or all of the preferred shares. Liquidation at times of low prices may result in capital loss and may
  reduce returns to the holders of common shares.

        If preferred shares are issued, holders of preferred shares may have differing interests than holders of common shares and holders
  of preferred shares may at times have disproportionate influence over the Trust’s affairs. If preferred shares are issued, holders of
  preferred shares, voting separately as a single class, would have the right to elect two members of the Board at all times. The remaining
  members of the Board would be elected by holders of common shares and preferred shares, voting as a single class. The Investment
  Company Act requires that, in addition to any approval by shareholders that might otherwise be required, the approval of the holders of
  a majority of any outstanding preferred shares, voting separately as a class, would be required to (i) adopt any plan of reorganization
  that would adversely affect the preferred shares and (ii) take any action requiring a vote of security holders under Section 13(a) of the
  Investment Company Act, including, among other things, changes in the Trust’s subclassification as a closed-end investment company
  or changes in its fundamental investment restrictions.

         If the Trust issues preferred shares, the Trust would likely seek a credit rating on the preferred shares from one or more nationally
  recognized statistical rating organizations. The Trust expects that, at anytime when preferred shares were outstanding, the composition
  of its investment portfolio would reflect guidelines established by any rating agencies, including for example, asset coverage
  requirements that are more restrictive than those under the Investment Company Act, restrictions on certain portfolio investments and
  investment practices, requirements that the Trust maintain a portion of its assets in higher rated debt securities and certain mandatory
  redemption requirements relating to the preferred shares. No assurance can be given that the guidelines actually imposed with respect
  to preferred shares by rating agencies would be more or less restrictive than these examples. These restrictions may require the Trust to
  alter its investment strategy and invest in different types of assets some of which may be lower yielding or result in less opportunities
  for capital appreciation. No minimum rating is required for the issuance of preferred shares by the Trust.


  COMMON STOCK RISK
        The Trust may invest in common stock. Although investments in common stock have historically generated higher average total
  returns than fixed income securities over the long-term, investments in common stock also have historically experienced significantly
  more volatility in those returns. Therefore, the Trust’s investments in common stock could result in worse performance than would be
  the case had the Trust been invested solely in debt securities. An adverse event, such as an unfavorable earnings report, may depress
  the value of a particular investment in common stock held by the Trust. Also, the price of common stock is sensitive to general
  movements in the stock market and a drop in the stock market may depress the price of common stock to which the Trust has exposure.
  Common stock prices fluctuate for several reasons, including changes in investors’ perceptions of the financial condition of an issuer or
  the general condition of the relevant stock market, or when political or economic events affecting an issuer occur. In addition, common
  stock prices may be particularly sensitive to rising interest rates, as the cost of capital rises and borrowing costs increase.


  DIVIDEND RISK
        Dividends on common stock are not fixed but are declared at the discretion of an issuer’s board of directors. There is no guarantee
  that the issuers of the common stock in which the Trust invests will declare dividends in the future or that, if declared, the dividends will
  remain at current levels or increase over time.


  SMALL AND MID-CAP SECURITIES RISK


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        The Trust may invest in companies with small or medium-sized capitalizations. Securities issued by small and medium-sized
  companies can be more volatile than, and perform differently from, larger company securities. There may be less trading in a small or
  medium-sized company’s securities, which means that buy and sell transactions in those securities could have a larger impact on the

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  security’s price than is the case with larger company securities. Small or medium-sized companies may have fewer business lines;
  changes in any one line of business, therefore, may have a greater impact on a small or medium-sized company’s security price than is
  the case for a larger company. In addition, small or medium-sized company securities may not be well known to the investing public.


  NON-U.S. SECURITIES RISK
        The Trust may invest without limit in Non-U.S. Securities. Investing in Non-U.S. Securities involves certain risks not involved in
  domestic investments, including, but not limited to: (i) fluctuations in foreign exchange rates; (ii) future foreign economic, financial,
  political and social developments; (iii) different legal systems; (iv) the possible imposition of exchange controls or other foreign
  governmental laws or restrictions; (v) lower trading volume; (vi) much greater price volatility and illiquidity of certain non-U.S. securities
  markets; (vii) different trading and settlement practices; (viii) less governmental supervision; (ix) changes in currency exchange rates;
  (x) high and volatile rates of inflation; (xi) fluctuating interest rates; (xii) less publicly available information; and (xiii) different
  accounting, auditing and financial recordkeeping standards and requirements. In addition, certain investments in Non-U.S. Securities
  may be subject to foreign withholding or other taxes on interest, dividends, capital gains or other income. Those taxes will reduce the
  Trust’s yield on any such securities. See “Tax Matters” below.

        Certain countries in which the Trust may invest, especially emerging market countries, historically have experienced, and may
  continue to experience, high rates of inflation, high interest rates, exchange rate fluctuations, large amounts of external debt, balance of
  payments and trade difficulties and extreme poverty and unemployment. Many of these countries are also characterized by political
  uncertainty and instability. These risks are especially evident in the Middle East and Africa. The cost of servicing external debt will
  generally be adversely affected by rising international interest rates because many external debt obligations bear interest at rates which
  are adjusted based upon international interest rates. In addition, with respect to certain foreign countries, there is a risk of: (i) the
  possibility of expropriation or nationalization of assets; (ii) confiscatory taxation; (iii) difficulty in obtaining or enforcing a court
  judgment; (iv) economic, political or social instability; and (v) diplomatic developments that could affect investments in those countries.
  In addition, individual foreign economies may differ favorably or unfavorably from the U.S. economy in such respects as: (i) growth of
  gross domestic product; (ii) rates of inflation; (iii) capital reinvestment; (iv) resources; (v) self-sufficiency; and (vi) balance of payments
  position.

         As a result of these potential risks, the Investment Adviser may determine that, notwithstanding otherwise favorable investment
  criteria, it may not be practicable or appropriate to invest in a particular country. The Trust may invest in countries in which foreign
  investors, including the Investment Adviser, have had no or limited prior experience.


  EMERGING MARKETS RISK
         The Trust currently does not expect to invest more than 15%, but may invest up to 20% of its total assets in securities of issuers
  based in emerging markets. An emerging market country is any country having an economy and market that are (or would be)
  considered by the World Bank to be emerging or developing or is listed in the Morgan Stanley Capital International Emerging Markets
  Index. Emerging market countries are located in regions such as Asia, Latin America, the Middle East, Southern Europe, Eastern Europe
  (including the former republics of the Soviet Union and the Eastern Bloc) and Africa. Investing in securities of issuers based in
  emerging markets entails all of the risks of investing in securities of non-U.S. issuers, but to a heightened degree. These heightened
  risks include: (i) greater risks of expropriation, confiscatory taxation, nationalization, and less social, political and economic stability;
  (ii) the smaller size of the markets for such securities and a lower volume of trading, resulting in lack of liquidity and in price volatility;
  and (iii) certain national policies which may restrict the Trust’s investment opportunities including restrictions on investing in issuers or
  industries deemed sensitive to relevant national interests.


  FOREIGN CURRENCY RISK
        Because the Trust may invest in securities denominated or quoted in currencies other than the U.S. dollar, changes in foreign
  currency exchange rates may affect the value of securities owned by the Trust, the unrealized appreciation or depreciation of
  investments and gains on and income from investments. Currencies of certain countries may be volatile and therefore may affect the
  value of securities denominated in such currencies, which means that the Trust’s NAV could decline as a result of changes in the
  exchange rates between foreign currencies and the U.S. dollar. These risks often are heightened for investments in smaller or emerging
  capital markets. In addition, the Trust may enter into foreign currency transactions in an attempt to enhance total return, which may
  further expose the Trust to the risks of foreign currency movements and other risks. The use of foreign currency transactions can result
  in the Trust incurring losses as a result of the imposition of exchange controls, suspension of settlements or the inability of the Trust to
  deliver or receive a specified currency.

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  INVESTMENTS IN UNSEASONED COMPANIES
       The Trust may invest in the securities of less seasoned companies. These investments may present greater opportunities for
  growth, but also involve greater risks than customarily are associated with investments in securities of more established companies.
  Some of the companies in which the Trust may invest will be start-up companies that may have insubstantial operational or earnings
  history or may have limited products, markets, financial resources or management depth. Some may also be emerging companies at the
  research and development stage with no products or technologies to market or approved for marketing. Securities of emerging
  companies may lack an active secondary market and may be subject to more abrupt or erratic price movements than securities of larger,
  more established companies or stock market averages in general. Competitors of certain companies may have substantially greater
  financial resources than many of the companies in which the Trust may invest.


  INITIAL PUBLIC OFFERINGS RISK
        The Trust may invest in shares of companies through IPOs. IPOs and companies that have recently gone public have the potential
  to produce substantial gains for the Trust. However, the Trust may not have access to or invest in IPOs that are ultimately profitable for
  investors. The investment performance of the Trust during periods when it is unable to invest significantly or at all in IPOs may be lower
  than during periods when the Trust is able to do so. Securities issued in IPOs are subject to many of the same risks as investing in
  companies with smaller market capitalizations. Securities issued in IPOs have no trading history, and information about the companies
  may be available for limited periods of time. In addition, the prices of securities sold in IPOs may be highly volatile or may decline
  shortly after the IPO.


  SECURITIES LENDING RISK
        Under the Trust’s current securities lending agreement, the Trust may lend its portfolio securities (up to a maximum of one-third of
  its total assets) to financial institutions on an approved list of borrowers. Securities lending is subject to the risk that loaned securities
  may not be available to the Trust on a timely basis and the Trust may, therefore, lose the opportunity to sell the securities at a desirable
  price. Any loss in the market price of securities loaned by the Trust that occurs during the term of the loan would be borne by the Trust
  and would adversely affect the Trust’s performance. Also, there may be delays in recovery, or no recovery, of securities loaned should
  the borrower of the securities fail financially while the loan is outstanding. In addition, voting rights with respect to loaned securities
  generally pass to the borrower. The Trust, as the lender, retains the right to recall the loans and obtain the return of the securities loaned
  in order to vote the loaned securities. However, in many circumstances the Trust may be unable to recall the securities in time to vote or
  may determine that the benefits to the Trust of voting are outweighed by the indirect or direct costs of such a recall. In these
  circumstances, loaned securities may be voted or not voted in a manner adverse to the best interests of the Trust. All of the
  aforementioned risks may be greater for Non-U.S. Securities.

        These lending transactions must be fully collateralized at all times, but involve some credit risk to the Trust if the borrower or the
  party (if any) guaranteeing the loan should default on its obligation and the Trust is delayed in or prevented from recovering the
  collateral. In addition, any income or gains and losses from investing and reinvesting any cash collateral delivered by a borrower
  pursuant to a loan are generally at the Trust’s risk, and to the extent any such losses reduce the amount of cash below the amount
  required to be returned to the borrower upon the termination of any loan, the Trust may be required to pay or cause to be paid to such
  borrower or another entity an amount equal to such shortfall in cash. The Trust generally accepts cash (U.S. and foreign currency),
  securities issued or guaranteed by the U.S. government or its agencies or instrumentalities, or sovereign debt as collateral for these
  lending transactions, although in the future, it may accept other types of collateral.


  RISKS ASSOCIATED WITH OPTIONS ON SECURITIES
        There are several risks associated with transactions in options on securities, such as exchange-listed, over-the-counter and index
  options. For example, there are significant differences between the securities and options markets that could result in an imperfect
  correlation between these markets, causing a given transaction not to achieve its objectives. A decision as to whether, when and how to
  use options involves the exercise of skill and judgment, and even a well-conceived transaction may be unsuccessful to some degree
  because of market behavior or unexpected events.

        As the writer of a covered call option, the Trust forgoes, during the option’s life, the opportunity to profit from increases in the
  market value of the security covering the call option above the sum of the premium and the strike price of the call, but has retained the
  risk of loss should the price of the underlying security decline. As the Trust writes covered calls over more of its portfolio, its ability to
  benefit from capital appreciation becomes more limited. The writer of an option has no control over the time when it may be required to


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  fulfill its obligation as a writer of the option. Once an option writer has received an exercise notice, it cannot effect a closing purchase
  transaction in order to terminate its obligation under the option and must deliver the underlying security at the exercise price.

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        When the Trust writes covered put options, it bears the risk of loss if the value of the underlying stock declines below the exercise
  price minus the put premium. If the option is exercised, the Trust could incur a loss if it is required to purchase the stock underlying the
  put option at a price greater than the market price of the stock at the time of exercise plus the put premium the Trust received when it
  wrote the option. While the Trust’s potential gain in writing a covered put option is limited to distributions earned on the liquid assets
  securing the put option plus the premium received from the purchaser of the put option, the Trust risks a loss equal to the entire exercise
  price of the option minus the put premium.


  EXCHANGE-LISTED OPTION RISKS
        A liquid market may not exist when the Trust seeks to close out an option position on an options exchange. Reasons for the
  absence of a liquid secondary market on an exchange include the following: (i) there may be insufficient trading interest in certain
  options; (ii) restrictions may be imposed by an exchange on opening transactions or closing transactions or both; (iii) trading halts,
  suspensions or other restrictions may be imposed with respect to particular classes or series of options; (iv) unusual or unforeseen
  circumstances may interrupt normal operations on an exchange; (v) the facilities of an exchange or the OCC may not at all times be
  adequate to handle current trading volume; or (vi) one or more exchanges could, for economic or other reasons, decide or be compelled
  at some future date to discontinue the trading of options (or a particular class or series of options). If trading were discontinued, the
  secondary market on that exchange (or in that class or series of options) would cease to exist. However, outstanding options on that
  exchange that had been issued by the OCC as a result of trades on that exchange would continue to be exercisable in accordance with
  their terms. If the Trust were unable to close out a covered call option that it had written on a security, it would not be able to sell the
  underlying security unless the option expired without exercise.

        The hours of trading for options on an exchange may not conform to the hours during which the underlying securities are traded.
  To the extent that the options markets close before the markets for the underlying securities, significant price and rate movements can
  take place in the underlying markets that cannot be reflected in the options markets. Call options are marked to market daily, and their
  value will be affected by changes in the value and dividend rates of the underlying common shares, an increase in interest rates,
  changes in the actual or perceived volatility of the stock market and the underlying common shares and the remaining time to the
  options’ expiration. Additionally, the exercise price of an option may be adjusted downward before the option’s expiration as a result of
  the occurrence of certain corporate events affecting the underlying equity security, such as extraordinary dividends, stock splits, merger
  or other extraordinary distributions or events. A reduction in the exercise price of a call option would reduce the Trust’s capital
  appreciation potential on the underlying security.


  OVER-THE-COUNTER OPTION RISK
        The Trust may purchase or sell/write unlisted (“OTC” or “over-the-counter”) options. Options entered into by the Trust with
  respect to Non-U.S. Securities, indices or sectors generally will be OTC options. OTC options differ from exchange-listed options in that
  they are two-party contracts, with exercise price, premium and other terms negotiated between buyer and seller, and generally do not
  have as much market liquidity as exchange-listed options. The counterparties to these transactions typically will be major international
  banks, broker-dealers and financial institutions. The Trust may be required to treat as illiquid those securities being used to cover
  certain written OTC options. The OTC options written by the Trust will not be issued, guaranteed or cleared by the OCC. In addition,
  the Trust’s ability to terminate the OTC options may be more limited than with exchange-traded options. Banks, broker-dealers or other
  financial institutions participating in such transactions may fail to settle a transaction in accordance with the terms of the option as
  written. In the event of default or insolvency of the counterparty, the Trust may be unable to liquidate an OTC option position.


  INDEX OPTION RISK
        The Trust may purchase or sell/write index put and call options from time to time. The purchaser of an index put option has the
  right to any depreciation in the value of the index below the exercise price of the option on or before the expiration date. The purchaser
  of an index call option has the right to any appreciation in the value of the index over the exercise price of the option on or before the
  expiration date. Because the exercise of an index option is settled in cash, sellers of index call options, such as the Trust, cannot provide
  in advance for their potential settlement obligations by acquiring and holding the underlying securities. The Trust will lose money if it is
  required to pay the purchaser of an index option the difference between the cash value of the index on which the option was written and
  the exercise price and such difference is greater than the premium received by the Trust for writing the option. The value of index
  options written by the Trust, which will be priced daily, will be affected by changes in the value and dividend rates of the underlying
  common shares in the respective index, changes in the actual or perceived volatility of the stock market and the remaining time to the
  options’ expiration. The value of the index options also may be adversely affected if the market for the index options becomes less liquid
  or smaller. Distributions paid by the Trust on its common shares may be derived in part from the net index option premiums it receives

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  from selling index put and call options, less the cost of paying settlement amounts to purchasers of the options that exercise their
  options. Net index option premiums can vary widely over the short term and long term.

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  ASSET-BACKED SECURITIES RISK
        Payment of interest and repayment of principal on asset-backed securities is largely dependent upon the cash flows generated by
  the assets backing the securities and, in certain cases, supported by letters of credit, surety bonds or other credit enhancements. Asset-
  backed security values may also be affected by the creditworthiness of the servicing agent for the pool, the originator of the loans or
  receivables and any entities providing the credit enhancement. In addition, the underlying assets are subject to prepayments that
  shorten the securities’ weighted average maturity and may lower their return.


  MORTGAGE-BACKED SECURITIES RISK
       A mortgage-backed security, which represents an interest in a pool of assets such as mortgage loans, will mature once all the
  mortgages in the pool mature or are prepaid. Therefore, mortgage-backed securities do not have a fixed maturity, and their expected
  maturities may vary when interest rates rise or fall.

       When interest rates fall, homeowners are more likely to prepay their mortgage loans. An increased rate of prepayments on the
  Trust’s mortgage-backed securities will result in an unforeseen loss of interest income to the Trust, as the Trust may be required to
  reinvest assets at a lower interest rate. Because prepayments increase when interest rates fall, the price of mortgage-backed securities
  does not increase as much as that of other fixed income securities when interest rates fall.

        When interest rates rise, homeowners are less likely to prepay their mortgage loans. A decreased rate of prepayments lengthens
  the expected maturity of a mortgage-backed security. Therefore, the prices of mortgage-backed securities may decrease more than prices
  of other fixed income securities when interest rates rise.

        Timely payment of interest and principal of mortgage-backed securities may be supported by various forms of private insurance or
  guarantees, including individual loan, title, pool and hazard insurance purchased or held by the issuer. Private insurers may not,
  however, be able to meet their obligations under the policies. An unexpectedly high rate of defaults on the mortgages held by a
  mortgage pool may adversely affect the value of a mortgage-backed security and could result in losses to the Trust. The risk of such
  defaults is generally higher in the case of mortgage pools that include sub-prime mortgages (which are typically granted to individuals
  with poor credit histories who, as a result of their deficient credit ratings, would not be able to qualify for conventional mortgages),
  “Alt-A” mortgages (typically characterized by borrowers with less than full documentation, lower credit scores or higher loan-to-value
  ratios), “interest only” mortgages (which permit interest-only payments for a specified period before payment of principal is required)
  and/or “option ARM” mortgages (which are typically 30-year adjustable rate mortgages that initially offer a borrower four monthly
  payment options: a specified minimum payment, an interest-only payment, a 15-year fully amortizing payment and a 30-year fully
  amortizing payment). Some of these types of mortgages may be subject to “negative amortization,” which occurs whenever the loan
  payment for any period is less than the interest charged over that period so that the outstanding principal balance of the loan increases.
  The types of mortgages discussed above are made to borrowers with weakened credit histories or with a lower capacity to make timely
  payments on their mortgages, and are subject to a greater risk of default than “prime” mortgages. Market factors adversely affecting
  mortgage loan repayments may include a general economic downturn, high unemployment, a general slowdown in the real estate market,
  a drop in the market prices of real estate, or an increase in interest rates resulting in higher mortgage payments by holders of adjustable
  rate mortgages. To the extent the Trust invests in securities directly or indirectly backed by these types of mortgages, it will be subject
  to greater risks.

       Credit ratings on mortgage-backed securities are subject to the same limitations that apply to credit ratings generally. See
  “Limitations of Credit Ratings” in this Prospectus. In the past, the market for mortgage-backed and asset-backed securities has
  experienced high volatility and a lack of liquidity. As a result, the value of many of these securities has significantly declined. These
  markets may not become more liquid or less volatile, and it is possible that the value of these securities could decline further.

       Mortgage-backed securities may not be readily marketable. To the extent any of these securities are not readily marketable in the
  judgment of the Investment Adviser, the Trust’s restrictions on investments in illiquid instruments will apply.


  RISKS OF INVESTING IN ROYALTY SECURITIES
         The Trust may invest in debt and/or equity royalty securities. The risks of investing in these securities will include the risks of
  investing in the underlying industry. In addition, royalty securities are currently not widely recognized or understood and the Trust may
  not be able to sell the securities when it wants to do so. Under certain market conditions, these securities may also become highly
  illiquid. Each security will include different risk factors specific to that transaction. Risk factors of royalty securities generally include


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  risks relating to the products associated with the royalty stream, risks relating to the license agreement, risks relating to the structure of
  the financing and risks relating to bankruptcy or reorganization proceedings.

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  REPURCHASE AGREEMENT RISK
        The Trust may enter into repurchase agreements up to a maximum of 33 1/3% of its total assets. Repurchase agreements may be
  considered loans to the seller, collateralized by the underlying securities. If the seller does not pay the Trust the agreed-upon sum on
  the repurchase date, the Trust is entitled to sell the underlying collateral. If the value of the collateral declines after the agreement is
  entered into, and if the seller defaults under a repurchase agreement when the value of the underlying collateral is less than the
  repurchase price, the Trust could incur a loss of both principal and interest. If the seller were to be subject to a federal bankruptcy
  proceeding, the ability of the Trust to liquidate the collateral could be delayed or impaired because of certain provisions of the
  bankruptcy laws.


  DERIVATIVES RISK
        The Trust may engage in derivative transactions for hedging and speculative purposes or to enhance total return, including
  engaging in transactions such as options, futures, swaps, foreign currency transactions, forward foreign currency contracts, currency
  swaps or options on currency futures and other derivatives transactions (collectively, “Derivative Transactions”). The Trust may use
  any or all types of Derivative Transactions which it is authorized to use at any time; no particular strategy will dictate the use of one
  type of Derivative Transaction rather than another, as use of any authorized Derivative Transaction will be a function of numerous
  variables, including market conditions. Derivatives Risk is a combination of several risks, including the risks that: (1) an investment in a
  derivative instrument may not correlate well with the performance of the securities or asset class to which the Trust seeks exposure, (2)
  derivative contracts, including options, may expire worthless and the use of derivatives may result in losses to the Trust, (3) a derivative
  instrument entailing leverage may result in a loss greater than the principal amount invested, (4) derivatives not traded on an exchange
  may be subject to credit risk, for example, if the counterparty does not meet its obligations (see also “Counterparty Risk”), and (5)
  derivatives not traded on an exchange may be subject to liquidity risk and the related risk that the instrument is difficult or impossible to
  value accurately. Derivatives are financial contracts whose value depends on, or is derived from, the value of underlying assets,
  reference rates, or indices. Derivatives involve the risk that changes in their value may not move as expected relative to the value of the
  assets, rates, or indices they are designed to track. Derivatives include futures, non-U.S. currency contracts, swap contracts, warrants,
  and options contracts. Derivatives may relate to securities, interest rates, currencies or currency exchange rates, inflation rates,
  commodities, and indices.

       If a put or call option purchased by the Trust is not sold when it has remaining value, and if the market price of the underlying
  security remains equal to or greater than the exercise price (in the case of a put), or remains less than or equal to the exercise price (in the
  case of a call), the Trust will lose its entire investment in the option.

        Also, where a put or call option on a particular security is purchased to hedge against price movements in a related security, the
  price of the put or call option may move more or less than the price of the related security. If restrictions on exercise were imposed, the
  Trust might be unable to exercise an option it had purchased. If the Trust were unable to close out an option that it had purchased on a
  security, it would have to exercise the option in order to realize any profit or the option may expire worthless.

        The Trust’s Derivative Transactions are generally subject to numerous special and complex tax rules. Because the tax rules
  applicable to such transactions may be uncertain under current law, an adverse determination or future IRS guidance with respect to
  these rules (which determination or guidance could be retroactive) may affect whether the Trust has made sufficient distributions, and
  otherwise satisfied the relevant requirements, to maintain its qualification as a RIC and avoid Trust-level U.S. federal income or excise
  taxes. See “Risks Relating to the Trust’s Tax Status” below for more information about the risks of a failure to qualify as a RIC. The
  Trust’s investments in derivative instruments may be limited by the RIC qualification requirements or other U.S. federal income tax
  considerations.

        In addition, the Commission recently proposed a rule under the Investment Company Act regulating the use by registered
  investment companies of derivatives and many related instruments. That rule, if adopted as proposed, would, among other things,
  restrict the Trust’s ability to engage in derivatives transactions, and may so increase the cost of derivatives transactions that the Trust
  would be unable to implement its investment strategy.


  ADDITIONAL RISK FACTORS IN CLEARED DERIVATIVES TRANSACTIONS
        Under recently adopted rules and regulations, transactions in some types of swaps (including interest rate swaps and credit
  default swaps on North American and European indices) are required to be centrally cleared. In a transaction involving those swaps
  (“cleared derivatives”), the Trust’s counterparty is a clearing house, rather than a bank or broker. Since the Trust is not a member of a
  clearing house and only members of a clearing house (a “clearing member”) can participate directly in the clearing house, the Trust

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  will hold cleared derivatives through accounts at a clearing member. In cleared derivatives positions, the Trust will make payments
  (including margin payments) to and receive payments from a clearing house through its accounts at a clearing member. A clearing
  member guarantees performance of its clients’ obligations to the clearing house.

         In many ways, cleared derivative arrangements are less favorable to mutual funds than bilateral arrangements. For example, the
  Trust may be required to provide more margin for cleared derivatives positions than for bilateral derivatives positions. Also, in contrast
  to a bilateral derivatives position, following a period of notice to the Trust, a clearing member generally can require termination of an
  existing cleared derivatives position at any time or an increase in margin requirements above the margin that the clearing member
  required at the beginning of a transaction. Clearing houses also have broad rights to increase margin requirements for existing positions
  or to terminate those positions at any time. Any increase in margin requirements or termination of existing cleared derivatives positions
  by the clearing member or the clearing house could interfere with the ability of the Trust to pursue its investment strategy. Further, any
  increase in margin requirements by a clearing member could expose the Trust to greater credit risk to its clearing member because margin
  for cleared derivatives positions in excess of a clearing house’s margin requirements typically is held by the clearing member. Also, the
  Trust is subject to risk if it enters into a derivatives transaction that is required to be cleared (or that the Investment Adviser expects to
  be cleared), and no clearing member is willing or able to clear the transaction on the Trust’s behalf. While the documentation in place
  between the Trust and its clearing member generally provides that the clearing member will accept for clearing all cleared derivatives
  transactions that are within credit limits (specified in advance) for the Trust, the Trust is still subject to the risk that no clearing member
  will be willing or able to clear a transaction. In those cases, the position might have to be terminated, and the Trust could lose some or
  all of the benefit of the position, including loss of an increase in the value of the position and/or loss of hedging protection. In addition,
  the documentation governing the relationship between the Trust and a clearing member is drafted by the clearing member and generally
  is less favorable to the Trust than typical bilateral derivatives documentation. For example, documentation relating to cleared derivatives
  generally includes a one-way indemnity by the Trust in favor of the clearing member for losses the clearing member incurs as the Trust’s
  clearing member and typically does not provide the Trust any remedies if the clearing member defaults or becomes insolvent. While
  futures contracts entail similar risks, the risks likely are more pronounced for cleared swaps due to their more limited liquidity and market
  history.

         Some types of cleared derivatives are required to be executed on an exchange or on a swap execution facility. A swap execution
  facility is a trading platform where multiple market participants can execute derivatives by accepting bids and offers made by multiple
  other participants in the platform. While this execution requirement is designed to increase transparency and liquidity in the cleared
  derivatives market, trading on a swap execution facility can create additional costs and risks for the Trust. For example, swap execution
  facilities typically charge fees, and if the Trust executes derivatives on a swap execution facility through a broker intermediary, the
  intermediary may impose fees as well. Also, the Trust may indemnify a swap execution facility, or a broker intermediary who executes
  cleared derivatives on a swap execution facility on the Trust’s behalf, against any losses or costs that may be incurred as a result of the
  Trust’s transactions on the swap execution facility.

        These and other new rules and regulations could, among other things, further restrict the Trust’s ability to engage in, or increase
  the cost to the Trust of, derivatives transactions, for example, by making some types of derivatives no longer available to the Trust,
  increasing margin or capital requirements, or otherwise limiting liquidity or increasing transaction costs. These regulations are new and
  evolving, so their potential impact on the Trust and the financial system are not yet known. While the new regulations and central
  clearing of some derivatives transactions are designed to reduce systemic risk (i.e., the risk that the interdependence of large derivatives
  dealers could cause them to suffer liquidity, solvency or other challenges simultaneously), there is no assurance that the new clearing
  mechanisms will achieve that result, and in the meantime, as noted above, central clearing and related requirements expose the Trust to
  new kinds of risks and costs.

        The above discussion and under “Derivatives Risks” relates to the Trust’s proposed use of certain types of derivatives currently
  available. However, the Trust is not limited to the transactions described above. In addition, the relevant markets and related regulations
  are constantly changing and, in the future, the Trust may use derivatives not currently available or widely in use.


  REGULATORY RISK
       Legal, tax and regulatory changes could occur and may adversely affect the Trust and its ability to pursue its investment strategies
  and/or increase the costs of implementing such strategies. New (or revised) laws or regulations may be imposed by the Commission, the
  U.S. Commodity Futures Trading Commission (the “CFTC”), the IRS, the U.S. Federal Reserve or other banking regulators, other
  governmental regulatory authorities or self-regulatory organizations that supervise the financial markets that could adversely affect the
  Trust. In particular, these agencies are empowered to promulgate a variety of new rules pursuant to financial reform legislation in the
  United States. The Trust also may be adversely affected by changes in the enforcement or interpretation of existing statutes and rules
  by these governmental regulatory authorities or self regulatory organizations.
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        To the extent that legislation or state or federal regulators impose additional requirements or restrictions with respect to the ability
  of financial institutions to make loans in connection with highly leveraged transactions, the availability of senior loan interests for
  investment by the Trust may be adversely affected. To the extent that legislation or state or federal regulators impose additional
  requirements or restrictions with respect to the ability of the Trust to invest in the assets of distressed companies, the availability of
  distressed company interests for investment by the Trust may be adversely affected. In addition, such requirements or restrictions may
  reduce or eliminate sources of financing for affected borrowers. Further, to the extent that legislation or federal or state regulators require
  such institutions to dispose of senior loan interests relating to highly leveraged transactions or subject such senior loan interests to
  increased regulatory scrutiny, such financial institutions may determine to sell senior loan interests in a manner that results in a price
  that, in the opinion of the Investment Adviser, is not indicative of fair value. Were the Trust to attempt to sell a senior loan interest at a
  time when a financial institution was engaging in such a sale with respect to the senior loan interest, the price at which the Trust could
  consummate such a sale might be adversely affected.


  REGULATORY RISK – COMMODITY POOL OPERATOR
        The Trust is sponsored by a person who has claimed an exclusion from the definition of the term “commodity pool operator” under
  the CEA pursuant to Rule 4.5 under the CEA; therefore, the Investment Adviser (with respect to the Trust) is not subject to registration
  or regulation as a “commodity pool operator” under the CEA. To remain eligible for the exclusion, the Trust will be limited in its ability to
  use certain derivatives instruments regulated under the CEA (“commodity interests”), including futures, swaps and options on futures.
  In the event that the Trust’s investments in commodity interests exceed a certain threshold, the Investment Adviser may be required to
  register as a “commodity pool operator” and/or “commodity trading advisor” with the CFTC with respect to the Trust. The Investment
  Adviser’s eligibility to claim the exclusion with respect to the Trust will be based upon the level and scope of the Trust’s investment in
  commodity interests, the purposes of such investments and the manner in which the Trust holds out its use of commodity interests. For
  example, CFTC Rule 4.5 requires a fund with respect to which the sponsor is claiming the exclusion to, among other things, satisfy one
  of the two following trading thresholds: (i) the aggregate initial margin and premiums

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  required to establish positions in commodity interests cannot exceed 5% of the liquidation value of a fund’s portfolio, after taking into
  account unrealized profits and unrealized losses; or (ii) the aggregate net notional value of commodity interests not used solely for
  “bona fide hedging purposes,” determined at the time the most recent position was established, cannot generally exceed 100% of the
  liquidation value of a fund’s portfolio, after taking into account unrealized profits and unrealized losses on any such positions it has
  entered into. The Trust currently intends to operate in a manner that would permit the Investment Adviser to continue to claim the
  exclusion under Rule 4.5, which may adversely affect the Investment Adviser’s ability to manage the Trust under certain market
  conditions and may adversely affect the Trust’s total return. In the event the Investment Adviser becomes unable to rely on the
  exclusion in Rule 4.5 and is required to register with the CFTC as a commodity pool operator, the Trust’s expenses may increase,
  adversely affecting the Trust’s total return.


  COUNTERPARTY RISK
       The Trust will be subject to credit risk with respect to the counterparties to the derivative contracts purchased or sold by the
  Trust. Recently, several broker-dealers and other financial institutions have experienced extreme financial difficulty, sometimes resulting
  in bankruptcy of the institution. Although the Investment Adviser monitors the creditworthiness of the Trust’s counterparties, there
  can be no assurance that the Trust’s counterparties will not experience similar difficulties, possibly resulting in losses to the Trust. If a
  counterparty becomes bankrupt, or otherwise fails to perform its obligations under a derivative contract due to financial difficulties, the
  Trust may experience significant delays in obtaining any recovery under the derivative contract in a bankruptcy or other reorganization
  proceeding. The Trust may obtain only a limited recovery or may obtain no recovery in such circumstances. Material exposure to a
  single or small group of counterparties increases the Trust’s counterparty risk.


  CREDIT DEFAULT SWAPS RISK
        The Trust may enter into credit default swap agreements, which may have as reference obligations one or more debt securities or
  an index of such securities. In a credit default swap, one party (the “protection buyer”) is obligated to pay the other party (the
  “protection seller”) a stream of payments over the term of the contract, provided that no credit event, such as a default or, in some
  instances, a downgrade in credit rating, occurs on the reference obligation. If a credit event occurs, the protection seller must generally
  pay the protection buyer the “par value” (the agreed-upon notional value) of the referenced debt obligation in exchange for an equal
  face amount of deliverable reference obligations.

        The Trust may be either the protection buyer or protection seller in a credit default swap. If the Trust is a protection buyer, the
  Trust would pay the counterparty a periodic stream of payments over the term of the contract and would not recover any of those
  payments if no credit event were to occur. However, if a credit event occurs, the Trust as a protection buyer has the right to deliver the
  referenced debt obligations or a specified amount of cash, depending upon the terms of the swap, and receive the par value of such
  debt obligations from the counterparty protection seller. As a protection seller, the Trust would receive fixed payments throughout the
  term of the contract if no credit event occurs. If a credit event occurs, however, the value of the obligation received by the Trust (e.g.,
  bonds which defaulted), plus the periodic payments previously received, may be less than the par value of the obligation, or cash
  received, resulting in a loss to the protection seller. Furthermore, the Trust as a protection seller would effectively add leverage to its
  portfolio because it will have investment exposure to the notional amount of the swap.

        Credit default swap agreements are subject to greater risk than a direct investment in the reference obligation. Like all swap
  agreements, credit default swaps are subject to liquidity, credit and counterparty risks. In addition, collateral posting requirements are
  individually negotiated and there is no regulatory requirement that a counterparty post collateral to secure its obligations under a credit
  default swap. Furthermore, there is no requirement that a party be informed in advance when a credit default swap agreement is sold.
  Accordingly, the Trust may have difficulty identifying the party responsible for payment of its claims. The notional value of credit
  default swaps with respect to a particular investment is often larger than the total par value of such investment outstanding and, in
  event of a default, there may be difficulties in making the required deliveries of the reference investments, possibly delaying payments.

        In the past, the market for credit default swaps has become more volatile as the creditworthiness of certain counterparties has been
  questioned and/or downgraded. If a counterparty’s credit becomes significantly impaired, multiple requests for collateral posting in a
  short period of time could increase the risk that the Trust may not receive adequate collateral. There is no readily available market for
  trading credit default swaps. The Trust generally may exit its obligations under a credit default swap only by terminating the contract
  and paying applicable breakage fees, or by entering into an offsetting credit default swap position, which may cause the Trust to incur
  more losses.

       In addition, the Trust may invest in publicly or privately issued interests in investment pools whose underlying assets are credit
  default, credit-linked, interest rate, currency exchange, equity-linked or other types of swap contracts and related underlying securities
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  or securities loan agreements. The pools’ investment results may be designed to correspond generally to the performance of a specified
  securities index or “basket” of securities, sometimes a single security.

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         These types of pools are often used to gain exposure to multiple securities with a smaller investment than would be required to
  invest directly in the individual securities. They may also be used to gain exposure to foreign securities markets without investing in the
  foreign securities themselves or the relevant foreign market. To the extent that the Trust invests in pools of swaps and related
  underlying securities or securities loan agreements whose return corresponds to the performance of a foreign securities index or one or
  more foreign securities, investing in such pools will involve risks similar to the risks of investing in foreign securities. See “Foreign
  Securities” below. In addition to the risks associated with investing in swaps generally, the Trust bears the risks and costs generally
  associated with investing in pooled investment vehicles, such as paying the fees and expenses of the pool and the risk that the pool or
  the operator of the pool may default on its obligations to the holder of interests in the pool, such as the Trust. Interests in privately
  offered investment pools of swaps may be considered illiquid or deemed liquid, subject to the Trust’s restrictions on investments in
  illiquid securities.


  MARKET RISK GENERALLY
         The profitability of a significant portion of the Trust’s investment program depends to a great extent upon correctly assessing the
  future course of the price movements of securities and other investments and the movements of interest rates. The Investment Adviser
  may not be able to predict accurately these price and interest rate movements. With respect to certain investment strategies the Trust
  utilizes, there is a high degree of market risk.


  REINVESTMENT RISK
        The Trust reinvests the cash flows received from a security. The additional income from such reinvestment, sometimes called
  interest-on-interest, is reliant on the prevailing interest rate levels at the time of reinvestment. There is a risk that the interest rate at
  which interim cash flows can be reinvested will fall. Reinvestment risk is greater for longer holding periods and for securities with large,
  early cash flows such as high-coupon bonds. Reinvestment risk also applies generally to the reinvestment of the proceeds the Trust
  receives upon the maturity or sale of a portfolio security.


  TIMING RISK
        Many agency, corporate and municipal bonds, and most mortgage-backed securities, contain a provision that allows the issuer to
  “call” all or part of the issue before the bond’s maturity date — often after 5 or 10 years. The issuer usually retains the right to refinance
  the bond in the future if market interest rates decline below the coupon rate. There are three disadvantages to the call provision. First,
  the cash flow pattern of a callable bond is not known with certainty. Second, because an issuer is more likely to call the bonds when
  interest rates have dropped, the Trust is exposed to reinvestment risk, i.e., the Trust may have to reinvest at lower interest rates the
  proceeds received when the bond is called. Finally, the capital appreciation potential of a bond will be reduced because the price of a
  callable bond may not rise much above the price at which the issuer may call the bond.


  INFLATION RISK
       Inflation risk results from the variation in the value of cash flows from a security due to inflation, as measured in terms of
  purchasing power. For example, if the Trust purchases a bond in which it can realize a coupon rate of 5%, but the rate of inflation
  increases from 2% to 6%, then the purchasing power of the cash flow has declined. For all but adjustable bonds or floating rate bonds,
  the Trust is exposed to inflation risk because the interest rate the issuer promises to make is fixed for the life of the security. To the
  extent that interest rates reflect the expected inflation rate, floating rate bonds have a lower level of inflation risk. In addition, during any
  periods of rising inflation, dividend rates of any variable rate preferred share issued by the Trust would likely increase, which would
  tend to further reduce returns to common shareholders.


  ARBITRAGE RISKS
        The Trust engages in capital structure arbitrage and other arbitrage strategies. Arbitrage strategies entail various risks, including
  the risk that external events, regulatory approvals and other factors will impact the consummation of announced corporate events
  and/or the prices of certain positions. In addition, hedging is an important feature of capital structure arbitrage. There is no guarantee
  that the Investment Adviser will be able to hedge the Trust’s investment portfolio in the manner necessary to employ successfully the
  Trust’s strategy.




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  SHORT SALES RISK                              267
       Short selling involves selling securities that may or may not be owned and borrowing the same securities for delivery to the
  purchaser, with an obligation to replace the borrowed securities at a later date. Short selling allows the Trust to profit from declines in
  market prices to the extent such decline exceeds the transaction costs and the costs of borrowing the securities. However, because the

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  borrowed securities must be replaced by purchases at market prices in order to close out the short position, any appreciation in the price
  of the borrowed securities would result in a loss. The securities necessary to cover a short position may not be available for purchase.
  Purchasing securities to close out the short position can itself cause the price of the securities to rise further, thereby exacerbating the
  loss. The Trust may mitigate such losses by replacing the securities sold short before the market price has increased significantly. Under
  adverse market conditions, the Trust might have difficulty purchasing securities to meet its short sale delivery obligations, and might
  have to sell portfolio securities to raise the capital necessary to meet its short sale obligations at a time when fundamental investment
  considerations would not favor such sales. Short sales by the Trust that are not made “against the box” theoretically involve unlimited
  loss potential, since the market price of securities sold short may continuously increase.


  MLP RISK
        The Trust may invest in MLP securities. MLPs typically are characterized as “publicly traded partnerships” that qualify to be
  treated as partnerships for U.S. federal income tax purposes and are principally engaged in one or more aspects of the exploration,
  production, processing, transmission, marketing, storage or delivery of energy-related commodities, such as natural gas, natural gas
  liquids, coal, crude oil or refined petroleum products (collectively, the energy industry). As a result, holders of MLP securities will be
  subject to risks related to the energy industry, including: (i) fluctuations in commodity prices; (ii) reduced volumes of natural gas or
  other energy commodities available for transporting, processing, storing or distributing; (iii) slowdowns in new construction and
  acquisitions; (iv) reduced demand for commodities such as crude oil, natural gas and refined petroleum products; (v) depletion of
  natural gas reserves or other commodities; (vi) extreme weather and environmental hazards; (vii) stricter laws, regulations or
  enforcement policies; and (viii) dangers inherent to the energy industry, such as leaks, fires, explosions, damage to facilities and
  equipment resulting from natural disasters, inadvertent damage to facilities and equipment and terrorist acts.

       Generally, an MLP is operated under the supervision of one or more managing general partners. Limited partners (like the Trust
  when it invests in an MLP) are not involved in the day-to-day management of the partnership. The Trust also may invest in companies
  who serve (or whose affiliates serve) as the general partner of an MLP. These investments may not be taxed as partnerships for U.S.
  Federal income tax purposes. Conflicts of interest may exist among unit holders, subordinated unit holders and the general partner of an
  MLP, including those arising from incentive distribution payments. General Partners typically have limited fiduciary duties to an MLP,
  which could allow a general partner to favor its own interests over the MLP’s interests. Additionally, general partners of MLPs often
  have limited call rights that may require MLP unit holders to sell their common units at an undesirable time or price.

        Holders of MLP securities have limited control and voting rights on matters affecting the partnership. Holders of securities issued
  by an MLP are exposed to a remote possibility of liability for all of the obligations of that MLP in the event that a court determines that
  the rights of the holders of MLP securities to vote to remove or replace the general partner of that MLP, to approve amendments to that
  MLP’s partnership agreement, or to take other action under the partnership agreement of that MLP would constitute “control” of the
  business of that MLP, or a court or governmental agency determines that the MLP is conducting business in a state without complying
  with the partnership statute of that state. Holders of MLP securities are also exposed to the risk that they will be required to repay
  amounts to the MLP that are wrongfully distributed to them.

        In addition, MLPs are subject to the risk that they will fail to be treated as partnerships for U.S. federal income tax purposes. If an
  MLP does not meet current legal requirements to maintain its partnership status, or if it is unable to do so because of tax or other law
  changes, it would be treated as a corporation for U.S. federal income tax purposes. In that case, the MLP would be obligated to pay U.S.
  federal income tax (as well as state and local taxes) at the entity level on its taxable income and distributions received by the Trust would
  be taxable to the Trust as dividend income to the extent of the MLP’s current and accumulated earnings and profits for federal tax
  purposes. The classification of an MLP as a corporation for U.S. federal income tax purposes could have the effect of reducing the
  amount of cash available for distribution by the MLP and the value of the Trust’s investment in any such MLP. As a result, the value of
  the Trust’s shares and the cash available for distribution to Trust shareholders could be materially reduced.

       The Trust intends to limit its investments in MLPs and related entities to the extent necessary to qualify as a RIC for tax purposes.
  In general, a RIC is not permitted to invest, including through corporations in which the RIC owns a 20% or more voting stock interest,
  more than 25% of its total assets in qualified publicly-traded partnerships.

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  BDC RISK
        BDCs generally invest in less mature private companies or thinly traded U.S. public companies which involve greater risk than
  well-established publicly-traded companies. The Trust will indirectly bear its proportionate share of any management and other
  operating expenses and of any performance-based or incentive fees charged by the BDCs in which it invests, in addition to the
  expenses paid by the Trust. The Investment Company Act imposes certain constraints upon the operations of a BDC. Generally, little
  public information exists for private and thinly traded companies in which a BDC may invest and there is a risk that investors may not be
  able to make a fully informed evaluation of a BDC and its portfolio of investments. In addition, to qualify and remain eligible for the
  special tax treatment accorded to RICs and their shareholders, the BDCs in which the Trust invests must meet certain source-of-income,
  asset diversification and annual distribution requirements. If a BDC in which the Trust invests fails to qualify as a RIC, such BDC would
  be liable for federal, and possibly state, corporate taxes on its taxable income and gains. Such failure by a BDC could substantially
  reduce the BDC’s net assets and the amount of income available for distribution to the Trust, which would in turn decrease the total
  return of the Trust in respect of such investment.


  RISKS OF INVESTING IN STRUCTURED FINANCE SECURITIES
         A portion of the Trust’s investments may consist of equipment trust certificates, collateralized mortgage obligations, CBOs, CLOs
  or similar instruments. Such structured finance securities are generally backed by an asset or a pool of assets, which serve as collateral.
  Depending on the type of security, the collateral may take the form of a portfolio of mortgage loans or bonds or other assets. The Trust
  and other investors in structured finance securities ultimately bear the credit risk of the underlying collateral. In some instances, the
  structured finance securities are issued in multiple tranches, offering investors various maturity and credit risk characteristics, often
  categorized as senior, mezzanine and subordinated/equity according to their degree of risk. The riskiest securities are the equity tranche,
  which bears the bulk of defaults from the bonds or loans serving as collateral, and thus may protect the other, more senior tranches from
  default. If there are defaults or the relevant collateral otherwise underperforms, scheduled payments to senior tranches of such
  securities take precedence over those of mezzanine tranches, and scheduled payments to mezzanine tranches take precedence over
  those to subordinated/equity tranches. A senior tranche typically has higher ratings and lower yields than the underlying securities,
  and may be rated investment grade. Despite the protection from the equity tranche, other tranches can experience substantial losses due
  to actual defaults, increased sensitivity to defaults due to previous defaults and the disappearance of protecting tranches, market
  anticipation of defaults and aversion to certain structured finance securities as a class. In light of the above considerations, structured
  finance securities may present risks similar to those of the other types of debt obligations in which the Trust may invest and, in fact,
  such risks may be of greater significance in the case of structured finance securities. Moreover, investing in structured finance
  securities may entail a variety of unique risks. In addition, the performance of a structured finance security will be affected by a variety
  of factors, including the security’s priority in the capital structure of the issuer thereof, the availability of any credit enhancement, the
  level and timing of payments and recoveries on and the characteristics of the underlying receivables, loans or other assets that are
  being securitized, remoteness of those assets from the originator or transferor, the adequacy of and ability to realize upon any related
  collateral and the capability of the servicer of the securitized assets. Structured finance securities carry additional risks that include, but
  are not limited to: (i) the possibility that distributions from collateral securities will not be adequate to make interest or other payments;
  (ii) the structure and complexity of the transaction and the legal documents could lead to disputes among investors regarding the
  characterization of proceeds; (iii) the investment return achieved by the Trust could be significantly different than those predicted by
  financial models; (vi) the lack of a readily available secondary market for structured finance securities; (v) risk of forced “fire sale”
  liquidation due to technical defaults such as coverage test failures; and (vi) the manager of a structured finance security may perform
  poorly. In addition, the complex structure of the security may produce unexpected investment results, especially during times of market
  stress or volatility, and a small number of defaults may have a disproportionate impact on the performance of the security. Investments
  in structured finance securities may also be subject to illiquidity risk, as they are normally privately offered and sold and thus, are not
  registered under securities laws. In addition to the risks noted above and other risks, structured finance securities may be subject to
  prepayment risk. Collateralized mortgage obligations may have risks similar to those of mortgage-backed securities. See “Mortgage-
  Backed Securities Risk” for more information.

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  RISKS OF INVESTING IN PREFERRED SECURITIES
        There are special risks associated with investing in preferred securities, including:
         •     Deferral. Preferred securities may include provisions that permit the issuer, at its discretion, to defer distributions for a
               stated period without any adverse consequences to the issuer. If the Trust owns a preferred security that is deferring the
               payment of its distributions, the Trust may be required to report income for U.S. federal income tax purposes to the extent of
               any such deferred distribution even though the Trust has not yet received such income. In order to receive the special
               treatment accorded to RICs and their shareholders under the Code and to avoid U.S. federal income and/or excise taxes at
               the Trust level, the Trust may be required to distribute this reported income to shareholders in the tax year in which the
               income is reported (without a corresponding receipt of cash). Therefore, the Trust may be required to pay out as an income
               distribution in any such tax year an amount greater than the total amount of income the Trust actually received, and may,
               among other things, sell portfolio securities, including at potentially disadvantageous times or prices, to obtain cash needed
               for these income distributions.
         •     Subordination. Preferred securities are subordinated to bonds and other debt instruments in a company’s capital structure
               in terms of priority to corporate income and liquidation payments, and therefore will be subject to greater credit risk than
               more senior debt instruments.
         •     Liquidity. Preferred securities may be substantially less liquid than many other securities, such as common stock or U.S.
               government securities.
         •     Limited Voting Rights. Generally, preferred security holders have no voting rights with respect to the issuing company
               unless preferred dividends have been in arrears for a specified number of periods, at which time the preferred security
               holders may elect a number of trustees to the issuer’s board. Generally, once all the arrearages have been paid, the preferred
               security holders no longer have voting rights.


  RISKS OF INVESTING IN SWAPS
        Investments in swaps involve the exchange by the Trust with another party of their respective commitments. Use of swaps
  subjects the Trust to risk of default by the counterparty. If there is a default by the counterparty to such a transaction, there may be
  contractual remedies pursuant to the agreements related to the transaction although contractual remedies may not be sufficient in the
  event the counterparty is insolvent. The Trust may enter into credit default swaps, currency swaps or other swaps which may be
  surrogates for other instruments such as currency forwards or options. Swap agreements are sophisticated financial instruments that
  typically involve a small investment of cash relative to the magnitude of risks assumed. Swaps can be highly volatile and may have a
  considerable impact on the Trust’s performance, as the potential gain or loss on any swap transaction is not necessarily subject to any
  fixed limit.

       Recently, several broker-dealers and other financial institutions have experienced extreme financial difficulty, sometimes resulting
  in bankruptcy of the institution. Although the Investment Adviser monitors the creditworthiness of the Trust’s counterparties, the
  Trust’s counterparties could experience similar difficulties, possibly resulting in losses to the Trust.


  RISKS OF INVESTING IN SYNTHETIC SECURITIES
        In addition to credit risks associated with holding non-investment grade loans and high-yield debt securities, with respect to
  synthetic securities the Trust will usually have a contractual relationship only with the counterparty of such synthetic securities, and
  not the Reference Obligor on the Reference Obligation. The Trust generally will have no right to enforce directly compliance by the
  Reference Obligor with the terms of the Reference Obligation nor any rights of setoff against the Reference Obligor, nor have any voting
  rights with respect to the Reference Obligation. The Trust will not benefit directly from any collateral supporting the Reference
  Obligation or have the benefit of the remedies on default that would normally be available to a holder of such Reference Obligation. In
  addition, in the event of insolvency of its counterparty, the Trust will be treated as a general creditor of such counterparty and will not
  have any claim with respect to the credit risk of the counterparty or of the Reference Obligor. As a result, investments in synthetic
  securities are subject to an additional degree of risk because they are subject to the credit risk of the counterparty as well as that of the
  Reference Obligor. The Investment Adviser may not perform independent credit analyses of any particular counterparty, or any entity
  guaranteeing the obligations of such counterparty. See “Principal Risks of the Trust – Counterparty Risk.”

       The Trust currently does not expect to invest more than 10% of its assets in synthetic securities as measured on a mark-to-market
  basis. However, the Trust’s investments in synthetic securities may exceed this amount from time to time.

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  VALUATION RISK
       Portfolio securities may be valued using techniques other than market quotations, under the circumstances described under
  “Determination of Net Asset Value.” The value established for a portfolio security may be different than what would be produced
  through the use of another methodology or if it had been priced using market quotations. Portfolio securities that are valued using
  techniques other than market quotations, including “fair valued” securities, may be subject to greater fluctuation in their value from one
  day to the next than would be the case if market quotations were used. In addition, there is no assurance that the Fund could sell a
  portfolio security for the value established for it at any time and it is possible that the Fund would incur a loss because a portfolio
  security is sold at a discount to its established value.

        Fair value is defined as the amount for which assets could be sold in an orderly disposition over a reasonable period of time, taking
  into account the nature of the asset. Fair value pricing, however, involves judgments that are inherently subjective and inexact, since fair
  valuation procedures are used only when it is not possible to be sure what value should be attributed to a particular asset or when an
  event will affect the market price of an asset and to what extent. As a result, fair value pricing may not reflect actual market value, and it
  is possible that the fair value determined for a security will be materially different from the value that actually could be or is realized upon
  the sale of that asset.


  RISKS OF NON-DIVERSIFICATION AND OTHER FOCUSED STRATEGIES
       While the Investment Adviser invests in a number of fixed-income and equity instruments issued by different issuers and employs
  multiple investment strategies with respect to the Trust’s investment portfolio, it is possible that a significant amount of the Trust’s
  investments could be invested in the instruments of only a few companies or other issuers or that at any particular point in time one
  investment strategy could be more heavily weighted than the others. The focus of the Trust’s investment portfolio in any one issuer
  would subject the Trust to a greater degree of risk with respect to defaults by such issuer or other adverse events affecting that issuer,
  and the focus of the portfolio in any one industry or group of industries would subject the Trust to a greater degree of risk with respect
  to economic downturns relating to such industry. The focus of the Trust’s investment portfolio in any one investment strategy would
  subject the Trust to a greater degree of risk than if the Trust’s investment portfolio were varied in its investments with respect to several
  investment strategies.


  RISKS RELATED TO CURRENT MARKET CONDITIONS
        Recently, debt markets have experienced a period of high volatility, which has negatively impacted market liquidity conditions and
  prices. Initially, the concerns on the part of market participants were focused on the subprime segment of the mortgage-backed
  securities market. These concerns expanded to include derivatives, securitized assets and a broad range of other debt securities,
  including those rated investment grade, the U.S. and international credit and interbank money markets generally, and a wide range of
  financial institutions and markets, asset classes, and sectors. As a result, debt instruments have experienced, and may in the future
  experience, liquidity issues, increased price volatility, credit downgrades, and increased likelihood of default. Debt securities may be
  difficult to value during such periods. These market conditions may have an adverse effect on the Trust’s investments and hamper the
  Trust’s ability to sell the debt securities in which it invests or to find and purchase suitable debt instruments. Because the Trust invests
  heavily in fixed income securities and related investments, it may underperform during periods of rising interest rates. Market conditions
  may also make it more difficult or impossible for the Trust to use leverage to the degree required, or make any such leverage more
  expensive (for example, by increasing interest expense). In addition, these conditions may directly and adversely affect the setting of
  dividend rates on the common shares.

        In recent periods, governmental financial regulators, including the U.S. Federal Reserve, have taken steps to maintain historically
  low interest rates by purchasing bonds. The ending of those programs, and withdrawal of other measures of government support, along
  with any increase to base interest rates, could result in the effects described above or otherwise adversely affect the value of the Trust’s
  investments, and could have a material adverse effect on prices for debt securities and on the management of the Trust.

       The recent market conditions have also caused domestic and international issuers to seek capital infusions to strengthen their
  financial positions or to remain financially viable. These capital infusions have taken a variety of forms, including the public or private
  issuance of additional debt securities, equity securities or both, which have been purchased by, among others, public and private
  investors, government agencies, and sovereign wealth funds. If the Trust owns shares of an issuer that sells additional equity securities
  and the Trust cannot or chooses not to purchase shares in the offering, the Trust’s interest in the issuing company will be diluted.


  RISKS OF INVESTING IN A TRUST WITH ANTI-TAKEOVER PROVISIONS

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        The Trust’s Agreement and Declaration of Trust includes provisions that could limit the ability of other entities or persons to
  acquire control of the Trust or convert the Trust to open-end status. These provisions could deprive the holders of common shares of
  opportunities to sell their common shares at a premium over the then current market price of the common shares or at NAV. See “Anti-
  Takeover Provisions in the Agreement and Declaration of Trust”.

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  KEY ADVISER PERSONNEL RISK
        The Trust’s ability to identify and invest in attractive opportunities is dependent upon the Investment Adviser. If one or more key
  individuals leaves the Investment Adviser, the Investment Adviser may not be able to hire qualified replacements or may require an
  extended time to do so. This situation could prevent the Trust from achieving its investment objectives.


  RISKS RELATING TO DILUTION OF SHAREHOLDERS’ INTERESTS
        Shareholders’ interests in the Trust may be diluted if they do not fully exercise their subscription rights in any rights offering. In
  addition, if the subscription price is less than our NAV per share, then there will be an immediate dilution of the aggregate NAV of our
  shares. In the event we issue subscription rights, shareholders who do not fully exercise their rights should expect that they will, at the
  completion of a rights offering pursuant to this Prospectus, own a smaller proportional interest in us than would otherwise be the case if
  they fully exercised their rights. Such dilution is not currently determinable because it is not known what proportion of the shares will be
  purchased as a result of such rights offering. Any such dilution will disproportionately affect non-exercising shareholders. This dilution
  could be substantial. The amount of any decrease in NAV is not predictable because it is not known at this time what the subscription
  price and NAV per share will be on the expiration date of the rights offering or what proportion of the shares will be purchased as a
  result of such rights offering.


  RISKS RELATING TO TRUST’S TAX STATUS
        To remain eligible for the special tax treatment accorded to RICs and their shareholders under the Code, the Trust must meet certain
  source of income, asset diversification and annual distribution requirements. Very generally, in order to qualify as a RIC, the Trust must
  derive at least 90% of its gross income for each taxable year from dividends, interest, payments with respect to certain securities loans,
  gains from the sale or other disposition of stock, securities or foreign currencies, or other income derived with respect to its business of
  investing in stock or other securities. In some cases, if the Trust fails to meet these income requirements at the end of a taxable year, it
  will be able to cure such failure by paying a Trust-level tax to avoid the loss of its RIC status; such tax could be substantial. The Trust
  must also meet certain asset diversification requirements at the end of each quarter of each of its taxable years. Failure to meet these
  diversification requirements on the last day of a quarter will result in the Trust’s loss of RIC status, unless it is able to cure such failure,
  for instance, by disposing of certain investments, including at potentially disadvantageous times and prices, and, in some cases, by
  paying a Trust-level tax.

        In addition, in order to be eligible for the special tax treatment accorded RICs, the Trust must meet the annual distribution
  requirement, requiring it to distribute with respect to each taxable year at least the sum of 90% of its “investment company taxable
  income” (as that term is defined in the Code without regard to the deduction for dividends paid – generally its taxable ordinary income
  and realized net short-term capital gains in excess of realized net long-term capital losses, if any) and 90% of its net tax-exempt income (if
  any), to its shareholders. Because the Trust currently maintains a committed facility, and may use additional debt financing in the future,
  the Trust is subject to certain asset coverage ratio requirements under the Investment Company Act that could, under certain
  circumstances, restrict the Trust from making the distributions necessary to satisfy this annual distribution requirement and to avoid
  corporate-level U.S. federal income or excise taxes. Any taxable income (including net long-term capital gains) that the Trust is unable to
  distribute will be subject to corporate-level tax at regular corporate rates. Further, if the Trust fails to meet the annual distribution
  requirement, the source of income requirement or the asset diversification requirement in respect of a taxable year and is ineligible to or
  otherwise does not cure such failure for any such year, all of its taxable income regardless of whether timely distributed to shareholders
  will be subject to corporate-level tax and all of its distributions from earnings and profits (including from net long-term capital gains) will
  be taxable to shareholders as ordinary income. For individual shareholders who meet certain holding period requirements, such
  distributions would be eligible for reduced tax rates applicable to qualified dividend income.

        In any such event, the resulting corporate taxes could substantially reduce the Trust’s net assets, the amount of income available
  for distribution and the amount of its distributions. Such a failure would have a material adverse effect on the Trust and its shareholders.
  In addition, in some cases, the Trust could be required to recognize unrealized gains, pay substantial taxes and interest and make
  substantial distributions in order to re-qualify as a RIC.


  RIC-RELATED RISKS OF INVESTMENTS GENERATING NON-CASH TAXABLE INCOME
       Certain of the Trust’s investments will require the Trust to recognize taxable income in a taxable year in excess of the cash
  generated on those investments during that year. In particular, the Trust expects that a substantial portion of its investments in loans
  and other debt obligations will be treated as having “market discount” and/or “original issue discount” for U.S. federal income tax
  purposes, which, in some cases, could be significant. Because the Trust may be required to recognize income in respect of these

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  investments before or without receiving cash representing such income, the Trust may have difficulty satisfying the annual distribution
  requirements applicable to RICs and avoiding Trust-level U.S. federal income or excise taxes. Accordingly, the Trust may be required

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  to sell portfolio securities, including at potentially disadvantageous times or prices, raise additional debt or equity capital, or reduce new
  investments, to obtain the cash needed to make these income distributions. If the Trust liquidates portfolio securities to raise cash, the
  Trust may realize gain or loss on such liquidations; in the event the Trust realizes net long-term or short-term capital gains from such
  liquidation transactions, its shareholders may receive larger capital gain or ordinary dividends, respectively, than they would in the
  absence of such transactions.


  LIMITATIONS OF CREDIT RATINGS
        Credit ratings represent only the opinion of the rating agency with respect to the ability of the issuer to make principal and interest
  payments on the securities. In determining a credit rating, rating agencies do not evaluate the risks of fluctuations in market value.
  Further, there may be limits on the effectiveness of the rating agencies’ financial models. For these and other reasons, a credit rating may
  not fully reflect the risks inherent in the relevant security. Further, a rating organization may have a conflict of interest with respect to a
  security for which it assigns a particular rating. For example, if the issuer or sponsor of a security pays a rating agency for the analysis
  of the security, an inherent conflict of interest may exist that could affect the reliability of the rating. In addition, credit rating agencies
  may or may not make timely changes in a rating to reflect changes in the economy or in the conditions of the issuer that affect the
  market value of the security. In other words, a security or an issuer may maintain a certain credit rating even though conditions have
  deteriorated since the rating was issued. Consequently, credit ratings should not necessarily be relied upon as an indicator of
  investment quality. If a rating organization changes the rating assigned to one or more of the Trust’s portfolio securities, the Trust is not
  required to sell the relevant securities.


  CERTAIN AFFILIATIONS
         Certain broker-dealers may be considered to be affiliated persons of the Trust or the Investment Adviser. Absent an exemption
  from the Commission or other regulatory relief, the Trust is generally precluded from effecting certain principal transactions with
  affiliated brokers, and its ability to purchase securities being underwritten by an affiliated broker or a syndicate including an affiliated
  broker, or to utilize affiliated brokers for agency transactions, is subject to restrictions. This could limit the Trust’s ability to engage in
  securities transactions and take advantage of market opportunities. In addition, unless and until the underwriting syndicate is broken in
  connection with the initial public offering of the securities, the Trust will be precluded from effecting principal transactions with brokers
  who are members of the syndicate.


  OPERATIONAL AND TECHNOLOGY RISK
       The Trust, its service providers, and other market participants increasingly depend on complex information technology and
  communications systems to conduct business functions. These systems are subject to a number of different threats or risks that could
  adversely affect the Trust and its shareholders, despite the efforts of the Trust and its service providers to adopt technologies,
  processes, and practices intended to mitigate these risks.

       For example, unauthorized third parties may attempt to improperly access, modify, disrupt the operations of, or prevent access to
  these systems of the Trust, the Trust’s service providers, counterparties, or other market participants or data within them (a “cyber-
  attack”). Power or communications outages, acts of god, information technology equipment malfunctions, operational errors, and
  inaccuracies within software or data processing systems may also disrupt business operations or impact critical data. Market events
  also may trigger a volume of transactions that overloads current information technology and communication systems and processes,
  impacting the ability to conduct the Trust’s operations.

        Cyber-attacks, disruptions, or failures that affect the Trust’s service providers or counterparties may adversely affect the Trusts
  and its shareholders, including by causing losses for the Trust or impairing Trust operations. For example, the Trust’s or its service
  providers’ assets or sensitive or confidential information may be misappropriated, data may be corrupted, and operations may be
  disrupted (e.g., cyber-attacks or operational failures may cause the release of private shareholder information or confidential Trust
  information, interfere with the processing of shareholder transactions, impact the ability to calculate the Trust’s NAV, and impede
  trading). In addition, cyber-attacks, disruptions, or failures may cause reputational damage and subject the Trust or its service providers
  to regulatory fines, litigation costs, penalties or financial losses, reimbursement or other compensation costs, and/or additional
  compliance costs. While the Trust and its service providers may establish business continuity and other plans and processes to
  address the possibility of cyber-attacks, disruptions, or failures, there are inherent limitations in such plans and systems, including that
  they do not apply to third parties, such as other market participants, as well as the possibility that certain risks have not been identified
  or that unknown threats may emerge in the future.



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        Similar types of operational and technology risks are also present for issuers of the Trust’s investments, which could have material
  adverse consequences for such issuers, and may cause the Trust’s investments to lose value. In addition, cyber-attacks involving the
  Trust counterparty could affect such counterparty’s ability to meet its obligations to the Trust, which may result in losses to the Trust
  and its shareholders. Furthermore, as a result of cyber-attacks, disruptions, or failures, an exchange or market may close or issue trading
  halts on specific securities or the entire market, which may result in the Trust being, among other things, unable to buy or sell certain
  securities or financial instruments or unable to accurately price its investments. The Trust cannot directly control any cybersecurity
  plans and systems put in place by its service providers, Trust counterparties, issuers in which the Trust invests, or securities markets
  and exchanges.

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  CONCENTRATION RISK - REAL ESTATE
        The Trust is required to invest at least 25% of the value of its total assets at the time of purchase in the securities of issuers
  conducting their principal business activities in the real estate industry. Under this policy, the Trust may be subject to greater market
  fluctuations than a fund that does not concentrate its investments in a particular industry. Financial, economic, business, and other
  developments affecting issuers in the real estate industry will have a greater effect on the Trust, and if securities of the real estate
  industry fall out of favor, the Trust could underperform, or its NAV may be more volatile than, funds that have greater industry
  diversification.


  REAL ESTATE INDUSTRY RISK
         Issuers principally engaged in real estate industry, including real estate investment trusts, may be subject to risks similar to the
  risks associated with the direct ownership of real estate, including: (i) changes in general economic and market conditions; (ii) changes
  in the value of real estate properties; (iii) risks related to local economic conditions, overbuilding and increased competition;
  (iv) increases in property taxes and operating expenses; (v) changes in zoning laws; (vi) casualty and condemnation losses;
  (vii) variations in rental income, neighborhood values or the appeal of property to tenants; (viii) the availability of financing and
  (ix) changes in interest rates and leverage.


  COMMUNICATIONS INDUSTRY RISK
        The market for communications products and services is characterized by rapidly changing technology, rapid product
  obsolescence, cyclical market patterns, evolving industry standards and frequent new product introductions. The success of the
  communications industry issuers depends in substantial part on the timely and successful introduction of new products and services.
  An unexpected change in in the market for products or services based on a particular technology could have a material adverse effect
  on an issuer’s operating results. Furthermore, there can be no assurance that communications industry issuers will be able to respond in
  a timely manner to compete in the rapidly developing marketplace. Many communications companies rely on a combination of patents,
  copyrights, trademarks and trade secret laws to establish and protect their intellectual property. There can be no assurance that the
  steps taken to protect intellectual property will be adequate to prevent misappropriation or that competitors will not independently
  develop products or services that are substantially equivalent or superior to such issuers’ products or services.


                                                               Management of the Trust

       The Trust is a party to contractual arrangements with various parties, including, among others, the Trust’s investment adviser,
  administrator, distributor, and shareholder servicing agent, who provide services to the Trust. Shareholders are not parties to, or
  intended (“third party”) beneficiaries of, any such contractual arrangements, and such contractual arrangements are not intended to
  create in any individual shareholder or group of shareholders any right to enforce them against the service providers or to seek any
  remedy under them against the service providers, either directly or on behalf of the Trust.

        Neither this Prospectus, nor the related SAI, is intended, or should be read, to be or to give rise to an agreement or contract
  between the Trust and any investor, or to give rise to any rights in any shareholder or other person other than any rights under federal
  or state law that may not be waived.


  TRUSTEES AND OFFICERS
         The Board is responsible for the overall management of the Trust, including supervision of the duties performed by the Investment
  Adviser. There are five trustees of the Trust. Four of the trustees are not “interested persons” (as defined in the Investment Company
  Act) of the Trust. The names and business addresses of the trustees and officers of the Trust and their principal occupations and other
  affiliations during the past five years are set forth under “Management of the Trust” in the SAI.


  INVESTMENT ADVISER
       NexPoint Advisors, L.P. acts as the Trust’s investment adviser. The Investment Adviser is located at 300 Crescent Court, Suite 700,
  Dallas, Texas 75201. As of June 30, 2019, the Investment Adviser, together with its affiliates, managed approximately $9.9 billion in assets
  on behalf of investors around the world. The Investment Adviser is controlled by James Dondero by virtue of his control of its general
  partner, NexPoint Advisors GP, LLC.


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        Responsibilities. The Investment Adviser provides the following services to the Trust: (i) furnishes an investment program for the
  Trust; (ii) determines, subject to the overall supervision and review of the Board, the investments to be purchased, held, sold or
  exchanged by the Trust and the portion, if any, of the assets of the Trust to be held uninvested; (iii) makes changes in the investments
  of the Trust; and (iv) votes, exercises consents, and exercises all other rights pertaining to such investments. Subject to the foregoing,
  the Investment Adviser will have the authority to engage one or more sub-advisers in connection with the portfolio management of the
  Trust, which sub-advisers may be affiliates of the Investment Adviser; provided, however, that the Investment Adviser shall remain
  responsible to the Trust with respect to its duties and obligations set forth in the investment advisory agreement.

        Compensation. In return for its advisory services, the Investment Adviser receives an annual fee, payable monthly, in an amount
  equal to 1.00% of the average weekly value of the Trust’s Managed Assets (the “Advisory Fee”). The accrued fees are payable monthly
  as promptly as possible after the end of each month during which the investment advisory agreement is in effect. A discussion
  regarding the basis for the approval of the investment advisory agreement by the Board is available in the Trust’s report to shareholders
  for the period ended December 31, 2017.

        Potential Conflicts of Interest. The Investment Adviser is an affiliate of Highland Capital Management Fund Advisors, L.P.
  (“HCMFA”). The Investment Adviser and/or its general partner, limited partners, officers, affiliates and employees provide investment
  advice to other parties and manage other accounts and private investment vehicles similar to the Trust. For the purposes of this section,
  the term “Highland” shall include the Investment Adviser and its affiliated investment advisors, including Highland Capital
  Management, L.P. and its affiliates. In connection with such other investment management activities, the Investment Adviser and/or its
  general partner, limited partners, officers, affiliates and employees may decide to invest the funds of one or more other accounts or
  recommend the investment of funds by other parties, rather than the Trust’s monies, in a particular security or strategy. In addition, the
  Investment Adviser and such other persons will determine the allocation of funds from the Trust and such other accounts to investment
  strategies and techniques on whatever basis they consider appropriate or desirable in their sole and absolute discretion.

        Highland has built a professional working environment, a firm-wide compliance culture and compliance procedures and systems
  designed to protect against potential incentives that may favor one account over another. Highland has adopted policies and
  procedures that address the allocation of investment opportunities, execution of portfolio transactions, personal trading by employees
  and other potential conflicts of interest that are designed to ensure that all client accounts are treated equitably over time. Nevertheless,
  Highland furnishes advisory services to numerous clients in addition to the Trust, and Highland may, consistent with applicable law,
  make investment recommendations to other clients or accounts (including accounts that have performance or higher fees paid to
  Highland or in which portfolio managers have a personal interest in the receipt of such fees) that may be the same as or different from
  those made to the Trust. In addition, Highland, its affiliates and any of their partners, directors, officers, stockholders or employees may
  or may not have an interest in the securities whose purchase and sale the Investment Adviser recommends to the Trust. Actions with
  respect to securities of the same kind may be the same as or different from the action that the Investment Adviser, or any of its affiliates,
  or any of their partners, directors, officers, stockholders or employees or any member of their families may take with respect to the same
  securities. Moreover, the Investment Adviser may refrain from rendering any advice or services concerning securities of companies of
  which any of the Investment Adviser’s (or its affiliates’) partners, directors, officers or employees are directors or officers, or companies
  as to which the Investment Adviser or any of its affiliates or partners, directors, officers and employees of any of them has any
  substantial economic interest or possesses material non-public information. In addition to its various policies and procedures designed
  to address these issues, Highland includes disclosure regarding these matters to its clients in both its Form ADV and investment
  advisory agreements.

         The Investment Adviser, its affiliates or their partners, directors, officers or employees similarly serve or may serve other entities
  that operate in the same or related lines of business, including accounts managed by an investment adviser affiliated with the
  Investment Adviser. Accordingly, these individuals may have obligations to investors in those entities or funds or to other clients, the
  fulfillment of which might not be in the best interests of the Trust. As a result, the Investment Adviser will face conflicts in the
  allocation of investment opportunities to the Trust and other funds and clients. In order to enable such affiliates to fulfill their fiduciary
  duties to each of the clients for which they have responsibility, the Investment Adviser will endeavor to allocate investment
  opportunities in a fair and equitable manner, pursuant to policies and procedures adopted by the Investment Adviser and its advisory
  affiliates that are designed to manage potential conflicts of interest, which may, subject to applicable regulatory constraints, involve pro
  rata co-investment by the Trust and such other clients or may involve a rotation of opportunities among the Trust and such other
  clients. The Trust will only make investments in which the Investment Adviser or an affiliate hold an interest to the extent permitted
  under the Investment Company Act and SEC staff interpretations or pursuant to the terms and conditions of the exemptive order
  received by the Investment Adviser and certain funds affiliated with the Trust, dated April 19, 2016. For example, exemptive relief is not
  required for the Trust to invest in syndicated deals and secondary loan market transactions in which the Investment Adviser or an
  affiliate has an interest where price is the only negotiated point. The order applies to all “Investment Companies,” which includes future
  closed-end investment companies registered under the Investment Company Act that are managed by the affiliated advisers,
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  which includes the Trust. The Trust, therefore, may in the future invest in accordance with the terms and conditions of the exemptive
  order. To mitigate any actual or perceived conflicts of interest, allocation of limited offering securities (such as IPOs and registered
  secondary offerings) to principal accounts that do not include third party investors may only be made after all other client account
  orders for the security have been filled. However, there can be no assurance that such policies and procedures will in every case ensure
  fair and equitable allocations of investment opportunities, particularly when considered in hindsight.

        Conflicts may arise in cases when clients and/or the Investment Adviser and other affiliated entities invest in different parts of an
  issuer’s capital structure, including circumstances in which one or more clients own private securities or obligations of an issuer and
  other clients may own public securities of the same issuer. In addition, one or more clients may invest in securities, or other financial
  instruments, of an issuer that are senior or junior to securities, or financial instruments, of the same issuer that are held by or acquired
  for, one or more other clients. For example, if such issuer encounters financial problems, decisions related to such securities (such as
  over the terms of any workout or proposed waivers and amendments to debt covenants) may raise conflicts of interests. In such a
  distressed situation, a client holding debt securities of the issuer may be better served by a liquidation of the issuer in which it may be
  paid in full, whereas a client holding equity securities of the issuer might prefer a reorganization that holds the potential to create value
  for the equity holders. In the event of conflicting interests within an issuer’s capital structure, Highland will generally pursue the
  strategy that Highland believes best reflects what would be expected to be negotiated in an arm’s length transaction, but in all instances
  with due consideration being given to Highland’s fiduciary duties to each of its accounts (without regard to the nature of the accounts
  involved or fees received from such accounts). This strategy may be recommended by one or more Highland investment professionals.
  A single person may represent more than one part of an issuer’s capital structure. The recommended course of action will be presented
  to the conflicts committee for final determination as to how to proceed. Highland may elect, but is not required, to assign different teams
  to make recommendations for different parts of the capital structure as the conflicts committee determines in its discretion. In the event
  any Highland personnel serve on the board of the subject company, they generally recuse themselves from voting on any board matter
  with respect to a transaction that has an asymmetrical impact on the capital structure. Highland personnel board members may still make
  recommendations to the conflicts committee. If any such persons are also on the conflicts committee, they may recuse themselves from
  the committee’s determination. A portfolio manager with respect to any applicable Highland registered investment company clients
  (“Retail Accounts”) participates in such discussions, but makes an independent determination as to which course of action he or she
  determines is in the best interest of the applicable Retail Accounts. Highland may use external counsel for guidance and assistance.

         The Investment Adviser and its affiliates have both subjective and objective procedures and policies in place designed to manage
  potential conflicts of interest involving clients so that, for example, investment opportunities are allocated in a fair and equitable manner
  among the Trust and such other clients. An investment opportunity that is suitable for multiple clients of the Investment Adviser and
  its affiliates may not be capable of being shared among some or all of such clients due to the limited scale of the opportunity or other
  factors, including regulatory restrictions imposed by the Investment Company Act. There can be no assurance that the Investment
  Adviser’s or its affiliates’ efforts to allocate any particular investment opportunity fairly among all clients for whom such opportunity is
  appropriate will result in an allocation of all or part of such opportunity to the Trust. Not all conflicts of interest can be expected to be
  resolved in favor of the Trust.

        Another type of conflict may arise if one client account buys a security and another client account sells or shorts the same
  security. Currently, such opposing positions are generally not permitted within the same account without prior trade approval by the
  Chief Compliance Officer. However, a portfolio manager may enter into opposing positions for different clients to the extent each such
  client has a different investment objective and each such position is consistent with the investment objective of the applicable client. In
  addition, transactions in investments by one or more affiliated client accounts may have the effect of diluting or otherwise
  disadvantaging the values, prices or investment strategies of other client accounts.

        Because certain client accounts may have investment objectives, strategies or legal, contractual, tax or other requirements that
  differ (such as the need to take tax losses, realize profits, raise cash, diversification, etc.), an affiliated advisor may purchase, sell or
  continue to hold securities for certain client accounts contrary to other recommendations. In addition, an affiliated advisor may be
  permitted to sell securities or instruments short for certain client accounts and may not be permitted to do so for other affiliated client
  accounts.

         As a result of the Trust’s arrangements with Highland, there may be times when Highland, the Investment Adviser or their
  affiliates have interests that differ from those of the Trust’s shareholders, giving rise to a conflict of interest. Highland and the
  Investment Adviser are under common ownership, and the Trust’s officers serve or may serve as officers, directors or principals of
  entities that operate in the same or a related line of business as the Trust does, or of investment funds managed by the Investment
  Adviser or its affiliates. Similarly, the Investment Adviser or its affiliates may have other clients with similar, different or competing
  investment objectives. In serving in these multiple capacities, they may have obligations to other clients or investors in those entities,
  the fulfillment of which may not be in the best interests of the Trust or its shareholders. For example, the Trust’s officers have, and will
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  continue to have, management responsibilities for other investment funds, accounts or other investment vehicles managed or
  sponsored by the Investment Adviser and its affiliates. The Trust’s investment objective may overlap, in part or in whole, with the
  investment objective of such affiliated investment funds, accounts or other investment vehicles. As a result, those individuals may face
  conflicts in the allocation of investment opportunities among the

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  Trust and other investment funds or accounts advised by or affiliated with the Investment Adviser. The Investment Adviser will seek to
  allocate investment opportunities among eligible accounts in a manner that is fair and equitable over time and consistent with its
  allocation policy. However, the Trust can offer no assurance that such opportunities will be allocated to it fairly or equitably in the short-
  term or over time. See “Conflicts of Interest” for a discussion of our Investment Adviser’s allocation policy.

        Currently a substantial portion of the Trust’s assets are invested in REITs, asset-backed securities and/or CLOs sponsored,
  organized and/or managed by Highland and its affiliates. The Investment Adviser will monitor for conflicts of interest in accordance
  with its fiduciary duties and will provide the independent trustees of the Trust with an opportunity to periodically review the Trust’s
  investments in such REITs, asset-backed securities and/or CLOs and assure themselves that continued investment in such securities
  remains in the best interests of the Trust and its shareholders. The Investment Adviser may effect client cross-transactions where it
  causes a transaction to be effected between the Trust and another client advised by the Investment Adviser or any of its affiliates. The
  Investment Adviser may engage in a client cross-transaction involving the Trust any time that the Investment Adviser believes such
  transaction to be fair to the Trust and the other client of the Investment Adviser or its affiliates.

         As further described below, the Investment Adviser may effect principal transactions where the Trust may make and/or hold an
  investment, including an investment in securities, in which the Investment Adviser and/or its affiliates have a debt, equity or
  participation interest, in each case in accordance with applicable law, which may include the Investment Adviser obtaining the consent
  and approval of the Trust prior to engaging in any such principal transaction between the Trust and the Investment Adviser or its
  affiliates.

        The Investment Adviser may direct the Trust to acquire or dispose of investments in cross trades between the Trust and other
  clients of the Investment Adviser or its affiliates in accordance with applicable legal and regulatory requirements. In addition, to the
  extent permitted by the Investment Company Act and SEC staff interpretations, the Trust may make and/or hold an investment,
  including an investment in securities, in which the Investment Adviser and/or its affiliates have a debt, equity or participation interest,
  and the holding and sale of such investments by the Trust may enhance the profitability of the Investment Adviser’s own investments
  in such companies.

        During periods in which the Trust is using leverage, the fees paid to the Investment Adviser for investment advisory services and
  to the Administrator for administrative services will be higher than if the Trust did not use leverage because the fees paid will be
  calculated on the basis of the Trust’s Managed Assets, which may create an incentive for the Investment Adviser to leverage the Trust
  or to leverage using strategies that increase the Investment Adviser’s fee. Furthermore, the Investment Adviser will also benefit to the
  extent that the Trust’s Managed Assets are derived from the reinvested collateral received on portfolio securities loaned.

        In addition to the Advisory Fee of the Investment Adviser, the Trust pays all other costs and expenses of its operations,
  including, but not limited to, compensation of its trustees (other than those affiliated with the Investment Adviser), custodian, transfer
  and dividend disbursing agent expenses, legal fees, listing fees and expenses, expenses of independent auditors, expenses of preparing,
  printing and distributing shareholder reports, notices, proxy statements and reports to governmental agencies, and reimbursement of
  actual expenses of the Investment Adviser or others for registration and maintenance of the Trust’s registration with the Commission
  and other jurisdictions and taxes, if any.

       Pursuant to the Trust’s investment advisory agreement, the Trust has undertaken to indemnify the Investment Adviser and its
  partners, officers, employees, agents, and controlling persons for certain liabilities arising under the agreement, except liabilities arising
  from their willful misfeasance, bad faith, gross negligence or reckless disregard of the duties involved in the conduct of his position. In
  accordance with the indemnification provision in the Trust’s Investment Advisory Agreement, the Trust has in the past indemnified the
  Investment Adviser from time to time, and may continue to do so in the future.


  Real Estate Allocation Procedures.
  Members of the Trust’s management team also operate: (1) an externally managed publicly traded REIT (“NXRT”), that manages a
  portfolio of Class B, value add multifamily properties; (2) VineBrook Homes Trust, Inc., an externally managed private REIT that manages
  a portfolio of single-family housing properties in the Midwest U.S. (“VineBrook”); (3) NexPoint Hospitality Trust, an externally managed
  publicly traded REIT (“NHT”) listed on the TSX Venture Exchange, that manages a portfolio of hospitality assets located in the U.S; (4)
  a private REIT (NFRO REIT Sub, LLC), which is wholly-owned by Highland Income Fund (“HFRO”), that invests in real estate
  transactions, or real estate operating companies, via debt instruments; (5) a private REIT (NRESF REIT Sub, LLC), which is wholly-
  owned by NexPoint Real Estate Strategies Fund (“NRESF”), that invests directly in real estate transactions or real estate operating
  companies; (6) a private REIT (NexPoint Capital REIT, LLC), which is wholly-owned by NexPoint Capital Inc., that invests in both direct
  interests in opportunistic real estate investments and preferred equity investments for entities that own real estate, and (7) a private
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  REIT (GAF REIT, LLC), which is wholly-owned by Highland Global Allocation Fund, that invest in real estate transactions, or real estate
  operating companies, via debt and equity instruments.

  If a potential investment is appropriate for either the Trust or another entity noted above, the Investment Adviser and its affiliates have
  an allocation policy that provides that opportunities will be allocated among those accounts for which participation in the respective
  opportunity is considered most appropriate, taking into account, among other considerations with respect to any real estate
  investments:
  •     which fund has available cash (including availability under lines of credit) to acquire the investment;
  •     whether there are any positive or negative income tax effects on any of the funds relating to the purchase;
  •     whether the investment opportunity creates geographic, asset class or tenant concentration / diversification concerns for any of
        the funds;
  •     how the investment size, potential leverage, transaction structure and anticipated cash flows affect each fund, including earnings
        and distribution coverage; and
  •     whether one or more of the funds has an existing relationship with the tenant(s), operator, facility or system associated with the
        investment, or a significant geographic presence that would make the investment strategically more important.

  The Investment Adviser will allocate investment opportunities across the entities for which such opportunities are appropriate,
  consistent with its internal conflict of interest and allocation policies. As noted above, the Investment Adviser will seek to allocate
  investment opportunities among such entities in a manner that is fair and equitable over time and consistent with its allocation policy.
  However, there is no assurance that such investment opportunities will be allocated to the Trust fairly or equitably in the short-term or
  over time and there can be no assurance that the Trust will be able to participate in all such investment opportunities that are suitable
  for the Trust.
        No-Action Letter and Exemptive Order
       The Commission staff, through a No-Action Letter dated June 26, 2013, has stated that it will not recommend enforcement action if
  the Trust utilizes Rule 486(b) of the Securities Act to file post-effective amendments to its shelf registration statement in order to update
  the Trust’s financial statements and make other non-material changes.

       Additionally, the Trust, HCMFA and the Investment Adviser have obtained an exemptive order dated April 19, 2016 from the
  Commission to permit certain co-investments among the Trust and other accounts managed by the Investment Adviser or its affiliates,
  subject to certain conditions.


  ADMINISTRATOR/SUB-ADMINISTRATOR
       Under an administration agreement dated June 29, 2006 and amended June 6, 2008, (the “Administration Agreement”), the
  Investment Adviser provides administration services to the Trust, provides executive and other personnel necessary to administer the

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  Trust and furnishes office space. Some of the administrative services provided by the Investment Adviser under the Administration
  Agreement, include, but are not limited to:
         •     preparing and coordinating the Trust’s state filings;
         •     determining and overseeing publication of the Trust’s NAV and distribution amounts;
         •     overseeing and liaising with services providers, such as the custodian and transfer agent;
         •     monitoring leverage compliance;
         •     coordinating the negotiation of credit agreements and other agreements with counterparties;
         •     investigating customer complaints;
         •     determining and monitoring expense accruals;
         •     authorizing expenditures and bill payments on behalf of the Trust; and
         •     performing such additional administrative duties as requested by the Trust.

        Effective June 14, 2012, NexPoint Advisors, L.P. became the investment advisor and administrator to the Trust. Prior to June 14,
  2012, HCMFA was the investment advisor and administrator to the Trust. The Investment Adviser will receive an annual fee, payable
  monthly, in an amount equal to 0.20% of the average weekly value of the Trust’s Managed Assets. The Investment Adviser earned for
  administration services $1,083,853 in fees for the fiscal year ended December 31, 2016, $1,170,744 in fees for the fiscal year ended
  December 31, 2017, and $959,793 in fees for the fiscal year ended December 31, 2018. The Investment Adviser may waive a portion of its
  fees.

  As of October 1, 2018, under a separate sub-administration agreement, NexPoint has delegated certain administrative functions to SEI
  Investments Global Funds Services (“SEI”), One Freedom Valley Drive, Oaks, Pennsylvania 19456, and pays SEI a portion of the fee it
  receives from the Trust. Under the sub-administration agreement, SEI has agreed to provide fund accounting services; asset data
  services; fund administration and reporting services; and regulatory administration services, including preparation and filing of various
  reports with the appropriate regulatory agencies and the SEC for the Trust.


  PORTFOLIO MANAGER
       The Trust’s portfolio manager is James Dondero. Mr. Dondero has managed the portfolio since September 2012. His investment
  decisions are not subject to the oversight, approval or ratification of a committee.

        Mr. Dondero has over 25 years of experience in the credit markets. In addition to his role at the Investment Adviser, Mr. Dondero is
  the co-founder and President of Highland Capital Management, L.P. and NexPoint Advisors, L.P. Mr. Dondero has over 30 years of
  experience investing in credit and equity markets and has helped pioneer credit asset classes. Prior to founding Highland Capital
  Management in 1993, Mr. Dondero served as Chief Investment Officer of Protective Life’s GIC subsidiary and helped grow the business
  from concept to over $2 billion between 1989 and 1993. His portfolio management experience includes mortgage-backed securities,
  investment grade corporates, leveraged bank loans, high-yield bonds, emerging market debt, real estate, derivatives, preferred stocks
  and common stocks. From 1985 to 1989, he managed approximately $1 billion in fixed income funds for American Express. Mr. Dondero
  received a BS in Commerce (Accounting and Finance) from the University of Virginia, and is a Certified Managerial Accountant.
  Mr. Dondero has earned the right to use the Chartered Financial Analyst designation. Mr. Dondero currently serves as Chairman of
  NexBank SSB and serves on the Board of Directors of American Banknote Corporation, Metro-Goldwyn-Mayer, Jernigan Capital, Inc.,
  Cornerstone Healthcare Group, and Texmark Timber Treasury, L.P.

      The SAI provides additional information about the portfolio manager’s compensation, other accounts managed by the portfolio
  manager and the portfolio manager’s ownership of securities issued by the Trust.


                                                          Determination of Net Asset Value

        The NAV of the common shares of the Trust is computed based upon the value of the Trust’s investment portfolio securities and
  other assets. NAV per common share is determined daily on each day that the NYSE is open for business as of the close of the regular
  trading session on the NYSE, usually 4:00 p.m., Eastern time. The NYSE is open Monday through Friday, but currently is scheduled to

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  be closed on New Year’s Day, Dr. Martin Luther King, Jr. Day, Presidents’ Day, Good Friday, Memorial Day, Independence Day, Labor
  Day, Thanksgiving Day and Christmas Day or on the preceding Friday or subsequent Monday when a holiday falls on a Saturday or
  Sunday, respectively. The Trust calculates NAV per common share by subtracting liabilities (including accrued expenses or dividends)
  from the total assets of the Trust (the value of the securities plus cash or other assets, including interest accrued but not yet received)
  and dividing the result by the total number of outstanding common shares of the Trust.

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  VALUATIONS
       The Trust uses the following valuation methods to determine either current market value for investments for which market
  quotations are available or, if not available, the fair value, as determined in good faith pursuant to policies and procedures approved by
  the Board:
         •     The market value of each security listed or traded on any recognized securities exchange or automated quotation system will
               be the last reported sale price at the relevant valuation date on the composite tape or on the principal exchange on which
               such security is traded, except that debt securities that are not credit-impaired and have remaining maturities of 60 days or
               less will be valued at amortized cost, a method of valuation that approximates market value. If no sale is reported on that
               date, or for over-the-counter securities, the Investment Adviser utilizes, when available, pricing quotations from principal
               market makers. Such quotations may be obtained from third-party pricing services or directly from investment brokers and
               dealers in the secondary market. Generally, the Trust’s loan and bond positions are not traded on exchanges and
               consequently are valued based on market prices received from third-party pricing services or broker-dealer sources.
         •     Dividends declared but not yet received, and rights in respect of securities which are quoted ex-dividend or ex-rights, will be
               recorded at the fair value thereof, as determined by the Investment Adviser, which may (but need not) be the value so
               determined on the day such securities are first quoted ex-dividend or ex-rights.
         •     Listed options, or over-the-counter options for which representative brokers’ quotations are available, will be valued in the
               same manner as listed or over-the-counter securities as hereinabove provided. Premiums for the sale of such options written
               by the Trust will be included in the assets of the Trust, and the market value of such options shall be included as a liability.
         •     The Trust’s non-marketable investments for which market quotations are not readily will generally be valued in such manner
               as the Investment Adviser determines in good faith to reflect their fair values under procedures established by, and under
               the general supervision and responsibility of, the Board. The pricing of all assets that are fair valued in this manner will be
               subsequently reported to and ratified by the Board. Pursuant to the Trust’s pricing procedures, securities for which market
               quotations are not readily available may include securities that are subject to legal or contractual restrictions on resale,
               securities for which no or limited trading activity has occurred for a period of time, or securities that are otherwise deemed to
               be illiquid (i.e., securities that cannot be disposed of within seven days at approximately the price at which the security is
               currently priced by the Trust). Swaps and other derivatives would generally fall under this category.

        When determining the fair value of an asset, the Investment Adviser seeks to determine the price that the Trust might reasonably
  expect to receive from the current sale of that asset in an arm’s-length transaction. Fair value is defined as the amount for which assets
  could be sold in an orderly disposition over a reasonable period of time, taking into account the nature of the asset. Fair value
  determinations are based upon all available factors that the Investment Adviser deems relevant. Fair value pricing, however, involves
  judgments that are inherently subjective and inexact, since fair valuation procedures are used only when it is not possible to be sure
  what value should be attributed to a particular asset or when an event will affect the market price of an asset and to what extent. As a
  result, fair value pricing may not reflect actual market value, and it is possible that the fair value determined for a security will be
  materially different from the value that actually could be or is realized upon the sale of that asset.

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                                                                     Distributions

       Subject to market conditions, the Trust expects to declare dividends on the Trust’s common shares on a monthly basis. The Trust
  intends to pay any net capital gain distributions annually.

        Various factors will affect the level of the Trust’s current income and current gains, such as its asset mix and the Trust’s use of
  options and other derivative transactions. To permit the Trust to maintain more stable monthly dividends and annual capital gain
  distributions, the Trust may from time to time distribute less than the entire amount of income and gains earned in the relevant month or
  year, respectively. The undistributed income and gains would be available to supplement future distributions. As a result, the
  distributions paid by the Trust for any particular period may be more or less than the amount of income and gains actually earned by the
  Trust during the applicable period. Undistributed income and gains will add to the Trust’s NAV, and, correspondingly, distributions from
  previously undistributed income and gains, as well as from capital, if any, will be deducted from the Trust’s NAV.

       Shareholders will automatically receive newly issued common shares for all dividends declared for common shares of the Trust in
  accordance with the Trust’s Dividend Reinvestment Plan unless an election is made to receive cash. Participants requesting a sale of
  securities through the plan agent of the Trust’s Dividend Reinvestment Plan are subject to a sales fee and a brokerage commission. See
  “Dividend Reinvestment Plan.”

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                                                             Dividend Reinvestment Plan

        Unless the registered owner of common shares elects to receive cash by contacting the Plan Agent, all dividends declared for the
  common shares of the Trust will be automatically paid in the form of, or reinvested by Global Shares (“Global Shares” or the “Plan
  Agent”) in, common shares of the Trust purchased in the open market at prevailing market prices. If you are a registered owner of
  common shares and elect not to participate in the Plan, you will receive all dividends or other distributions (together, a “dividend”) in
  cash paid by check mailed directly to you (or, if the shares are held in street or other nominee name, then to such nominee) by American
  Stock Transfer and Trust Company LLC (“AST”), as dividend disbursing agent. You may elect not to participate in the Plan and to
  receive all dividends in cash by sending written instructions or by contacting AST, as dividend disbursing agent, at the address set
  forth below. Participation in the Plan is completely voluntary and may be terminated or resumed at any time without penalty by
  contacting the Plan Agent before the dividend record date; otherwise such termination or resumption will be effective with respect to
  any subsequently declared dividend. Some brokers may automatically elect to receive cash on your behalf and may reinvest that cash in
  additional shares of the Trust for you.

        The Plan Agent will open an account for each shareholder under the Plan in the same name in which such shareholder’s shares are
  registered. Whenever the Trust declares a dividend payable in cash, non-participants in the Plan will receive cash and participants in the
  Plan will receive the equivalent in newly issued common shares. The common shares will be acquired by the Plan Agent through receipt
  of additional unissued but authorized common shares from the Trust. The number of newly issued common shares to be credited to
  each participant’s account will be determined by dividing the dollar amount of the dividend by the lesser of (i) the NAV per common
  share determined on the declaration date and (ii) the market price per common share as of the close of regular trading on the NYSE on
  the declaration date.

        The Plan Agent maintains all shareholders’ accounts in the Plan and furnishes written confirmation of all transactions in the
  accounts, including information needed by shareholders for tax records. Common shares in the account of each Plan participant will be
  held by the Plan Agent on behalf of the Plan participant, and each shareholder proxy will include those shares purchased or received
  pursuant to the Plan. The Plan Agent will forward all proxy solicitation materials to participants and vote proxies for shares held under
  the Plan in accordance with the instructions of the participants.

       In the case of shareholders such as banks, brokers or nominees which hold shares for others who are the beneficial owners, the
  Plan Agent will administer the Plan on the basis of the number of common shares certified from time to time by the record shareholder’s
  name and held for the account of beneficial owners who participate in the Plan.

        There will be no brokerage charges with respect to common shares issued directly by the Trust. The automatic reinvestment of
  dividends will not relieve participants of any tax that may be payable (or required to be withheld) on such dividends. Accordingly, any
  taxable dividend received by a participant that is reinvested in additional common shares will be subject to U.S. federal (and possibly
  state and local) income tax even though such participant will not receive a corresponding amount of cash with which to pay such taxes.
  See “Tax Matters.”

       There will be no brokerage charges with respect to common shares issued directly by the Trust. Participants who request a sale of
  shares through the Plan Agent pay a brokerage commission of $0.4 per share sold.

       The Trust reserves the right to amend or terminate the Plan. There is no direct service charge to participants in the Plan; however,
  the Trust reserves the right to amend the Plan to include a service charge payable by the participants.

       All correspondence concerning the Plan should be directed to the Plan Agent at Global Shares, 111 Town Square Place, Suite 1401,
  Jersey City, NJ 07310; telephone (732) 256-1005.


                                                            Shareholder Loyalty Program

        To promote loyalty and long-time alignment of interests among the Trust’s shareholders, the Investment Adviser offers an
  incentive to shareholders that buy and hold the Trust’s common shares for a period of at least twelve months through its Shareholder
  Loyalty Plan (the “Plan”). To participate in the Plan, existing shareholders must open an account (the “Account”) with the Plan’s
  administrator, Global Shares. Subsequently, if a participant makes contributions to the Account during a defined trading period to
  purchase shares, NexPoint will make a corresponding contribution on such participant’s behalf (the “Gross-up”). The Gross-up is
  determined by NexPoint and may be adjusted at any point without notice by NexPoint prospectively from time to time in accordance
  with the terms of the Plan. For example, if a participant contributes $10,000 to the Account during a defined trading period to purchase
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  shares and NexPoint has determined the participant’s Gross-up will be 2%, NexPoint will make a corresponding contribution of $200, or
  2% of the total $10,000, to purchase additional Shares for the participant (the “Gross-up Shares”). In addition, Plan participants will not
  be required to pay any customary purchase commissions or distribution fees on the purchase of shares under the Plan.

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        NexPoint will pay all expenses incident to the purchase of shares under the Plan and for operation of the Plan, including the costs
  of recordkeeping, accounting fees, legal fees and the costs of delivery of stock certificates, if any, to participants; provided, however,
  that NexPoint will not pay any expenses incurred in connection with any sale or transfer of shares credited to a participant’s Account.
  Expenses incurred in connection with any such sales will be deducted from the proceeds of sale prior to any remittance to the
  participant.

       While the portion of the Trust’s common shares that are acquired through the participant’s contribution will vest immediately, the
  Gross-up Shares will not vest until the first anniversary of the date that the Gross-up Shares were purchased. Vested shares and
  Gross-up Shares will be held in the Account with Global Shares’ broker, Maxim Group, LLC (“Maxim”). A participant may not sell or
  otherwise withdraw, pledge, transfer, assign, hypothecate or dispose of any Gross-up Shares prior to the date on which they become
  vested Shares. Under the Plan, participants must contribute a minimum of $2,500 for purchases of shares in the initial contribution and
  each subsequent monthly contribution unless NexPoint, in its sole discretion, decides to permit contributions for a lesser amount. The
  maximum monthly contribution limit under the Plan is $1,000,000, which amount may be adjusted from time to time by NexPoint in its sole
  discretion.

        All dividends received on shares that are purchased under the Plan will be automatically reinvested through the Plan. Shares
  acquired through the reinvestment of dividends paid to the holder of a vested share will vest immediately. Shares acquired through the
  reinvestment of dividends paid to the holder of a non-vested Gross-up share will vest on the first anniversary of the reinvest date. In
  addition, for dividends paid to holders of vested shares, NexPoint will provide a Gross-up on the amount of such reinvested dividends.

        Maxim maintains all shareholders’ accounts in the Plan and, upon request, furnishes written confirmation of all transactions in the
  accounts, including information needed by shareholders for tax records. Shares in the account of each Plan participant will be held by
  Maxim on behalf of the Plan participant, and each shareholder proxy will include those shares purchased or received pursuant to the
  Plan. Maxim will forward all proxy solicitation materials to participants and vote proxies for shares held under the Plan in accordance
  with the instructions of the participants.

       In the case of shareholders such as banks, brokers or nominees which hold shares for others who are the beneficial owners, Global
  Shares and Maxim will administer the Plan on the basis of the number of common shares certified from time to time by the record
  shareholder’s name and held for the account of beneficial owners who participate in the Plan.

       NexPoint reserves the right to amend or terminate the Plan. To help align the interests of NexPoint’s employees with the interests of
  the Trust’s shareholders, NexPoint also offers the Plan to its employees.

         Participants in the Plan should be aware that their receipt of Gross-up Shares under the Plan constitutes taxable income to them. In
  addition, such participants owe taxes on that portion of any distribution that constitutes taxable income in respect of shares of our
  common stock held in their Plan accounts, whether or not such shares of common stock have vested in the hands of the participants. To
  the extent any payments or distributions under the Plan are subject to U.S. federal, state or local taxes, the Trust, any participating
  affiliate of the Trust or the agent for the Plan may satisfy its tax withholding obligation by (1) withholding shares allocated to the
  participant’s account or (2) deducting cash from the participant’s account. Plan participants should consult their tax advisers regarding
  the tax consequences to them of participating in the Plan.

        The Plan may create an incentive for shareholders to invest additional amounts in the Trust. Because the Adviser’s management
  fee is based on a percentage of the assets of the Trust, the Plan will result in increased net revenues to NexPoint if the increase in the
  management fee due to the increased asset base offsets the costs associated with establishing and maintaining the Plan.


                                                           Description of Capital Structure

       This Prospectus contains a summary of the preferred shares and subscription rights available in an Offering. These summaries are
  not meant to be a complete description of each security. However, this Prospectus will contain the material terms and conditions for each
  security.

        Any of the securities described herein may be issued separately or as part of a unit consisting of two or more securities (for
  example, common shares and rights), which may or may not be separable from one another. If such units are publicly offered, they and
  their underlying securities will be registered under the Securities Act prior to completion of the offering.

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  PREFERRED SHARES
        The Trust’s Agreement and Declaration of Trust provides that the Board may authorize and issue preferred shares with rights as
  determined by the Board, by action of the Board without the approval of the holders of the common shares. Holders of common shares
  have no preemptive right to purchase any preferred shares that might be issued. Whenever preferred shares are outstanding, the Trust
  will not be permitted to declare any distributions from the Trust unless all accrued dividends on preferred shares have been paid, unless
  asset coverage (as defined in the Investment Company Act) with respect to preferred shares would be at least 200% after giving effect
  to the distributions and unless certain other requirements imposed by any rating agencies rating the preferred shares have been met.

        Currently, an unlimited number of the Trust’s shares have been classified by the Board as preferred shares, par value $0.001 per
  share. The terms of such preferred shares may be fixed by the Board and would materially limit and/or qualify the rights of the holders of
  the Trust’s common shares. Although the terms of any preferred shares, including dividend rate, liquidation preference and redemption
  provisions, will be determined by the Board, subject to applicable law and the Trust’s Agreement and Declaration of Trust, it is likely
  that the preferred shares will be structured to carry a relatively short-term dividend rate reflecting interest rates on short-term bonds, by
  providing for the periodic redetermination of the dividend rate at relatively short intervals through an auction, remarketing or other
  procedure. The Trust also believes that it is likely that the liquidation preference, voting rights and redemption provisions of the
  preferred shares will be similar to those stated below.

       Liquidation Preference. In the event of any voluntary or involuntary liquidation, dissolution or winding up of the Trust, the
  holders of preferred shares will be entitled to receive a preferential liquidating distribution, which is expected to equal the original
  purchase price per preferred share plus accrued and unpaid dividends, whether or not declared, before any distribution of assets is
  made to holders of common shares. After payment of the full amount of the liquidating distribution to which they are entitled, the
  holders of preferred shares will not be entitled to any further participation in any distribution of assets by the Trust.

        Voting Rights. The Investment Company Act requires that the holders of any preferred shares, voting separately as a single class,
  have the right to elect at least two trustees at all times. The remaining trustees will be elected by holders of common shares and
  preferred shares, voting together as a single class. In addition, subject to the prior rights, if any, of the holders of any other class of
  senior securities outstanding, the holders of any preferred shares have the right to elect a majority of the trustees of the Trust at any
  time two years’ dividends on any preferred shares are unpaid. The Investment Company Act also requires that, in addition to any
  approval by shareholders that might otherwise be required, the approval of the holders of a majority of any outstanding preferred
  shares, voting separately as a class, would be required to (i) adopt any plan of reorganization that would adversely affect the preferred
  shares, and (ii) take any action requiring a vote of security holders under Section 13(a) of the Investment Company Act, including,
  among other things, changes in the Trust’s subclassification as a closed-end investment company or changes in its fundamental
  investment restrictions. As a result of these voting rights, the Trust’s ability to take any such actions may be impeded to the extent that
  there are any preferred shares outstanding. The Board presently intends that, except as otherwise indicated in this Prospectus and
  except as otherwise required by applicable law, holders of preferred shares will have equal voting rights with holders of common shares
  (one vote per share, unless otherwise required by the Investment Company Act) and will vote together with holders of common shares
  as a single class.

       The affirmative vote of the holders of a majority of the outstanding preferred shares, voting as a separate class, will be required to
  amend, alter or repeal any of the preferences, rights or powers of holders of preferred shares that materially and adversely affect such
  preferences, rights or powers, or to increase or decrease the authorized number of preferred shares. The class vote of holders of
  preferred shares described above will in each case be in addition to any other vote required to authorize the action in question.

         Redemption, Purchase and Sale of Preferred Shares by the Trust. The terms of the preferred shares are expected to provide that
  (i) they are redeemable by the Trust in whole or in part at the original purchase price per share plus accrued dividends per share, (ii) the
  Trust may tender for or purchase preferred shares, and (iii) the Trust may subsequently resell any shares so tendered for or purchased.

        Any redemption or purchase of preferred shares by the Trust will reduce the leverage applicable to the common shares, while any
  resale of shares by the Trust will increase that leverage.

       The discussion above describes the possible offering of preferred shares by the Trust. If the Board determines to proceed with
  such an offering, the terms of the preferred shares may be the same as, or different from, the terms described above, subject to
  applicable law and the Trust’s Agreement and Declaration of Trust. The Board, without the approval of the holders of common shares,
  may authorize an offering of preferred shares or may determine not to authorize such an offering and may fix the terms of the preferred
  shares to be offered.


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        If preferred shares are offered in the future, such shares will be registered under the Securities Act prior to the offering.

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  SUBSCRIPTION RIGHTS
        General
       We may issue subscription rights to our shareholders to purchase preferred shares. Subscription rights may be issued
  independently or together with any other offered security and may or may not be transferable by the person purchasing or receiving the
  subscription rights. In connection with a subscription rights offering to our shareholders, we would distribute certificates evidencing
  the subscription rights and a Prospectus Supplement to our shareholders on the record date that we set for receiving subscription rights
  in such subscription rights offering.

       The applicable Prospectus Supplement would describe the following terms of subscription rights in respect of which this
  Prospectus is being delivered:
         •     the period of time the offering would remain open;
         •     the title of such subscription rights;
         •     the exercise price for such subscription rights (or method of calculation thereof);
         •     the ratio of the offering;
         •     the number of such subscription rights issued to each shareholder;
         •     the extent to which such subscription rights are transferable and the market on which they may be traded if they are
               transferable;
         •     the date on which the right to exercise such subscription rights shall commence, and the date on which such right shall
               expire (subject to any extension);
         •     the extent to which such subscription rights include an over-subscription privilege with respect to unsubscribed securities
               and the terms of such over-subscription privilege;
         •     any termination right we may have in connection with such subscription rights offering; and
         •     any other terms of such subscription rights, including exercise, settlement and other procedures and limitations relating to
               the transfer and exercise of such subscription rights.

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        Exercise of Subscription Rights
         Each subscription right would entitle the holder of the subscription right to purchase for cash such amount of preferred shares at
  such exercise price as shall in each case be set forth in, or be determinable as set forth in, the Prospectus Supplement relating to the
  subscription rights offered thereby. Under the Investment Company Act, we may generally only offer subscription rights that expire not
  later than 120 days after their issuance and are issued exclusively and ratably to a class or classes of our security holders. Subscription
  rights may be exercised at any time up to the close of business on the expiration date for such subscription rights set forth in the
  Prospectus Supplement. After the close of business on the expiration date, all unexercised subscription rights would become void.

       Subscription rights may be exercised as set forth in the Prospectus Supplement relating to the subscription rights offered thereby.
  Upon receipt of payment and the subscription rights certificate properly completed and duly executed at the corporate trust office of the
  subscription rights agent or any other office indicated in the Prospectus Supplement we will forward, as soon as practicable, the
  preferred shares purchasable upon such exercise. To the extent permissible under applicable law, we may determine to offer any
  unsubscribed offered securities directly to persons other than shareholders, to or through agents, underwriters or dealers or through a
  combination of such methods, as set forth in the applicable Prospectus Supplement. The Trust’s common shareholders will indirectly
  bear all of the expenses of any subscription rights offerings, regardless of whether the Trust’s common shareholders exercise any
  subscription rights.


        Dilutive Effect
        The Trust may effectuate one or more rights offerings, as part of which the Trust will issue subscription rights. In any such event,
  shareholders who do not fully exercise their subscription rights should expect that they will, at the completion of a rights offering
  pursuant to this Prospectus, own a smaller proportional interest in the Trust than would otherwise be the case if they fully exercised
  their rights. We cannot state precisely the amount of any such dilution in share ownership because we do not know at this time what
  proportion of the shares will be purchased as a result of such rights offering. These shareholders will also experience a
  disproportionately greater decrease in their participation in the Trust’s earnings and assets and their voting power than the increase the
  Trust will experience in its assets, potential earning power and voting interests due to such offering. These shareholders may also
  experience a decline in the market price of their shares, which often reflects to some degree announced or potential increases and
  decreases in NAV per share. This decrease could be more pronounced as the size of the offering and level of discounts increases.
  Further, if current shareholders do not purchase any shares to maintain their percentage interest, regardless of whether such offering is
  above or below the then current NAV, their voting power will be diluted.


        U.S. Federal Income Tax Consequences of an Issuance of Subscription Rights to Common Shareholders
        The following is a summary of the material U.S. federal income tax consequences of an issuance of subscription rights to our
  common shareholders pursuant to this Prospectus (for purposes of this section, each such issuance is referred to as an “offer” and each
  subscription right, a “right”), under the provisions of the Code, U.S. Treasury regulations promulgated under the Code (“Treasury
  regulations”), and other applicable authority in effect as of the date of the Prospectus that are generally applicable to common
  shareholders who are “United States persons” within the meaning of the Code. This summary does not address any state, local, foreign
  or other tax consequences. These authorities may be changed, possibly with retroactive effect, or become subject to new legislative,
  administrative, or judicial interpretation. Common shareholders or other holders of rights should consult their tax advisors regarding the
  tax consequences, including U.S. federal, state, or local, or foreign or other tax consequences, relevant to their particular circumstances.
  This summary assumes that the rights are issued separately by the Trust and not as part of a unit consisting of two or more securities.

        The Trust believes that the value of any right issued pursuant to an offer will not be includible in the income of a common
  shareholder at the time the right is issued, and the Trust will not report to the IRS that a common shareholder has income as a result of
  the issuance of the right; however, depending on the specific terms of the offer, there may be no guidance directly on point concerning
  certain aspects of the taxation of the offer. The remainder of this discussion assumes that the receipt of the rights by common
  shareholders will not be a taxable event for U.S. federal income tax purposes.

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         The basis of a right issued to a common shareholder will be zero, and the basis of the common share(s) with respect to which the
  right was issued (the “Old Share(s)”) will remain unchanged, except that the shareholder must allocate its basis in the Old Share(s)
  between the Old Shares and the right in proportion to their respective fair market values on the date of distribution of the right if
  (i) either (a) the fair market value of the right on the date of distribution is at least 15% of the fair market value of the Old Share(s) on that
  date, or (b) the shareholder affirmatively elects (in the manner set out in Treasury regulations) to allocate to the right a portion of the
  basis of the Old Share(s), and (ii) the right does not expire unexercised in the hands of the shareholder (i.e., the shareholder either
  exercises or sells the right following its issuance). In compliance with Treasury regulations, the Trust will report to the common
  shareholders and to the IRS within 45 days of the distribution of the rights (or, if earlier, January 15 of the year following the calendar
  year of the distribution), either by mail or on the Trust’s website, the effect, if any, of the offer on the common shareholders’ basis in
  their Old Shares. Any determination the Trust makes with respect to the value of the rights in connection with this reporting requirement
  will not be binding on the IRS. Shareholders should consult with their tax advisers to determine the proper allocation, if any, of tax basis
  between rights and Old Shares, including whether the election described above would be appropriate for their situation.

       No loss will be recognized by a common shareholder if a right distributed to such shareholder expires unexercised in the hands of
  such shareholder.

        The basis of a right purchased in the market generally will be its purchase price. If a right that has been purchased in the market
  expires unexercised, the holder will recognize a loss equal to the basis of the right.

       Any gain or loss on the sale of a right or, in the case of rights purchased in the market, any loss from a right that expires
  unexercised, will be a capital gain or loss if the right is held as a capital asset (which, in the case of rights issued to common
  shareholders, will normally depend on whether the Old Shares are held as capital assets), and will be a long-term capital gain or loss if
  the holding period of the right exceeds (or is deemed to exceed) one year. The deductibility of capital losses is subject to limitation. The
  holding period of a right issued to a common shareholder will include the holding period of the Old Share(s).

        No gain or loss will be recognized by a holder upon the exercise of a right, and the basis of any common share acquired upon
  exercise (the “New Share”) will equal the sum of the basis, if any, of the right and the subscription price for the New Share. When a
  holder exercises a right, the holder’s holding period in the New Share(s) does not include the time during which the holder held the
  unexercised right; the holding period of the New Share(s) will begin no later than the date following the date of exercise of the right.

       Employee retirement plans and other tax-exempt entities, including governmental plans, should also be aware that if they borrow in
  order to finance their exercise of rights, they may become subject to the tax on unrelated business taxable income (“UBTI”) under
  Section 511 of the Code. If any portion of an individual retirement account (“IRA”) is used as security for a loan, the portion so used
  may also be treated as distributed to the IRA depositor.

       For more information relating to the U.S. federal income tax consequences of an investment in the Trust, see “Tax Matters” below
  and “Tax Matters” in the SAI.


        U.S. Federal Income Tax Consequences of an Issuance of Subscription Rights to Preferred Shareholders
        The following is a summary of the material U.S. federal income tax consequences of an issuance of subscription rights to our
  preferred shareholders pursuant to this Prospectus (for purposes of this section, each such issuance is referred to as an “offer” and
  each subscription right, a “right”), under the provisions of the Code, Treasury regulations, and other applicable authority in effect as of
  the date of the Prospectus that are generally applicable to preferred shareholders who are “United States persons” within the meaning
  of the Code. This summary does not address any state, local, foreign or other tax consequences. These authorities may be changed,
  possibly with retroactive effect, or become subject to new legislative, administrative, or judicial interpretation. Preferred shareholders or
  other holders of rights should consult their tax advisors regarding the tax consequences, including U.S. federal, state, or local, or foreign
  or other tax consequences, relevant to their particular circumstances. This summary assumes that the rights are issued separately by the
  Trust and not as part of a unit consisting of two or more securities.

        The Trust believes that the value of any right issued pursuant to an offer will be includible in the income of a preferred shareholder
  at the time the right is issued, and the Trust will report to the IRS that a preferred shareholder has income as a result of the issuance of
  the right; however, depending on the specific terms of the offer, there may be no guidance directly on point concerning certain aspects
  of the taxation of the offer. The remainder of this discussion assumes that the receipt of the rights by preferred shareholders will be a
  taxable event for U.S. federal income tax purposes.

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       The basis of a right issued to a preferred shareholder will be the value of the right that is taxable at the time of the issuance, and
  the basis of the preferred share(s) with respect to which the right was issued (the “Old Share(s)”) will remain unchanged.

       In the event that a right received by a preferred shareholder expires unexercised, the preferred shareholder will recognize a loss
  equal to the value of the right that is taxable at the time of the issuance.

        The basis of a right purchased in the market generally will be its purchase price. If a right that has been purchased in the market
  expires unexercised, the holder will recognize a loss equal to the basis of the right.

       Any gain or loss on the sale of a right or, in the case of rights purchased in the market, any loss from a right that expires
  unexercised, will be a capital gain or loss if the right is held as a capital asset (which, in the case of rights issued to preferred
  shareholders, will normally depend on whether the Old Shares are held as capital assets), and will be a long-term capital gain or loss if
  the holding period of the right exceeds (or is deemed to exceed) one year. The deductibility of capital losses is subject to limitation. The
  holding period of a right issued to a preferred shareholder will not include the holding period of the Old Share(s).

        No gain or loss will be recognized by a holder upon the exercise of a right, and the basis of any common share acquired upon
  exercise (the “New Share”) will equal the sum of the basis, if any, of the right and the subscription price for the New Share. When a
  holder exercises a right, the holder’s holding period in the New Share(s) does not include the time during which the holder held the
  unexercised right; the holding period of the New Share(s) will begin no later than the date following the date of exercise of the right.

       Employee retirement plans and other tax-exempt entities, including governmental plans, should also be aware that if they borrow in
  order to finance their exercise of rights, they may become subject to the tax on unrelated business taxable income (“UBTI”) under
  Section 511 of the Code. If any portion of an individual retirement account (“IRA”) is used as security for a loan, the portion so used
  may also be treated as distributed to the IRA depositor.

       For more information relating to the U.S. federal income tax consequences of an investment in the Trust, see “Tax Matters” below
  and “Tax Matters” in the SAI.


  Previous Rights Offerings
       On January 18, 2008, the Trust offered subscription rights to its common shareholders. The net proceeds from this rights offering
  was $143.6 million.

       On May 8, 2017, the Trust offered subscription rights to its common shareholders. The net proceeds from this rights offering was
  $139.9 million.

       On May 10, 2018, the Trust offered subscription rights to its common shareholders. The net proceeds from this rights offering was
  $201.8 million.

       On April 30, 2019, the Trust offered subscription rights to its common shareholders. The net proceeds from this rights offering was
  $239.9 million.


  EMPLOYEE PLAN CONSIDERATIONS
        Shareholders whose shares are held in employee benefit plans subject to the Employee Retirement Income Security Act of 1974
  (“ERISA”) or Section 4975 of the Code (including corporate savings and 401(k) plans, Keogh or H.R. 10 plans of self-employed
  individuals and individual retirement accounts) (each, a “Plan”) should be aware that additional contributions of cash to the Plan (other
  than rollover contributions or trustee-to-trustee transfers from other Plans) in order to exercise rights would be treated as contributions
  to such Plan and, when taken together with contributions previously made, may result in, among other things, excise taxes for excess or
  nondeductible contributions. In the case of Plans qualified under Section 401(a) of the Code and certain other retirement plans,
  additional cash contributions could cause the maximum contribution limitations of Section 415 of the Code or other qualification rules to
  be violated. In addition, there may be other adverse tax and ERISA consequences if rights are sold or transferred by a Plan.

        Plans also should be aware that if they borrow in order to finance their exercise of rights, they may become subject to the tax on
  UBTI under Section 511 of the Code. If any portion of an IRA is used as security for a loan, the portion so used also is treated as
  distributed to the IRA depositor.

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        ERISA contains fiduciary responsibility requirements, and ERISA and the Code contain prohibited transaction rules that may
  affect the exercise or transfer of rights. Due to the complexity of these rules and the penalties for noncompliance, fiduciaries of Plans and
  other retirement plans should consult with their counsel and other advisers regarding the consequences of their exercise or transfer of
  rights under ERISA and the Code.

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  COMMITTED FACILITY, MASTER REPURCHASE AGREEMENT AND REVOLVING CREDIT AGREEMENT
         The Trust currently leverages through borrowings from a committed facility, a master repurchase agreement and a revolving credit
  facility. The Trust has entered into the Committed Facility with BNP to borrow up to $135,000,000. The Committed Facility has a rolling
  90-day term (referred to as a “90-day evergreen”). Absent a default or termination event, as described in the Committed Facility, or the
  ratings decline as described in the following sentence, BNP is required to provide the Trust with 180 days’ notice prior to terminating or
  materially amending the Committed Facility. BNP has a termination right if BNP’s long-term credit rating declines three or more notches
  below its highest rating by any of Standard & Poor’s Ratings Services, Moody’s Investor Service, Inc. or Fitch Ratings, Ltd., during the
  period commencing on and including October 28, 2014 and ending on the date of such long-term credit rating decline. Upon any such
  termination, BNP shall pay the Trust a fee equal to 0.10% of the maximum amount of financing available on the termination date. The
  Trust pays interest on borrowed amounts under the Committed Facility at an annual rate of the one month LIBOR plus 0.60% to 1.30%,
  depending on the asset class of the underlying collateral. The Committed Facility agreement contains customary covenant and default
  provisions. When borrowings are made under the Committed Facility, collateral must be posted to an account with the Trust’s
  custodian, Bank of New York Melon held for the benefit of BNP. Such borrowings constitute financial leverage.

        The Trust has entered into an agreement with BNP Securities under which it may from time to time enter into reverse repurchase
  transactions pursuant to the terms of a master repurchase agreement and related annexes, dated as of November 16, 2017 (collectively
  the “Repurchase Agreement”). A reverse repurchase transaction is a repurchase transaction in which the Trust is the seller of securities
  or other assets and agrees to repurchase them at a date certain or on demand. Pursuant to the Repurchase Agreement, the Trust may
  agree to sell securities or other assets to BNP Securities for an agreed-upon price (the “Purchase Price”), with a simultaneous agreement
  to repurchase such securities or other assets from BNP Securities for the Purchase Price plus a price differential that is economically
  similar to interest. The price differential is negotiated for each transaction.

       On August 14, 2018, the Trust, and two of its wholly-owned subsidiaries, NexPoint Real Estate Capital, LLC (“NREC”) and
  NexPoint Real Estate Opportunities, LLC (“NREO”), entered into a revolving credit agreement (the “KeyBank Facility”) with KeyBank
  National Association, as administrative agent and lender. Under the terms of the KeyBank Facility, the Trust, NREC and NREO may
  borrow up to $60.0 million.

         The KeyBank Facility has an initial term of two years, maturing on August 14, 2020, with one-year extension options outlined
  further in the credit agreement for the KeyBank Facility (the “KeyBank Credit Agreement”). Payments due pursuant to the KeyBank
  Facility are interest-only. The KeyBank Facility bears interest based on the type of borrowing. The ABR Loans bear interest at the lesser
  of (x) the Alternate Base Rate (as defined in the KeyBank Credit Agreement) plus the Applicable Rate, or (y) the Maximum Rate (as
  defined in the KeyBank Credit Agreement). The Eurodollar Loans bear interest at the lesser of (a) the Adjusted LIBO Rate (as defined in
  the KeyBank Credit Agreement) for the Interest Period in effect plus the Applicable Rate, or (b) the Maximum Rate (as defined in the
  KeyBank Credit Agreement). The Applicable Rate means for any Eurodollar Loan, 200 basis points, and for any ABR Loan, 100 basis
  points. Pursuant to the KeyBank Credit Agreement, the Trust is subject to certain loan compliance covenants.

        The KeyBank Facility is fully recourse and is secured by Collateral (as defined in the KeyBank Credit Agreement). The KeyBank
  Facility may be prepaid or terminated at any time without penalty, provided, however, that KeyBank National Association shall be
  indemnified for any breakage costs.

       Any senior security representing indebtedness, as defined in Section 18(g) of the Investment Company Act, must have asset
  coverage of at least 300%.


                                                      Market and Net Asset Value Information

        The Trust’s common shares are listed on the NYSE under the symbol “NHF.” The Trust’s common shares commenced trading on
  the NYSE in June 2006. In the trading history of the Trust’s common shares, the Trust’s common shares have traded at both a premium
  and a discount to NAV. The Trust cannot predict whether its shares will trade in the future at a premium or discount to NAV. Issuance of
  additional common shares may have an adverse effect on prices in the secondary market for the Trust’s common shares by increasing
  the number of shares available, which may put downward pressure on the market price for the shares.

       The following table sets forth, for each of the periods indicated, the high and low closing market prices of the Trust’s common
  shares on the NYSE, the corresponding NAV per share on such dates and the corresponding premium/discount to NAV per share on
  such dates. See “Net Asset Value” for information as to how the Trust’s NAV is determined.


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                                                                                                                                    Pre m iu m /
                                                                                                                                (Discou n t) as a %
                                                                            Mark e t Price    Ne t Asse t Valu e pe r S h are   of Ne t Asse t Valu e
  Q u arte r*                                                               High      Low        High               Low         High            Low
  1st Quarter 2017                                                         $23.75    $22.54   $     26.47      $       25.01    (8.04)%        (11.62)%
  2nd Quarter 2017                                                         $22.84    $21.45   $     25.54      $       23.95    (6.46)%        (13.40)%
  3rd Quarter 2017                                                         $23.05    $21.85   $     25.22      $       23.95    (6.58)%        (12.77)%
  4th Quarter 2017                                                         $25.40    $23.11   $     26.61      $       24.85    (3.64)%         (9.05)%
  1st Quarter 2018                                                         $24.72    $22.25   $     25.64      $       24.78    (3.33)%        (10.48)%
  2nd Quarter 2018                                                         $23.81    $21.82   $     26.47      $       24.26    (7.65)%        (16.05)%
  3rd Quarter 2018                                                         $23.11    $21.99   $     24.98      $       23.98    (6.21)%        (10.79)%
  4th Quarter 2018                                                         $22.50    $18.71   $     24.48      $       23.22    (7.94)%        (19.66)%
  1st Quarter 2019                                                         $21.08    $19.33   $     23.54      $       22.61    (8.28)%        (15.77)%
  2nd Quarter 2019                                                         $21.19    $18.26   $     24.29      $       21.72    (8.36)%        (23.63)%

       The Trust’s NAV per common share at the close of business on August 23, 2019 (the last trading date prior to the date of this
  Prospectus on which the Trust determined its NAV) was $21.22 and the last reported sale price of a common share on the NYSE on that
  day was $18.08, a discount to NAV of 14.80%.


                                      Anti-Takeover Provisions in the Agreement and Declaration of Trust

        The Agreement and Declaration of Trust includes provisions that could have the effect of limiting the ability of other entities or
  persons to acquire control of the Trust or to change the composition of its Board. This could have the effect of depriving shareholders
  of an opportunity to sell their shares at a premium over prevailing market prices by discouraging a third party from seeking to obtain
  control over the Trust. Such attempts could have the effect of increasing the expenses of the Trust and disrupting the normal operation
  of the Trust. The Board is divided into three classes, with the terms of one class expiring at each annual meeting of shareholders. At
  each annual meeting, one class of trustees is elected to a three-year term. This provision could delay for up to two years the replacement
  of a majority of the Board. A trustee may be removed from office (for cause, and not without cause) by the action of a majority of the
  remaining trustees followed by a vote of the holders of at least 75% of the shares then entitled to vote for the election of the respective
  trustee.

        In addition, the Trust’s Agreement and Declaration of Trust requires the favorable vote of a majority of the Board followed by the
  favorable vote of the holders of at least 75% of the outstanding shares of each affected class or series of the Trust, voting separately as
  a class or series, to approve, adopt or authorize certain transactions with 5% or greater holders of a class or series of shares and their
  associates, unless the transaction has been approved by at least 80% of the trustees, in which case “a majority of the outstanding
  voting securities” (as defined in the Investment Company Act) of the Trust shall be required. For purposes of these provisions, a 5% or
  greater holder of a class or series of shares (a “Principal Shareholder”) refers to any person who, whether directly or indirectly and
  whether alone or together with its affiliates and associates, beneficially owns 5% or more of the outstanding shares of all outstanding
  classes or series of shares of beneficial interest of the Trust.

        The 5% holder transactions subject to these special approval requirements are: the merger or consolidation of the Trust or any
  subsidiary of the Trust with or into any Principal Shareholder; the issuance of any securities of the Trust to any Principal Shareholder
  for cash, except pursuant to any automatic dividend reinvestment plan; the sale, lease or exchange of all or any substantial part of the
  assets of the Trust to any Principal Shareholder, except assets having an aggregate fair market value of less than 2% of the total assets
  of the Trust, aggregating for the purpose of such computation all assets sold, leased or exchanged in any series of similar transactions
  within a twelve-month period; or the sale, lease or exchange to the Trust or any subsidiary of the Trust, in exchange for securities of the
  Trust, of any assets of any Principal Shareholder, except assets having an aggregate fair market value of less than 2% of the total assets
  of the Trust, aggregating for purposes of such computation all assets sold, leased or exchanged in any series of similar transactions
  within a twelve-month period.

        To convert the Trust to an open-end investment company, the Trust’s Agreement and Declaration of Trust requires the favorable
  vote of a majority of the board of the trustees followed by the favorable vote of the holders of at least 75% of the outstanding shares of
  each affected class or series of shares of the Trust, voting separately as a class or series, unless such amendment has been approved by
  at least 80% of the trustees, in which case “a majority of the outstanding voting securities” (as defined in the Investment Company Act)
  of the Trust shall be required. The foregoing vote would satisfy a separate requirement in the Investment Company Act that any


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  conversion of the Trust to an open-end investment company be approved by the shareholders. If approved in the foregoing manner,
  conversion of the Trust to an open-end investment company could not occur until 90 days after the shareholders’ meeting at which

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  such conversion was approved and would also require at least 30 days’ prior notice to all shareholders. Following any such conversion,
  it is possible that certain of the Trust’s investment policies and strategies would have to be modified to assure sufficient portfolio
  liquidity. In the event of conversion, the common shares would cease to be listed on the NYSE or other national securities exchanges or
  market systems. Shareholders of an open-end investment company may require the company to redeem their shares at any time, except
  in certain circumstances as authorized by or under the Investment Company Act, at their NAV, less such redemption charge, if any, as
  might be in effect at the time of a redemption. The Trust expects to pay all such redemption requests in cash, but reserves the right to
  pay redemption requests in a combination of cash and securities. If such partial payment in securities were made, investors may incur
  brokerage costs in converting such securities to cash. If the Trust were converted to an open-end fund, it is likely that new shares
  would be sold at NAV plus a sales load. The Board believes, however, that the closed-end structure is desirable in light of the Trust’s
  investment objectives and policies. Therefore, you should assume that it is not likely that the Board would vote to convert the Trust to
  an open-end fund.

       For the purposes of calculating “a majority of the outstanding voting securities” under the Trust’s Agreement and Declaration of
  Trust, each class and series of the Trust shall vote together as a single class, except to the extent required by the Investment Company
  Act or the Trust’s Agreement and Declaration of Trust, with respect to any class or series of shares. If a separate class vote is required,
  the applicable proportion of shares of the class or series, voting as a separate class or series, also will be required.

        The Agreement and Declaration of Trust also provides that the Trust may be liquidated upon the approval of 80% of the trustees.

        The Board has determined that provisions with respect to the Board and the shareholder voting requirements described above,
  which voting requirements are greater than the minimum requirements under Delaware law or the Investment Company Act, are in the
  best interest of shareholders generally. Reference should be made to the Trust’s Agreement and Declaration of Trust, on file with the
  Commission, for the full text of these provisions, the material terms of which are summarized in this Prospectus.

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                                                              Closed-End Fund Structure

        The Trust is a non-diversified, closed-end management investment company (commonly referred to as a closed-end fund).
  Closed-end funds differ from open-end funds (which are generally referred to as mutual funds) in that closed-end funds generally list
  their shares for trading on a stock exchange and do not redeem their shares at the request of the shareholder. This means that if you
  wish to sell your shares of a closed-end fund you must trade them on the market like any other stock at the prevailing market price at
  that time. In a mutual fund, if the shareholder wishes to sell shares of the fund, the mutual fund will redeem or buy back the shares at
  NAV (less a redemption fee, if applicable, or contingent deferred sales charge, if applicable). Also, mutual funds generally offer new
  shares on a continuous basis to new investors, and closed-end funds generally do not. The continuous inflows and outflows of assets
  in a mutual fund can make it difficult to manage a mutual fund’s investments. By comparison, closed-end funds are generally able to stay
  more fully invested in securities that are consistent with their investment objective and also have greater flexibility to make certain types
  of investments and to use certain investment strategies, such as financial leverage and investments in illiquid securities.

        Shares of closed-end funds frequently trade at a discount to their NAV. Because of this possibility and the recognition that any
  such discount may not be in the interest of shareholders, the Board might consider from time to time engaging in open-market
  repurchases, tender offers for shares or other programs intended to reduce the discount. We cannot guarantee or assure, however, that
  the Board will decide to engage in any of these actions, nor is there any guarantee or assurance that such actions, if undertaken, would
  result in the shares trading at a price equal or close to NAV per share. The Board might also consider converting the Trust to an
  open-end mutual fund, which would also require a vote of the shareholders of the Trust.


                                                     Repurchase of Common Shares; Discount

        Shares of closed-end investment companies often trade at a discount to their NAV, and the Trust’s common shares may also trade
  at a discount to their NAV, although it is possible that they may trade at a premium above NAV. The market price of the Trust’s common
  shares will be determined by such factors as relative demand for and supply of such common shares in the market, the Trust’s NAV,
  general market and economic conditions and other factors beyond the control of the Trust. See “Net Asset Value.” Although the Trust’s
  common shareholders will not have the right to redeem their common shares, the Trust may take action to repurchase common shares in
  the open market or make tender offers for its common shares. This may have the effect of reducing any market discount from NAV. The
  Board may decide not to take any of these actions. In addition, there can be no assurance that share repurchases or tender offers, if
  undertaken, will reduce market discount. On November 2, 2016, the Board approved a share repurchase program (the “Repurchase
  Program”) pursuant to which the Trust may repurchase, over a six-month period beginning in December 2016, up to $10 million of its
  shares of its outstanding shares in open-market transactions. In connection with the May 8, 2017 rights offering, the Board approved
  the extension of the Repurchase Program for a period of one year from the closing of the rights offering. As of the date of this
  Prospectus, the Trust has not completed any repurchases.

        The amount and timing of the repurchases will be at the discretion of the Trust’s Investment Adviser, subject to market conditions
  and investment considerations. There is no assurance that the Trust will purchase shares at any particular discount levels or in any
  particular amounts. Any repurchases made under the Repurchase Program would be made on a national securities exchange at the
  prevailing market price, subject to exchange requirements regarding volume, timing and other limitations under federal securities laws.

        Notwithstanding the foregoing, at any time when there are outstanding borrowings, the Trust may not purchase, redeem or
  otherwise acquire any of its common shares unless (i) all accrued preferred shares dividends have been paid, and (ii) at the time of such
  purchase, redemption or acquisition, the NAV of the Trust’s portfolio (determined after deducting the acquisition price of the common
  shares) is at least 200% of the liquidation value of the outstanding borrowings. Any service fees incurred in connection with any tender
  offer made by the Trust will be borne by the Trust and will not reduce the stated consideration to be paid to tendering shareholders.

       There is no assurance that, if action is undertaken to repurchase or tender for common shares, such action will result in the
  common shares trading at a price which approximates their NAV. Although share repurchases and tenders could have a favorable effect
  on the market price of the Trust’s common shares, you should be aware that the acquisition of common shares by the Trust will
  decrease the capital of the Trust and, therefore, may have the effect of increasing the Trust’s expense ratio and decreasing the asset
  coverage with respect to any borrowings. Any share repurchases or tender offers will be made in accordance with requirements of the
  Exchange Act, the Investment Company Act, and the principal stock exchange on which the common shares are traded. See the Trust’s
  SAI for a discussion of the U.S. federal income tax implications of a repurchase or tender offer by the Trust.

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        Before deciding whether to take any action if the common shares trade below NAV, the Board would likely consider all relevant
  factors, including the extent and duration of the discount, the liquidity of the Trust’s portfolio, the impact of any action that might be
  taken on the Trust or its shareholders and market considerations. Based on these considerations, even if the Trust’s shares should trade
  at a discount, the Board may determine that, in the interest of the Trust and its shareholders, no action should be taken.


                                                                      Tax Matters

        The following is a general summary of some of the important U.S. federal income tax considerations affecting the Trust and its
  common or preferred shareholders that are “United States persons” within the meaning of the Code, and does not address any state,
  local, foreign or other tax consequences. It reflects provisions of the Code, existing Treasury regulations, and other applicable authority,
  as of the date of this Prospectus. These authorities may be changed, possibly with retroactive effect, or become subject to new
  legislative, administrative, or judicial interpretations. This summary does not purport to be a complete description of the U.S. federal
  income tax considerations applicable to common or preferred shareholders of the Trust. For example, it does not describe certain tax
  considerations that may be relevant to certain types of holders subject to special treatment under the U.S. federal income tax laws,
  including shareholders subject to the U.S. federal alternative minimum tax, insurance companies, tax-exempt organizations, pension
  plans and trusts, RICs, dealers in securities, shareholders holding Trust shares through tax-advantaged accounts (such as 401(k) plans
  or IRAs), financial institutions, persons who are neither citizens nor residents of the United States, and shareholders holding Trust
  shares as part of a hedge, straddle, or conversion transaction. This summary assumes that investors hold Trust common or preferred
  shares as capital assets (within the meaning of the Code). Your investment in the Trust may have other tax implications. Please consult
  your tax advisor about U.S. federal, state, local, foreign or other tax laws applicable to you, as the tax consequences to an investor in the
  Trust’s common or preferred shares will depend on the facts of his, her or its particular situation. For more information, including a
  summary of certain tax consequences of investing in the Trust for non-U.S. persons, please see the SAI under “Tax Matters.”

        This summary does not discuss the tax consequences of an investment in subscription rights of the Trust, separately, or as part of
  a unit consisting of two or more securities. See “Description of Capital Structure—U.S. Federal Income Tax Consequences of an
  Issuance of Subscription Rights to Common Shareholders” above for a discussion of the material U.S. federal income tax consequences
  of the Trust’s issuance of subscription rights to common shareholders.

        The Trust has elected to be treated as a RIC under Subchapter M of the Code and intends each year to qualify and to be eligible to
  be treated as such. In order to qualify for the special tax treatment accorded RICs and their shareholders, the Trust must, among other
  things:
                     (i) derive at least 90% of its gross income for each taxable year from: (a) dividends, interest (including tax-exempt
        interest), payments with respect to certain securities loans, gains from the sale or other disposition of stock, securities or foreign
        currencies, or other income (including but not limited to gains from options, futures and forward contracts) derived with respect to
        its business of investing in such stock, securities or foreign currencies; and (b) net income derived from interests in “qualified
        publicly traded partnerships”;
                      (ii) diversify its holdings so that, at the end of each quarter of the Trust’s taxable year, (a) at least 50% of the market
        value of the Trust’s total assets consists of cash and cash items, U.S. government securities, the securities of other RICs and other
        securities limited, in respect of any one issuer, to an amount not greater than 5% of the value of the Trust’s total assets and not
        more than 10% of the outstanding voting securities of such issuer, and (b) not more than 25% of the value of the Trust’s total
        assets is invested, including through corporations in which the Trust owns a 20% or more voting stock interest, (x) in the
        securities (other than U.S. government securities and the securities of other RICs) of any one issuer or of two or more issuers that
        the Trust controls, as determined under applicable Code rules, and that are determined to be engaged in the same business or
        similar or related trades or businesses, or (y) in the securities of one or more “qualified publicly traded partnerships”; and
                    (iii) distribute to its shareholders with respect to each taxable year at least the sum of 90% of its “investment company
        taxable income” (as that term is defined in the Code, without regard to the deduction for dividends paid—generally taxable
        ordinary income and the excess, if any, of net short-term capital gains over net long-term capital losses) and 90% of any net
        tax-exempt interest income, for such year.

       In general, a RIC is not subject to tax at the corporate level on income and gains from investments that are distributed in a timely
  manner to shareholders in the form of dividends, provided the RIC complies with these ongoing requirements. If the Trust were to fail to
  comply with the income, diversification or distribution requirements, the Trust could in some cases cure such failure, including by
  paying a Trust-level tax, paying interest, making additional distributions, or disposing of certain assets. If the Trust were ineligible to or
  otherwise did not cure such failure for any year or otherwise were to fail to qualify as a RIC accorded special tax treatment, the Trust

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  would be subject to Trust-level taxation on its taxable income at regular corporate rates and consequently the income available for
  distribution to shareholders would be reduced. Additionally, all of its distributions from earnings and profits

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  (including from net long-term capital gains) would be taxable to shareholders as ordinary income. For individual shareholders who meet
  certain holding period requirements, such distribution would be eligible for reduced tax rates applicable to qualified dividend income. In
  addition, in some cases, the Trust could be required to recognize unrealized gains, pay substantial taxes and interest and make
  substantial distributions in order to re-qualify as a RIC.

         Amounts not distributed on a timely basis in accordance with a calendar-year distribution requirement are subject to a
  nondeductible 4% federal excise tax at the Trust level. To avoid the tax, the Trust must distribute during each calendar year an amount at
  least equal to the sum of (i) 98% of its ordinary income (not taking into account any capital gains or losses) for the calendar year,
  (ii) 98.2% of its capital gains in excess of its capital losses (adjusted for certain ordinary losses) for a one-year period generally ending
  on October 31 of the calendar year (unless an election is made to use the Trust’s taxable year end) and (iii) any such undistributed
  income from the prior year. For these purposes, the Trust will be treated as having distributed any amount on which it has been subject
  to corporate income tax in the taxable year ending with the calendar year. The Trust reserves the right to pay the excise tax when
  circumstances warrant.

        Certain of the Trust’s investment practices, including Derivative Transactions, short sales and hedging activities generally, as well
  as the Trust’s investments in certain types of securities, including loans or other debt obligations issued or purchased at a discount and
  preferred stock, may be subject to special and complex U.S. federal income tax provisions that may, among other things: (i) disallow,
  suspend or otherwise limit the allowance of certain losses or deductions, (ii) convert long-term capital gain or “qualified dividend
  income” into short-term capital gain or ordinary income taxable at higher rates, (iii) accelerate the recognition of income, (iv) convert
  short-term losses into long-term losses, (v) cause the Trust to recognize income or gain without a corresponding receipt of cash,
  (vi) adversely affect the time a purchase or sale of stock or other securities is deemed to occur, (vii) cause adjustments in the holding
  periods of the Trust’s securities, or (viii) otherwise adversely alter the characterization of certain complex financial transactions. These
  U.S. federal income tax provisions could therefore affect the amount, timing and/or character of distributions to shareholders. In
  particular, the Trust expects that a substantial portion of the Trust’s investments in loans and other debt obligations will be treated as
  having “market discount” and/or “original issue discount” for U.S. federal income tax purposes, which, in some cases, could be
  significant, and could cause the Trust to recognize income in respect of these investments before or without receiving cash representing
  such income. Accordingly, the Trust may be required to, among other things, dispose of securities, including at potentially
  disadvantageous times or prices, to obtain the cash needed to meet the distribution requirements for qualification as a RIC and to avoid
  incurring Trust-level U.S. federal income or excise taxes.

        Investments in distressed debt obligations that are at risk of or are in default present special tax issues for the Trust. Tax rules are
  not entirely clear about issues such as whether and to what extent the Trust should recognize market discount on a distressed debt
  obligation; when the Trust may cease to accrue interest, original issue discount or market discount; when and to what extent the Trust
  may take deductions for bad debts or worthless securities and how the Trust should allocate payments received on obligations in
  default between principal and income. These and other related issues will be addressed by the Trust as necessary, in order to seek to
  ensure that it distributes sufficient income to preserve its eligibility for treatment as a RIC and that it does not become subject to Trust-
  level U.S. federal income or excise taxes.

        Special tax rules may affect the treatment of gains and losses recognized by the Trust when the Trust invests in certain foreign
  debt securities or engages in foreign currency transactions. The application of these special rules may accelerate or increase the Trust’s
  recognition of ordinary income or loss, and affect the timing, amount and/or character of distributions made by the Trust. In addition,
  dividend, interest, capital gains and other income received by the Trust from investments outside the United States may be subject to
  withholding and other taxes imposed by foreign countries. Tax treaties between the United States and other countries may reduce or
  eliminate such taxes. Shareholders generally will not be entitled separately to claim a credit or deduction with respect to such foreign
  taxes incurred by the Trust. This will decrease the Trust’s yield on securities subject to such taxes. Foreign taxes paid by or withheld
  from the Trust will reduce the return from the Trust’s underlying investments.

        Distributions paid to shareholders by the Trust from its net realized long-term capital gains (that is, the excess of any net long-term
  capital gain over net short-term capital loss, in each case determined with reference to any loss carryforwards) that the Trust properly
  reports as capital gain dividends (“capital gain dividends”) are generally taxable to you as long-term capital gains, regardless of how
  long you have held your shares. All other dividends paid to you by the Trust, including dividends from net investment income and from
  short-term capital gains (that is, the excess of any net short-term capital gain over any net long-term capital loss, in each case
  determined with reference to loss carryforwards), from its earnings and profits are generally taxable to you as ordinary income.
  Distributions of investment income properly reported by the Trust as derived from “qualified dividend income” will be taxed in the
  hands of individuals at the rates applicable to long-term capital gains, provided holding period and other requirements are met at both
  the shareholder and Trust levels. It is not generally expected that a significant portion of Trust distributions will qualify for favorable tax
  treatment as “qualified dividend income” or as income eligible for the dividend-received deduction for corporate shareholders.
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               The Trust will designate dividends made to holders of common shares and to holders of preferred shares in accordance
  with each class’s proportionate share of each item of Trust income (such as net capital gains and other taxable income). A class’s

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  proportionate share of a particular type of income for a year is determined according to the percentage of total dividends paid by the
  Trust during that year to the class. Although the matter is not free from doubt, due to the absence of direct regulatory or judicial
  authority, under current law the manner in which the Trust intends to allocate items of ordinary income and net capital gain between the
  Trust’s common shares and its preferred shares will be respected for federal income tax purposes. It is possible that the IRS could
  disagree and attempt to reallocate the Trust’s net capital gain or other taxable income.

        The Code generally imposes a 3.8% Medicare contribution tax on the “net investment income” of certain individuals, estates and
  trusts to the extent their income exceeds certain threshold amounts. Net investment income generally includes for this purpose
  dividends paid by the Trust, including any capital gain dividends and net capital gains recognized on the sale or exchange of shares of
  the Trust. Shareholders are advised to consult their tax advisors regarding the possible implications of this additional tax on their
  investment in the Trust.

        If, for any taxable year, the Trust’s total distributions exceed both current earnings and profits and accumulated earnings and
  profits, the excess will generally be treated as a tax-free return of capital up to the amount of your tax basis in the shares. The amount
  treated as a tax-free return of capital will reduce your tax basis in the shares, thereby increasing your potential gain or reducing your
  potential loss on a subsequent taxable disposition of the shares. Any amounts distributed to you in excess of your tax basis in the
  shares will be taxable to you as capital gain.

        Dividends and other taxable distributions are taxable to you even if they are reinvested in additional shares of the Trust under the
  Trust’s Dividend Reinvestment Plan. If your dividends and other distributions are reinvested in shares under the Dividend
  Reinvestment Plan, you generally will be treated as having received a dividend equal to either (i) if shares are purchased on the open
  market on your behalf, the amount of cash allocated to you for the purchase of such shares, or (ii) if newly issued shares are issued to
  you, generally, the fair market value of such new shares. Dividends and other distributions paid by the Trust are generally treated as
  received by you at the time the dividend or distribution is made. If, however, the Trust pays you a dividend in January that was declared
  and payable to shareholders of record in the previous October, November or December, then such dividend will be treated for tax
  purposes as being paid by the Trust and received by you on December 31 of the year in which the dividend was declared.

       The price of shares purchased at any time may reflect either unrealized gains, or realized but undistributed income or gains. If you
  purchase shares just prior to a distribution, you will receive a distribution that may be taxable to you even though it economically
  represents in part a return of your invested capital.

       Your broker or other intermediary will send you information after the end of each year setting forth the amount and tax status of
  any distributions paid to you by the Trust.

        If you sell or otherwise dispose of shares of the Trust, you will generally recognize a gain or loss in an amount equal to the
  difference between your tax basis in such shares of the Trust and the amount you receive in exchange for such shares. Any such gain
  or loss generally will be long-term capital gain or loss if you have held (or are treated as having held) such shares for more than one year
  at the time of sale. All or a portion of any loss you realize on a taxable sale or exchange of your shares of the Trust will be disallowed if
  you acquire other shares of the Trust (whether through the automatic reinvestment of dividends or otherwise) within a 61-day period
  beginning 30 days before and ending 30 days after your sale or exchange of the shares. In such case, the basis of the shares acquired
  will be adjusted to reflect the disallowed loss. In addition, any loss realized upon a taxable sale or exchange of Trust shares held (or
  deemed held) by you for six months or less will be treated as long-term, rather than short-term, to the extent of any capital gain
  dividends received (or deemed received) by you with respect to those shares.

        Your broker or other intermediary may be required to withhold, for U.S. federal backup withholding tax purposes, a portion of the
  dividends, distributions and redemption proceeds payable to an individual shareholder who fails to provide the broker or other
  intermediary with the shareholder’s correct taxpayer identification number (in the case of an individual, generally, such individual’s
  social security number) or to make the required certification, or who has been notified by the IRS that such shareholder is subject to
  backup withholding. Certain shareholders are exempt from backup withholding. Backup withholding is not an additional tax and any
  amount withheld may be refunded or credited against your U.S. federal income tax liability, if any, provided that you furnish the required
  information to the IRS.

        Upon the sale or exchange of shares of the Trust, your broker or other intermediary generally will be required to provide you and
  the IRS with cost basis and certain other related tax information about the Trust shares you sold or exchanged. This cost basis reporting
  requirement is effective for shares purchased, including through dividend reinvestment, on or after January 1, 2012. Please consult your
  broker or other intermediary for more information regarding available methods for cost basis reporting and how to select a particular
  method. Please consult your tax advisor to determine which available cost basis method is best for you.
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       The discussions set forth herein and in the Statement of Additional Information do not constitute tax advice, and you are urged to
  consult your own tax advisor to determine the specific U.S. federal, state, local and foreign tax consequences to you of investing in the
  Trust.


                                                            Custodian and Transfer Agent

       The custodian of the assets of the Trust and its wholly-owned subsidiaries is Bank of New York Mellon (240 Greenwich Street,
  New York, New York 10286). The custodian performs custodial services for the Trust. American Stock Transfer & Trust Company, LLC
  (6201 15th Avenue, Brooklyn, New York 11219; telephone (718) 921-8200) serves as the Trust’s transfer agent with respect to its common
  shares.


                                                                     Legal Opinion

              Certain legal matters in connection with the securities have been passed upon for the Trust by Smith, Katzenstein &
  Jenkins LLP, special Delaware counsel to the Trust.


                                                            Privacy Principles of the Trust

       The Trust is committed to maintaining the privacy of its shareholders and to safeguarding their non-public personal information.
  The following information is provided to help you understand what personal information the Trust collects, how the Trust protects that
  information and why, in certain cases, the Trust may share information with select other parties.

       Generally, the Trust does not receive any non-public personal information relating to its shareholders, although certain non-public
  personal information of its shareholders may become available to the Trust. The Trust does not disclose any non-public personal
  information about its shareholders or former shareholders to anyone, except as permitted by law or as is necessary in order to service
  shareholder accounts (for example, to a transfer agent or third party administrator).

       The Trust restricts access to non-public personal information about its shareholders to employees of the Trust’s Investment
  Adviser and its affiliates with a legitimate business need for the information. The Trust maintains physical, electronic and procedural
  safeguards designed to protect the non-public personal information of its shareholders.

        No dealer, salesperson or any other person has been authorized to give any information or to make any representations other than
  those contained in this Prospectus in connection with the Offer and, if given or made, such information or representations must not be
  relied upon as having been authorized by the Trust or the Investment Adviser. This Prospectus does not constitute an offer to sell or
  the solicitation of any offer to buy any security other than the common shares of the Trust offered by this Prospectus, nor does it
  constitute an offer to sell or a solicitation of any offer to buy the common shares of the Trust by anyone in any jurisdiction in which
  such offer or solicitation is not authorized, or in which the person making such offer or solicitation is not qualified to do so, or to any
  such person to whom it is unlawful to make such offer or solicitation. Neither the delivery of this Prospectus nor any sale made
  hereunder shall, under any circumstances, create any implication that information contained herein is correct as of any time subsequent
  to the date hereof. However, if any material change occurs while this Prospectus is required by law to be delivered, the Prospectus will
  be amended or Supplemented accordingly.


                                                    Where You Can Find Additional Information

       We have filed with the Commission a registration statement on Form N-2 together with all amendments and related exhibits under
  the Securities Act. The registration statement contains additional information about us and the securities being offered by this
  Prospectus.

        We file annual and semi-annual reports, proxy statements and other information with the Commission. You can inspect any
  materials we file with the Commission, without charge, at the Commission’s Public Reference Room at 100 F Street, N.E., Washington,
  D.C. 20549. Please call the Commission at 1-800-SEC-0330 for further information on the Public Reference Room. The information we file
  with the Commission is available free of charge by contacting us at 300 Crescent Court, Suite 700, Dallas, Texas 75201 or by telephone at
  1-866-351-4440 or on our web site at www.nexpointadvisors.com. The Commission also maintains a web site that contains reports, proxy
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  statements and other information regarding registrants, including us, that file such information electronically with the Commission. The
  address of the Commission’s web site is www.sec.gov. Unless specifically incorporated into this Prospectus, documents contained on
  our web site or on the Commission’s web site about us are not incorporated into this Prospectus and should not be considered to be
  part of this Prospectus.


                                                                  Legal Proceedings

       The Trust and Highland Income Fund (formerly, Highland Floating Rate Opportunities Fund), an affiliated fund, are the
  beneficiaries of a +$360 million judgment against Credit Suisse related to a syndicated real estate transaction fraudulently underwritten
  by Swiss bank. Credit Suisse is appealing the judgment against it. The two funds also are participants in a similar action against Credit
  Suisse related to five additional real estate deals in which the funds allege Credit Suisse committed fraud in relation to the underwriting.
  Case or Docket Number: 05-15-01463CV. Full Names of Principal Parties: Claymore Holdings, LLC v. Credit Suisse AG, Cayman Islands
  Branch and Credit Suisse Securities (USA) LLC. The Trust would be entitled to 18% of any net amounts ultimately collected on the
  judgment against Credit Suisse.

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                     NexPoint Strategic Opportunities Fund
                                                             Preferred Shares
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                                                                  PROSPECTUS



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   The information in this preliminary Statement of Additional Information is not complete and may be changed. We may not sell these
    securities until the Registration Statement filed with the U.S. Securities and Exchange Commission is effective. This preliminary
   Statement of Additional Information is not an offer to sell these securities and is not soliciting an offer to buy these securities in any
                                           jurisdiction where the offer or sale is not permitted.

                                                   Subject to Completion, Dated August 27, 2019

                                                       NexPoint Strategic Opportunities Fund

                                                         Statement of Additional Information

        NexPoint Strategic Opportunities Fund (the “Trust” or “NHF”) (formerly, NexPoint Credit Strategies Fund) is a non-diversified,
  closed-end management investment company registered under the Investment Company Act of 1940, as amended (the “Investment
  Company Act”). This Statement of Additional Information (“SAI”) does not constitute a prospectus, but should be read in conjunction
  with the prospectus relating thereto dated August 27, 2019 (the “Prospectus”), which is incorporated by reference into this SAI. This
  SAI does not include all information that a prospective investor should consider before purchasing common shares, and investors
  should obtain and read the Prospectus prior to purchasing such shares. A copy of the Prospectus may be obtained without charge by
  calling 1-866-351-4440. You may also obtain a copy of the Prospectus on the U.S. Securities and Exchange Commission’s web site
  www.sec.gov. Capitalized terms used but not defined in this SAI have the meanings ascribed to them in the Prospectus.




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                                       This Statement of Additional Information is dated August 27, 2019

                                                                 USE OF PROCEEDS

       Unless otherwise specified in a Prospectus Supplement, the Trust will invest the net proceeds of any sales of securities (the
  “Offering”) in accordance with the Trust’s investment objectives and policies as stated below, or use such proceeds for other general
  corporate purposes. Assuming current market conditions, the Trust estimates that investment of the net proceeds of the Offering will be
  substantially complete within one to three months of the completion of the Offering. Pending such investment, it is anticipated that the
  proceeds of the Offering will be invested in cash and/or short-term debt securities.


                                                           INVESTMENT RESTRICTIONS

       Fundamental Investment Restrictions. The following are the fundamental investment restrictions of the Trust, which may not be
  changed without the approval of the holders of a majority of the outstanding common shares and preferred shares, if any, voting
  together as a single class, and of the holders of a majority of the outstanding preferred shares, if any, voting as a separate class:
        (1)    The Trust will, under normal market conditions, invest at least 25% of the value of its total assets at the time of purchase in
               the securities of issuers conducting their principal business activities in the real estate industry, including obligations
               issued or guaranteed by the U.S. Government, any state or territory of the United States or any of their agencies,
               instrumentalities or political subdivisions, and investments by any territory of the United States or any of their agencies,
               instrumentalities or political subdivisions for which the underlying collateral is real estate;


  Except as described below, the Trust, as a fundamental policy, may not:
        (2)    issue senior securities or borrow money other than as permitted by the Investment Company Act or pledge its assets other
               than to secure such issuances or in connection with hedging transactions, short sales, securities lending, when issued and
               forward commitment transactions and similar investment strategies;
        (3)    make loans of money or property to any person, except through loans of portfolio securities up to a maximum of 33 1/3% of
               the Trust’s total assets, the purchase of debt securities, including bank loans (senior loans) and participations therein, or
               the entry into repurchase agreements up to a maximum of 33 1/3% of the Trust’s total assets;
        (4)    underwrite the securities of other issuers, except to the extent that, in connection with the disposition of portfolio securities
               or the sale of its own securities, the Trust may be deemed to be an underwriter;
        (5)    purchase or sell real estate, except that the Trust may invest in securities of companies that deal in real estate or are engaged
               in the real estate business, including real estate investment trusts and real estate operating companies, and instruments
               secured by real estate or interests therein and the Trust may acquire, hold and sell real estate acquired through default,
               liquidation, or other distributions of an interest in real estate as a result of the Trust’s ownership of such other assets; or
        (6)    purchase or sell commodities or commodity contracts for any purposes except as, and to the extent, permitted by applicable
               law without the Trust becoming subject to registration with the Commodity Futures Trading Commission (the “CFTC”) as a
               commodity pool.

       As currently relevant to the Trust, the Investment Company Act requires an asset coverage of 200% for a closed-end fund issuing
  preferred shares and 300% for a closed-end fund issuing borrowings (excluding certain temporary borrowings). The Trust will not
  engage in any secured borrowings constituting senior securities described under investment restriction number 2 pursuant to which the
  lenders would be able to foreclose on more than 33 1/3% of the Trust’s total assets, measured at the date of the initial borrowing.

       Non-Fundamental Investment Restrictions. The Trust is also subject to the following non-fundamental restrictions and policies,
  which may be changed by the Board of Trustees of the Trust (the “Board”) and without shareholder approval. The Trust may not:
        (1)    make any short sale of securities except in conformity with applicable laws, rules and regulations and unless after giving
               effect to such sale, the market value of all securities sold short does not exceed 25% of the value of the Trust’s total assets
               and the Trust’s aggregate short sales of a particular class of securities of an issuer does not exceed 25% of the then
               outstanding securities of that class. The Trust may also make short sales “against the box” without respect to such
               limitations. In this type of short sale, at the time of the sale, the Trust owns or has the immediate and unconditional right to
               acquire at no additional cost the identical security; and
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        (2)    purchase securities of open-end or closed-end investment companies except in compliance with the Investment Company
               Act or any exemptive relief obtained thereunder. Under the Investment Company Act, the Trust may invest up to 10% of

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               its total assets in the aggregate in shares of other investment companies and up to 5% of its total assets in any one
               investment company, provided the investment does not represent more than 3% of the voting stock of the acquired
               investment company at the time such shares are purchased. As a shareholder in any investment company, the Trust will
               bear its ratable share of that investment company’s expenses, and will remain subject to payment of the Advisory Fees and
               other expenses with respect to assets so invested. Holders of common shares will therefore be subject to duplicative
               expenses to the extent the Trust invests in other investment companies. In addition, the securities of other investment
               companies may be leveraged and will therefore be subject to the risks of leverage. The NAV and market value of leveraged
               shares will be more volatile and the yield to shareholders will tend to fluctuate more than the yield generated by
               unleveraged shares.

       In addition, to comply with the federal tax requirements for qualification as a registered investment company, the Trust’s
  investments must meet certain diversification requirements. See “Tax Matters.”

        For purposes of this SAI, a “majority of the outstanding” shares means (a) 67% or more of the Trust’s outstanding voting
  securities present at a meeting, if the holders of more than 50% of its outstanding voting securities are present or represented by proxy,
  or (b) more than 50% of its outstanding voting securities, whichever is less.

       The percentage limitations applicable to the Trust’s portfolio described in the Prospectus and this SAI apply only at the time of
  investment, except that the percentage limitation with respect to borrowing applies at all times, and the Trust will not be required to sell
  securities due to subsequent changes in the value of securities it owns.


                                                   INVESTMENT POLICIES AND TECHNIQUES

       The following information supplements the discussion of the Trust’s investment objectives, policies and techniques that are
  described in the Prospectus.

       The Trust’s investment objectives are to provide both current income and capital appreciation. The Trust seeks to achieve its
  investment objectives by investing primarily in the following categories of securities and instruments of corporations and other
  business entities: (i) secured and unsecured floating and fixed rate loans; (ii) bonds and other debt obligations; (iii) debt obligations of
  stressed, distressed and bankrupt issuers; (iv) structured products, including but not limited to, mortgage-backed and other asset-
  backed securities and collateralized debt obligations; (v) equities; (vi) other investment companies, including business development
  companies (“BDCs”); and (vii) real estate investment trusts (“REITs”). The Trust may also invest in derivative instruments that have
  economic characteristics similar to instruments in investment categories (i) - (vii). Subject to these general guidelines, NexPoint
  Advisors, L.P. (the “Investment Adviser”) has broad discretion to allocate the Trust’s assets among these investment categories and
  other investments and to change allocations as conditions warrant.

        There can be no assurance that the Trust will achieve its investment objective. Investors should not consider the one Trust alone
  to be a complete investment program. The Trust is subject to the risk of changing economic conditions, as well as the risk inherent in
  the ability of the portfolio manager to make changes in the composition of the Trust in anticipation of changes in economic, business
  and financial conditions. As with any security, a risk of loss is inherent in an investment in the shares of the Trust. The securities,
  investments, and investment practices used by the Trust all have attendant risks of varying degrees. As described below, an investment
  in the Trust entails special additional risks as a result of its ability to invest a substantial portion of their assets in foreign securities.

        Unless otherwise indicated, the Trust is permitted to engage in the following investment strategies and techniques. The Trust is
  not obligated to pursue the following strategies or techniques and does not represent that these strategies or techniques are available
  now or will be available at any time in the future. The Trust will not purchase all of the following types of securities or employ all of the
  following strategies unless doing so is consistent with its investment objective.


  Short-Term Debt Securities
       For temporary defensive purposes or to keep cash on hand, the Trust may invest up to 100% of its total assets in cash equivalents
  and short-term debt securities. Short-term debt investments are defined to include, without limitation, the following securities, as well as
  pooled investment vehicles (for example, money market funds) that invest in these securities:

       (1) U.S. government securities, including bills, notes and bonds differing as to maturity and rates of interest that are either issued
  or guaranteed by the U.S. Treasury or by U.S. government agencies or instrumentalities. U.S. government securities include securities
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  issued by (a) the Federal Housing Administration, Farmers Home Administration, Export-Import Bank of the United States, Small
  Business Administration, and Government National Mortgage Association, whose securities are supported by the full faith and credit of
  the United States; (b) the Federal Home Loan Banks, Federal Intermediate Credit Banks, and Tennessee Valley Authority, whose
  securities are supported by the right of the agency to borrow from the U.S. Treasury; (c) the Federal National Mortgage Association

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  (FNMA) and Federal Home Loan Mortgage Corporation (FHLMC), whose securities had historically been supported by the
  discretionary authority of the U.S. government to purchase certain obligations of the agencies or instrumentalities but which are now in
  U.S. government receivership; and (d) the Student Loan Marketing Association, whose securities are supported only by its credit.
  While the U.S. government provides financial support to such U.S. government-sponsored agencies or instrumentalities, no assurance
  can be given that it always will do so since it is not so obligated by law. The U.S. government, its agencies and instrumentalities do not
  guarantee the market value of their securities. Consequently, the value of such securities may fluctuate.

        (2) Certificates of deposit issued against funds deposited in a bank or a savings and loan association. Such certificates are for a
  definite period of time, earn a specified rate of return, and are normally negotiable. The issuer of a certificate of deposit agrees to pay the
  amount deposited plus interest to the bearer of the certificate on the date specified thereon. Certificates of deposit purchased by the
  Trust may not be fully insured by the Federal Deposit Insurance Corporation.

        (3) Repurchase agreements, which involve purchases of debt securities. At the time the Trust purchases securities pursuant to a
  repurchase agreement, it simultaneously agrees to resell and redeliver such securities to the seller, who also simultaneously agrees to
  buy back the securities at a fixed price and time. This assures a predetermined yield for the Trust during its holding period, because the
  resale price is always greater than the purchase price and reflects an agreed-upon market rate. Such actions afford an opportunity for the
  Trust to invest temporarily available cash. The Trust may enter into repurchase agreements only with respect to obligations of the U.S.
  government, its agencies or instrumentalities; certificates of deposit; or bankers’ acceptances in which the Trust may invest.
  Repurchase agreements may be considered loans to the seller, collateralized by the underlying securities. The risk to the Trust is limited
  to the ability of the seller to pay the agreed-upon sum on the repurchase date; in the event of default, the repurchase agreement
  provides that the Trust is entitled to sell the underlying collateral. If the value of the collateral declines after the agreement is entered
  into, and if the seller defaults under a repurchase agreement when the value of the underlying collateral is less than the repurchase price,
  the Trust could incur a loss of both principal and interest. If the seller were to be subject to a federal bankruptcy proceeding, the ability
  of the Trust to liquidate the collateral could be delayed or impaired because of certain provisions of the bankruptcy laws.

         (4) Commercial paper, which consists of short-term unsecured promissory notes, including variable rate master demand notes
  issued by corporations to finance their current operations. Master demand notes are direct lending arrangements between the Trust and
  a corporation. There is no secondary market for such notes. However, they are redeemable by the Trust at any time. NexPoint Advisors,
  L.P., the Trust’s investment adviser (the “Investment Adviser”) will consider the financial condition of the corporation (e.g., earning
  power, cash flow and other liquidity ratios) and will continually monitor the corporation’s ability to meet all of its financial obligations,
  because the Trust’s liquidity might be impaired if the corporation were unable to pay principal and interest on demand. Investments in
  commercial paper will be limited to commercial paper rated in the highest categories by a major rating agency and which mature within
  one year of the date of purchase or carry a variable or floating rate of interest.


  Equity Securities
        The Trust may invest in equity securities including preferred stock, convertible securities, warrants and depository receipts.

        Preferred Stock. Preferred stock has a preference over common stock in liquidation (and generally dividends as well) but is
  subordinated to the liabilities of the issuer in all respects. As a general rule, the market value of preferred stock with a fixed dividend rate
  and no conversion element varies inversely with interest rates and perceived credit risk, while the market price of convertible preferred
  stock generally also reflects some element of conversion value. Because preferred stock is junior to debt securities and other obligations
  of the issuer, deterioration in the credit quality of the issuer will cause greater changes in the value of a preferred stock than in a more
  senior debt security with similar stated yield characteristics. Unlike interest payments on debt securities, preferred stock dividends are
  payable only if declared by the issuer’s board of directors. Preferred stock also may be subject to optional or mandatory redemption
  provisions.

        Convertible Securities. A convertible security is a bond, debenture, note, preferred stock or other security that may be converted
  into or exchanged for a prescribed amount of common stock or other equity security of the same or a different issuer within a particular
  period of time at a specified price or formula. A convertible security entitles the holder to receive interest paid or accrued on debt or the
  dividend paid on preferred stock until the convertible security matures or is redeemed, converted or exchanged. Before conversion,
  convertible securities have characteristics similar to nonconvertible income securities in that they ordinarily provide a stable stream of
  income with generally higher yields than those of common stocks of the same or similar issuers, but lower yields than comparable
  nonconvertible securities. The value of a convertible security is influenced by changes in interest rates, with investment value declining
  as interest rates increase and increasing as interest rates decline. The credit standing of the issuer and other factors also may have an
  effect on the convertible security’s investment value. Convertible securities rank senior to common stock in a corporation’s capital

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  structure but are usually subordinated to comparable nonconvertible securities. Convertible securities may be subject to redemption at
  the option of the issuer at a price established in the convertible security’s governing instrument.

       Warrants. Warrants, which are privileges issued by corporations enabling the owners to subscribe to and purchase a specified
  number of shares of the corporation at a specified price during a specified period of time. Subscription rights normally have a short life
  span to expiration. The purchase of warrants involves the risk that the Trust could lose the purchase value of a right or warrant if

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  the right to subscribe to additional shares is not exercised prior to the warrants’ expiration. Also, the purchase of warrants involves the
  risk that the effective price paid for the warrant added to the subscription price of the related security may exceed the value of the
  subscribed security’s market price such as when there is no movement in the level of the underlying security.

        Depository Receipts. The Trust may invest in both sponsored and unsponsored American Depository Receipts (“ADRs”),
  European Depository Receipts (“EDRs”), Global Depository Receipts (“GDRs”) and other similar global instruments. ADRs typically are
  issued by an American bank or trust company and evidence ownership of underlying securities issued by a non-U.S. corporation.
  EDRs, which are sometimes referred to as Continental Depository Receipts, are receipts issued in Europe, typically by non-U.S. banks
  and trust companies, that evidence ownership of either non-U.S. or U.S. underlying securities. GDRs are depository receipts structured
  like global debt issues to facilitate trading on an international basis. Unsponsored ADR, EDR and GDR programs are organized
  independently and without the cooperation of the issuer of the underlying securities. As a result, available information concerning the
  issuer may not be as current as for sponsored ADRs, EDRs and GDRs, and the prices of unsponsored ADRs, EDRs and GDRs may be
  more volatile than if such instruments were sponsored by the issuer. Investments in ADRs, EDRs and GDRs may present additional
  investment considerations of credit or securities market investments that are either issued by entities domiciled outside of the U.S., or
  denominated in currencies other than the U.S. dollar, or both (“Non-U.S. Securities”).


  Variable and Floating Rate Instruments
        The Trust may purchase rated and unrated variable and floating rate instruments. These instruments may include variable amount
  master demand notes that permit the indebtedness thereunder to vary in addition to providing for periodic adjustments in the interest
  rate. The Trust may invest in leveraged inverse floating rate debt instruments (“Inverse Floaters”). The interest rate of an Inverse
  Floater resets in the opposite direction from the market rate of interest to which it is indexed. An Inverse Floater may be considered to be
  leveraged to the extent that its interest rate varies by a magnitude that exceeds the magnitude of the change in the index rate of interest.
  The higher degree of leverage inherent in Inverse Floaters is associated with greater volatility in their market values. Issuers of unrated
  variable and floating rate instruments must satisfy the same criteria as set forth above for the Trust. The absence of an active secondary
  market with respect to particular variable and floating rate instruments, however, could make it difficult for the Trust to dispose of a
  variable or floating rate instrument if the issuer defaulted on its payment obligation or during periods when the Trust is not entitled to
  exercise its demand rights.

        Such instruments may include variable amount master demand notes that permit the indebtedness thereunder to vary in addition to
  providing for periodic adjustments in the interest rate. The absence of an active secondary market with respect to particular variable and
  floating rate instruments could make it difficult for the Trust to dispose of a variable or floating rate note if the issuer defaulted on its
  payment obligation or during periods that the Trust is not entitled to exercise its demand rights, and the Trust could, for these or other
  reasons, suffer a loss, with respect to such instruments.


  Derivative Transactions and Risk Management
        Consistent with its investment objectives and policies set forth in the Prospectus and in addition to its option strategy, the Trust
  may also enter into certain risk management transactions. In particular, the Trust may purchase and sell futures contracts, exchange
  listed and over-the-counter put and call options on securities, equity and other indices and futures contracts, forward foreign currency
  contracts, and may enter into various interest rate transactions. Derivative Transactions may be used to attempt to protect against
  possible changes in the market value of the Trust’s portfolio resulting from fluctuations in the securities markets and changes in interest
  rates, to protect the Trust’s unrealized gains in the value of its portfolio securities, to facilitate the sale of such securities for investment
  purposes and to establish a position in the securities markets as a temporary substitute for purchasing particular securities. Any or all of
  these Derivative Transactions may be used at any time. There is no particular strategy that requires use of one technique rather than
  another. Use of any Derivative Transaction is a function of market conditions. The ability of the Trust to manage them successfully will
  depend on the Investment Adviser’s ability to predict pertinent market movements as well as sufficient correlation among the
  instruments, which cannot be assured. The Derivative Transactions that the Trust may use are described below.

        Futures Contracts and Options on Futures Contracts. In connection with its Derivative Transactions and other risk management
  strategies, the Trust may also enter into contracts for the purchase or sale for future delivery (“futures contracts”) of securities,
  aggregates of securities or indices or prices thereof, other financial indices and U.S. government debt securities or options on the
  above. The Trust will engage in such transactions only for bona fide risk management and other portfolio management purposes.

        Forward Foreign Currency Contracts. The Trust may enter into forward currency contracts to purchase or sell foreign currencies
  for a fixed amount of U.S. dollars or another foreign currency. A forward currency contract involves an obligation to purchase or sell a
  specific currency at a future date, which may be any fixed number of days from the date of the forward currency contract agreed upon
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  by the parties, at a price set at the time the forward currency contract is entered into. Forward currency contracts are traded directly
  between currency traders (usually large commercial banks) and their customers.

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  The Trust may engage in various forward currency contract strategies, including without limitation the following:
         •     The Trust may purchase a forward currency contract to lock in the U.S. dollar price of a security denominated in a foreign
               currency that the Trust intends to acquire. The Trust may sell a forward currency contract to lock in the U.S. dollar
               equivalent of the proceeds from the anticipated sale of a security or a dividend or interest payment denominated in a foreign
               currency.
         •     The Trust may also use forward currency contracts to shift the Trust’s exposure to foreign currency exchange rate changes
               from one currency to another. For example, if the Trust owns securities denominated in a foreign currency and the
               Investment Adviser believes that currency will decline relative to another currency, the Trust might enter into a forward
               currency contract to sell the appropriate amount of the first foreign currency with payment to be made in the second
               currency.
         •     The Trust may also purchase forward currency contracts to enhance income when the Investment Adviser anticipates that
               the foreign currency will appreciate in value but securities denominated in that currency do not present attractive
               investment opportunities.
         •     The Trust may also use forward currency contracts to offset against a decline in the value of existing investments
               denominated in a foreign currency. Such a transaction would tend to offset both positive and negative currency
               fluctuations, but would not offset changes in security values caused by other factors.
         •     The Trust could also enter into a forward currency contract to sell another currency expected to perform similarly to the
               currency in which the Trust’s existing investments are denominated. This type of transaction could offer advantages in
               terms of cost, yield or efficiency, but may not offset currency exposure as effectively as a simple forward currency
               transaction to sell U.S. dollars. This type of transaction may result in losses if the currency sold does not perform similarly
               to the currency in which the Trust’s existing investments are denominated.
         •     The Trust may also use forward currency contracts in one currency or a basket of currencies to attempt to offset against
               fluctuations in the value of securities denominated in a different currency if the Investment Adviser anticipates that there
               will be a correlation between the two currencies.
         •     The cost to the Trust of engaging in forward currency contracts varies with factors such as the currency involved, the
               length of the contract period and the market conditions then prevailing. Because forward currency contracts are usually
               entered into on a principal basis, no fees or commissions are involved.
         •     When the Trust enters into a forward currency contract, it relies on the counterparty to make or take delivery of the
               underlying currency at the maturity of the contract. Failure by the counterparty to do so would result in the loss of some or
               all of any expected benefit of the transaction. Secondary markets generally do not exist for forward currency contracts, with
               the result that closing transactions generally can be made for forward currency contracts only by negotiating directly with
               the counterparty. Thus, there can be no assurance that the Trust will in fact be able to close out a forward currency contract
               at a favorable price prior to maturity. In addition, in the event of insolvency of the counterparty, the Trust might be unable to
               close out a forward currency contract. In either event, the Trust would continue to be subject to market risk with respect to
               the position, and would continue to be required to maintain a position in securities denominated in the foreign currency or
               to maintain cash or liquid assets in a segregated account. The precise matching of forward currency contract amounts and
               the value of the securities involved generally will not be possible because the value of such securities, measured in the
               foreign currency, will change after the forward currency contract has been established. Thus, the Trust might need to
               purchase or sell foreign currencies in the spot (cash) market to the extent such foreign currencies are not covered by
               forward currency contracts. The projection of short-term currency market movements is extremely difficult, and the
               successful execution of a short-term strategy is highly uncertain.

        Calls on Securities, Indices and Futures Contracts. In addition to its option strategy, in order to enhance income or reduce
  fluctuations on NAV, the Trust may sell or purchase call options (“calls”) on securities and indices based upon the prices of futures
  contracts and debt or equity securities that are traded on U.S. and non-U.S. securities exchanges and in the over-the-counter markets. A
  call option gives the purchaser of the option the right to buy, and obligates the seller to sell, the underlying security, futures contract or
  index at the exercise price at any time or at a specified time during the option period. All such calls sold by the Trust must be “covered”
  as long as the call is outstanding (i.e., the Trust must own the instrument subject to the call or other securities or assets acceptable for
  applicable segregation and coverage requirements). A call sold by the Trust exposes the Trust during the term of the option to possible
  loss of opportunity to realize appreciation in the market price of the underlying security, index or futures contract and may require the
  Trust to hold an instrument which it might otherwise have sold. The purchase of a call gives the Trust the right to buy a security,

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  futures contract or index at a fixed price. Calls on futures on securities must also be covered by assets or instruments acceptable under
  applicable segregation and coverage requirements.

        Puts on Securities, Indices and Futures Contracts. In addition to its option strategy, the Trust may purchase put options (“puts”)
  that relate to securities (whether or not it holds such securities in its portfolio), indices or futures contracts. For the same

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  purposes, the Trust may also sell puts on securities, indices or futures contracts on such securities if the Trust’s contingent obligations
  on such puts are covered by assets consisting of cash or securities having a value not less than the exercise price. In selling puts, there
  is a risk that the Trust may be required to buy the underlying security at a price higher than the current market price.

        Interest Rate Transactions. Among the Derivative Transactions in which the Trust may enter into are interest rate swaps and the
  purchase or sale of interest rate caps and floors. The Trust expects to enter into these transactions primarily to preserve a return or
  spread on a particular investment or portion of its portfolio as a duration management technique or to protect against any increase in the
  price of securities the Trust anticipates purchasing at a later date. Interest rate swaps involve the exchange by the Trust with another
  party of their respective commitments to pay or receive interest, e.g., an exchange of floating rate payments for fixed rate payments with
  respect to a notional amount of principal. The purchase of an interest rate cap entitles the purchaser, to the extent that a specified index
  exceeds a predetermined interest rate, to receive payments of interest on a notional principal amount from the party selling such interest
  rate cap. The purchase of an interest rate floor entitles the purchaser, to the extent that a specified index falls below a predetermined
  interest rate, to receive payments of interest on a notional principal amount from the party selling such interest rate floor.

        The Trust may enter into interest rate swaps, caps and floors on either an asset-based or liability-based basis, depending on
  whether it is offsetting volatility with respect to its assets or liabilities, and will usually enter into interest rate swaps on a net basis, i.e.,
  the two payment streams are netted out, with the Trust receiving or paying, as the case may be, only the net amount of the two
  payments on the payment dates. Inasmuch as these Derivative Transactions are entered into for good faith risk management purposes,
  the Investment Adviser and the Trust will not treat them as being subject to its borrowing restrictions. The Trust will accrue the net
  amount of the excess, if any, of the Trust’s obligations over its entitlements with respect to each interest rate swap on a daily basis and
  will designate on its books and records with a custodian an amount of cash or liquid securities having an aggregate NAV at all times at
  least equal to the accrued excess. The Trust will enter into interest rate swap, cap or floor transactions only with counterparties that are
  judged by the Investment Adviser to present acceptable credit risk to the Trust. If there is a default by the other party to such a
  transaction, the Trust will have contractual remedies pursuant to the agreements related to the transaction. The swap market has grown
  substantially in recent years with a large number of banks and investment banking firms acting both as principals and as agents utilizing
  standardized swap documentation. Caps and floors are more recent innovations for which standardized documentation has not yet been
  developed and, accordingly, they are less liquid than swaps.


  Additional Characteristics and Risks of Derivative Transactions
       In order to manage the risk of its securities portfolio, or to enhance income or gain as described in the Prospectus, the Trust will
  engage in Derivative Transactions. The Trust will engage in such activities in the Investment Adviser’s discretion, and may not
  necessarily be engaging in such activities when movements in interest rates that could affect the value of the assets of the Trust occur.
  The Trust’s ability to pursue certain of these strategies may be limited by applicable regulations of the CFTC. The Trust’s Derivative
  Transactions may affect the amount, timing and character of distributions to shareholders and, therefore, may accelerate and/or increase
  the amount of taxes payable by shareholders. In addition, the Trust’s ability to engage in certain Derivative Transactions may be limited
  by tax considerations. See “Tax Matters” below for more information.


  Put and Call Options on Securities and Indices
        The Trust may purchase and sell put and call options on securities and indices. A put option gives the purchaser of the option the
  right to sell and the writer the obligation to buy the underlying security at the exercise price during the option period. The Trust may
  also purchase and sell options on securities indices (“index options”). Index options are similar to options on securities except that,
  rather than taking or making delivery of securities underlying the option at a specified price upon exercise, an index option gives the
  holder the right to receive cash upon exercise of the option if the level of the securities index upon which the option is based is greater,
  in the case of a call, or less, in the case of a put, than the exercise price of the option. The purchase of a put option on a security could
  protect the Trust’s holdings in a security or a number of securities against a substantial decline in the market value. A call option gives
  the purchaser of the option the right to buy and the seller the obligation to sell the underlying security or index at the exercise price
  during the option period or for a specified period prior to a fixed date. The purchase of a call option on a security could protect the Trust
  against an increase in the price of a security that it intended to purchase in the future. In the case of either put or call options that it has
  purchased, if the option expires without being sold or exercised, the Trust will experience a loss in the amount of the option premium
  plus any related commissions. When the Trust sells put and call options, it receives a premium as the seller of the option. The premium
  that the Trust receives for selling the option will serve as a partial offset, in the amount of the option premium, against changes in the
  value of the securities in its portfolio. During the term of the option, however, a covered call seller has, in return for the premium on the
  option, given up the opportunity for capital appreciation above the exercise price of the option if the value of the underlying security
  increases, but has retained the risk of loss should the price of the underlying security decline. Conversely, a secured put seller retains
  the risk of loss should the market value of the underlying security decline below the exercise price of the option, less the premium
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  received on the sale of the option. The Trust is authorized to purchase and sell exchange listed options and over the-counter options
  (“OTC Options”) which are privately negotiated with the counterparty. Listed options are issued by the Options Clearing Corporation
  (“OCC”) which guarantees the performance of the obligations of the parties to such options.

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          The Trust’s ability to close out its position as a purchaser or seller of an exchange listed put or call option is dependent upon the
  existence of a liquid secondary market on option exchanges. Among the possible reasons for the absence of a liquid secondary market
  on an exchange are: (i) insufficient trading interest in certain options; (ii) restrictions on transactions imposed by an exchange;
  (iii) trading halts, suspensions or other restrictions imposed with respect to particular classes or series of options or underlying
  securities; (iv) interruption of the normal operations on an exchange; (v) inadequacy of the facilities of an exchange or OCC to handle
  current trading volume; or (vi) a decision by one or more exchanges to discontinue the trading of options (or a particular class or series
  of options), in which event the secondary market on that exchange (or in that class or series of options) would cease to exist, although
  outstanding options on that exchange that had been listed by the OCC as a result of trades on that exchange would generally continue
  to be exercisable in accordance with their terms. OTC Options are purchased from or sold to dealers, financial institutions or other
  counterparties which have entered into direct agreements with the Trust. With OTC Options, such variables as expiration date, exercise
  price and premium will be agreed upon between the Trust and the counterparty, without the intermediation of a third party such as the
  OCC. If the counterparty fails to make or take delivery of the securities underlying an option it has written, or otherwise settle the
  transaction in accordance with the terms of that option as written, the Trust would lose the premium paid for the option as well as any
  anticipated benefit of the transaction.

        The hours of trading for options on securities may not conform to the hours during which the underlying securities are traded. To
  the extent that the option markets close before the markets for the underlying securities, significant price movements can take place in
  the underlying markets that cannot be reflected in the option markets.


  Futures Contracts and Related Options
        Characteristics. The Trust may sell financial futures contracts or purchase put and call options on such futures as an offset
  against anticipated market movements. The sale of a futures contract creates an obligation by the Trust, as seller, to deliver the specific
  type of financial instrument called for in the contract at a specified future time for a specified price. Options on futures contracts are
  similar to options on securities except that an option on a futures contract gives the purchaser the right in return for the premium paid to
  assume a position in a futures contract (a long position if the option is a call and a short position if the option is a put).

        Margin Requirements. At the time a futures contract is purchased or sold, the Trust must allocate cash or securities as a deposit
  payment (“initial margin”). It is expected that the initial margin that the Trust will pay may range from approximately 1% to approximately
  5% of the value of the securities or commodities underlying the contract. In certain circumstances, however, such as periods of high
  volatility, the Trust may be required by an exchange to increase the level of its initial margin payment. Additionally, initial margin
  requirements may be increased generally in the future by regulatory action. An outstanding futures contract is valued daily and the
  payment in case of “variation margin” may be required, a process known as “marking to the market.” Transactions in listed options and
  futures are usually settled by entering into an offsetting transaction, and are subject to the risk that the position may not be able to be
  closed if no offsetting transaction can be arranged.

       Limitations on Use of Futures and Options on Futures. The Trust currently may enter into such transactions without limit for
  bona fide strategic purposes, including risk management and duration management and other portfolio strategies. The Trust may also
  engage in transactions in futures contracts or related options for non-strategic purposes to enhance income or gain provided that the
  Trust will not enter into a futures contract or related option (except for closing transactions) for purposes other than bona fide strategic
  purposes, or risk management including duration management if, immediately thereafter, the sum of the amount of its initial deposits and
  premiums on open contracts and options would exceed 5% of the Trust’s liquidation value, i.e., net assets (taken at current value);
  provided, however, that in the case of an option that is in-the-money at the time of the purchase, the in-the-money amount may be
  excluded in calculating the 5% limitation. The above policies are non-fundamental and may be changed by the Board at any time. Also,
  when required, an account of cash equivalents designated on the books and records will be maintained and marked to market on a daily
  basis in an amount equal to the market value of the contract.

       Segregation and Cover Requirements. Futures contracts, interest rate swaps, caps, floors and collars, short sales, reverse
  repurchase agreements and dollar rolls, and listed or OTC options on securities, indices and futures contracts sold by the Trust are
  generally subject to earmarking and coverage requirements of either the CFTC or the SEC, with the result that, if the Trust does not hold
  the security or futures contract underlying the instrument, the Trust will be required to designate on its books and records on an
  ongoing basis cash, U.S. government securities, or other liquid securities in an amount at least equal to the Trust’s net obligations with
  respect to such instruments.

       Such Amounts Fluctuate as the Obligations Increase or Decrease. The earmarking requirement can result in the Trust
  maintaining securities positions it would otherwise liquidate, segregating assets at a time when it might be disadvantageous to do so or

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  otherwise restrict portfolio management.           267

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        Derivative Transactions Present Certain Risks. With respect to Derivative Transactions and risk management, the variable degree
  of correlation between price movements of strategic instruments and price movements in the position being offset create the possibility
  that losses using the strategy may be greater than gains in the value of the Trust’s position. The same is true for such instruments
  entered into for income or gain. In addition, certain instruments and markets may not be liquid in all circumstances. As a result, in
  volatile markets, the Trust may not be able to close out a transaction without incurring losses substantially greater than the initial
  deposit. Although the use of Derivative Transactions for hedging purposes may reduce the risk of loss due to a decline in the value of
  an underlying securities position, at the same time such use tends to limit any potential gain which might result from an increase in the
  value of such position. The ability of the Trust to successfully utilize Derivative Transactions will depend on the Investment Adviser’s
  ability to predict pertinent market movements and sufficient correlations, which cannot be assured. Finally, the daily deposit
  requirements in futures contracts that the Trust has sold create an ongoing greater potential financial risk than do options transactions,
  where the exposure is limited to the cost of the initial premium. Losses due to the use of Derivative Transactions will reduce NAV.

      Regulatory Considerations. The Trust is sponsored by a person who has claimed an exclusion from the definition of the term
  “commodity pool operator” under the Commodity Exchange Act (“CEA”) pursuant to Rule 4.5 under the CEA; therefore, the Investment
  Adviser (with respect to the Trust) is not subject to registration or regulation as a “commodity pool operator” under the CEA.


  Real Estate Investment Trusts (“REITs”)
       The Trust may invest in REITs. REITs are pooled investment vehicles that invest primarily in income-producing real estate or real
  estate-related loans or interests. REITs are subject to risks similar to those associated with direct ownership of real estate (including loss
  to casualty or condemnation, increases in property taxes and operating expenses, zoning law amendments, changes in interest rates,
  overbuilding and increased competition, variations in market value, adverse changes in the real estate markets generally or in specific
  sectors of the real estate industry and possible environmental liabilities), as well as additional risks discussed below.

        REITs are generally classified as equity REITs, mortgage REITs or a combination of equity and mortgage REITs. Equity REITs
  invest the majority of their assets directly in real property and derive income primarily from the collection of rents. Equity REITs can also
  realize capital gains by selling properties that have appreciated in value. Mortgage REITs invest the majority of their assets in real estate
  mortgages and derive income from the collection of interest payments. REITs are not taxed on income distributed to shareholders
  provided they comply with the applicable requirements of the Internal Revenue Code of 1986, as amended (the “Code”). The Trust will
  indirectly bear its proportionate share of any management and other expenses paid by REITs in which it invests in addition to the
  expenses paid by the Trust. Debt securities issued by REITs are, for the most part, general and unsecured obligations and are subject to
  risks associated with REITs.

       Investing in REITs involves certain unique risks in addition to those risks associated with investing in the real estate industry in
  general. An equity REIT may be affected by changes in the value of the underlying properties owned by the REIT. A mortgage REIT
  may be affected by changes in interest rates and the ability of the issuers of its portfolio mortgages to repay their obligations. REITs are
  dependent upon the skills of their managers and are not diversified. REITs are generally dependent upon maintaining cash flows to
  repay borrowings and to make distributions to shareholders and are subject to the risk of default by lessees or borrowers. REITs whose
  underlying assets are concentrated in properties used by a particular industry, such as health care, are also subject to risks associated
  with such industry. REITs are often leveraged or invest in properties that are themselves leveraged, exposing them to the risks of
  leverage generally. Among other things, leverage will generally increase losses during periods of real estate market declines.

        REITs (especially mortgage REITs) are also subject to interest rate risks. When interest rates decline, the value of a REIT’s
  investment in fixed rate obligations can be expected to rise. Conversely, when interest rates rise, the value of a REIT’s investment in
  fixed rate obligations can be expected to decline. If the REIT invests in adjustable rate mortgage loans the interest rates on which are
  reset periodically, yields on a REIT’s investments in such loans will gradually align themselves to reflect changes in market interest
  rates. This causes the value of such investments to fluctuate less dramatically in response to interest rate fluctuations than would
  investments in fixed rate obligations.

       REITs may have limited financial resources, may trade less frequently and in a more limited volume and may be subject to more
  abrupt or erratic price movements than larger company securities.

       The Trust seeks to gain exposure to the real estate markets, in whole or in part, through investing in certain REIT subsidiaries of
  the Trust. The Trust invests in NexPoint Real Estate Opportunities, LLC (formerly Freedom REIT) (“NREO”), organized under the laws of
  Delaware on September 17, 2012 and NexPoint Real Estate Capital, LLC (“NREC”), organized under the laws of Delaware on March 31,
  2014 (each, a “Subsidiary”). Each Subsidiary has elected to be taxed as a REIT. Each Subsidiary is generally subject to the same

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  investment policies and restrictions of the Trust. As of June 30, 2019, NREO and NREC accounted for approximately, 2.9% and 22.0%
  respectively, of the Trust’s Managed Assets and approximately 2.8% and 21.7%, respectively, of the Trust’s total (gross)

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  assets. The Investment Adviser does not charge an additional fee on assets held in each Subsidiary. The Trust intends to limit its
  investments in each Subsidiary and related entities to the extent necessary to qualify as a regulated investment company (“RIC”) for tax
  purposes. In general, and subject to certain exceptions not applicable here, a RIC is not permitted to invest, including through
  corporations in which the RIC owns a 20% or more voting stock interest, more than 25% of its total assets in any one issuer, or in any
  two or more issuers which the taxpayer controls and which are determined to be engaged in the same or similar trades or businesses or
  related trades or businesses.


  Portfolio Turnover
        The Trust’s annual portfolio turnover rate may vary greatly from year to year. Although the Trust cannot accurately predict its
  annual portfolio turnover rate, it is not expected to exceed 100% under normal circumstances. For the fiscal year ended December 31,
  2018, the portfolio turnover rate was 48%, and for the fiscal year ended December 31, 2017, the portfolio turnover rate was 36%. Portfolio
  turnover rate is not considered a limiting factor in the execution of investment decisions for the Trust. There are no limits on the rate of
  portfolio turnover, and investments may be sold without regard to length of time held when the Trust’s investment strategy so dictates.
  A higher portfolio turnover rate results in correspondingly greater brokerage commissions and other transactional expenses that are
  borne by the Trust. High portfolio turnover may result in the realization of net short-term capital gains by the Trust which, when
  distributed to common shareholders, will be taxable as ordinary income. See “Tax Matters.”


                                              OTHER INVESTMENT POLICIES AND TECHNIQUES

  When-Issued and Forward Commitment Securities
         The Trust may purchase securities on a “when-issued” basis and may purchase or sell securities on a “forward commitment” basis
  in order to acquire the security or to offset against anticipated changes in interest rates and prices. When such transactions are
  negotiated, the price, which is generally expressed in yield terms, is fixed at the time the commitment is made, but delivery and payment
  for the securities take place at a later date. When-issued securities and forward commitments may be sold prior to the settlement date,
  but the Trust will enter into when-issued and forward commitments only with the intention of actually receiving or delivering the
  securities, as the case may be. If the Trust disposes of the right to acquire a when-issued security prior to its acquisition or disposes of
  its right to deliver or receive against a forward commitment, it might incur a gain or loss. At the time the Trust enters into a transaction
  on a when-issued or forward commitment basis, it will designate on its books and records cash or liquid securities equal to at least the
  value of the when-issued or forward commitment securities. The value of these assets will be monitored daily to ensure that their marked
  to market value will at all times equal or exceed the corresponding obligations of the Trust. There is always a risk that the securities may
  not be delivered and that the Trust may incur a loss. Settlements in the ordinary course, which may take substantially more than five
  business days, are not treated by the Trust as when-issued or forward commitment transactions and accordingly are not subject to the
  foregoing restrictions.


  Pay-In-Kind Securities
        The Trust may invest in Pay-in-kind, or “PIK” securities. PIK securities are securities which pay interest through the issuance of
  additional debt or equity securities. Similar to zero coupon obligations, PIK securities also carry additional risk as holders of these types
  of securities typically do not receive cash until the final payment date on the security unless such security is sold. In addition, if the
  issuer defaults, the Trust may obtain no return at all on its investment. The market price of PIK securities is affected by interest rate
  changes to a greater extent, and therefore tends to be more volatile, than that of securities which pay interest in cash. Additionally, U.S.
  federal income tax law requires the holder of certain PIK securities to recognize interest income with respect to these securities prior to
  the actual receipt of cash payments. In order to receive the special treatment accorded to RICs and their shareholders under Subchapter
  M of the Code, and to avoid liability for U.S. federal income or excise taxes at the Trust level, the Trust may be required to distribute
  income recognized with respect to these securities prior to the Trust’s receipt of cash on these securities and thus may, among other
  things, dispose of portfolio securities under potentially disadvantageous circumstances in order to generate cash to satisfy these
  distribution requirements. See “Tax Matters” below.

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  Mezzanine Investments
        The Trust may invest in certain high yield securities known as mezzanine investments, which are subordinated debt securities
  which are generally issued in private placements in connection with an equity security (e.g., with attached warrants). Such mezzanine
  investments may be issued with or without registration rights. Similar to other high yield securities, maturities of mezzanine investments
  are typically seven to ten years, but the expected average life is significantly shorter at three to five years. Mezzanine investments are
  usually unsecured and subordinate to other obligations of the issuer.


  Loan Participations and Assignments
        The Trust may invest in fixed and floating rate loans (“Loans”) arranged through private negotiations between a corporation or
  foreign government and one or more financial institutions (“Lenders”). The Trust’s investments in Loans are expected in most instances
  to be in the form of participations in Loans (“Participations”) and assignments of all or a portion of Loans (“Assignments”) from third
  parties. Participations typically will result in the Trust having a contractual relationship only with the Lender, not the borrower. The
  Trust will have the right to receive payments of principal, interest and any fees to which it is entitled only from the Lender selling the
  Participation and the Trust and only upon receipt by the Lender of the payments by the borrower. In connection with purchasing
  Participations, the Trust generally has no direct right to enforce compliance by the borrower with the terms of the loan agreement
  relating to the Loan, nor any rights of set-off against the borrower, and the Trust may not directly benefit from any collateral supporting
  the Loan in which it has purchased the Participation. As a result the Trust will assume the credit risk of both the borrower and the
  Lender that is selling the Participation. In the event of the insolvency of the Lender selling a Participation, the Trust may be treated as a
  general creditor of the Lender and may not benefit from any set-off between the Lender and the borrower. The Trust will acquire
  Participations only if the Lender interpositioned between the Trust and the borrower is determined by the Investment Adviser to be
  creditworthy. When the Trust purchases Assignments from Lenders, the Trust will acquire direct rights against the borrower on the
  Loan. However, because Assignments are arranged through private negotiations between potential assignees and assignors, the rights
  and obligations acquired by the Trust as the purchaser of an Assignment may differ from, and be more limited than, those held by the
  assigning Lender.

        The Trust may have difficulty disposing of Assignments and Participations. Because there is no public market for such securities,
  the Trust anticipates that such securities could be sold only to a limited number of institutional investors. The lack of a liquid secondary
  market will have an adverse impact on the value of such securities and on the Trust’s ability to dispose of particular Assignments or
  Participations when necessary to meet the Trust’s liquidity needs or in response to a specific economic event, such as a deterioration in
  the creditworthiness of the borrower. The lack of a liquid secondary market for Assignments and Participations also may make it more
  difficult for the Trust to assign a value to those securities for purposes of valuing the Trust’s portfolio and calculating its NAV.


  Project Loans
       The Trust may invest in project loans, which are fixed income securities of issuers whose revenues are primarily derived from
  mortgage loans to multi-family, nursing home and other real estate development projects. The principal payments on these mortgage
  loans will be insured by agencies and authorities of the U.S. government.


  Zero Coupons and Deferred Payment Obligations
        The Trust may invest in zero-coupon bonds, which are normally issued at a significant discount from face value and do not
  provide for periodic interest payments. Zero-coupon bonds may experience greater volatility in market value than similar maturity debt
  obligations which provide for regular interest payments. The Trust may also invest in deferred payment securities. Deferred payment
  securities are securities that remain zero-coupon securities until a predetermined date, at which time the stated coupon rate becomes
  effective and interest becomes payable at regular intervals. Deferred payment securities are subject to greater fluctuations in value and
  may have lesser liquidity in the event of adverse market conditions than comparably rated securities paying cash interest at regular
  interest payment periods.

        U.S. federal income tax law requires the holder of certain zero-coupon bonds or deferred payment securities to recognize interest
  income with respect to these securities prior to the actual receipt of cash payments by the holder. In order to receive the special
  treatment accorded to RICs and their shareholders under the Code and to avoid liability for U.S. federal income or excise taxes at the
  Trust level, the Trust may be required to distribute income recognized with respect to these securities prior to the Trust’s receipt of cash
  on these securities and thus may, among other things, dispose of Trust securities under potentially disadvantageous circumstances in
  order to generate cash to satisfy these distribution requirements. See “Tax Matters” below.


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  Master Limited Partnerships (“MLPs”)
       The Trust may invest in MLPs. MLPs typically are characterized as “publicly traded partnerships” that qualify to be treated as
  partnerships for U.S. federal income tax purposes and are principally engaged in one or more aspects of the exploration, production,
  processing, transmission, marketing, storage or delivery of energy-related commodities, such as natural gas, natural gas liquids, coal,
  crude oil or refined petroleum products (collectively, the energy industry). The Trust’s MLP investments include investments that offer
  economic exposure to public MLPs in the form of common or subordinated units issued by MLPs, securities of entities holding primarily
  general partner or managing member interests in MLPs, debt securities of MLPs, and securities that are derivatives of interests in MLPs,
  including I-Shares, and derivative instruments in which the Trust may invest that have economic characteristics of MLP securities.

       Generally, an MLP is operated under the supervision of one or more managing general partners. Limited partners (like the Trust
  when it invests in an MLP) are not involved in the day-to-day management of the partnership. The Trust also may invest in companies
  who serve (or whose affiliates serve) as the general partner of an MLP. These investments may not be taxed as partnerships for U.S.
  federal income tax purposes. Conflicts of interest may exist among unit holders, subordinated unit holders and the general partner of an
  MLP, including those arising from incentive distribution payments. General Partners typically have limited fiduciary duties to an MLP,
  which could allow a general partner to favor its own interests over the MLP’s interests. Additionally, general partners of MLPs often
  have limited call rights that may require MLP unit holders to sell their common units at an undesirable time or price.

        Holders of MLP securities have limited control and voting rights on matters affecting the partnership. Holders of securities issued
  by a MLP are exposed to a remote possibility of liability for all of the obligations of that MLP in the event that a court determines that
  the rights of the holders of MLP securities to vote to remove or replace the general partner of that MLP, to approve amendments to that
  MLP’s partnership agreement, or to take other action under the partnership agreement of that MLP would constitute “control” of the
  business of that MLP, or a court or governmental agency determines that the MLP is conducting business in a state without complying
  with the partnership statute of that state. Holders of MLP securities are also exposed to the risk that they will be required to repay
  amounts to the MLP that are wrongfully distributed to them.

        Investments in MLP securities also present special tax risks. For example, if an MLP does not meet current legal requirements to
  maintain its partnership status, or if it is unable to do so because of tax or other law changes, it would be treated as a corporation for
  U.S. federal income tax purposes. In that case, the MLP would be obligated to pay U.S. federal income tax at corporate rates (as well as
  state and local taxes) at the entity level on its taxable income and distributions received by the Trust would be taxable to the Trust as
  dividend income to the extent of the MLP’s current and accumulated earnings and profits for federal tax purposes. The classification of
  an MLP as a corporation for U.S. federal income tax purposes could have the effect of reducing the amount of cash available for
  distribution by the MLP and the value of the Trust’s investment in any such MLP. As a result, the value of the Trust’s shares and the
  cash available for distribution to Trust shareholders could be materially reduced.

       The Trust intends to limit its investments in MLPs and related entities to the extent necessary to qualify as a RIC for tax purposes.
  In general, a RIC is not permitted to invest, including through corporations in which the RIC owns a 20% or more voting stock interest,
  more than 25% of its total assets in qualified publicly-traded partnerships.


  Life Settlement Investments
         The Trust may invest in life settlements, which are the transfers of the beneficial interest in a life insurance policy by the
  underlying insured person to a third party. The Trust will generally purchase the beneficial interest in a life insurance policy for more
  than its cash surrender value but at a discount to its face value (i.e., the payment amount set forth in the life insurance policy that is
  payable on the death of the insured or upon maturity of the life insurance policy). After purchase the Trust will be responsible for
  premiums payable on the life insurance policy and will be entitled to receive the full face value from the insurance company upon
  maturation (i.e., upon the death of the insured). Accordingly, if the Trust is unable to make premium payments on a purchased life
  insurance policy due to liquidity issues or for any other reason, the policy will lapse, and the Trust will lose its ownership interest in the
  policy. In addition, the Trust’s investments in life settlement policies involve certain additional risks, including inaccurate estimations of
  life expectancy of the insured individuals, liquidity risk, credit risk of the insurance company, risks of any policies purchased being
  unenforceable and risks of adverse regulatory and legal changes.

        The actual rate of return on a life settlement policy cannot be calculated before the insured dies and the longer the insured lives,
  the lower the rate of return on the related life settlement policy will be. Current privacy laws may limit the information available to the
  Trust about insureds and may cause the Trust to inaccurately estimate the value of particular policies. The Trust’s inability to predict
  with certainty the life expectancies of the pool of underlying insured persons tied to purchased life settlement policies may cause
  unanticipated delays in the collection of a substantial number of life settlement policies. Life settlements are also generally considered

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  illiquid because there is a limited secondary market for such policies to be bought and sold. Accordingly, the Trust may be limited in its
  ability to sell policies in its portfolio in a timely fashion and/or at a favorable price. In addition, if a life insurance company declares
  bankruptcy or otherwise is insolvent, there may not be sufficient funds for it to pay its liability, and while many states have an insurance
  guarantee fund to provide payments to beneficiaries of insurance companies that declare bankruptcy, the collection process can be
  prolonged and complicated, and collection may not be possible in all circumstances.

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        Life settlement policies may also be subject to contest by the issuing life insurance company. If the insurance company
  successfully contests a policy, the policy will be rescinded and declared void. For example, insurers may refuse to pay benefits on
  certain life insurance policies on the basis that there was no “insurable interest” on the part of the purchaser of a life insurance policy at
  the time such policy was issued. Recently the issue of a lack of insurable interest has been raised by insurers and beneficiaries of
  irrevocable life insurance trusts, in the context of so-called “stranger originated life insurance” policies. It is possible that courts may
  void certain life settlement policies for these or other reasons. The market for life settlement policies may also be subject to new
  government regulation that may impact the ability of the Trust to obtain life settlement policies. Insurance companies may seek
  regulation or changes of law restricting or otherwise encumbering the transfer of life insurance policies in life settlement policy
  transactions. No assurance can be made that insurance companies will not be successful in limiting the supply of life insurance policies
  available for purchase in life settlement policy transactions.

        Any or all of the risks described above could have a material adverse effect on the Trust’s investment returns and, therefore, on its
  ability to make distributions to its shareholders. In addition, it is unclear whether the income from life settlements is qualifying income
  for purposes of the Internal Revenue Service (“IRS”) 90% gross income test the Trust must satisfy each year to qualify as a RIC. The
  Trust intends to monitor its investments to ensure that the Trust remains qualified as a RIC.


                                                          MANAGEMENT OF THE TRUST

  Trustees
         The Board provides broad oversight over the operations and affairs of the Trust and protects the interests of shareholders. The
  Board has overall responsibility to manage and control the business affairs of the Trust, including the complete and exclusive authority
  to establish policies regarding the management, conduct and operation of the Trust’s business. The names and birthdates of the
  Trustees and officers of the Trust, the year each was first elected or appointed to office, their principal business occupations during the
  last five years, the number of funds overseen by each Trustee and other directorships or trusteeships they hold are shown below. The
  business address of the Trust, the Investment Adviser and their Board members and officers is 300 Crescent Court, Suite 700, Dallas,
  Texas 75201, unless otherwise specified below.


  Information About Each Trustee’s Experience, Qualifications, Attributes, or Skills for Board Membership
         The following provides an overview of the considerations that led the Board to conclude that each individual serving as a Trustee
  of the Trust should so serve, as well as each Trustee’s name and certain biographical information as reported by them to the Trust.
  Among the factors the Board considered when concluding that an individual should serve on the Board were the following: (i) the
  individual’s business and professional experience and accomplishments; (ii) the individual’s ability to work effectively with the other
  members of the Board; (iii) the individual’s prior experience, if any, serving on company boards (including public companies and, where
  relevant, other investment companies) and the boards of other complex enterprises and organizations; and (iv) how the individual’s
  skills, experiences and attributes would contribute to an appropriate mix of relevant skills and experience on the Board.

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        In respect of each Trustee, the individual’s professional accomplishments and prior experience, including, in some cases, in fields
  related to the operations of the Trust, were a significant factor in the determination that the individual should serve as a Trustee of the
  Trust. Each Trustee’s professional experience and additional considerations that contributed to the Board’s conclusion that an
  individual should serve on the Board are summarized in the table below.

  The “Highland Funds Complex,” as referred to herein consists of: the Trust, each series of Highland Funds I (“HFI”), each series of
  Highland Funds II (“HFII”), Highland Global Allocation Fund (“GAF”), Highland Income Fund (“HFRO”), NexPoint Event-Driven Fund
  (“NEDF”), NexPoint Latin American Opportunities Fund (“NLAF”), NexPoint Real Estate Strategies Fund (“NRESF”), NexPoint Strategic
  Income Fund (“NSIF”), NexPoint Energy and Materials Opportunities Fund (“NEMO”), NexPoint Discount Strategies Fund (“NDSF”),
  NexPoint Healthcare Opportunities Fund (“NHOF”, and together with NEDF, NLAF, NRESF, NSIF, NEMO, and NDSF, the “Interval
  Funds”), and NexPoint Capital, Inc. (the “BDC”), a closed-end management investment company that has elected to be treated as a
  business development company under the 1940 Act.

  Nam e , Date of Birth , Position (s)
  with th e Tru st an d Le n gth of
  Tim e S e rve d, Te rm of O ffice 1
  an d Nu m be r of Portfolios in th e                                                                                            Expe rie n ce , Q u alification s,
  High lan d Fu n ds C om ple x                                                                                                      Attribu te s, S k ills for
  O ve rse e n by th e Tru ste e s     Prin cipal O ccu pation s(s) Du rin g th e Past Five Ye ars an d O th e r Dire ctorsh ips/     Board Me m be rsh ip
  In de pe n de n t Tru ste e s                          Tru ste e sh ips He ld Du rin g th e Past Five Ye ars                    Du rin g th e Past Five Ye ars
  Dr. Bob Froehlich                     Retired.                                                                                    Significant experience in
  (4/28/1953)                                                                                                                       the financial industry;
                                        Trustee of ARC Realty Finance Trust, Inc. (from January 2013 to May                         significant managerial and
  Trustee since March 2016;             2016); Director of KC Concessions, Inc. (since January 2013); Trustee of                    executive experience;
  3 year term (expiring at 2020         Realty Capital Income Funds Trust (from January 2014 to December 2016);                     significant experience on
  annual meeting) for the Trust.        Director of American Realty Capital Healthcare Trust II (from January 2013                  other boards of directors,
                                        to June 2016); Director, American Realty Capital Daily Net Asset Value                      including as a member of
                                        Trust, Inc. (from November 2012 to July 2016); Director of American Sports                  several audit committees.
  23 funds
                                        Enterprise, Inc. (since January 2013); Director of Davidson Investment
                                        Advisors (from July 2009 to July 2016); Chairman and owner, Kane County
                                        Cougars Baseball Club (since January 2013); Advisory Board of Directors,
                                        Internet Connectivity Group, Inc. (from January 2014 to April 2016);
                                        Director of AXAR Acquisition Corp. (formerly AR Capital Acquisition
                                        Corp.) (from October 2014 to October 2017); Director of The Midwest
                                        League of Professional Baseball Clubs, Inc.; Director of Kane County
                                        Cougars Foundation, Inc.; Director of Galen Robotics, Inc.; Chairman and
                                        Director of FC Global Realty, Inc. (from May 2017 to June 2018); Chairman
                                        and Director of First Capital Investment Corp. (from March 2017 to March
                                        2018); and Director and Special Advisor to Vault Data, LLC (since February
                                        2018).

  John Honis 2                          President of Rand Advisors, LLC since August 2013; Partner of Highland    Significant experience in
  (6/16/1958)                           Capital Management, L.P. (“HCM”) from February 2007 until his resignation the financial industry;
                                        in November 2014.                                                         significant managerial and
  Trustee since July 2013;                                                                                        executive experience,
  3 year term (expiring at 2021         Manager of Turtle Bay Resort, LLC (August 2011 – December                 including experience as
  annual meeting) for the Trust.        2018); Manager of American Home Patient (November 2011 to February        president, chief executive
                                        2016).                                                                    officer or chief
                                                                                                                  restructuring officer of
  23 funds
                                                                                                                  five telecommunication
                                                                                                                  firms; experience on other
                                                                                                                  boards of directors.

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  Nam e , Date of Birth , Position (s)
  with th e Tru st an d Le n gth of
  Tim e S e rve d, Te rm of O ffice 1
  an d Nu m be r of Portfolios in th e                                                                                      Expe rie n ce , Q u alification s,
  High lan d Fu n ds C om ple x                 Prin cipal O ccu pation s(s) Du rin g th e Past Five Ye ars an d O th e r      Attribu te s, S k ills for
  O ve rse e n by th e Tru ste e s                                           Dire ctorsh ips/                                   Board Me m be rsh ip
  In de pe n de n t Tru ste e s                           Tru ste e sh ips He ld Du rin g th e Past Five Ye ars             Du rin g th e Past Five Ye ars
  Ethan Powell3                          Trustee of Impact Shares Funds I Trust                                             Significant experience in
  (6/20/1975)                            President and Founder of Impact Shares LLC                                         the financial industry;
                                         since December 2015; Trustee/Director of the Highland Funds Complex                significant executive
  Trustee since December 2013;           from June 2012 until July 2013 and since December 2013; Chief Product              experience including past
  Chairman of the Board since            Strategist of Highland Capital Management Fund Advisors, L.P.                      service as an officer of
  December 2013; 3 year term             (“HCMFA”) from 2012 until December 2015; Senior Retail Fund Analyst of             funds in the Highland
  (expiring at 2022 annual               HCM from 2007 until December 2015 and HCMFA from its inception until               Funds Complex;
  meeting) for the Trust.                December 2015; President and Principal Executive Officer                           significant administrative
                                         of NHF from June 2012 until May 2015; Secretary of NHF from May 2015               and managerial experience.
                                         until December 2015; Executive Vice President and Principal Executive
  23 funds
                                         Officer of HFI and HFII from June 2012 until December 2015; and Secretary
                                         of HFI and HFII from November 2010 to May 2015.

  Bryan A. Ward                          Senior Advisor, CrossFirst Bank since April 2019; Private Investor, BW   Significant experience on
  (2/4/1955)                             Consulting, LLC since 2014; Senior Manager, Accenture, LLP (a consulting this and/or other boards
                                         firm) from 1991 until retirement in 2014.                                of directors/trustees;
  Trustee since May 2006                                                                                          significant managerial and
  3 year term (expiring at 2022          Director of Equity Metrix, LLC                                           executive experience;
  annual meeting).                                                                                                significant experience as a
                                                                                                                  management consultant.
  23 funds

  Interested Trustees            Head of Distribution and Chief Product Strategist at NexPoint since March                  Significant experience in
  Dustin Norris 4                2019; President of NexPoint Securities, Inc. (formerly, Highland Capital                   the financial industry;
  (1/6/1984)                     Funds Distributor, Inc.) since April 2018; Head of Distribution at HCMFA                   significant managerial and
                                 from November 2017 until March 2019; Secretary of HFRO, GAF, HFI and                       executive experience,
  Trustee since February 2018;   HFII from October 2017 until April 2019; Assistant Secretary of HFRO and                   including experience as an
  Executive Vice President since GAF II from August 2017 to October 2017; Chief Product Strategist at                       officer of the Highland
  April 2019; Nominee for 3 year HCMFA from September 2015 to March 2019; Director of Product Strategy                      Funds Complex since
  term expiring at 2021 annual   at HCMFA from May 2014 to September 2015; Assistant Secretary of HFI                       2012.
  meeting.                       and HFII from March 2017 to October 2017; Secretary of NHF from
                                 December 2015 until April 2019; Assistant Treasurer of NexPoint Real
                                 Estate Advisors, L.P. since May 2015; Assistant Treasurer of NexPoint Real
  23 funds
                                 Estate Advisors II, L.P. since June 2016; Assistant Treasurer of HFI and
                                 HFII from November 2012 to March 2017; Assistant Treasurer of NHF from
                                 November 2012 to December 2015; Secretary of the BDC from 2014 until
                                 April 2019; and Secretary of the Interval Funds from March 2016 until April
                                 2019.

                                         None

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  1     On an annual basis, as a matter of Board policy, the Governance and Compliance Committee reviews each Trustee’s performance
        and determines whether to extend each such Trustee’s service for another year. Effective June 2013, the Board adopted a retirement
        policy wherein the Governance and Compliance Committee shall not recommend the continued service as a Trustee of a Board
        member who is older than 80 years of age at the time the Governance and Compliance Committee reports its findings to the Board.
  2     Since May 1, 2015, Mr. Honis has been treated as an Independent Trustee of the Trust. Prior to that date, Mr. Honis was treated as
        an Interested Trustee because he was a partner of an investment adviser affiliated with the Adviser until his resignation in
        November 2014. As of May 31, 2019, Mr. Honis was entitled to receive aggregate severance and/or deferred compensation
        payments of approximately $390,000 from another affiliate of the Adviser.
        In addition, Mr. Honis serves as a trustee of a trust that owns substantially all of the economic interest in an investment adviser
        affiliated with the Adviser. Mr. Honis indirectly receives an asset-based fee in respect of such interest, which is projected to range
        from $450,000-$550,000 annually. Additionally, an investment adviser controlled by Mr. Honis has entered into a shared services
        arrangement with an affiliate of the Adviser, pursuant to which the affiliate provides back office support in exchange for
        approximately $50,000 per quarter. The affiliated adviser was paid $147,000 and $208,000 in 2017 and 2018, respectively. In light of
        these relationships between Mr. Honis and affiliates of the Adviser, it is possible that the SEC might in the future determine
        Mr. Honis to be an interested person of the Trust.
  3     Prior to December 8, 2017, Mr. Powell was treated as an Interested Trustee of the Trust for all purposes other than compensation
        and the Trust’s code of ethics.
  4     On February 7, 2018, Mr. Norris was appointed as an Interested Trustee of the Trust.


  OFFICERS

  Nam e , Date of Birth , Position (s) h e ld
  with th e Tru st an d Le n gth of Tim e
  S e rve d, Te rm of O ffice                                          Prin cipal O ccu pation s(s) Du rin g th e Past Five Ye ars
  James Dondero                                 President of HCM, which he co-founded in 1993; Chairman of the Board of NexPoint Residential
  (6/29/1962)                                   Trust, Inc. since May 2015; Portfolio Manager of NHF; GAF; Highland Energy MLP Fund,
                                                Highland Small-Cap Equity Fund and Highland Premier Growth Equity Fund (each a series of HFII);
  President and                                 Highland Opportunistic Credit Fund (series of HFI); the BDC; and the Interval Funds.
  Principal Executive Officer since
  May 2015; Indefinite Term

  Frank Waterhouse                              Partner and Chief Financial Officer of HCM; Treasurer of the Highland Funds Complex since May
  (4/14/1971)                                   2015.

  Treasurer since May 2015; Principal
  Financial Officer and Principal
  Accounting Officer since October
  2017; Principal Executive Officer
  since February 2018; Indefinite
  Term

  Clifford Stoops                               Chief Accounting Officer at HCM; Assistant Treasurer of the Highland Funds Complex since
  (11/17/1970)                                  March 2017.

  Assistant Treasurer since March
  2017; Indefinite Term

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  Nam e , Date of Birth , Position (s) h e ld
  with th e Tru st an d Le n gth of Tim e
  S e rve d, Te rm of O ffice                                          Prin cipal O ccu pation s(s) Du rin g th e Past Five Ye ars
  Jason Post                                    Chief Compliance Officer for HCMFA and NexPoint since September 2015; Chief Compliance
  (1/9/1979)                                    Officer and Anti-Money Laundering Officer of the Highland Funds Complex since September
                                                2015. Prior to his current role at HCMFA and NexPoint, Mr. Post served as Deputy Chief
  Chief Compliance Officer since                Compliance Officer and Director of Compliance for HCM.
  September 2015; Indefinite Term

  Dustin Norris                        Head of Distribution and Chief Product Strategist at NexPoint since March 2019; President of
  (1/6/1984)                           NexPoint Securities, Inc. since April 2018; Head of Distribution at HCMFA from November 2017
                                       until March 2019; Chief Product Strategist at HCMFA from September 2015 to March 2019; Director
  Executive Vice President since April of Product Strategy at HCMFA from May 2014 to September 2015; Officer of the Highland Funds
  2019; Indefinite Term                Complex since November 2012.


  Trustee since February 2018

  Lauren Thedford                               Associate General Counsel at HCM since September 2017; In-House Counsel at HCM from
  (1/7/1989)                                    January 2015 until September 2017; Secretary of the Highland Funds Complex since April 2019.

  Secretary since April 2019;
  Indefinite Term

  1     The address for each officer is c/o NexPoint Advisors, L.P., 300 Crescent Court, Suite 700, Dallas, Texas 75201.


  Role of the Board of Trustees, Leadership Structure and Risk Oversight
  The Role of the Board of Trustees
        The Board oversees the management and operations of the Trust. Like most registered investment companies, the day-to-day
  management and operation of the Trust is performed by various service providers to the Trust, such as the Investment Adviser, and the
  distributor, administrator, custodian, and transfer agent. The Board has appointed senior employees of certain of these service providers
  as officers of the Trust, with responsibility to monitor and report to the Board on the Trust’s operations. The Board receives regular
  reports from these officers and service providers regarding the Trust’s operations. For example, the Treasurer provides reports as to
  financial reporting matters and investment personnel report on the performance of the Trust. The Board has appointed a Chief
  Compliance Officer who administers the Trust’s compliance program and regularly reports to the Board as to compliance matters. Some
  of these reports are provided as part of formal in-person Board meetings, which are typically held quarterly, in person, and involve the
  Board’s review of, among other items, recent Trust operations. The Board also periodically holds telephonic meetings as part of its
  review of the Trust’s activities. From time to time one or more members of the Board may also meet with management in

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  less formal settings, between scheduled Board meetings, to discuss various topics. In all cases, however, the role of the Board and of
  any individual Trustee is one of oversight and not of management of the day-to-day affairs of the Trust and its oversight role does not
  make the Board a guarantor of the Trust’s investments, operations or activities.


  Board Structure and Leadership
       The Board has structured itself in a manner that it believes allows it to perform its oversight function effectively. The Board
  consists of five Trustees, four of whom are Independent Trustees. Mr. Powell serves as Chairman of the Board. The Trustees meet
  periodically throughout the year in person and by telephone to oversee the Trust’s activities, review contractual arrangements with
  service providers for the Trust and review the Trust’s performance. The Board conducts much of its work through certain standing
  Committees, each of whose meetings are chaired by an Independent Trustee: an Audit and Qualified Legal Compliance Committee, a
  Governance and Compliance Committee, and a Distribution and Alternatives Oversight Committee, which are discussed in greater detail
  below.

       Audit and Qualified Legal Compliance Committee. The members of the Audit and Qualified Legal Compliance Committee
  (formerly named the Audit Committee) are Dr. Froehlich and Messrs. Powell and Ward, each of whom is independent for purposes of the
  Investment Company Act. The Audit and Qualified Legal Compliance Committee is responsible for approving the Trust’s independent
  accountants, reviewing with the Trust’s independent accountants the plans and results of the audit engagement and the adequacy of
  the Trust’s internal accounting controls, approving professional services provided by the Trust’s independent accountants. The Audit
  and Qualified Legal Compliance Committee is charged with compliance with Rules 205.2(k) and 205.3(c) of Title 17 of the Code of Federal
  Regulations regarding alternative reporting procedures for attorneys representing the Trust who appear and practice before the SEC on
  behalf of the Trust. The Audit and Qualified Legal Compliance Committee is also responsible for reviewing and overseeing the valuation
  of debt and equity securities that are not publicly traded or for which current market values are not readily available pursuant to policies
  and procedures adopted by the Board. The Board and Audit and Qualified Legal Compliance Committee will use the services of one or
  more independent valuation firms to help them determine the fair value of these securities. In addition, each member of the Audit and
  Qualified Legal Compliance Committee meets the current independence and experience requirements of Rule 10A-3 under the Exchange
  Act.

        The Audit and Qualified Legal Compliance Committee met seven times during the fiscal year ended December 31, 2018. Mr. Ward
  acts as the Chairman of the Audit and Qualified Legal Compliance Committee and as the audit committee financial expert.

        Governance and Compliance Committee. The Trust’s Governance and Compliance Committee’s function is to oversee and make
  recommendations to the full Board or the Independent Trustees, as applicable, with respect to the governance of the Trust, selection
  and nomination of Trustees, compensation of Trustees, and related matters. The Governance and Compliance Committee is also
  responsible for at least annually evaluating each Trustee and determining whether to recommend each Trustee’s continued service in
  that capacity. The Governance and Compliance Committee will consider recommendations for Trustee nominees from shareholders sent
  to the Secretary of the Trust, 300 Crescent Court, Suite 700, Dallas, Texas 75201. A nomination submission must include all information
  relating to the recommended nominee that is required to be disclosed in solicitations or proxy statements for the election of Trustees, as
  well as information sufficient to evaluate the recommended nominee’s ability to meet the responsibilities of a Trustee of the Trust.
  Nomination submissions must be accompanied by a written consent of the individual to stand for election if nominated by the Board
  and to serve if elected by the shareholders, and such additional information must be provided regarding the recommended nominee as
  reasonably requested by the Governance and Compliance Committee. The Governance and Compliance Committee is currently
  comprised of Dr. Froehlich and Messrs. Honis, Ward and Powell, each of whom is independent for purposes of the 1940 Act. Mr. Powell
  serves as the Chairman of the Governance and Compliance Committee. The Governance and Compliance Committee met three times
  during the fiscal year ended December 31, 2018.

       The Distribution and Alternatives Oversight Committee. The members of the Distribution and Alternatives Oversight
  Committee are Dr. Froehlich, Messrs. Honis, Norris, Ward, and Powell. The Distribution and Alternatives Oversight Committee is
  responsible for overseeing any Funds that in the Board’s determination employ alternative investment strategies. Dr. Froehlich serves as
  Chairman of the Distribution and Alternatives Oversight Committee. The Distribution and Alternatives Oversight Committee met two
  times during the fiscal year ended December 31, 2018.

        The Board periodically reviews its leadership structure, including the role of the Chairman. The Board also completes an annual
  self-assessment during which it reviews its leadership and Committee structure and considers whether its structure remains appropriate
  in light of the Trust’s current operations. The Board believes that its leadership structure, including the current percentage of the Board
  who are Independent Trustees, is appropriate given its specific characteristics. These characteristics include: (i) the extent to which the
  work of the Board is conducted through the standing committees; (ii) the extent to which the Independent Trustees meet as needed,
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  together with their independent legal counsel, in the absence of members of management and members of the Board who are “interested
  persons” of the Trust; and (iii) Mr. Powell’s and Mr. Honis’ previous positions with affiliates of the Investment Adviser, which enhance
  the Board’s understanding of the operations of the Investment Adviser.

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     Board Oversight of Risk Management
        The Board’s role is one of oversight, rather than active management. This oversight extends to the Trust’s risk management
  processes. These processes are embedded in the responsibilities of officers of, and service providers to, the Trust. For example, the
  Investment Adviser and other service providers to the Trust are primarily responsible for the management of the Trust’s investment
  risks. The Board has not established a formal risk oversight committee. However, much of the regular work of the Board and its standing
  Committees addresses aspects of risk oversight. For example, the Trustees seek to understand the key risks facing the Trust, including
  those involving conflicts of interest; how management identifies and monitors these risks on an ongoing basis; how management
  develops and implements controls to mitigate these risks; and how management tests the effectiveness of those controls.

        In the course of providing that oversight, the Board receives a wide range of reports on the Trust’s activities from the Investment
  Adviser and other service providers, including reports regarding the Trust’s investment portfolio, the compliance of the Trust with
  applicable laws, and the Trust’s financial accounting and reporting. The Board also meets periodically with the Trust’s Chief Compliance
  Officer to receive reports regarding the compliance of the Trust with the federal securities laws and the Trust’s internal compliance
  policies and procedures and meets with the Trust’s Chief Compliance Officer periodically, including at least annually, to review the Chief
  Compliance Officer’s annual report, including the Chief Compliance Officer’s risk-based analysis for the Trust. The Board’s Audit
  Committee also meets regularly with the Treasurer and the Trust’s independent public accounting firm to discuss, among other things,
  the internal control structure of the Trust’s financial reporting function. The Board also meets periodically with the portfolio managers of
  the Trust to receive reports regarding the management of the Trust, including its investment risks.

        The Board recognizes that not all risks that may affect the Trust can be identified, that it may not be practical or cost-effective to
  eliminate or mitigate certain risks, that it may be necessary to bear certain risks (such as investment-related risks) to achieve the Trust’s
  goals, that reports received by the Trustees with respect to risk management matters are typically summaries of the relevant information,
  and that the processes, procedures and controls employed to address risks may be limited in their effectiveness. As a result of the
  foregoing and other factors, risk management oversight by the Board and by the Committees is subject to substantial limitations.


  Compensation of Trustees
       The officers of the Trust and those of its Trustees who are “interested persons” (as defined in the 1940 Act) of the Trust receive
  no direct remuneration from the Trust. The following table sets forth the aggregate compensation paid to each of the Trustees who is
  not an “interested person” (as defined in the 1940 Act) of the Trust (the “Independent Trustees”) by the Trust and the total
  compensation paid to each of the Trustees by the Highland Funds Complex for the fiscal year ended December 31, 2018.

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       The following table summarizes the compensation paid by the Trust to the Independent Trustees and the aggregate compensation
  paid by the Fund Complex to the Independent Trustees for the fiscal year ended December 31, 2018.

                                                                                    Pe n sion or                                             Aggre gate
                                                                                    Re tire m e n t                                        C om pe n sation
                                                         Aggre gate              Be n e fits Accru e d        Estim ate d An n u al           from th e
                                                       C om pe n sation            as Part of th e              Be n e fits Upon           High lan d Fu n ds
        Nam e of Tru ste e                             From th e Tru st           Tru st’s Expe n se             Re tire m e n t              C om ple x
        Independent Trustees
        Timothy K. Hui1                                $    26,810.30            $                  0         $                   0        $        150,000
        Bryan A. Ward2                                 $    28,844.46            $                  0         $                   0        $        160,000
        Dr. Bob Froehlich                              $    26,810.30            $                  0         $                   0        $        150,000
        John Honis 3                                   $    26,810.30            $                  0         $                   0        $        150,000
        Ethan Powell2,4                                $    28,844.46            $                  0         $                   0        $        160,000
        Interested Trustee
        Dustin Norris 5                                            N/A                          N/A                           N/A                       N/A

  1     Effective March 31, 2019, Mr. Hui resigned as an Independent Trustee of the Trust. Mr. Hui’s resignation was related to a reduction
        in the size of the Board to five members. There were no material conflicts, disagreements or other issues between Mr. Hui, the
        Board of Trustees or NexPoint.
  2     Effective December 31, 2018, the Board approved an aggregate compensation increase of $10,000 payable to each of the Chairman
        of the Audit Committee and the Chairman of the Board.
  3     Effective May 1, 2015, Mr. Honis is treated as an Independent Trustee of the Trust.
  4     Prior to December 8, 2017, Mr. Powell was treated as an Interested Trustee of the Trust for all purposes other than compensation
        and the Trust’s code of ethics.
  5     On February 7, 2018, Mr. Norris was appointed an Interested Trustee of the Trust.


  Share Ownership
        The following table shows the dollar range of equity securities beneficially owned by the Trustees in the Trust and the aggregate
  dollar range of equity securities owned by the Trustees in all funds overseen by the Trustees in the Highland Funds Complex as of
  June 30, 2018.

                                                                                                     Aggre gate Dollar Ran ge of
                                                             Dollar Ran ge of              Equ ity S e cu ritie s O wn e d in All Fu n ds of th e
                                                            Equ ity S e cu ritie s                           High lan d Fu n d
                    Nam e of Tru ste e                         in th e Tru st                     C om ple x 1 O ve rse e n by Tru ste e
                    Independent Trustees
                    Ethan Powell1                            Over $ 100,000                                  Over $ 100,000
                    John Honis 2                                None                                            None
                    Dr. Bob Froehlich                           None                                         Over $ 100,000
                    Bryan A. Ward                             $1-$10,000                                     Over $ 100,000
                    Interested Trustee
                    Dustin Norris 3                          Over $ 100,000                                  Over $ 100,000

  1     Prior to December 8, 2017, Mr. Powell was treated as an Interested Trustee of the Trust for all purposes other than compensation
        and the Trust’s code of ethics.
  2     Effective May 1, 2015, Mr. Honis is treated as an Independent Trustee of the Trust.
  3     On February 7, 2018, Mr. Norris was appointed an Interested Trustee of the Trust.


  Proxy Voting Policies and Procedures
        The Board has delegated the voting of proxies for Trust securities to the Investment Adviser pursuant to the Investment
  Adviser’s proxy voting policies and procedures. Under these policies and procedures, the Investment Adviser will vote proxies related
  to Trust securities in the best interests of the Trust and its shareholders. A copy of the Investment Adviser’s proxy voting policies and
  procedures is attached as Appendix B to this SAI. The Trust’s proxy voting record for the most recent 12- month period ending June 30
  is available (i) without charge, upon request, by calling 1-866-351-4440 and (ii) on the SEC’s web site (http://www.sec.gov).

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  Codes of Ethics
        The Trust and the Investment Adviser have adopted codes of ethics under Rule 17j-1 of the Investment Company Act. These
  codes permit personnel subject to the codes to invest in securities, including securities that may be purchased or held by the Trust.
  These codes can be reviewed and copied at the SEC’s Public Reference Room in Washington, D.C. Information on the operation of the
  Public Reference Room may be obtained by calling the SEC at 1-202-551-8090. The codes of ethics are available on the EDGAR Database
  on the SEC’s web site (http://www.sec.gov), and copies of these codes may be obtained, after paying a duplicating fee, by electronic
  request at the following e-mail address: publicinfo@sec.gov, or by writing the SEC’s Public Reference Section, Washington, D.C. 20549-
  0102.


  Investment Adviser
       Effective June 14, 2012, NexPoint Advisors, L.P. became the investment adviser and administrator to the Trust. Prior to
  June 14, 2012, HCMFA (formerly Pyxis Capital, L.P.) was the investment adviser and administrator to the Trust. For a description of the
  Investment Adviser, including a description of its controlling persons, see “Management of the Trust—Investment Adviser” in the
  Trust’s Prospectus.

       As described in more detail in the Trust’s Prospectus, in return for its advisory services, the Investment Adviser receives an
  annual fee, payable monthly, in an amount equal to 1.00% of the average weekly value of the Trust’s Managed Assets (the “Advisory
  Fee”). The accrued fees are payable monthly as promptly as possible after the end of each month during which the investment advisory
  agreement is in effect.

      Pursuant to the investment advisory agreement, the Trust has paid the following amounts as Advisory Fees to the Investment
  Adviser for the past three fiscal years:

                                    2016                                    2017                           2018
                                 $5,419,265                              $5,853,721                     $8,590,032


  Administration Services
         As described in more detail in the Trust’s Prospectus, in return for its administrative services, the Investment Adviser receives an
  annual fee, payable monthly, in an amount equal to 0.20% of the average weekly value of the Trust’s Managed Assets. Pursuant to the
  Trust’s administration services agreement, the Investment Adviser performs the following services: (i) prepare monthly security
  transaction listings; (ii) supply various normal and customary portfolio and Trust statistical data as requested on an ongoing basis;
  (iii) prepare for execution and file the Trust’s Federal and state tax returns: prepare a fiscal tax provision in coordination with the annual
  audit; prepare an excise tax provision; and prepare all relevant 1099 calculations; (iv) coordinate contractual relationships and
  communications between the Trust and its contractual service providers; (v) coordinate printing of the Trust’s annual and semi-annual
  shareholder reports; (vi) prepare income and capital gain distributions; (vii) prepare the semiannual and annual financial statements;
  (viii) monitor the Trust’s compliance with Internal Revenue Code, SEC and Prospectus requirements; (ix) prepare, coordinate with the
  Trust’s counsel and coordinate the filing with the SEC: annual reports on Form N-CEN and semi-annual reports on Form N-CSR; Form N-
  PORT; and Form N-PX based upon information provided by the Trust; assist in the preparation of Forms 3, 4 and 5 pursuant to
  Section 16 of the Securities Exchange Act of 1934, as amended, and Section 30(h) of the Investment Company Act for the officers and
  trustees of the Trust, such filings to be based on information provided by those persons; (x) assist in the preparation of notices of
  meetings of shareholders and coordinate preparation of proxy statements; (xi) assist in obtaining the fidelity bond and trustees’ and
  officers’/errors and omissions insurance policies for the Trust in accordance with the requirements of Rule 17g-1 and 17d-1(d)(7) under
  the Investment Company Act; (xii) monitor the Trust’s assets to assure adequate fidelity bond coverage is maintained; (xiii) draft
  agendas and resolutions for quarterly and special Board meetings; (xiv) coordinate the preparation, assembly and mailing of Board
  materials; (xv) attend Board meetings and draft minutes thereof; (xvi) maintain the Trust’s corporate calendar to assure compliance with
  various filing and Board approval deadlines; (xvii) assist the Trust in the handling of SEC examinations and responses thereto;
  (xviii) assist the Trust’s chief executive officer and chief financial officer in making certifications required under the SEC’s disclosure
  forms; (xix) prepare and coordinate the Trust’s state notice filings; (xx) furnish the Trust office space in the offices of the Investment
  Adviser, or in such other place or places as may be agreed from time to time, and all necessary office facilities, simple business
  equipment, supplies, utilities and telephone service for managing the affairs of the Trust; (xxi) perform clerical, bookkeeping and other
  administrative services not provided by the Trust’s other service providers; (xxii) determine or oversee the determination and
  publication of the Trust’s NAV in accordance with the Trust’s policies as adopted from time to time by the Board; (xxiii) oversee the
  maintenance by the Trust’s custodian and transfer agent and dividend disbursing agent of certain books and records of the Trust as
  required under Rule 31a-1(b)(2)(iv) of the Investment Company Act and maintain (or oversee maintenance by such

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  other persons as approved by the Board) such other books and records required by law or for the proper operation of the Trust;
  (xxiv) determine the amounts available for distribution as dividends and distributions to be paid by the Trust to its shareholders;
  calculate, analyze and prepare a detailed income analysis and forecast future earnings for presentation to the Board; prepare and arrange
  for the printing of dividend notices to shareholders, as applicable, and provide the Trust’s dividend disbursing agent and custodian
  with such information as is required for such parties to effect the payment of dividends and distributions and to implement the Trust’s
  dividend reinvestment plan; (xxv) serve as liaison between the Trust and each of its service providers; (xxvi) assist in monitoring and
  tracking the daily cash flows of the individual assets of the Trust, as well as security position data of portfolio investments; assist in
  resolving any identified discrepancies with the appropriate third party, including the Trust’s custodian, administrative agents and other
  service providers, through various means including researching available data via agent notices, financial news and data services, and
  other sources; (xxvii) monitor compliance with leverage tests under the Trust’s credit facility, and communicate with leverage providers
  and rating agencies; (xxviii) coordinate negotiation and renewal of credit agreements for presentation to the Board; (xxix) coordinate
  negotiations of agreements with counterparties and the Trust’s custodian for derivatives, short sale and similar transactions, as
  applicable; (xxx) provide assistance with the settlement of trades of portfolio securities; (xxxi) coordinate and oversee the provision of
  legal services to the Trust; (xxxii) cooperate with the Trust’s independent registered public accounting firm in connection with audits
  and reviews of the Trust’s financial statements, including interviews and other meetings, and provide necessary information and
  coordinate confirmations of bank loans and other assets for which custody is not through DTC, as necessary; (xxxiii) provide Secretary
  and any Assistant Secretaries, Treasurer and any Assistant Treasurers and other officers for the Trust as requested; (xxxiv) develop or
  assist in developing compliance guidelines and procedures; (xxxv) investigate and research customer and other complaints to determine
  liability, facilitate resolution and promote equitable treatment of all parties; (xxxvi) determine and monitor expense accruals for the Trust;
  (xxxvii) authorize expenditures and approve bills for payment on behalf of the Trust; (xxxviii) monitor the number of shares of the Trust
  registered and assist in the registration of additional shares, as necessary; (xxxix) prepare such reports as the Board may request from
  time to time; (xl) administer and oversee any securities lending program of the Trust; and (xli) perform such additional administrative
  duties relating to the administration of the Trust as may subsequently be agreed upon in writing between the Trust and the Investment
  Adviser. The Investment Adviser shall have the authority to engage a sub-administrator in connection with the administrative services
  of the Trust, which sub-administrator may be an affiliate of the Investment Adviser; provided, however, that the Investment Adviser
  shall remain responsible to the Trust with respect to its duties and obligations set forth in the administration services agreement.
  Accordingly, under a separate sub-administration services agreement, dated July 19, 2018, as amended from time to time, the Investment
  Adviser has delegated certain administrative functions to SEI Investments Global Funds Services.

       Pursuant to the administration services agreement, the Trust has paid the following amounts as Administration Fees to the
  Investment Adviser and HCMFA for the past three fiscal years:

  Administration Fees

                                    2016                                     2017                                 2018
                                 $1,083,853                                $1,170,744                           $959,793


  Portfolio Manager
        The portfolio manager of the Trust is James Dondero.

  As of June 30, 2019, Mr. Dondero managed the following client accounts:

                                                                                             Nu m be r of Accou n ts     Total Asse ts S u bje ct to
                                                                                             Man age d S u bje ct to      Pe rform an ce -Base d
                                                 Nu m be r of Accou n ts     Total Asse ts   Pe rform an ce -Base d           Advisory Fe e
        Type of Accou n t                              Man age d              (m illion s)       Advisory Fe e                  (m illion s)
        Registered Investment
          Companies:                                                 11      $       1,760                        1      $                       91
        Other Pooled Investment
          Vehicles:                                                   2      $       1,046                        2      $                   1,046
        Other Accounts:                                               0      $           0                        0      $                       0

        Because the portfolio manager manages other accounts, including accounts that may pay higher fees, potential conflicts of
  interest exist, including potential conflicts between the investment strategy of the Trust and the investment strategy of the other
  accounts managed by the portfolio manager and potential conflicts in the allocation of investment opportunities between the Trust and
  the other accounts.

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        The Investment Adviser has built a professional working environment, a firm-wide compliance culture and compliance procedures
  and systems designed to protect against potential incentives that may favor one account over another. The Investment Adviser has
  adopted policies and procedures that address the allocation of investment opportunities, execution of portfolio transactions, personal
  trading by employees and other potential conflicts of interest that are designed to ensure that all client accounts are treated equitably
  over time. Nevertheless, the Investment Adviser furnishes advisory services to numerous clients in addition to the Trust, and the
  Investment Adviser may, consistent with applicable law, make investment recommendations to other clients or accounts (including
  accounts which are hedge funds or have performance or higher fees paid to the Investment Adviser, or in which portfolio managers
  have a personal interest in the receipt of such fees), which may be the same as or different from those made to the Trust. In addition, the
  Investment Adviser, its affiliates and any officer, director, stockholder or employee may or may not have an interest in the securities
  whose purchase and sale the Investment Adviser recommends to the Trust. Actions with respect to securities of the same kind may be
  the same as or different from the action which the Investment Adviser, or any of its affiliates, or any officer, director, stockholder,
  employee or any member of their families may take with respect to the same securities. Moreover, the Investment Adviser may refrain
  from rendering any advice or services concerning securities of companies of which any of the Investment Adviser’s (or its affiliates’)
  officers, directors or employees are directors or officers, or companies as to which the Investment Adviser or any of its affiliates or the
  officers, directors and employees of any of them has any substantial economic interest or possesses material non-public information. In
  addition to its various policies and procedures designed to address these issues, the Investment Adviser includes disclosure regarding
  these matters to its clients in both its Form ADV and investment advisory agreements.

        The Investment Adviser, its affiliates or their officers and employees serve or may serve as officers, directors or principals of
  entities that operate in the same or related lines of business or of investment funds managed by affiliates of the Investment Adviser.
  Accordingly, these individuals may have obligations to investors in those entities or funds or to other clients, the fulfillment of which
  might not be in the best interests of the Trust. As a result, the Investment Adviser will face conflicts in the allocation of investment
  opportunities to the Trust and other funds and clients. In order to enable such affiliates to fulfill their fiduciary duties to each of the
  clients for which they have responsibility, the Investment Adviser will endeavor to allocate investment opportunities in a fair and
  equitable manner which may, subject to applicable regulatory constraints, involve pro rata co-investment by the Trust and such other
  clients or may involve a rotation of opportunities among the Trust and such other clients.

         The Investment Adviser and its affiliates have both subjective and objective procedures and policies in place designed to manage
  the potential conflicts of interest between the Investment Adviser’s fiduciary obligations to the Trust and their similar fiduciary
  obligations to other clients so that, for example, investment opportunities are allocated in a fair and equitable manner among the Trust
  and such other clients. An investment opportunity that is suitable for multiple clients of the Investment Adviser and its affiliates may
  not be capable of being shared among some or all of such clients due to the limited scale of the opportunity or other factors, including
  regulatory restrictions imposed by the Investment Company Act. There can be no assurance that the Investment Adviser’s or its
  affiliates’ efforts to allocate any particular investment opportunity fairly among all clients for whom such opportunity is appropriate will
  result in an allocation of all or part of such opportunity to the Trust. Not all conflicts of interest can be expected to be resolved in favor
  of the Trust.

       Under current SEC guidance, the Trust may be prohibited from co-investing with certain of its affiliates in some types of private
  placement transactions (see Co-Investment Opportunities, below, for more information).


  Compensation
       The Investment Adviser’s financial arrangements with its portfolio managers, its competitive compensation and its career path
  emphasis at all levels reflect the value senior management places on key resources. Compensation may include a variety of components
  and may vary from year to year based on a number of factors including the relative performance of a portfolio managers’ underlying
  account, the combined performance of the portfolio managers underlying accounts, and the relative performance of the portfolio
  managers underlying accounts measured against other employees. The principal components of compensation include a base salary, a
  discretionary bonus and various retirement benefits.

        Base Compensation. Generally, portfolio managers receive base compensation based on their seniority and/or their position with
  the firm, which may include the amount of assets supervised and other management roles within the firm. Base compensation is
  determined by taking into account current industry norms and market data to ensure that the Investment Adviser pays a competitive
  base compensation.

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        Discretionary Compensation. In addition to base compensation, portfolio managers may receive discretionary compensation,
  which can be a substantial portion of total compensation. Discretionary compensation can include a discretionary cash bonus paid to
  recognize specific business contributions and to ensure that the total level of compensation is competitive with the market, as well as
  participation in incentive plans.

       Because each person’s compensation is based on his or her individual performance, the Investment Adviser does not have a
  typical percentage split among base salary, bonus and other compensation. Senior portfolio managers who perform additional
  management functions may receive additional compensation in these other capacities. Compensation is structured such that key
  professionals benefit from remaining with the Investment Adviser. The Investment Adviser believes it is in the best interest of
  shareholders to maintain stability of portfolio management personnel.


  Conflicts of Interest
        From time to time, potential and actual conflicts of interest may arise between the portfolio manager’s management of the
  investments of the Trust, on the one hand, and the management of other accounts, on the other. Potential and actual conflicts of interest
  may also arise as a result of the Investment Adviser’s other business activities and the Investment Adviser’s possession of material
  non-public information about an issuer. Other accounts managed by the portfolio manager might have similar investment objectives or
  strategies as the Trust, or otherwise hold, purchase, or sell securities that are eligible to be held, purchased or sold by the Trust. The
  other accounts might also have different investment objectives or strategies than the Trust.

       Knowledge and Timing of Trust Trades. A potential conflict of interest may arise as a result of the portfolio manager’s day-to-day
  management of the Trust. Because of his position with the Trust, the portfolio manager knows the size, timing and possible market
  impact of the Trust’s trades. It is theoretically possible that the portfolio manager could use this information to the advantage of other
  accounts he manages and to the possible detriment of the Trust.

       Investment Opportunities. A potential conflict of interest may arise as a result of the portfolio manager’s management of a number
  of accounts with varying investment guidelines. Often, an investment opportunity may be suitable for both the Trust and other
  accounts managed by the portfolio manager, but may not be available in sufficient quantities for both the Trust and the other accounts
  to participate fully. Similarly, there may be limited opportunity to sell an investment held by the Trust and another account. The
  Investment Adviser has adopted policies and procedures reasonably designed to allocate investment opportunities on a fair and
  equitable basis over time.

        Under the Investment Adviser’s allocation procedures, investment opportunities are allocated among various investment
  strategies based on individual account investment guidelines and the Investment Adviser’s investment outlook. The Investment
  Adviser has also adopted additional procedures to complement the general trade allocation policy that are designed to address potential
  conflicts of interest due to the side-by-side management of the Trust and certain pooled investment vehicles, including investment
  opportunity allocation issues.

        Conflicts potentially limiting the Trust’s investment opportunities may also arise when the Trust and other clients of the
  Investment Adviser invest in different parts of an issuer’s capital structure, such as when the Trust owns senior debt obligations of an
  issuer and other clients own junior tranches of the same issuer, or when the Trust owns debt securities of an issuer and other clients
  own equity securities of the same issuer. In such circumstances, if the issuer experiences financial or operational challenges, decisions
  over whether to trigger an event of default, over the terms of any workout, or how to exit an investment may result in conflicts of interest
  (including, for example, conflicts over proposed waivers and amendments to debt covenants). For example, a debt holder may be better
  served by a liquidation of the issuer in which it may be paid in full, whereas an equity holder might prefer a reorganization that holds the
  potential to create value for the equity holders. In addition, the Investment Adviser may also, in certain circumstances, pursue or
  enforce rights with respect to a particular issuer jointly on behalf of one or more of its clients, or the Investment Adviser’s personnel
  may work together to pursue or enforce such rights. Certain clients may be negatively impacted by the Investment Adviser’s activities
  on behalf of its other clients, and transactions on behalf of some clients may be impaired or effected at prices or terms that may be less
  favorable than would otherwise have been the case. In order to minimize such conflicts, the portfolio manager may avoid certain
  investment opportunities that would potentially give rise to conflicts with other clients of the Investment Adviser or the Investment
  Adviser may enact internal procedures designed to minimize such conflicts, which could have the effect of limiting the Trust’s
  investment opportunities.

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        Additionally, if the Investment Adviser acquires material non-public confidential information in connection with its business
  activities for other clients, the portfolio manager may be restricted from purchasing securities or selling securities for the Trust. When
  making investment decisions where a conflict of interest may arise, the Investment Adviser will endeavor to act in a fair and equitable
  manner as between the Trust and other clients; however, in certain instances the resolution of the conflict may result in the Investment
  Adviser acting on behalf of another client in a manner that may not be in the best interest, or may be opposed to the best interest, of the
  Trust.

        Performance Fees. The portfolio manager may advise certain accounts with respect to which the advisory fee is based entirely or
  partially on performance. Performance fee arrangements may create a conflict of interest for the portfolio manager in that the portfolio
  manager may have an incentive to allocate the investment opportunities that he believes might be the most profitable to such other
  accounts instead of allocating them to the Trust. The Investment Adviser has adopted policies and procedures reasonably designed to
  allocate investment opportunities between the Trust and such other accounts on a fair and equitable basis over time.


  Co-Investment Opportunities
        The Trust expects in the future to co-invest on a concurrent basis with other affiliates, unless doing so is impermissible under
  existing regulatory guidance, applicable regulations and our allocation procedures. The Trust, HCMFA and the Investment Adviser
  have obtained an exemptive order dated April 19, 2016 from the SEC to permit co-investments among the Trust and other accounts
  managed by the Investment Adviser or its affiliates, subject to certain conditions.


  Securities Ownership of Portfolio Manager
       The following table sets forth the dollar range of equity securities of the Trust beneficially owned by the portfolio manager as of
  June 30, 2019.

                                                                                                 Dollar Ran ge of
                          Nam e of Portfolio Man age r                                   Equ ity S e cu ritie s in th e Tru st
                          James Dondero                                                          Over $1,000,000


                                               PORTFOLIO TRANSACTIONS AND BROKERAGE

  Selection of Broker-Dealers; Order Placement
        Subject to the overall review of the Board, the Investment Adviser is responsible for decisions to buy and sell securities and other
  portfolio holdings of the Trust, for selecting the broker or dealer to be used, and for negotiating any commission rates paid. In
  underwritten offerings, securities usually are purchased at a fixed price that includes an amount of compensation to the underwriter,
  generally referred to as the underwriter’s concession or discount. On occasion, certain money market instruments may be purchased
  directly from an issuer, in which case no commissions or discounts are paid.

        The Investment Adviser and its affiliates manage other accounts, including private funds and individual accounts that invest in
  senior loans and Trust investments. Although investment decisions for the Trust are made independently from those of such other
  accounts, investments of the type the Trust may make also may be made on behalf of such other accounts. When the Trust and one or
  more other accounts is prepared to invest in, or desires to dispose of, the same investment, available investments or opportunities for
  each are allocated in a manner believed by the Investment Adviser to be equitable over time. The Investment Adviser may (but is not
  obligated to) aggregate orders, which may include orders for accounts in which the Investment Adviser or its affiliates have an interest,
  to purchase and sell securities to obtain favorable execution or lower brokerage commissions, to the extent permitted by applicable laws
  and regulations. Although the Investment Adviser believes that, over time, the potential benefits of participating in volume transactions
  and negotiating lower transaction costs should benefit all participating accounts, in some cases these activities may adversely affect the
  price paid or received or the size of the position obtained by or disposed of for the Trust. Where trades are aggregated, the investments
  or proceeds, as well as the expenses incurred, will be allocated by the Investment Adviser in a manner designed to be equitable and
  consistent with the Investment Adviser’s fiduciary duty to the Trust and its other clients (including its duty to seek to obtain best
  execution of client trades).


  Commission Rates; Brokerage and Research Services



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        In placing orders for the Trust’s portfolio, the Investment Adviser is required to give primary consideration to obtaining the most
  favorable price and efficient execution. This means that the Investment Adviser will seek to execute each transaction at a price and
  commission, if any, which provides the most favorable total cost or proceeds reasonably attainable in the circumstances. In seeking the
  most favorable price and execution, the Investment Adviser, having in mind the Trust’s best interests, will consider all

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  factors it deems relevant, including, by way of illustration: price; the size, type and difficulty of the transaction; the nature of the market
  for the security; the amount of the commission; the timing of the transaction taking into account market prices and trends; operational
  capabilities; the reputation, experience and financial stability of the broker-dealer involved; and the quality of service rendered by the
  broker-dealer in other transactions. Though the Investment Adviser generally seeks reasonably competitive commissions or spreads,
  the Trust will not necessarily be paying the lowest commission or spread available. The Investment Adviser may place portfolio
  transactions, to the extent permitted by law, with brokerage firms participating in a distribution of the Trust’s shares if it reasonably
  believes that the quality of execution and the commission are comparable to that available from other qualified firms.

       The Investment Adviser seeks to obtain “best execution” considering the execution price and overall commission costs paid and
  other factors. The Investment Adviser routes its orders to various broker-dealers for execution at its discretion. Factors involved in
  selecting brokerage firms include the size, type and difficulty of the transaction, the nature of the market for the security, the reputation,
  experience and financial stability of the broker-dealer involved, the quality of service, the quality of research and investment information
  provided and the firm’s risk in positioning a block of securities. Within the framework of the policy of obtaining the most favorable price
  and efficient execution, the Investment Adviser does consider “brokerage and research services” (as defined in the Securities Exchange
  Act of 1934, as amended) provided by brokers who effect portfolio transactions with the Investment Adviser or the Trust. “Brokerage
  and research services” are services that brokerage houses customarily provide to institutional investors and include statistical and
  economic data and research reports on particular issuers and industries.


  Affiliated Brokers; Regular Broker-Dealers
         The Investment Adviser is currently affiliated with NexBank Securities, Inc. (“NexBank”), a Financial Industry Regulatory
  Authority (“FINRA”) member broker-dealer that is indirectly controlled by the principals of the Investment Adviser. Absent an
  exemption from the SEC or other regulatory relief, the Trust is generally precluded from effecting certain principal transactions with
  affiliated brokers. The Trust may utilize affiliated brokers for agency transactions subject to compliance with policies and procedures
  adopted pursuant to Rule 17e-1 under the Investment Company Act. These policies and procedures are designed to provide that
  commissions, fees or other remuneration received by any affiliated broker or its affiliates for agency transactions are reasonable and fair
  compared to the remuneration received by other brokers in comparable transactions.

       During the fiscal years ended December 31, 2016, December 31, 2017 and December 31, 2018, the Trust paid brokerage commissions
  of $290,318, $557,751 and $521,016, respectively, of which $0 was paid to NexBank.

        There were no payments made to other brokers by the Trust during the fiscal year ended December 31, 2018 that were directed at
  least partially on the basis of research services they provided.

        During the fiscal year ended December 31, 2018, the Trust did not acquire any securities of its regular brokers or dealers. At that
  date, the Trust did not hold any securities of its regular brokers or dealers. For these purposes, regular brokers or dealers are (a) the
  brokers or dealers that received the greatest dollar amount of brokerage commissions by virtue of direct or indirect participation in the
  Trust’s portfolio transactions during the Trust’s most recent fiscal year, (b) the brokers or dealers that engaged as principal in the largest
  dollar amount of portfolio transactions of the Trust during the Trust’s most recent fiscal year, or (c) the brokers or dealers that sold the
  largest dollar amount of securities of the Trust during the Trust’s most recent fiscal year.

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                                     CONTROL PERSONS AND PRINCIPAL HOLDERS OF SECURITIES

       The following table sets forth, as of June 30, 2019, the beneficial ownership of each of our directors, executive officers, each person
  known to us to beneficially own 5% or more of the outstanding shares of our common stock, and the executive officers and directors as
  a “group,” as the term is defined in Section 13(d) of the 1934 Act.

                          Nam e an d Addre ss on Accou n t                                              % of S h are s
                          Morgan Stanley
                          2000 Westchester Avenue
                          Purchase, NY 10577-2530                                                               14.83%
                          Wells CLRG
                          One North Jefferson Avenue
                          Mail Code: H0004-050
                          St. Louis, MO 63103                                                                   10.72%
                          National Financial Services LLC
                          For exclusive benefit of our customers
                          499 Washington Blvd.
                          Attn. Mutual Funds Dept. 4th Floor
                          Jersey City, NJ 07310                                                                  9.79%
                          Pershing
                          One Pershing Plaza
                          Jersey City, NJ 07399                                                                  7.55%
                          Charles Schwab
                          211 Main Street
                          San Francisco, CA 94105 States                                                         5.77%


                                                      REPURCHASE OF COMMON SHARES

        The Trust is a closed-end management investment company and as such its shareholders will not have the right to cause the Trust
  to redeem their shares. Instead, the Trust’s common shares will trade in the open market at a price that will be a function of several
  factors, including dividend levels (which are in turn affected by performance and expenses), NAV, call protection, dividend stability,
  relative demand for and supply of such shares in the market, general market and economic conditions and other factors. Because shares
  of a closed-end investment company may frequently trade at prices lower than NAV, the Board may consider action that might be taken
  to reduce or eliminate any material discount from NAV in respect of common shares, which may include the repurchase of such shares in
  the open market or in private transactions, the making of a tender offer for such shares, or the conversion of the Trust to an open-end
  investment company. The Board may decide not to take any of these actions. In addition, there can be no assurance that share
  repurchases or tender offers, if undertaken, will reduce market discount. On November 2, 2016, the Board approved a share repurchase
  program pursuant to which the Trust may repurchase, over a six-month period beginning on December 1, 2016, up to $10 million of its
  shares of its outstanding shares in open-market transactions. In connection with the May 8, 2017 rights offering, the Board approved
  the extension of the Repurchase Program for a period of one year from the closing of the rights offering. As of the date of the
  Prospectus, the Trust has not completed any repurchases.

        Notwithstanding the foregoing, at any time when there are outstanding borrowings, the Trust may not purchase, redeem or
  otherwise acquire any of its common shares unless (i) all accrued preferred shares dividends have been paid and (ii) at the time of such
  purchase, redemption or acquisition, the NAV of the Trust’s portfolio (determined after deducting the acquisition price of the common
  shares) is at least 200% of the liquidation value of the outstanding borrowings. Any service fees incurred in connection with any tender
  offer made by the Trust will be borne by the Trust and will not reduce the stated consideration to be paid to tendering shareholders.

       Subject to its investment restrictions, the Trust may borrow to finance the repurchase of shares or to make a tender offer. Interest
  on any borrowings to finance share repurchase transactions or the accumulation of cash by the Trust in anticipation of share
  repurchases or tenders will reduce the Trust’s net income. Any share repurchase, tender offer or borrowing that might be approved by
  the Board would have to comply with the Securities Exchange Act of 1934, as amended, the Investment Company Act and the rules and
  regulations thereunder.

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        Although the decision to take action in response to a discount from NAV will be made by the Board at the time it considers such
  issue, it is the Board’s present policy, which may be changed by the Board, not to authorize repurchases of common

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  shares or a tender offer for such shares if: (1) such transactions, if consummated, would (a) result in the delisting of the common shares
  from the New York Stock Exchange, or (b) impair the Trust’s eligibility for treatment as a RIC under the Code (which could cause the
  Trust’s income to be taxed at the corporate level in addition to the taxation of shareholders who receive dividends from the Trust), or as
  a registered closed-end investment company under the Investment Company Act; (2) the Trust would not be able to liquidate portfolio
  securities in an orderly manner and consistent with the Trust’s investment objectives and policies in order to repurchase shares; or
  (3) there is, in the Board’s judgment, any (a) material legal action or proceeding instituted or threatened challenging such transactions or
  otherwise materially adversely affecting the Trust, (b) general suspension of or limitation on prices for trading securities on the New
  York Stock Exchange, (c) declaration of a banking moratorium by federal or state authorities or any suspension of payment by U.S. or
  New York banks, (d) material limitation affecting the Trust or the issuers of its portfolio securities by federal or state authorities on the
  extension of credit by lending institutions or on the exchange of foreign currency, (e) commencement of war, armed hostilities or other
  international or national calamity directly or indirectly involving the United States or (f) other event or condition which would have a
  material adverse effect (including any adverse tax effect) on the Trust or its shareholders if shares were repurchased. The Board may in
  the future modify these conditions in light of experience.

        The repurchase by the Trust of its shares at prices below NAV will result in an increase in the NAV of those shares that remain
  outstanding. However, there can be no assurance that share repurchases or tender offers at or below NAV will result in the Trust’s
  shares trading at a price equal to their NAV. Nevertheless, the fact that the Trust’s shares may be the subject of repurchase or tender
  offers from time to time, or that the Trust may be converted to an open-end investment company, may reduce any spread between
  market price and NAV that might otherwise exist.

        Before deciding whether to take any action if the common shares trade below NAV, the Board would likely consider all relevant
  factors, including the extent and duration of the discount, the liquidity of the Trust’s portfolio, the impact of any action that might be
  taken on the Trust or its shareholders and market considerations. Based on these considerations, even if the Trust’s shares should trade
  at a discount, the Board may determine that, in the interest of the Trust and its shareholders, no action should be taken.

        If the Board determines to repurchase common shares in a private transaction or to make a tender offer for the common shares, the
  terms of any such offer may require a selling or tendering (as applicable) shareholder to sell or tender (and thus effectively sell) all of his
  or her or its common shares held, or considered to be held under certain attribution rules of the Code, by such shareholder. Shareholders
  who sell (in a private repurchase transaction) or successfully tender and effectively sell (pursuant to a tender offer) to the Trust all
  common shares held or considered to be held by them generally will be treated as having sold their shares and generally will realize a
  capital gain or loss. If a shareholder sells or tenders and effectively sells, as applicable, fewer than all of his or her common shares, such
  shareholder may be treated as having received a distribution under Section 301 of the Code (“Section 301 distribution”) unless such
  distribution is treated as being either (i) “substantially disproportionate” with respect to such shareholder or (ii) otherwise “not
  essentially equivalent to a dividend” under the relevant rules of the Code. A Section 301 distribution is not treated as a sale or exchange
  giving rise to a capital gain or loss, but rather is treated as a dividend to the extent supported by the Fund’s current and accumulated
  earnings and profits, with the excess treated as a return of capital reducing the shareholder’s tax basis in Fund shares, and thereafter as
  capital gain. Where a redeeming shareholder is treated as receiving a dividend, there is a risk that remaining shareholders whose
  percentage share interests in the Trust increase as a result of such sale or tender by the other shareholder will be treated as having
  received a taxable distribution from the Trust. The extent of such risk will vary depending upon the particular circumstances of the
  private repurchase or tender offer, in particular whether such offer is a single and isolated event or is part of a plan for periodically
  redeeming the common shares of the Trust; if isolated, any such risk is likely remote. If, instead, the Board determines to repurchase
  common shares on the open market, a selling shareholder may also be treated as having received a taxable dividend upon the sale, even
  though a selling shareholder would have no specific knowledge that he or she or it is selling shares to the Trust. In that event, there is
  generally a risk that remaining shareholders whose percentage share interests in the Trust increase as a result of any such open-market
  sales will be treated as having received a taxable distribution from the Trust.

       To the extent the Trust recognizes net gains on the liquidation of portfolio securities to meet any such repurchase or tender, the
  Trust will be required to make additional distributions to its common shareholders.

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                                                                    TAX MATTERS

        The following discussion of U.S. federal income tax consequences of investment in common and preferred shares of the Trust is
  based on the Code, U.S. Treasury regulations promulgated thereunder, and other applicable authority, as of the date of this SAI. These
  authorities may be changed, possibly with retroactive effect, or become subject to new legislative, administrative, or judicial
  interpretation. The following discussion is only a summary of some of the important U.S. federal tax considerations generally applicable
  to investments in the Trust and does not constitute tax advice. This summary does not purport to be a complete description of the U.S.
  federal income tax considerations applicable to an investment in common or preferred shares of the Trust. There may be other U.S.
  federal income tax consequences applicable to particular common or preferred shareholders. For example, except as otherwise
  specifically noted herein, we have not described certain tax considerations that may be relevant to certain types of holders subject to
  special treatment under the U.S. federal income tax laws, including shareholders subject to the U.S. federal alternative minimum tax,
  insurance companies, tax-exempt organizations, pension plans and trusts, RICs, dealers in securities, shareholders holding Trust shares
  through tax-advantaged accounts (such as 401(k) plans or individual retirement accounts), financial institutions, shareholders holding
  Trust shares as part of a hedge, straddle, or conversion transaction, entities that are not organized under the laws of the United States
  or a political subdivision thereof, and persons who are neither citizens nor residents of the United States. This summary assumes that
  investors hold Trust common or preferred shares as capital assets (within the meaning of the Code). Shareholders should consult their
  own tax advisers regarding their particular situation and the possible application of U.S. federal, state, local, foreign or other tax laws.

        This summary does not discuss the tax consequences of an investment in subscription rights of the Trust, separately, or as part of
  a unit consisting of two or more securities. See “Description of Capital Structure—Subscription Rights” in the Prospectus for a
  discussion of the material U.S. federal income tax consequences of the Trust’s issuance of subscription rights to common and preferred
  shareholders.


  Taxation of the Trust
        The Trust has elected to be treated as a RIC under Subchapter M of the Code and intends each year to qualify and to be eligible to
  be treated as such. In order to qualify for the special tax treatment accorded RICs and their shareholders, the Trust must, among other
  things:

       (i) derive at least 90% of its gross income for each taxable year from: (a) dividends, interest (including tax-exempt interest),
  payments with respect to certain securities loans, gains from the sale or other disposition of stock, securities or foreign currencies, or
  other income (including but not limited to gains from options, futures and forward contracts) derived with respect to its business of
  investing in such stock, securities or foreign currencies; and (b) net income derived from interests in “qualified publicly traded
  partnerships” (as described below);

        (ii) diversify its holdings so that, at the end of each quarter of the Trust’s taxable year, (a) at least 50% of the market value of the
  Trust’s total assets consists of cash and cash items, U.S. government securities, the securities of other RICs and other securities limited,
  in respect of any one issuer, to an amount not greater than 5% of the value of the Trust’s total assets and not more than 10% of the
  outstanding voting securities of such issuer, and (b) not more than 25% of the value of the Trust’s total assets is invested, including
  through corporations in which the Trust owns a 20% or more voting stock interest, (x) in the securities (other than U.S. government
  securities and the securities of other RICs) of any one issuer or of two or more issuers that the Trust controls, as determined under
  applicable Code rules, and that are determined to be engaged in the same business or similar or related trades or businesses, or (y) in the
  securities of one or more “qualified publicly traded partnerships” (as described below); and

        (iii) distribute to its shareholders with respect to each taxable year at least the sum of 90% of its “investment company taxable
  income” (as that term is defined in the Code, without regard to the deduction for dividends paid—generally taxable ordinary income and
  the excess, if any, of net short-term capital gains over net long-term capital losses) and 90% of any net tax-exempt interest income (the
  excess of its gross tax-exempt interest over certain disallowed deductions), for such year.

        In general, for purposes of the 90% gross income requirement described in (i) above, income derived from a partnership will be
  treated as qualifying income only to the extent such income is attributable to items of income of the partnership which would be
  qualifying income if realized directly by the RIC. However, 100% of the net income derived from an interest in a “qualified publicly traded
  partnership” (generally, a partnership (y) interests in which are traded on an established securities market or readily tradable on a
  secondary market or the substantial equivalent thereof and (z) that meets certain qualifying income requirements but derives less than
  90% of its income from the qualifying income described in (i)(a) above) will be treated as qualifying income. In general, such entities will
  be treated as partnerships for federal income tax purposes because they meet the passive income requirement under Section 7704(c)(2)
  of the Code. MLPs in which the Trust may invest will generally qualify as qualified publicly traded partnerships. In addition, although in
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  general the passive loss rules of the Code do not apply to RICs, such rules do apply to a RIC with respect to items attributable to an
  interest in a qualified publicly traded partnership.

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         For purposes of meeting the diversification requirement described in (ii) above, the term “outstanding voting securities of such
  issuer” will include the equity securities of a qualified publicly traded partnership. Also, for purposes of the diversification test in
  (ii) above, the identification of the issuer (or, in some cases, issuers) of a particular Trust investment can depend on the terms and
  conditions of that investment. In some cases, identification of the issuer (or issuers) is uncertain under current law, and an adverse
  determination or future guidance by the IRS with respect to issuer identification for a particular type of investment may adversely affect
  the Trust’s ability to meet the diversification test in (ii) above.

       If the Trust qualifies as a RIC (i.e., satisfies the source of income and diversification requirements described in (i) and (ii) above)
  and satisfies the annual distribution requirement described in (iii) above, the Trust will not be subject to U.S. federal income tax on
  income or gains distributed in a timely manner to its shareholders in the form of dividends (including Capital Gain Dividends, as defined
  below).

        If, for any taxable year, the Trust were to fail to meet the income, diversification or distribution test described above, the Trust
  could in some cases cure such failure, including by paying a Trust-level tax, paying interest, making additional distributions or
  disposing of certain assets. If the Trust were ineligible to or otherwise did not cure any such failure for any year, or if the Trust were
  otherwise to fail to qualify as a RIC accorded special tax treatment for such year, the Trust would be subject to tax on its taxable income
  at corporate rates, and all distributions from earnings and profits, including any distributions of net long-term capital gains, would be
  taxable to shareholders as ordinary income. Some portions of such distributions might be eligible for the dividends-received deduction
  in the case of corporate shareholders and might be eligible to be treated as “qualified dividend income” and thus taxable at the lower
  long-term capital gain rate in the case of shareholders taxed at individual rates, provided, in both cases, the shareholder met certain
  holding period and other requirements in respect of the Trust’s shares (as described below). In addition, the Trust might be required to
  recognize unrealized gains, pay substantial taxes and interest and make substantial distributions before re-qualifying as a RIC.

        The Trust intends to distribute at least annually to its shareholders all or substantially all of its investment company taxable
  income (computed without regard to the dividends-paid deduction) and its net capital gain (that is, the excess of net long-term capital
  gain over net short-term capital loss, in each case determined with reference to any loss carryforwards). Any investment company
  taxable income retained by the Trust will be subject to a Trust-level tax at regular corporate rates. The Trust may also retain for
  investment its net capital gain. If the Trust retains any net capital gain, it will be subject to Trust-level tax at regular corporate rates on
  the amount retained, but may designate the retained amount as undistributed capital gains in a timely notice to its shareholders who
  would then, in turn, be (i) required to include in income for U.S. federal income tax purposes, as long-term capital gain, their shares of
  such undistributed amount, and (ii) entitled to credit their proportionate shares of the tax paid by the Trust on such undistributed
  amount against their U.S. federal income tax liabilities, if any, and to claim refunds on a properly-filed U.S. tax return to the extent the
  credit exceeds such liabilities. If the Trust makes this designation, for U.S. federal income tax purposes, the tax basis of shares owned by
  a shareholder of the Trust would be increased by an amount equal under current law to the difference between the amount of
  undistributed capital gains included in the shareholder’s gross income under clause (i) of the preceding sentence and the tax deemed
  paid by the shareholder under clause (ii) of the preceding sentence. The Trust is not required to, and there can be no assurance the
  Trust will, make this designation if it retains all or a portion of its net capital gain in a taxable year.

        In determining its net capital gain, including in connection with determining the amount available to support a Capital Gain
  Dividend, its taxable income, and its earnings and profits, a RIC generally may elect to treat part or all of any post-October capital loss
  (defined as any net capital loss attributable to the portion of the taxable year after October 31 or, if there is no such loss, the net long-
  term capital loss or net short-term capital loss attributable to such portion of the taxable year) or late-year ordinary loss (generally, the
  sum of its (i) net ordinary loss from the sale, exchange or other taxable disposition of property, attributable to the portion of the taxable
  year after October 31, and its (ii) other net ordinary loss attributable to the portion, if any, of the taxable year after December 31) as if
  incurred in the succeeding taxable year.

        If the Trust fails to distribute in a calendar year at least an amount equal to the sum of 98% of its ordinary income for such year and
  98.2% of its capital gain net income (adjusted for certain ordinary losses) for the one-year period ending on October 31 of such year
  (unless an election is made to use the Trust’s taxable year), plus any such undistributed amounts from the prior year, the Trust will be
  subject to a nondeductible 4% excise tax on the undistributed amounts. For purposes of the required excise tax distribution, a RIC’s
  ordinary gains and losses from the sale, exchange or other taxable disposition of property that would otherwise be taken into account
  after October 31 of a calendar year generally (unless an election is made to use the Trust’s taxable year) are treated as arising on
  January 1 of the following calendar year. Also, for these purposes, the Trust will be treated as having distributed any amount on which
  it has been subject to corporate income tax in the taxable year ending with the calendar year. The Trust reserves the right to pay the
  excise tax when circumstances warrant.



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        Capital losses in excess of capital gains (“net capital losses”) are not permitted to be deducted against the Trust’s net investment
  income. Instead, potentially subject to certain limitations, the Trust may carry net capital losses from any taxable year forward to
  subsequent taxable years to offset capital gains, if any, realized during such subsequent taxable year. Capital loss carryforwards are

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  reduced to the extent they offset current-year net realized capital gains, whether the Trust retains or distributes such gains. If the Trust
  incurs or has incurred net capital losses in taxable years beginning after December 22, 2010 (“post-2010 losses”), those losses will be
  carried forward to one or more subsequent taxable years without expiration to offset capital gains realized during such subsequent
  taxable years; any such carryforward losses will retain their character as short-term or long-term. If the Trust incurred net capital losses
  in a taxable year beginning on or before December 22, 2010 (“pre-2011 losses”), the Trust is permitted to carry such losses forward for
  eight taxable years; in the year to which they are carried forward, such losses are treated as short-term capital losses that first offset any
  short-term capital gains, and then offset any long-term capital gains. The Trust must use any post-2010 losses, which will not expire,
  before it uses any pre-2011 losses. This increases the likelihood that pre-2011 losses will expire unused at the conclusion of the eight-
  year carryforward period.

         The Trust’s ability to use net capital losses may be limited following the occurrence of certain (i) acquisitive reorganizations and
  (ii) shifts in the ownership of the Trust by a shareholder owning or treated as owning 5% or more of the shares of the Trust (each, an
  “ownership change”). The Code may similarly limit the Trust’s ability to use any of its other capital losses, or ordinary losses, that have
  accrued but have not been recognized (i.e., “built-in” losses) at the time of an ownership change to the extent they are realized within
  the five-year period following the ownership change.

       See the Trust’s most recent annual shareholder report for the Trust’s available capital loss carryovers as of the end of its most
  recently ended fiscal year.


  Trust Distributions
       Distributions are taxable to shareholders even if they are paid from income or gains earned by the Trust before a shareholder
  invested in the Trust (and thus were included in the price the shareholder paid for its shares). Distributions are taxable whether
  shareholders receive them in cash or reinvest them in additional shares through the Trust’s Dividend Reinvestment Plan. A shareholder
  whose distributions are reinvested in shares through the Trust’s Dividend Reinvestment Plan will be treated as having received a
  dividend equal to, generally, the fair market value of new shares issued to the shareholder. See “Dividend Reinvestment Plan” in the
  Trust’s Prospectus for more information.

        Dividends and other distributions paid by the Trust are generally treated under the Code as received by shareholders at the time
  the dividend or distribution is made. However, a dividend paid to shareholders in January of a year generally is deemed to have been
  paid by the Trust on December 31 of the preceding year, if the dividend was declared and payable to shareholders of record on a date in
  October, November or December of that preceding year.

       Your broker or other intermediary will send you information after the end of each year setting forth the amount and tax status of
  any dividends or other distributions paid to you by the Trust.

        For U.S. federal income tax purposes, distributions of investment income are generally taxable as ordinary income. Taxes on
  distributions of capital gains are determined by how long the Trust has owned or is treated as having owned the investments that
  generated them, rather than how long a shareholder has owned his or her shares. In general, the Trust will recognize long-term capital
  gain or loss on investments it has owned (or is deemed to have owned) for more than one year, and short-term capital gain or loss on
  investments it has owned (or is deemed to have owned) for one year or less. Distributions of net capital gain that are properly reported
  by the Trust as capital gain dividends (“Capital Gain Dividends”) will generally be taxable to shareholders as long-term capital gains.
  Distributions from capital gains are generally made after applying any available capital loss carryovers. Distributions of net short-term
  capital gain (that is, the excess of net short-term capital gain over net long-term capital loss for the taxable year, in each case determined
  with reference to loss carryforwards) will generally be taxable to shareholders receiving such distributions as ordinary income.
  Distributions of investment income reported by the Trust as derived from “qualified dividend income” will be taxed in the hands of
  individuals at the rates applicable to long-term capital gain, provided holding period and other requirements are met at both the
  shareholder and Trust level. The Trust does not expect a significant portion of Trust distributions to be derived from qualified dividend
  income.

        The Trust will designate dividends made to holders of common shares and to holders of preferred shares in accordance with each
  class’s proportionate share of each item of Trust income (such as net capital gains and other taxable income). A class’s proportionate
  share of a particular type of income for a year is determined according to the percentage of total dividends paid by the Trust during that
  year to the class. Although the matter is not free from doubt, due to the absence of direct regulatory or judicial authority, under current
  law the manner in which the Trust intends to allocate items of ordinary income and net capital gain between the Trust’s common shares
  and its preferred shares will be respected for federal income tax purposes. It is possible that the IRS could disagree and attempt to
  reallocate the Trust’s net capital gain or other taxable income.
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        In order for some portion of the dividends received by a Trust shareholder to be qualified dividend income, the Trust must meet
  holding period and other requirements with respect to some portion of the dividend-paying stocks in its portfolio and the shareholder

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  must meet holding period and other requirements with respect to the Trust’s shares. In general, a dividend will not be treated as
  qualified dividend income (at either the Trust or shareholder level) (1) if the dividend is received with respect to any share of stock held
  for fewer than 61 days during the 121-day period beginning on the date which is 60 days before the date on which such share becomes
  ex-dividend with respect to such dividend (or, in the case of certain preferred stock, 91 days during the 181-day period beginning 90
  days before such date), (2) to the extent that the recipient is under an obligation (whether pursuant to a short sale or otherwise) to make
  related payments with respect to positions in substantially similar or related property, (3) if the recipient elects to have the dividend
  income treated as investment income for purposes of the limitation on deductibility of investment interest, or (4) if the dividend is
  received from a foreign corporation that is (a) not eligible for the benefits of a comprehensive income tax treaty with the United States
  (with the exception of dividends paid on stock of such a foreign corporation readily tradable on an established securities market in the
  United States) or (b) treated as a passive foreign investment company.

        In general, distributions of investment income reported by the Trust as derived from qualified dividend income will be treated as
  qualified dividend income by a shareholder taxed at individual rates, provided the shareholder meets the holding period and other
  requirements described in the paragraph immediately above with respect to the Trust’s shares.

        In general, dividends of net investment income received by corporate shareholders of the Trust will qualify for the 50% dividends-
  received deduction generally available to corporations to the extent of the amount of eligible dividends received by the Trust from
  domestic corporations for the taxable year. In general, a dividend received by the Trust will not be treated as a qualifying dividend (i) if it
  has been received with respect to any share of stock that the Trust has held for less than 46 days (91 days in the case of certain
  preferred stock) during the 91-day period beginning on the date which is 45 days before the date on which such share becomes
  ex-dividend with respect to such dividend (during the 181-day period beginning 90 days before such date in the case of certain preferred
  stock) or (ii) to the extent that the Trust is under an obligation (pursuant to a short sale or otherwise) to make related payments with
  respect to positions in substantially similar or related property. Moreover, the dividends-received deduction may be disallowed or
  reduced (i) if the corporate shareholder fails to satisfy the foregoing requirements with respect to its shares of the Trust or (ii) by
  application of various provisions of the Code (for instance, the dividends-received deduction is reduced in the case of a dividend
  received on debt-financed portfolio stock (generally, stock acquired with borrowed funds)). The Trust does not expect a significant
  portion of Trust distributions to be eligible for this corporate dividends-received deduction.

       Any distribution of income that is attributable to (i) income received by the Trust in lieu of dividends with respect to securities on
  loan pursuant to a securities lending transaction or (ii) dividend income received by the Trust on securities it temporarily purchased
  from a counterparty pursuant to a repurchase agreement that is treated for U.S. federal income tax purposes as a loan by the Trust will
  not constitute qualified dividend income to individual shareholders and will not be eligible for the dividends-received deduction for
  corporate shareholders.

        The Code generally imposes a 3.8% Medicare contribution tax on the net investment income of certain individuals, trusts and
  estates to the extent their income exceeds certain threshold amounts. For these purposes, “net investment income” generally includes,
  among other things, (i) distributions paid by the Trust of net investment income and capital gains as described above, and (ii) any net
  gain from the sale or exchange of Trust shares. Shareholders are advised to consult their tax advisors regarding the possible
  implications of this additional tax on their investment in the Trust.


  Return of Capital Distributions
        If the Trust makes a distribution to a shareholder in excess of the Trust’s current and accumulated earnings and profits in any
  taxable year, the excess distribution will be treated as a return of capital to the extent of such shareholder’s tax basis in its shares, and
  thereafter as capital gain. A return of capital is not taxable, but it reduces a shareholder’s tax basis in its shares, thus reducing any loss
  or increasing any gain on a subsequent taxable disposition by the shareholder of its shares.

        Distributions on the Trust’s shares are generally subject to U.S. federal income tax as described herein to the extent they do not
  exceed the Trust’s realized income and gains, even though such dividends and distributions may economically represent a return of a
  particular shareholder’s investment. Such distributions are likely to occur in respect of shares purchased at a time when the Trust’s NAV
  reflects either unrealized gains, or realized but undistributed income or gains, that were therefore included in the price the shareholder
  paid. Such distributions may reduce the value of the Trust’s shares below the shareholder’s cost basis in those shares. As described
  above, the Trust is required to distribute realized income and gains regardless of whether the Trust’s NAV also reflects unrealized
  losses.


  Tax Implications of Certain Trust Investments

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        Some debt obligations with a fixed maturity date of more than one year from the date of issuance that are acquired by the Trust in
  the secondary market may be treated as having “market discount.” Very generally, market discount is the excess of the stated
  redemption price of a debt obligation (or in the case of an obligation issued with OID (as defined below), its “revised issue price”)

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  over the purchase price of such obligation. Generally, any gain recognized on the disposition of, and any partial payment of principal on,
  a debt obligation having market discount is treated as ordinary income to the extent the gain, or principal payment, does not exceed the
  “accrued market discount” on such debt obligation. Alternatively, a holder may elect to accrue market discount currently. As of the date
  of this SAI, the Trust has made this election, and as such, the Trust is required to include currently any accrued market discount on
  such debt obligations in the Trust’s taxable income (as ordinary income) and thus distribute it over the terms of the obligations, even
  though payment of those amounts is not received until a later time, upon partial or full repayment or disposition of the applicable debt
  obligations. The Trust reserves the right to revoke this election at any time pursuant to applicable IRS procedures. The rate at which
  market discount accrues, and thus is included in the Trust’s income, will depend upon which of the permitted accrual methods the Trust
  elects.

        In addition, some debt obligations with a fixed maturity date of more than one year from the date of issuance (and zero-coupon
  debt obligations with a fixed maturity date of more than one year from the date of issuance) will be treated as debt obligations that are
  issued originally at a discount. Generally, the amount of the original issue discount (“OID”) is treated as interest income and is included
  in taxable income (and required to be distributed by the Trust) over the term of the debt obligation, even though payment of that amount
  is not received until a later time, upon partial or full repayment or disposition of the debt obligation. In addition, PIK securities will give
  rise to income which is required to be distributed and is taxable even though the Trust receives no interest payment in cash on the
  security during the year in which the income was accrued.

       The Trust expects that a substantial portion of the Trust’s investments in loans and other debt obligations will be treated as
  having market discount and/or OID, which, in some cases, could be significant.

        Some debt obligations with a fixed maturity date of one year or less from the date of issuance that are acquired by the Trust may be
  treated as having OID or, in certain cases, “acquisition discount” (very generally, the excess of the stated redemption price over the
  purchase price). Generally, the Trust will be required to include the OID or acquisition discount in income (as ordinary income) over the
  term of the debt obligation and thus distribute it over the term of the debt obligation, even though payment of that amount is not
  received until a later time, upon partial or full repayment or disposition of the debt obligation. The rate at which OID or acquisition
  discount accrues, and thus is included in the Trust’s income, will depend upon which of the permitted accrual methods the Trust elects.

        Some preferred securities may include provisions that permit the issuer, at its discretion, to defer the payment of distributions for a
  stated period without any adverse consequences to the issuer. If the Trust owns a preferred security that is deferring the payment of its
  distributions, the Trust may be required to report income for U.S. federal income tax purposes to the extent of any such deferred
  distribution even though the Trust has not yet actually received the cash distribution.

        As a result of holding the foregoing kinds of debt obligations or other debt obligations subject to special rules under the Code, the
  Trust may be required to pay out as an income distribution each year an amount which is greater than the total amount of cash interest
  (or dividends in the case of preferred securities) the Trust actually received. Such distributions may be made from, among other things,
  the cash assets of the Trust or cash generated from the Trust’s liquidation of portfolio securities. The Trust may realize gains or losses
  from such liquidations. In the event the Trust realizes net long-term or short-term capital gains from such transactions, its shareholders
  may receive a larger capital gain or ordinary dividend, respectively, than they would in the absence of such transactions.

        Investments in distressed debt obligations that are at risk of or in default present special tax issues for the Trust. Tax rules are not
  entirely clear about issues such as whether and to what extent the Trust should recognize market discount on these debt obligations,
  when the Trust may cease to accrue interest, OID or market discount, when and to what extent the Trust may take deductions for bad
  debts or worthless securities and how the Trust should allocate payments received on obligations in default between principal and
  income. These and other related issues will be addressed by the Trust when, as and if it invests in such securities, in order to seek to
  ensure that it distributes sufficient income to preserve its eligibility for treatment as a RIC and does not become subject to U.S. federal
  income or excise tax.

        A portion of the OID accrued on certain high-yield discount obligations owned by the Trust may not be deductible to the issuer
  and will instead be treated as a dividend paid by the issuer for purposes of the dividends-received deduction. In such cases, if the
  issuer of the obligation is a domestic corporation, dividend payments by the Trust may be eligible for the dividends-received deduction
  to the extent of the deemed dividend portion of such OID.

       Any transactions by the Trust in foreign currencies, foreign currency-denominated debt obligations and certain foreign currency
  options, futures contracts and forward contracts (and similar instruments) may give rise to ordinary income or loss to the extent such
  income or loss results from fluctuations in the value of the foreign currency concerned. Such ordinary income treatment may accelerate

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  Trust distributions to shareholders and increase the distributions taxed to shareholders as ordinary income. Any net ordinary losses so
  created cannot be carried forward by the Trust to offset income or gains earned in subsequent years.

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        Any equity investments by the Trust in certain “passive foreign investment companies” (“PFICs”) could potentially subject the
  Trust to a U.S. federal income tax (including interest charges) on distributions received from the PFIC or on proceeds received from the
  disposition of shares in the PFIC. This tax cannot be eliminated by making distributions to Trust shareholders. However, the Trust may
  elect to avoid the imposition of that tax. For example, the Trust may elect to treat a PFIC as a “qualified electing fund” (i.e., make a “QEF
  election”), in which case the Trust will be required to include its share of the PFIC’s income and net capital gains annually, regardless of
  whether it receives any distribution from the company. The Trust also may make an election to mark the gains (and to a limited extent
  losses) in such holdings “to the market” as though it had sold and repurchased its holdings in those PFICs on the last day of the
  Trust’s taxable year. Such gains and losses are treated as ordinary income and loss. The QEF and mark-to-market elections may
  accelerate the recognition of income (without the receipt of cash) and increase the amount required to be distributed by the Trust to
  avoid taxation. Making either of these elections therefore may require the Trust to liquidate other investments (including when it is not
  advantageous to do so) to meet its distribution requirement, which also may accelerate the recognition of gain and affect the Trust’s
  total return. Dividends paid by PFICs will not be eligible to be treated as qualified dividend income.

       Because it is not always possible to identify a foreign corporation as a PFIC, the Trust may incur the tax and interest charges
  described above in some instances.

        Income proceeds and gains received by the Trust from sources within foreign countries may be subject to withholding and other
  taxes imposed by such countries. Tax treaties between certain countries and the United States may reduce or eliminate such taxes.
  Shareholders generally will not be entitled to separately claim a credit or deduction with respect to foreign taxes incurred by the Trust.
  This will decrease the Trust’s yield on securities subject to such taxes.

       The Trust’s Derivative Transactions, as well as any of its other hedging, short sale or similar transactions, may be subject to one
  or more special tax rules (including, for instance, notional principal contract, mark-to-market, constructive sale, straddle, wash sale and
  short-sale rules). These rules may affect whether gains and losses recognized by the Trust are treated as ordinary or capital and/or as
  short-term or long-term, accelerate the recognition of income or gains to the Trust, defer losses, and cause adjustments in the holding
  periods of the Trust’s securities. The rules could therefore affect the amount, timing and/or character of distributions to shareholders.

        Because the tax rules applicable to derivative financial instruments are in some cases uncertain under current law, an adverse
  determination or future guidance by the IRS with respect to these rules (which determination or guidance could be retroactive) may
  affect whether the Trust has made sufficient distributions, and otherwise satisfied the relevant requirements, to maintain its qualification
  as a RIC and avoid a Trust-level tax.

         Certain of the Trust’s Derivative Transactions and investments in foreign currency-denominated instruments, and any of the
  Trust’s transactions in foreign currencies and hedging activities, are likely to produce a difference between its book income and the sum
  of its taxable income and net tax-exempt income (if any). If such a difference arises, and the Trust’s book income is less than the sum of
  its taxable income and net tax-exempt income (if any), the Trust could be required to make distributions exceeding book income to
  qualify as a RIC that is accorded special tax treatment and to avoid a Trust-level tax. In the alternative, if the Trust’s book income
  exceeds the sum of its taxable income and net tax-exempt income (if any), the distribution (if any) of such excess generally will be treated
  as (i) a dividend to the extent of the Trust’s remaining earnings and profits (including earnings and profits arising from any tax-exempt
  income), (ii) thereafter, as a return of capital to the extent of the recipient’s basis in its shares, and (iii) thereafter, as gain from the sale or
  exchange of a capital asset.

        The Trust’s investments in equity securities of REITs may result in the Trust’s receipt of cash in excess of the REIT’s earnings; if
  the Trust distributes these amounts, these distributions could constitute a return of capital to Trust shareholders for U.S. federal income
  tax purposes. Dividends received by the Trust from a REIT will not qualify for the corporate dividends-received deduction and generally
  will not constitute qualified dividend income.

        Under a notice issued by the IRS in October 2006 and Treasury regulations that have yet to be issued but may apply retroactively,
  a portion of a Trust’s income (if any) (including income allocated to the Trust from a REIT or other pass-through entity) that is
  attributable to a residual interest in a real estate mortgage investment conduit (“REMIC”) (including residual interests in collateralized
  mortgage obligations) or an equity interest in a taxable mortgage pool (“TMP”) (referred to in the Code as an “excess inclusion”) will be
  subject to U.S. federal income tax in all events. This notice also provides, and the regulations are expected to provide, that excess
  inclusion income of a RIC will be allocated to shareholders of the RIC in proportion to the dividends received by such shareholders,
  with the same consequences as if the shareholders held the related interest directly. As a result, to the extent the Trust invests in any
  such interests, it may not be a suitable investment for certain tax-exempt shareholders (as noted below in “Tax-Exempt Shareholders”).



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        In general, excess inclusion income allocated to shareholders (i) cannot be offset by net operating losses (subject to a limited
  exception for certain thrift institutions), (ii) will constitute unrelated business taxable income (“UBTI”) to entities (including a

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  qualified pension plan, an individual retirement account, a 401(k) plan, a Keogh plan or other tax-exempt entity) subject to tax on UBTI,
  thereby potentially requiring such an entity that is allocated excess inclusion income, and otherwise might not be required to file a U.S.
  federal income tax return, to file such a tax return and pay tax on such income, and (iii) in the case of a non-U.S. shareholder, will not
  qualify for any reduction in U.S. federal withholding tax. A shareholder will be subject to U.S. federal income tax on such inclusions
  notwithstanding any exemption from such income tax otherwise available under the Code.

        Effective for taxable years beginning after December 31, 2017 and before January 1, 2026, the Code generally allows individuals and
  certain non-corporate entities a deduction for 20% of qualified REIT dividends. Recently issued proposed regulations allow a RIC such
  as the Trust to pass the character of its qualified REIT dividends through to its shareholders provided certain holding period
  requirements are met. As a result, eligible shareholders in the Trust may receive the benefit of the deduction with respect to qualified
  REIT dividends received by the Trust that are distributed to shareholders.


  Backup Withholding
        Your broker or other intermediary generally is required to withhold and remit to the U.S. Treasury a percentage of the taxable
  distributions and redemption proceeds paid to any individual shareholder who fails to properly furnish the broker or other intermediary
  with a correct taxpayer identification number (“TIN”), who has under-reported dividend or interest income, or who fails to certify to the
  broker or other intermediary that he or she is not subject to such withholding.

         Backup withholding is not an additional tax. Any amounts withheld may be credited against the shareholder’s U.S. federal income
  tax liability, provided the appropriate information is furnished to the IRS.


  Sale or Exchange of Trust Shares
        The sale or exchange of Trust shares may give rise to a gain or loss. In general, any gain or loss realized upon a taxable disposition
  of shares will be treated as long-term capital gain or loss if the shares have been held for more than 12 months. Otherwise, the gain or
  loss on the taxable disposition of Trust shares will be treated as short-term capital gain or loss. However, any loss realized upon a
  taxable disposition of shares held for six months or less will be treated as long-term, rather than short-term, to the extent of any Capital
  Gain Dividends received (or deemed received) by the shareholder with respect to the shares. All or a portion of any loss realized upon a
  taxable disposition of Trust shares will be disallowed if other substantially identical shares are purchased within 30 days before or after
  the disposition. In such a case, the basis of the newly purchased shares will be adjusted to reflect the disallowed loss.

       Shareholders may be entitled to offset their Capital Gain Dividends with capital loss from other sources. The Code contains a
  number of statutory provisions affecting the circumstances under which capital loss may be offset against capital gain and limiting the
  use of loss from certain investments and activities. Accordingly, shareholders that have capital losses are urged to consult their tax
  advisers.


  Tax Shelter Reporting Regulations
        Under Treasury regulations, if a shareholder recognizes a loss of $2 million or more for an individual shareholder or $10 million or
  more for a corporate shareholder, the shareholder must file with the IRS a disclosure statement on Form 8886. Direct holders of portfolio
  securities are in many cases excepted from this reporting requirement, but under current guidance, shareholders of a RIC are not
  excepted. Future guidance may extend the current exception from this reporting requirement to shareholders of most or all RICs. The fact
  that a loss is reportable under these regulations does not affect the legal determination of whether the taxpayer’s treatment of the loss is
  proper. Shareholders should consult their tax advisers to determine the applicability of these regulations in light of their individual
  circumstances.


  Non-U.S. Shareholders
       Distributions by the Trust to shareholders that are not “U.S. persons” within the meaning of the Code (“foreign shareholders)”
  properly reported by the Trust as (1) Capital Gain Dividends, (2) short-term capital gain dividends and (3) interest-related dividends,
  each as defined and subject to certain conditions described below, generally are not subject to U.S. federal income tax withholding.

        In general, the Code defines (1) “short-term capital gain dividends” as distributions of net short-term capital gains in excess of net
  long-term capital losses and (2) “interest-related dividends” as distributions from U.S. source interest income of types similar to those
  not subject to U.S. federal income tax if earned directly by an individual foreign shareholder, in each case, to the extent such
  distributions are properly reported as such by the Trust in a written notice to shareholders.
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        The exceptions to withholding for Capital Gain Dividends and short-term capital gain dividends do not apply to (A) distributions
  to an individual foreign shareholder who is present in the United States for a period or periods aggregating 183 days or more during the
  year of the distribution and (B) distributions attributable to gain that is treated as effectively connected with the conduct by the foreign
  shareholder of a trade or business within the United States under special rules regarding the disposition of U.S. real property interests
  (“USRPIs”) as described below.

        The exception to withholding for interest-related dividends does not apply to distributions to a foreign shareholder (A) that has
  not provided a satisfactory statement that the beneficial owner is not a U.S. person, (B) to the extent that the dividend is attributable to
  certain interest on an obligation if the foreign shareholder is the issuer or is a 10% shareholder of the issuer, (C) that is within certain
  foreign countries that have inadequate information exchange with the United States, or (D) to the extent the dividend is attributable to
  interest paid by a person that is a related person of the foreign shareholder and the foreign shareholder is a controlled foreign
  corporation.

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        The Trust is permitted to report such part of its dividends as short-term capital gain and/or interest-related dividends as are
  eligible, but is not required to do so. In the case of shares held through an intermediary, the intermediary may withhold even if the Fund
  reports all or a portion of a payment as an interest-related or short-term capital gain dividend to shareholders.

        Foreign shareholders should contact their intermediaries regarding the application of these rules to their accounts.

        Distributions by the Trust to foreign shareholders other than Capital Gain Dividends, short-term capital gain dividends and
  interest-related dividends (e.g., dividends attributable to dividend and foreign-source interest income or to short-term capital gains or
  U.S. source interest income to which the exception from withholding described above does not apply) are generally subject to
  withholding of U.S. federal income tax at a rate of 30% (or lower applicable treaty rate).

        A foreign shareholder is not, in general, subject to U.S. federal income tax on gains (and is not allowed a deduction for losses)
  realized on the sale of shares of the Trust unless (i) such gain is effectively connected with the conduct of a trade or business carried on
  by such holder within the United States, (ii) in the case of an individual holder, the holder is present in the United States for a period or
  periods aggregating 183 days or more during the year of the sale and certain other conditions are met, or (iii) the special rules relating to
  gain attributable to the sale or exchange of USRPIs apply to the foreign shareholder’s sale of shares of the Trust (as described below).

        Foreign shareholders with respect to whom income from the Trust is effectively connected with a trade or business conducted by
  the foreign shareholder within the United States will in general be subject to U.S. federal income tax on the income derived from the
  Trust at the graduated rates applicable to U.S. citizens, residents or domestic corporations, whether such income is received in cash or
  reinvested in additional shares of the Trust and, in the case of a foreign corporation, may also be subject to a branch profits tax. If a
  foreign shareholder is eligible for the benefits of a tax treaty, any effectively connected income or gain will generally be subject to U.S.
  federal income tax on a net basis only if it is also attributable to a permanent establishment maintained by the shareholder in the United
  States. More generally, foreign shareholders who are residents of a country with an income tax treaty with the United States may obtain
  different tax results than those described herein, and are urged to consult their tax advisers.

        Special rules would apply if the Trust were a qualified investment entity (“QIE”) because it is either a “U.S. real property holding
  corporation” (“USRPHC”) or would be a USRPHC but for the operation of certain exceptions to the definition of USRPIs described
  below. Very generally, a USRPHC is a domestic corporation that holds USRPIs the fair market value of which equals or exceeds 50% of
  the sum of the fair market values of the corporation’s USRPIs, interests in real property located outside the United States, and other
  trade or business assets. USRPIs generally are defined as any interest in U.S. real property and any interest (other than solely as a
  creditor) in a USRPHC or, very generally, an entity that has been a USRPHC in the last five years. A RIC that holds, directly or indirectly,
  significant interests in REITs may be a USRPHC. Interests in domestically controlled QIEs, including REITs and RICs that are QIEs,
  not-greater-than-10% interests in publicly traded classes of stock in REITs and not-greater-than-5% interests in publicly traded classes
  of stock in RICs generally are not USRPIs, but these exceptions do not apply for purposes of determining whether a RIC is a QIE.

       If an interest in the Trust were a USRPI, a greater-than-5% foreign shareholder generally would be required to file a U.S. tax return
  in connection with the sale of its Trust shares, and pay related taxes due on any gain realized on the sale.

         If the Trust were a QIE, under a special “look-through” rule, any distributions by the Trust to a foreign shareholder attributable
  directly or indirectly to (i) distributions received by the Trust from a lower-tier RIC or REIT that the Trust is required to treat as USRPI
  gain in its hands and (ii) gains realized on the disposition of USRPIs by the Trust would retain their character as gains realized from
  USRPIs in the hands of the Trust’s foreign shareholders and would be subject to U.S. tax withholding. In addition, such distributions
  could result in the foreign shareholder being required to file a U.S. tax return and pay tax on the distributions at regular U.S. federal
  income tax rates. The consequences to a foreign shareholder, including the rate of such withholding and character of such distributions
  (e.g., as ordinary income or USRPI gain), would vary depending upon the extent of the foreign shareholder’s current and past ownership
  of the Trust.

       Foreign shareholders of the Trust also may be subject to “wash sale” rules to prevent the avoidance of the tax-filing and - payment
  obligations discussed above through the sale and repurchase of Trust shares.

        The Trust generally does not expect that it will be a QIE.

      Foreign shareholders should consult their tax advisers and, if holding shares through intermediaries, their intermediaries,
  concerning the application of these rules to their investment in the Trust.

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        In order to have qualified for any exemption from withholding described above (to the extent applicable) or for lower withholding
  tax rates under income tax treaties, or to establish an exemption from backup withholding, a foreign shareholder must have complied with
  applicable certification and filing requirements relating to its non-U.S. status (including, in general, furnishing an IRS Form W-8BEN,
  W-8BEN-E or substitute form). Foreign shareholders should contact their tax advisers in this regard.

       Special rules (including withholding and reporting requirements) apply to foreign partnerships and those holding Trust shares
  through foreign partnerships. Additional considerations may apply to foreign trusts and estates. Investors holding Trust shares
  through foreign entities should consult their tax advisers.

       A foreign shareholder may be subject to state and local tax and to the U.S. federal estate tax in addition to the U.S. federal tax on
  income referred to above.


  Tax-Exempt Shareholders
        Income of the Trust that would be UBTI if earned directly by a tax exempt entity generally will not constitute UBTI when
  distributed to tax-exempt shareholders of the Trust. Notwithstanding this “blocking” effect, a tax-exempt shareholder could realize UBTI
  by virtue of its investment in the Trust if shares in the Trust constitute debt-financed property in the hands of the tax-exempt
  shareholder within the meaning of Section 514(b) of the Code.

       A tax-exempt shareholder may also recognize UBTI if the Trust recognizes excess inclusion income derived from direct or indirect
  investments in residual interests in REMICS or equity interests in TMPs if the amount of such income recognized by the Trust exceeds
  the Trust’s investment company taxable income (after taking into account deductions for dividends paid by the Trust).

        In addition, special tax consequences apply to charitable remainder trusts (“CRTs”) that invest in RICs that invest directly or
  indirectly in residual interests in REMICs or equity interests in TMPs. Under legislation enacted in December 2006, a CRT (as defined in
  Section 664 of the Code) that realizes any UBTI for a taxable year must pay an excise tax annually of an amount equal to such UBTI.
  Under IRS guidance issued in October 2006, a CRT will not recognize UBTI as a result of investing in a RIC that recognizes excess
  inclusion income. Rather, if at any time during any taxable year a CRT (or one of certain other tax-exempt shareholders, such as the
  United States, a state or political subdivision, or an agency or instrumentality thereof, and certain energy cooperatives) is a record
  holder of a share in a RIC that recognizes excess inclusion income, then the RIC will be subject to a tax on that portion of its excess
  inclusion income for the taxable year that is allocable to such shareholders at the highest federal corporate income tax rate. The extent to
  which this IRS guidance remains applicable in light of the December 2006 legislation is unclear. To the extent permitted under the
  Investment Company Act, the Trust may elect to specially allocate any such tax to the applicable CRT, or other shareholder, and thus
  reduce such shareholder’s distributions for the year by the amount of the tax that relates to such shareholder’s interest in the Trust.

        CRTs and other tax-exempt investors are urged to consult their tax advisers concerning the consequences of investing in the Trust.


  Shareholder Reporting Obligations With Respect to Foreign Bank and Financial Accounts
        Shareholders that are U.S. persons and own, directly or indirectly, more than 50% of the Trust could be required to report annually
  their “financial interest” in the Trust’s “foreign financial accounts,” if any, on FinCEN Form 114, Report of Foreign Bank and Financial
  Accounts (FBAR). Shareholders should consult their tax advisers, and persons investing in the Trust through an intermediary should
  contact their intermediary to determine the applicability to them of this reporting requirement.


  Other Reporting and Withholding Requirements
        Sections 1471-1474 of the Code and the U.S. Treasury and IRS guidance issued thereunder (collectively, “FATCA”) generally
  require the Trust to obtain information sufficient to identify the status of each of its shareholders under FATCA or under an applicable
  intergovernmental agreement (an “IGA”). If a shareholder fails to provide this information or otherwise fails to comply with FATCA or
  an IGA, the Trust may be required to withhold under FATCA at a rate of 30% with respect to that shareholder on ordinary dividends it
  pays. Recently issued proposed regulations would eliminate the 30% withholding tax with respect to the gross proceeds from the sale or
  exchange of shares and certain Capital Gain Dividends that was scheduled to go in to effect after December 31, 2018. If a payment by the
  Trust is subject to FATCA withholding, the Trust is required to withhold even if such payment would otherwise be exempt from
  withholding under the rules applicable to foreign shareholders described above (e.g., Capital Gain Dividends, short-term capital gain
  dividends and interest-related dividends).



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       Each prospective investor is urged to consult its tax adviser regarding the applicability of FATCA and any other reporting
  requirements with respect to the prospective investor’s own situation, including investments through an intermediary.

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  Shares Purchased Through Tax Qualified Plans
        Special tax rules apply to investments through defined contribution plans and other tax-qualified plans. Shareholders should
  consult their tax advisers to determine the suitability of shares of the Trust as an investment through such plans and the precise effect
  of an investment on their particular tax situation.


  General Considerations
        The U.S. federal income tax discussion set forth above is for general information only. Prospective investors should consult their
  tax advisers regarding the specific federal tax consequences of purchasing, holding, and disposing of shares of the Trust, as well as the
  effects of state, local and foreign tax law and any proposed tax law changes.


                                          INDEPENDENT REGISTERED PUBLIC ACCOUNTING FIRM

        PricewaterhouseCoopers LLP provides accounting and auditing services to the Trust.


                                                                     CUSTODIAN

      The custodian of the assets of the Trust and its wholly-owned subsidiaries is Bank of New York Mellon (240 Greenwich Street,
  New York, New York 10286). The custodian performs custodial services for the Trust.


                                                           ADDITIONAL INFORMATION

        A registration statement on Form N-2, including amendments thereto, relating to the shares offered hereby (the “Registration
  Statement”), has been filed by the Trust with the SEC. The Prospectus and this SAI do not contain all of the information set forth in the
  Registration Statement, including any exhibits and schedules thereto. For further information with respect to the Trust and the securities
  offered hereby, reference is made to the Registration Statement. Statements contained in the Prospectus and this SAI as to the contents
  of any contract or other document referred to are not necessarily complete and in each instance reference is made to the copy of such
  contract or other document filed as an exhibit to the Registration Statement, each such statement being qualified in all respects by such
  reference. A copy of the Registration Statement may be inspected without charge at the SEC’s principal office in Washington, D.C., and
  copies of all or any part thereof may be obtained from the SEC upon the payment of certain fees prescribed by the SEC.


                                                             FINANCIAL STATEMENTS

        The Trust’s audited financial statements appearing in the Trust’s annual shareholder report for the period ended December 31,
  2018 are incorporated by reference in this SAI and have been so incorporated in reliance upon the report of PricewaterhouseCoopers
  LLP, independent registered public accounting firm for the Trust. The Trust’s annual and semiannual shareholder reports are available
  upon request and without charge by writing to the Trust at 300 Crescent Court, Suite 700, Dallas, Texas 75201 or by calling
  1-866-351-4440 and viewed on the Trust’s website at www.nexpointadvisors.com.

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                                                                     APPENDIX A

       Standard & Poor’s—A brief description of the applicable rating symbols of Standard & Poor’s and their meanings (as published
  by Standard & Poor’s) follows:


  Issue Credit Rating Definitions
        A Standard & Poor’s issue credit rating is a forward-looking opinion about the creditworthiness of an obligor with respect to a
  specific financial obligation, a specific class of financial obligations, or a specific financial program (including ratings on medium-term
  note programs and commercial paper programs). It takes into consideration the creditworthiness of guarantors, insurers, or other forms
  of credit enhancement on the obligation and takes into account the currency in which the obligation is denominated. The opinion
  reflects Standard & Poor’s view of the obligor’s capacity and willingness to meet its financial commitments as they come due, and may
  assess terms, such as collateral security and subordination, which could affect ultimate payment in the event of default.

       Issue credit ratings can be either long-term or short-term. Short-term ratings are generally assigned to those obligations considered
  short-term in the relevant market. In the U.S., for example, that means obligations with an original maturity of no more than 365 days—
  including commercial paper. Short-term ratings are also used to indicate the creditworthiness of an obligor with respect to put features
  on long-term obligations. Medium-term notes are assigned long-term ratings.


  Long-Term Issue Credit Ratings
        Issue credit ratings are based, in varying degrees, on Standard & Poor’s analysis of the following considerations:
        i)     Likelihood of payment—capacity and willingness of the obligor to meet its financial commitment on an obligation in
               accordance with the terms of the obligation;
        ii)    Nature of and provisions of the obligation, and the promise we impute;
        iii)   Protection afforded by, and relative position of, the obligation in the event of bankruptcy, reorganization, or other
               arrangement under the laws of bankruptcy and other laws affecting creditors’ rights.

       Issue ratings are an assessment of default risk, but may incorporate an assessment of relative seniority or ultimate recovery in the
  event of default. Junior obligations are typically rated lower than senior obligations, to reflect the lower priority in bankruptcy, as noted
  above. (Such differentiation may apply when an entity has both senior and subordinated obligations, secured and unsecured
  obligations, or operating company and holding company obligations.)


  AAA
      An obligation rated ‘AAA’ has the highest rating assigned by Standard & Poor’s. The obligor’s capacity to meet its financial
  commitment on the obligation is extremely strong.


  AA
       An obligation rated ‘AA’ differs from the highest-rated obligations only to a small degree. The obligor’s capacity to meet its
  financial commitment on the obligation is very strong.


  A
       An obligation rated ‘A’ is somewhat more susceptible to the adverse effects of changes in circumstances and economic conditions
  than obligations in higher-rated categories. However, the obligor’s capacity to meet its financial commitment on the obligation is still
  strong.


  BBB
       An obligation rated ‘BBB’ exhibits adequate protection parameters. However, adverse economic conditions or changing
  circumstances are more likely to lead to a weakened capacity of the obligor to meet its financial commitment on the obligation.

                                                                           A-1

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  BB, B, CCC, CC, and C
        Obligations rated ‘BB’, ‘B’, ‘CCC’, ‘CC’, and ‘C’ are regarded as having significant speculative characteristics. ‘BB’ indicates the
  least degree of speculation and ‘C’ the highest. While such obligations will likely have some quality and protective characteristics,
  these may be outweighed by large uncertainties or major exposures to adverse conditions.


  BB
       An obligation rated ‘BB’ is less vulnerable to nonpayment than other speculative issues. However, it faces major ongoing
  uncertainties or exposure to adverse business, financial, or economic conditions which could lead to the obligor’s inadequate capacity
  to meet its financial commitment on the obligation.


  B
       An obligation rated ‘B’ is more vulnerable to nonpayment than obligations rated ‘BB’, but the obligor currently has the capacity to
  meet its financial commitment on the obligation. Adverse business, financial, or economic conditions will likely impair the obligor’s
  capacity or willingness to meet its financial commitment on the obligation.


  CCC
      An obligation rated ‘CCC’ is currently vulnerable to nonpayment, and is dependent upon favorable business, financial, and
  economic conditions for the obligor to meet its financial commitment on the obligation. In the event of adverse business, financial, or
  economic conditions, the obligor is not likely to have the capacity to meet its financial commitment on the obligation.


  CC
       An obligation rated ‘CC’ is currently highly vulnerable to nonpayment. The ‘CC’ rating is used when a default has not yet
  occurred, but Standard & Poor’s expects default to be a virtual certainty, regardless of the anticipated time to default.


  C
       An obligation rated ‘C’ is currently highly vulnerable to nonpayment, and the obligation is expected to have lower relative
  seniority or lower ultimate recovery compared to obligations that are rated higher.


  D
        An obligation rated ‘D’ is in default or in breach of an imputed promise. For non-hybrid capital instruments, the ‘D’ rating category
  is used when payments on an obligation are not made on the date due, unless Standard & Poor’s believes that such payments will be
  made within five business days in the absence of a stated grace period or within the earlier of the stated grace period or 30 calendar
  days. The ‘D’ rating also will be used upon the filing of a bankruptcy petition or the taking of similar action and where default on an
  obligation is a virtual certainty, for example due to automatic stay provisions. An obligation’s rating is lowered to ‘D’ if it is subject to a
  distressed exchange offer.


  Plus (+) or minus (—)
       The ratings from ‘AA’ to ‘CCC’ may be modified by the addition of a plus (+) or minus (—) sign to show relative standing within
  the major rating categories.


  NR
       This indicates that no rating has been requested, that there is insufficient information on which to base a rating, or that Standard &
  Poor’s does not rate a particular obligation as a matter of policy.

                                                                           A-2




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  Short-Term Issue Credit Ratings
  A-1
       A short-term obligation rated ‘A-1’ is rated in the highest category by Standard & Poor’s. The obligor’s capacity to meet its
  financial commitment on the obligation is strong. Within this category, certain obligations are designated with a plus sign (+). This
  indicates that the obligor’s capacity to meet its financial commitment on these obligations is extremely strong.


  A-2
       A short-term obligation rated ‘A-2’ is somewhat more susceptible to the adverse effects of changes in circumstances and
  economic conditions than obligations in higher rating categories. However, the obligor’s capacity to meet its financial commitment on
  the obligation is satisfactory.


  A-3
       A short-term obligation rated ‘A-3’ exhibits adequate protection parameters. However, adverse economic conditions or changing
  circumstances are more likely to lead to a weakened capacity of the obligor to meet its financial commitment on the obligation.


  B
       A short-term obligation rated ‘B’ is regarded as vulnerable and has significant speculative characteristics. The obligor currently
  has the capacity to meet its financial commitments; however, it faces major ongoing uncertainties which could lead to the obligor’s
  inadequate capacity to meet its financial commitments.


  C
      A short-term obligation rated ‘C’ is currently vulnerable to nonpayment and is dependent upon favorable business, financial, and
  economic conditions for the obligor to meet its financial commitment on the obligation.


  D
        A short-term obligation rated ‘D’ is in default or in breach of an imputed promise. For non-hybrid capital instruments, the ‘D’ rating
  category is used when payments on an obligation are not made on the date due, unless Standard & Poor’s believes that such payments
  will be made within any stated grace period. However, any stated grace period longer than five business days will be treated as five
  business days. The ‘D’ rating also will be used upon the filing of a bankruptcy petition or the taking of a similar action and where
  default on an obligation is a virtual certainty, for example due to automatic stay provisions. An obligation’s rating is lowered to ‘D’ if it is
  subject to a distressed exchange offer.


  SPUR (Standard & Poor’s Underlying Rating)
        A SPUR rating is an opinion about the stand-alone capacity of an obligor to pay debt service on a credit-enhanced debt issue,
  without giving effect to the enhancement that applies to it. These ratings are published only at the request of the debt issuer/obligor
  with the designation SPUR to distinguish them from the credit-enhanced rating that applies to the debt issue. Standard & Poor’s
  maintains surveillance of an issue with a published SPUR.


  Municipal Short-Term Note Ratings Definitions
        A Standard & Poor’s U.S. municipal note rating reflects Standard & Poor’s opinion about the liquidity factors and market access
  risks unique to the notes. Notes due in three years or less will likely receive a note rating. Notes with an original maturity of more than
  three years will most likely receive a long-term debt rating. In determining which type of rating, if any, to assign, Standard & Poor’s
  analysis will review the following considerations:
  a.    Amortization schedule — the larger the final maturity relative to other maturities, the more likely it will be treated as a note; and

                                                                           A-3



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  b.     Source of payment — the more dependent the issue is on the market for its refinancing, the more likely it will be treated as a note.
         Note rating symbols are as follows:


  SP-1
        Strong capacity to pay principal and interest. An issue determined to possess a very strong capacity to pay debt service is given a
  plus (+) designation.


  SP-2
       Satisfactory capacity to pay principal and interest, with some vulnerability to adverse financial and economic changes over the
  term of the notes.


  SP-3
         Speculative capacity to pay principal and interest.


  Dual Ratings
       Dual Ratings may be assigned to debt issues that have a put option or demand feature. The first component of the rating
  addresses the likelihood of repayment of principal and interest as due, and the second component of the rating addresses only the
  demand feature. The first component of the rating can relate to either a short-term or long-term transaction and accordingly use either
  short-term or long-term rating symbols. The second component of the rating relates to the put option and is assigned a short-term rating
  symbol (for example, ‘AAA/A-1+’ or ‘A-1+/A-1’). With U.S. municipal short-term demand debt, the U.S. municipal short-term note rating
  symbols are used for the first component of the rating (for example, ‘SP-1+/A-1+’).

        The analyses, including ratings, of Standard & Poor’s and its affiliates (together, Standard and Poor’s) are statements of opinion as
  of the date they are expressed and not statements of fact or recommendations to purchase, hold, or sell any securities or make any
  investment decisions. Standard & Poor’s assumes no obligation to update any information following publication. Users of ratings or
  other analyses should not rely on them in making any investment decision. Standard &Poor’s opinions and analyses do not address the
  suitability of any security. Standard & Poor’s does not act as a fiduciary or an investment advisor except where registered as such.
  While Standard & Poor’s has obtained information from sources it believes to be reliable, Standard & Poor’s does not perform an audit
  and undertakes no duty of due diligence or independent verification of any information it receives. Ratings and other opinions may be
  changed, suspended, or withdrawn at any time.


  Active Qualifiers (Currently applied and/or outstanding)
        Standard & Poor’s uses six qualifiers that limit the scope of a rating. The structure of the transaction can require the use of a
  qualifier such as a ‘p’ qualifier, which indicates the rating addressed the principal portion of the obligation only. Likewise, the qualifier
  can indicate a limitation on the type of information used, such as “pi” for public information. A qualifier appears as a suffix and is part of
  the rating.


  Federal deposit insurance limit: ‘L’ qualifier
         Ratings qualified with ‘L’ apply only to amounts invested up to federal deposit insurance limits.


  Principal: ‘p’ qualifier
        This suffix is used for issues in which the credit factors, the terms, or both, that determine the likelihood of receipt of payment of
  principal are different from the credit factors, terms or both that determine the likelihood of receipt of interest on the obligation. The ‘p’
  suffix indicates that the rating addresses the principal portion of the obligation only and that the interest is not rated.


  Public Information Ratings: ‘pi’ qualifier
       Ratings with a ‘pi’ suffix are based on an analysis of an issuer’s published financial information, as well as additional information in
  the public domain. They do not, however, reflect in-depth meetings with an issuer’s management and therefore may be based on less

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  comprehensive information than ratings without a ‘pi’ suffix. Ratings with a ‘pi’ suffix are reviewed annually based on a new year’s
  financial statements, but may be reviewed on an interim basis if a major event occurs that may affect the issuer’s credit quality.

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  Preliminary Ratings: ‘prelim’ qualifier
        Preliminary ratings, with the ‘prelim’ suffix, may be assigned to obligors or obligations, including financial programs, in the
  circumstances described below. Assignment of a final rating is conditional on the receipt by Standard & Poor’s of appropriate
  documentation. Standard & Poor’s reserves the right not to issue a final rating. Moreover, if a final rating is issued, it may differ from the
  preliminary rating.
         •     Preliminary ratings may be assigned to obligations, most commonly structured and project finance issues, pending receipt
               of final documentation of legal opinions.
         •     Preliminary ratings are assigned to Rule 415 Shelf Registrations. As specific issues, with defined terms, are offered from the
               master registration, a final rating may be assigned to them in accordance with Standard & Poor’s policies.
         •     Preliminary ratings may be assigned to obligations that will likely be issued upon the obligor’s emergence from bankruptcy
               or similar reorganization, based on late-stage reorganization plans, documentation and discussions with the obligor.
               Preliminary ratings may also be assigned to the obligors. These ratings consider the anticipated general credit quality of the
               reorganized or post-bankruptcy issuer as well as attributes of the anticipated obligation(s).
         •     Preliminary ratings may be assigned to entities that are being formed or that are in the process of being independently
               established when, in Standard & Poor’s opinion, documentation is close to final. Preliminary ratings may also be assigned to
               the obligations of these entities.
         •     Preliminary ratings may be assigned when a previously unrated entity is undergoing a well-formulated restructuring,
               recapitalization, significant financing or other transformative event, generally at the point that investor or lender
               commitments are invited. The preliminary rating may be assigned to the entity and to its proposed obligation(s). These
               preliminary ratings consider the anticipated general credit quality of the obligor, as well as attributes of the anticipated
               obligation(s), assuming successful completion of the transformative event. Should the transformative event not occur,
               Standard & Poor’s would likely withdraw these preliminary ratings.
         •     A preliminary recovery rating may be assigned to an obligation that has a preliminary issue credit rating.


  Termination Structures: ‘t’ qualifier
       This symbol indicates termination structures that are designed to honor their contracts to full maturity or, should certain events
  occur, to terminate and cash settle all their contracts before their final maturity date.


  Inactive Qualifiers (No longer applied or outstanding)
  Contingent upon final documentation: ‘*’ in active qualifier
       This symbol that indicated that the ratings was contingent upon Standard & Poor ‘s receipt of an executed copy of the escrow
  agreement or closing documentation confirming investments and cash flows. Discontinued use in August 1998.


  Termination of obligation to tender: ‘c’ inactive qualifier
       This qualifier was used to provide additional information to investors that the bank may terminate its obligation to purchase
  tendered bonds if the long-term credit rating of the issuer was lowered to below an investment-grade level and/or the issuer’s bonds are
  deemed taxable. Discontinued use in January 2001.


  U.S. direct government securities: ‘G’ inactive qualifier
        The letter ‘G’ followed the rating symbol when a fund’s portfolio consisted primarily of direct U.S. government securities.


  Provisional Ratings: ‘pr’ inactive qualifier
       The letters ‘pr’ indicate that the rating was provisional. A provisional rating assumed the successful completion of a project
  financed by the debt being rated and indicates that the payment of debt service requirements was largely or entirely dependent upon
  the successful, timely completion of the project. This rating, however, while addressing credit quality subsequent to completion of the
  project, made no comment on the likelihood of or the risk of default upon failure of such completion.


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  Quantitative Analysis of public information: ‘q’ inactive qualifier
        A ‘q’ subscript indicates that the rating is based solely on quantitative analysis of publicly available information. Discontinued
  use in April 2001.


  Extraordinary risks: ‘r’ inactive qualifier
        The ‘r’ modifier was assigned to securities containing extraordinary risks, particularly market risks, which are not covered in the
  credit rating. The absence of an ‘r’ modifier should not be taken as an indication that an obligation will not exhibit extraordinary
  non-credit related risks. Standard & Poor’s discontinued the use of the ‘r’ modifier for most obligations in June 2000 and for the balance
  of obligations (mainly structured finance transactions) in November 2002.

      Moody’s Investors Service, Inc.—A brief description of the applicable Moody’s Investors Service, Inc. (“Moody’s”) rating
  symbols and their meanings (as published by Moody’s) follows:


  Long-Term Obligation Ratings
        Moody’s long-term obligation ratings are opinions of the relative credit risk of a fixed income obligations with an original maturity
  of one year or more. They address the possibility that a financial obligation will not be honored as promised. Such ratings reflect both
  the likelihood of default and any financial loss suffered in the event of default.


  Moody’s Global Long-Term Rating Scale Definitions:
  Aaa
        Obligations rated Aaa are judged to be of the highest quality, subject to the lowest level of credit risk.


  Aa
        Obligations rated Aa are judged to be of high quality and are subject to very low credit risk.


  A
        Obligations rated A are judged to be upper medium-grade and are subject to low credit risk.


  Baa
       Obligations rated Baa are judged to be medium-grade and subject to moderate credit risk and as such may possess certain
  speculative characteristics.


  Ba
        Obligations rated Ba are judged to be speculative elements and are subject to substantial credit risk.


  B
        Obligations rated B are considered speculative and are subject to high credit risk.


  Caa
        Obligations rated Caa are judged to be speculative of poor standing and are subject to very high credit risk.


  Ca
        Obligations rated Ca are highly speculative and are likely in, or very near, default, with some prospect of recovery of principal and
  interest.



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  C                                                   267
        Obligations rated C are the lowest rated and are typically in default, with little prospect for recovery of principal or interest.

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       Note: Moody’s appends numerical modifiers 1, 2, and 3 to each generic rating classification from Aa through Caa. The modifier 1
  indicates that the obligation ranks in the higher end of its generic rating category; the modifier 2 indicates a mid-range ranking; and the
  modifier 3 indicates a ranking in the lower end of that generic rating category. Additionally, a “(hyb)” indicator is appended to all ratings
  of hybrid securities issued by banks, insurers, finance companies, and securities firms.
  * By their terms, hybrid securities allow for the omission of scheduled dividends, interest, or principal payments, which can potentially
    result in impairment if such an omission occurs. Hybrid securities may also be subject to contractually allowable write- downs of
    principal that could result in impairment. Together with the hybrid indicator, the long-term obligation rating assigned to a hybrid
    security is an expression of the relative credit risk associated with that security.


  Medium-Term Note Ratings
       Moody’s assigns provisional ratings to medium-term note (MTN) programs and definitive ratings to the individual debt securities
  issued from them (referred to as drawdowns or notes).

       MTN program ratings are intended to reflect the ratings likely to be assigned to drawdowns issued from the program with the
  specified priority of claim (e.g. senior or subordinated). To capture the contingent nature of a program rating, Moody’s assigns
  provisional ratings to MTN programs. A provisional rating is denoted by a (P) in front of the rating and is defined elsewhere in this
  document.

       The rating assigned to a drawdown from a rated MTN or bank/deposit note program is definitive in nature, and may differ from the
  program rating if the drawdown is exposed to additional credit risks besides the issuer’s default, such as links to the defaults of other
  issuers, or has other structural features that warrant a different rating. In some circumstances, no rating may be assigned to a drawdown.

       Moody’s encourages market participants to contact Moody’s Ratings Desks or visit www.moodys.com directly if they have
  questions regarding ratings for specific notes issued under a medium-term note program. Unrated notes issued under an MTN program
  may be assigned an NR (not rated) symbol.


  Global Short-Term Rating Scale:
       Moody’s short-term ratings are opinions of the ability of issuers to honor short-term financial obligations. Ratings may be
  assigned to issuers, short-term programs or to individual short-term debt instruments. Such obligations generally have an original
  maturity not exceeding thirteen months, unless explicitly noted.

        Moody’s employs the following designations to indicate the relative repayment ability of rated issuers:


  P-1
        Issuers (or supporting institutions) rated Prime-1 have a superior ability to repay short-term debt obligations.


  P-2
        Issuers (or supporting institutions) rated Prime-2 have a strong ability to repay short-term debt obligations.


  P-3
        Issuers (or supporting institutions) rated Prime-3 have an acceptable ability to repay short-term obligations.


  NP
        Issuers (or supporting institutions) rated Not Prime do not fall within any of the Prime rating categories.

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                                                                     APPENDIX B

                                                      POLICY REGARDING PROXY VOTING

                                                                  Purpose and Scope

              The purpose of these voting policies and procedures (the “Policy”) is to set forth the principles and procedures by which
  NexPoint Advisors, L.P. (the “Company”) votes or gives consents with respect to the securities owned by Clients for which the
  Company exercises voting authority and discretion.1 For avoidance of doubt, this includes any proxy and any shareholder vote or
  consent, including a vote or consent for a private company or other issuer that does not involve a proxy. These policies and procedures
  have been designed to help ensure that votes are cast in the best interests of Clients in accordance with the Company’s fiduciary duties
  and Rule 206(4)-6 under the Investment Advisers Act of 1940 (the “Advisers Act”).

              This Policy applies to securities held in all Client accounts (including Retail Funds and other pooled investment vehicles) as
  to which the Company has explicit or implicit voting authority. Implicit voting authority exists where the Company’s voting authority is
  implied by a general delegation of investment authority without reservation of proxy voting authority to the Client.

                If the Company has delegated voting authority to an investment sub-adviser with respect to any Retail Fund, such sub-
  adviser will be responsible for voting all proxies for such Retail Funds in accordance with the sub-adviser’s proxy voting policies. The
  Compliance Department, to provide oversight over the proxy voting by sub-advisers and to ensure that votes are executed in the best
  interests of the Retail Funds, shall (i) review the proxy voting policies and procedures of each Retail Fund sub-adviser to confirm that
  they comply with Rule 206(4)-6, both upon engagement of the sub-adviser and upon any material change to the sub-adviser’s proxy
  voting policies and procedures, and (ii) require each such sub-adviser to provide quarterly certifications that all proxies were voted
  pursuant to the sub-adviser’s policies and procedures or to describe any inconsistent votes.


                                                                  General Principles

               The Company and its affiliates engage in a broad range of activities, including investment activities for their own accounts
  and for the accounts of various Clients and providing investment advisory and other services to Clients. In the ordinary course of
  conducting the Company’s activities, the interests of a Client may conflict with the interests of the Company, other Clients and/or the
  Company’s affiliates and their clients. Any conflicts of interest relating to the voting of proxies, regardless of whether actual or
  perceived, will be addressed in accordance with these policies and procedures. The guiding principle by which the Company votes all
  proxies is to vote in the best interests of each Client by maximizing the economic value of the relevant Client’s holdings, taking into
  account the relevant Client’s investment horizon, the contractual obligations under the relevant advisory agreements or comparable
  documents and all other relevant facts and circumstances at the time of the vote. The Company does not permit voting decisions to be
  influenced in any manner that is contrary to, or dilutive of, this guiding principle.


                                                                  Voting Procedures

  Third-Party Proxy Advisors
               The Company may engage a third-party proxy advisor (“Proxy Advisor”) to provide proxy voting recommendations with
  respect to Client proxies. Proxy Advisor voting recommendation guidelines are generally designed to increase investors’ potential
  financial gain. When considering whether to retain or continue retaining any particular Proxy Advisor, the Compliance Department will
  ascertain, among other things, whether the Proxy Advisor has the capacity and competency to adequately analyze proxy issues. In this
  regard, the Compliance Department will consider, among other things: the adequacy and quality of the Proxy Advisor’s staffing and


  1     In any case where a Client has instructed the Company to vote in a particular manner on the Client’s behalf, those instructions will
        govern in lieu of parameters set forth in the Policy. personnel; the robustness of its policies and procedures regarding its ability to
        (a) ensure that its proxy voting recommendations are based on current and accurate information and (b) identify and address any
        conflicts of interest and any other considerations that the Compliance Department determines would be appropriate in considering
        the nature and quality of the services provided by the Proxy Advisor. To identify and address any conflicts that may arise on the
        part of the Proxy Advisor, the Compliance Department will ensure that the Proxy Advisor notifies the Compliance Department of
        any relevant business changes or changes to its policies and procedures regarding conflicts.

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  Third-Party Proxy Voting Services
              The Company may utilize a third-party proxy voting service (“Proxy Voting Service”) to monitor holdings in Client accounts
  for purposes of determining whether there are upcoming shareholder meetings or similar corporate actions and to execute Client proxies
  on behalf of the Company pursuant to the Company’s instructions, which shall be given in a manner consistent with this Policy. The
  Compliance Department will oversee each Proxy Voting Service to ensure that proxies have been voted in a manner consistent with the
  Company’s instructions.


  Monitoring
              Subject to the procedures regarding Nonstandard Proxy Notices described below, the Compliance Department of the
  Company shall have responsibility for monitoring Client accounts for proxy notices. Except as detailed below, if proxy notices are
  received by other employees of the Company, such employees must promptly forward all proxy or other voting materials to the
  Compliance Department.


  Portfolio Manager Review and Instruction
               From time to time, the settlement group of the Company may receive nonstandard proxy notices, regarding matters
  including, but not limited to, proposals regarding corporate actions or amendments (“Nonstandard Proxy Notices”) with respect to
  securities held by Clients. Upon receipt of a Nonstandard Proxy Notice, a member of the settlement group (the “Settlement Designee”)
  shall send an email notification containing all relevant information to the Portfolio Manager(s) with responsibility for the security
  and [             .com]. Generally, the relevant Portfolio Manager(s) shall deliver voting instructions for Nonstandard Proxy Notices by
  replying to the email notice sent to the Portfolio Manager(s) and [             .com] by the Settlement Designee or by sending voting
  instructions to [            .com] and copying [              .com]. Any conflicts for Nonstandard Proxy Notices should also be
  disclosed to the Compliance Department. In the event a Portfolio Manager orally conveys voting instructions to the Settlement
  Designee or any other member of the Company’s settlement group, that Settlement Designee or member of the Company’s settlement
  group shall respond to the original notice email sent to [            .com] detailing the Portfolio Manager(s) voting instructions.

               With regard to standard proxy notices, on a weekly basis, the Compliance Department will send a notice of upcoming proxy
  votes related to securities held by Clients and the corresponding voting recommendations of the Proxy Advisor to the relevant Portfolio
  Manager(s). Upon receipt of a proxy notice from the Compliance Department, the Portfolio Manager(s) will review and evaluate the
  upcoming votes and recommendations. The Portfolio Managers may rely on any information and/or research available to him or her and
  may, in his or her discretion, meet with members of an issuer’s management to discuss matters of importance to the relevant Clients and
  their economic interests. Should the Portfolio Manager determine that deviating from the Proxy Advisor’s recommendation is in a
  Client’s best interest, the Portfolio Manager shall communicate his or her voting instructions to the Compliance Department.

              In the event that more than one Portfolio Manager is responsible for making a particular voting decision and such Portfolio
  Managers are unable to arrive at an agreement as to how to vote with respect to a particular proposal, they should consult with the
  applicable Chief Compliance Officer (the “CCO”) for guidance.


  Voting
               Upon receipt of the relevant Portfolio Managers’ voting instructions, if any, the Compliance Department will communicate
  the instructions to the Proxy Voting Service to execute the proxy votes.


  Non-Votes
               It is the general policy of the Company to vote or give consent on all matters presented to security holders in any vote, and
  these policies and procedures have been designated with that in mind. However, the Company reserves the right to abstain on any
  particular vote if, in the judgment of the CCO, or the relevant Portfolio Manager, the effect on the relevant Client’s economic interests or
  the value of the portfolio holding is insignificant in relation to the Client’s portfolio, if the costs associated with voting in any particular
  instance outweigh the benefits to the relevant Clients or if the circumstances make such an abstention or withholding otherwise
  advisable and in the best interests of the relevant Clients not to vote. Such determination may apply in respect of all Client holdings of
  the securities or only certain specified Clients, as the Company deems appropriate under the circumstances. As examples, a Portfolio
  Manager may determine: (a) not to recall securities on loan if, in his or her judgment, the matters being voted upon are not material
  events affecting the securities and the negative consequences to Clients of disrupting the securities lending program would outweigh


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  the benefits of voting in the particular instance or (b) not to vote proxies relating to certain foreign securities if, in his or her judgment,
  the expense and administrative inconvenience outweighs the benefits to Clients of voting the securities.

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  Conflicts of Interest
                The Company’s Compliance Department is responsible for monitoring voting decisions for any conflicts of interest,
  regardless of whether they are actual or perceived. All voting decisions contrary to the recommendation of a Proxy Advisor require a
  mandatory conflicts of interest review by the Compliance Department, which will include a consideration of whether the Company or
  any Portfolio Manager or other person recommending or providing input on how to vote has an interest in the vote that may present a
  conflict of interest.

               In addition, all Company investment professionals are expected to perform their tasks relating to the voting of proxies in
  accordance with the principles set forth above, according the first priority to the best interest of the relevant Clients. If at any time a
  Portfolio Manager or any other investment professional becomes aware of a potential or actual conflict of interest regarding any
  particular voting decision, he or she must contact the Compliance Department promptly and, if in connection with a proxy that has yet to
  be voted, prior to such vote. If any investment professional is pressured or lobbied, whether from inside or outside the Company, with
  respect to any particular voting decision, he or she should contact the Compliance Department promptly. The CCO will use his or her
  best judgment to address any such conflict of interest and ensure that it is resolved in accordance with his or her independent
  assessment of the best interests of the relevant Clients.

               In the event of a conflict, the Company may choose to address such conflict by: (i) voting in accordance with the Proxy
  Advisor’s recommendation; (ii) the CCO determining how to vote the proxy (if the CCO approves deviation from the Proxy Advisor’s
  recommendation, then the CCO shall document the rationale for the vote); (iii) “echo voting” or “mirror voting” the proxy in the same
  proportion as the votes of other proxy holders that are not Clients; or (iv) with respect to Clients other than Retail Funds, notifying the
  affected Client of the material conflict of interest and seeking a waiver of the conflict or obtaining such Client’s voting instructions.
  Where the Compliance Department deems appropriate, third parties may be used to help resolve conflicts. In this regard, the CCO or his
  or her delegate shall have the power to retain fiduciaries, consultants or professionals to assist with voting decisions and/or to delegate
  voting or consent powers to such fiduciaries, consultants or professionals.

               Where a conflict of interest arises with respect to a voting decision for a Retail Fund, the Company shall disclose the
  conflict and the rationale for the vote taken to the Retail Fund’s Board of Directors/Trustees at the next regularly scheduled quarterly
  meeting. The Compliance Department will maintain a log documenting the basis for the decision and will furnish the log to the Board of
  Trustees.


  Material Conflicts of Interest
              The following relationships or circumstances are examples of situations that may give rise to a material conflict of interest
  for purposes of this Policy. This list is not exclusive or determinative; any potential conflict (including payments of the types described
  below but less than the specified threshold) should be identified to the Company’s Compliance Department:
               (i)    The issuer is a Client of the Company, or of an affiliate, accounting for more than 5% of the Company’s or affiliate’s
                      annual revenues.
               (ii)   The issuer is an entity that reasonably could be expected to pay the Company or its affiliates more than $1 million
                      through the end of the Company’s next two full fiscal years.
               (iii) The issuer is an entity in which a “Covered Person” (as defined in the Company’s Policies and Procedures Designed to
                     Detect and Prevent Insider Trading and to Comply with Rule 17j-1 of the Investment Company Act of 1940, as
                     amended (the “Code of Ethics”)) has a beneficial interest contrary to the position held by the Company on behalf of
                     Clients.
               (iv) The issuer is an entity in which an officer or partner of the Company or a relative of any such person is or was an
                    officer, director or employee, or such person or relative otherwise has received more than $150,000 in fees,
                    compensation and other payment from the issuer during the Company’s last three fiscal years; provided, however, that
                    the Compliance Department may deem such a relationship not to be a material conflict of interest if the Company
                    representative serves as an officer or director of the issuer at the direction of the Company for purposes of seeking
                    control over the issuer.
               (v) The matter under consideration could reasonably be expected to result in a material financial benefit to the Company or
                   its affiliates through the end of the Company’s next two full fiscal years (for example, a vote to increase an investment
                   advisory fee for a Retail Fund advised by the Company or an affiliate).


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               (vi) Another Client or prospective Client of the Company, directly or indirectly, conditions future engagement of the
                     Company on voting proxies in respect of any Client’s securities on a particular matter in a particular way.

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               (vii) The Company holds various classes and types of equity and debt securities of the same issuer contemporaneously in
                     different Client portfolios.
               (viii) Any other circumstance where the Company’s duty to serve its Clients’ interests, typically referred to as its “duty of
                      loyalty,” could be compromised.

               Notwithstanding the foregoing, a conflict of interest described above shall not be considered material for the purposes of
  this Policy in respect of a specific vote or circumstance if:
                      The securities in respect of which the Company has the power to vote account for less than 1% of the issuer’s
                      outstanding voting securities, but only if: (i) such securities do not represent one of the 10 largest holdings of such
                      issuer’s outstanding voting securities and (ii) such securities do not represent more than 2% of the Client’s holdings
                      with the Company.
                      The matter to be voted on relates to a restructuring of the terms of existing securities or the issuance of new securities
                      or a similar matter arising out of the holding of securities, other than common equity, in the context of a bankruptcy or
                      threatened bankruptcy of the issuer.


                                                                    Recordkeeping

               Following the submission of a proxy vote, the Fund will maintain a report of the vote and all relevant documentation.

              The Fund shall retain records relating to the voting of proxies and the Company shall conduct due diligence, including on
  Proxy Voting Services and Proxy Advisors, as applicable, to ensure the following records are adequately maintained by the appropriate
  party:
               (i)    Copies of this Policy and any amendments thereto.
               (ii)   A current copy of the Proxy Advisor’s voting guidelines, as amended.
               (iii) A copy of each proxy statement that the Company receives regarding Client securities. The Company may rely on a
                     third party to make and retain, on the Company’s behalf, a copy of a proxy statement, provided that the Company has
                     obtained an undertaking from the third party to provide a copy of the proxy statement promptly upon request.
               (iv) Records of each vote cast by the Company on behalf of Clients. The Company may satisfy this requirement by relying
                    on a third party to make and retain, on the Company’s behalf, a record of the vote cast, provided that the Company has
                    obtained an undertaking from the third party to provide a copy of the record promptly upon request.
               (v) A copy of any documents created by the Company that were material to making a decision how to vote or that
                   memorializes the basis for that decision.
               (vi) A copy of each written request for information on how the Company voted proxies on behalf of the Client, and a copy
                    of any written response by the Company to any (oral or written) request for information on how the Company voted.

               These records shall be maintained and preserved in an easily accessible place for a period of not less than five years from
  the end of the Company’s fiscal year during which the last entry was made in the records, the first two years in an appropriate office of
  the Company.2


                                                              Enforcement of this Policy

               It shall be the responsibility of the Compliance Department to handle or coordinate the enforcement of this Policy. The
  Compliance Department will periodically sample proxy voting records to ensure that proxies have been voted in accordance with this
  Policy, with a particular focus on any proxy votes that require additional analysis (e.g., proxies voted contrary to the recommendations
  of a Proxy Advisor).

             If the Compliance Department determines that a Proxy Advisor or Proxy Voting Service may have committed a material error,
  the Compliance Department will investigate the error, taking into account the nature of the error, and seek to determine whether the
  Proxy Advisor or Proxy Voting Service is taking reasonable steps to reduce similar errors in the future.

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               In addition, no less frequently than annually, the Compliance Department will review the adequacy of this Policy to ensure
  that it has been implemented effectively and to confirm that this Policy continues to be reasonably designed to ensure that proxies are
  voted in the best interest of Clients.


  2     If the Company has essentially immediate access to a book or record (on the Company’s proprietary system or otherwise) through
        a computer located at an appropriate office of the Company, then that book or record will be considered to be maintained at an
        appropriate office of the Company. “Immediate access” to books and records includes that the Company has the ability to provide
        promptly to Securities and Exchange Commission (the “SEC”) examination staff hard copies of the books and records or access to
        the storage medium. The party responsible for the applicable books and records as described above shall also be responsible for
        ensuring that those books and records for the first two years are either physically maintained in an appropriate office of the
        Company or that the Company otherwise has essentially immediate access to the required books and records for the first two
        years.


                                                        Disclosures to Clients and Investors

              The Company includes a description of its policies and procedures regarding proxy voting in Part 2 of Form ADV, along
  with a statement that Clients can contact the CCO to obtain a copy of these policies and procedures and information about how the
  Company voted with respect to a Client’s securities. This Policy is, however, subject to change at any time without notice.

            As a matter of policy, the Company does not disclose how it expects to vote on upcoming proxies. Additionally, the
  Company does not disclose the way it voted proxies to unaffiliated third parties without a legitimate need to know such information.

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                                                                         Part C

                                                                   Other Information

  Item 25.       Financial Statements and Exhibits
  1. Financial Statements
  Part A — Financial Highlights.

  Part B — Audited financial statements for the period ended December 31, 2018 are incorporated by reference herein to the Trust’s
  annual report for the period ended December 31, 2018.


  2. Exhibits

  (a)      Agreement and Declaration of Trust (1)
  (b)      By-Laws (1)
  (c)      Not applicable
  (d)(1) Provisions of instruments defining the rights of holders of securities are contained in the Trust’s Agreement and Declaration of
         Trust and By-Laws
  (e)      Dividend Reinvestment Plan (19)
  (f)      Not applicable
  (g)      Amended and Restated Investment Advisory Agreement, dated June 29, 2006, between the Trust and NexPoint Advisors,
           L.P. (7)
  (h)      Not applicable
  (i)      Not applicable
  (j)(1)   Master Custodian Agreement dated October 3, 2018 between Bank of New York Mellon (“BNY”) and NexPoint Real Estate
           Strategies Fund, NexPoint Healthcare Opportunities Fund, NexPoint Latin American Opportunities Fund, NexPoint Discount
           Strategies Fund, NexPoint Energy and Materials Opportunities Fund, NexPoint Strategic Income Fund and NexPoint Event
           Driven Fund (the “Interval Funds”) listed on Annex A thereto (as Annex A may be amended from time to time), is filed herewith.
  (j)(2)   Amendment 1 to Master Custodian Agreement dated April 8, 2019 between BNY and the Trust, the Interval Funds, the series of
           Highland Funds II, the series of Highland Funds I, the Trust, Highland Income Fund, Highland Global Allocation Fund and
           Gambier Bay, LLC, is filed herewith.
  (j)(3)   Amendment 2 to Master Custodian Agreement dated April 8, 2019 between BNY and the Trust, the Interval Funds, the series of
           Highland Funds II, the series of Highland Funds I, the Trust, Highland Income Fund, Highland Global Allocation Fund and
           Gambier Bay, LLC, is filed herewith.
  (k)(1)   Transfer Agency and Registrar Services Agreement, dated January 18, 2013, between the Trust and American Stock Transfer &
           Trust Company, LLC (10)
  (k)(2)   Administration Services Agreement, dated June 29, 2006, between the Trust and Highland Capital Management, L.P. (10)
  (k)(3)   Amendment No. 1, dated June 6, 2008, to Administration Services Agreement, dated December 4, 2006, between the Trust and
           Highland Capital Management, L.P. (10)
  (k)(4)   Master Sub-Administration Agreement, dated July 19, 2018, between SEI investments Global Funds Services and NexPoint
           Advisors, L.P. (19)
  (k)(5)   Committed Facility Agreement, dated May 16, 2013, between BNP Paribas Prime Brokerage, Inc. (“BNP”) and the Trust (8)
  (k)(6)   First Amendment Agreement, dated May 29, 2013, to the Committed Facility Agreement, dated May 16, 2013, between BNP and
           the Trust (12)
  (k)(7)   Second Amendment Agreement, dated December 11, 2013, to the Committed Facility Agreement, dated May 16, 2013, between
           BNP and the Trust (10)
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  (k)(8) Third Amendment Agreement, dated May 6, 2014, to the Committed Facility Agreement, dated May 16, 2013, between BNP and
           the Trust (10)




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  (k)(9)      Fourth Amendment Agreement, dated October 28, 2014, to the Committed Facility Agreement, dated May 16, 2013, between
              BNP and the Trust (10)
  (k)(10) Fifth Amendment Agreement, dated February 26, 2015, to the Committed Facility Agreement, dated May 16, 2013, between BNP
          and the Trust (10)
  (k)(11) Sixth Amendment Agreement, dated August 3, 2015, to the Committed Facility Agreement, dated May 16, 2013, between BNP
          and the Trust (11)
  (k)(12) Seventh Amendment Agreement, dated November 30, 2015, to the Committed Facility Agreement, dated May 16, 2013, between
          BNP and the Trust (11)
  (k)(13) Eighth Amendment Agreement, dated December 9, 2015, to the Committed Facility Agreement, dated May 16, 2013, between
          BNP and the Trust (11)
  (k)(14) Ninth Amendment Agreement, dated March 16, 2016, to the Committed Facility Agreement, dated May 16, 2013, between BNP
          and the Trust (18)
  (k)(15) Tenth Amendment Agreement, dated March 9, 2018, to the Committed Facility Agreement, dated May 16, 2013, between BNP
          and the Trust (18)
  (k)(16) Annex to the Master Repurchase Agreement dated November 17, 2017, between BNP Paribas Securities Corp. and NexPoint
          Advisors, L.P. (17)
  (k)(17) Form of Special Custody and Pledge Agreement (8)
  (k)(18) Form of U.S. PB Agreement (8)
  (k)(19) Rights Offering Marketing Support Agreement dated March 16, 2018, between Highland Capital Funds Distributor, Inc. and the
          Trust (18)
  (k)(20) ISDA Master Agreement dated August 4, 2017, Credit Support Annex and related Schedules between Societe Generale and
          NexPoint Advisors, L.P. (17)
  (k)(21) Amended and Restated Revolving Credit Agreement dated August 14, 2018, between the Trust, NexPoint Real Estate
          Opportunities, LLC and NexPoint Real Estate Capital, LLC and Keybank, National Association (19)
  (l)(1)      Opinion of Counsel to the Trust, to be filed by amendment.
  (l)(2)      Consent of Counsel to the Trust, filed herewith
  (m)         Not applicable
  (n)         Consent of Independent Registered Public Accounting Firm, filed herewith.
  (o)         Not applicable
  (p)         Subscription Agreement, dated June 1, 2006, between the Trust and Highland Capital Management Services, Inc. (1)
  (q)         Not applicable
  (r)(1)      Code of Ethics of the Trust (13)
  (r)(2)      Code of Ethics of the Investment Adviser (19)
  (s)         Powers of Attorney for Ethan Powell, Bryan A. Ward, John Honis, Dustin Norris and Dr. Bob Froehlich, filed herewith

  (1)      Incorporated by reference from Pre-Effective Amendment No. 4 to the Trust’s Registration Statement on Form N-2 (File
           No. 333-132436), filed on June 9, 2006.
  (2)      Incorporated by reference from Pre-Effective Amendment No. 5 to the Trust’s Registration Statement on Form N-2 (File
           No. 333-132436), filed on June 21, 2006.




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  (3)    Incorporated by reference from the Trust’s Registration Statement on Form N-14 (File No. 333-156464), filed on December 24, 2008.
  (4)    Incorporated by reference from the Trust’s Registration Statement on Form N-2 (File No. 333-173004), filed on March 23, 2011.
  (5)    Incorporated by reference from the Trust’s Registration Statement on Form N-2 (File No. 333-173004), filed on July 29, 2011.
  (6)    Incorporated by reference from the Trust’s Registration Statement on Form N-2 (File No. 333-173004), filed on May 7, 2013.
  (7)    Incorporated by reference from the Trust’s Registration Statement on Form N-2 (File No. 333-173004), filed on August 21, 2013.
  (8)    Incorporated by reference from the Trust’s Registration Statement on Form N-2 (File No. 333-173004), filed on November 12, 2013.
  (9)    Incorporated by reference from the Trust’s Registration Statement on Form N-2 (File No. 333-173004), filed on May 1, 2014.
  (10)   Incorporated by reference from the Trust’s Registration Statement on Form N-2 (File No. 333-173004), filed on April 30, 2015.
  (11)   Incorporated by reference from the Trust’s Registration Statement on Form N-2 (File No. 333-209877), filed on March 2, 2016.
  (12)   Incorporated by reference from the Trust’s Registration Statement on Form N-2 (File No. 333-215796), filed on January 27, 2017.
  (13)   Incorporated by reference from the Trust’s Registration Statement on Form N-2 (File No. 333-215796), filed on March 13, 2017.
  (14)   Incorporated by reference from the Trust’s Registration Statement on Form N-2 (File No. 333-215796), filed on April 14, 2017.
  (15)   Incorporated by reference from Post-Effective Amendment No. 1 to the Trust’s Registration Statement on Form N-2 (File
         No. 333-215796), filed on April 21, 2017.
  (16)   Incorporated by reference from the Trust’s Registration Statement on Form N-2 (File No. 333-219983), filed on August 15, 2017.
  (17)   Incorporated by reference from the Trust’s Registration Statement on Form N-2 (File No. 333-219983), filed on December 19, 2017.
  (18)   Incorporated by reference from Post-Effective Amendment No. 1 to the Trust’s Registration Statement on Form N-2 (File
         No. 333-219983), filed March 23, 2018.
  (19)   Incorporated by reference to the Trust’s Registration Statement on Form N-2 (File No. 333-230078), filed on March 5, 2019.


  Item 26.       Marketing Arrangements
  Not applicable.


  Item 27.       Other Expenses of Issuance and Distribution
  The following table sets forth the estimated expenses to be incurred in connection with all offerings described in this Registration
  Statement:

                          Legal Fees                                                                         $165,000
                          Subscription Agent                                                                   60,000
                          Information Agent                                                                    25,000
                          Printing and Mailing                                                                 50,000
                          NYSE Listing Fee                                                                     50,000
                          SEC Registration Fee                                                                 60,600
                          FINRA Fee                                                                             7,000
                          Other                                                                                27,400
                          Total                                                                              $445,000

  Note: All amounts are estimates.




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  Item 28.       Persons Controlled by or Under Common Control with the Registrant
  As of June 30, 2019, the Trust beneficially owns 100% of NexPoint Real Estate Opportunities, LLC and 100% of NexPoint Real Estate
  Capital, LLC, each a Delaware limited liability company that has elected to be treated as a real estate investment trust. See “Portfolio
  Composition” in the Trust’s Prospectus and “Investment Policies and Techniques—Real Estate Investment Trusts ‘REITS’” in the
  Trust’s statement of additional information filed herewith. As of June 30, 2019, the Trust beneficially owns 100% of Specialty Financial
  Products Ltd., a private company with limited liability duly incorporated under the laws of Ireland.


  Item 29.       Number of Holders of Shares
  As of June 30, 2019:

                                                                                                          Nu m be r of
                          Title of C lass                                                            Re giste re d Holde rs
                          Common Shares of Beneficial Interest                                                       1,166

  Item 30.       Indemnification
  Article V of the Registrant’s Agreement and Declaration of Trust provides as follows:

  5.1 No Personal Liability of Shareholders, Trustees, etc. No Shareholder of the Trust shall be subject in such capacity to any personal
  liability whatsoever to any Person in connection with Trust Property or the acts, obligations or affairs of the Trust. Shareholders shall
  have the same limitation of personal liability as is extended to stockholders of a private corporation for profit incorporated under the
  Delaware General Corporation Law. No trustee or officer of the Trust shall be subject in such capacity to any personal liability
  whatsoever to any Person, save only liability to the Trust or its Shareholders arising from bad faith, willful misfeasance, gross
  negligence or reckless disregard for his duty to such Person; and, subject to the foregoing exception, all such Persons shall look solely
  to the Trust Property for satisfaction of claims of any nature arising in connection with the affairs of the Trust. If any Shareholder,
  trustee or officer, as such, of the Trust, is made a party to any suit or proceeding to enforce any such liability, subject to the foregoing
  exception, he shall not, on account thereof, be held to any personal liability. Any repeal or modification of this Section 5.1 shall not
  adversely affect any right or protection of a trustee or officer of the Trust existing at the time of such repeal or modification with respect
  to acts or omissions occurring prior to such repeal or modification.

  5.2 Mandatory Indemnification. (a) The Trust hereby agrees to indemnify each person who at any time serves as a trustee or officer of
  the Trust (each such person being an “indemnitee”) against any liabilities and expenses, including amounts paid in satisfaction of
  judgments, in compromise or as fines and penalties, and reasonable counsel fees reasonably incurred by such indemnitee in connection
  with the defense or disposition of any action, suit or other proceeding, whether civil or criminal, before any court or administrative or
  investigative body in which he may be or may have been involved as a party or otherwise or with which he may be or may have been
  threatened, while acting in any capacity set forth in this Article V by reason of his having acted in any such capacity, except with
  respect to any matter as to which he shall not have acted in good faith in the reasonable belief that his action was in the best interest of
  the Trust or, in the case of any criminal proceeding, as to which he shall have had reasonable cause to believe that the conduct was
  unlawful, provided, however, that no indemnitee shall be indemnified hereunder against any liability to any person or any expense of
  such indemnitee arising by reason of (i) willful misfeasance, (ii) bad faith, (iii) gross negligence, or (iv) reckless disregard of the duties
  involved in the conduct of his position (the conduct referred to in such clauses (i) through (iv) being sometimes referred to herein as
  “disabling conduct”). Notwithstanding the foregoing, with respect to any action, suit or other proceeding voluntarily prosecuted by
  any indemnitee as plaintiff, indemnification shall be mandatory only if the prosecution of such action, suit or other proceeding by such
  indemnitee (1) was authorized by a majority of the trustees or (2) was instituted by the indemnitee to enforce his or her rights to
  indemnification hereunder in a case in which the indemnitee is found to be entitled to such indemnification. The rights to
  indemnification set forth in this Declaration shall continue as to a person who has ceased to be a trustee or officer of the Trust and shall
  inure to the benefit of his or her heirs, executors and personal and legal representatives. No amendment or restatement of this
  Declaration or repeal of any




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  of its provisions shall limit or eliminate any of the benefits provided to any person who at any time is or was a trustee or officer of the
  Trust or otherwise entitled to indemnification hereunder in respect of any act or omission that occurred prior to such amendment,
  restatement or repeal.

  (b) Notwithstanding the foregoing, no indemnification shall be made hereunder unless there has been a determination (i) by a final
  decision on the merits by a court or other body of competent jurisdiction before whom the issue of entitlement to indemnification
  hereunder was brought that such indemnitee is entitled to indemnification hereunder or, (ii) in the absence of such a decision, by (1) a
  majority vote of a quorum of those trustees who are neither “interested persons” of the Trust (as defined in Section 2(a)(19) of the
  Investment Company Act) nor parties to the proceeding (“Disinterested Non-Party Trustees”), that the indemnitee is entitled to
  indemnification hereunder, or (2) if such quorum is not obtainable or even if obtainable, if such majority so directs, independent legal
  counsel in a written opinion concludes that the indemnitee should be entitled to indemnification hereunder. All determinations to make
  advance payments in connection with the expense of defending any proceeding shall be authorized and made in accordance with the
  immediately succeeding paragraph (c) below.

  (c) The Trust shall make advance payments in connection with the expenses of defending any action with respect to which
  indemnification might be sought hereunder if the Trust receives a written affirmation by the indemnitee of the indemnitee’s good faith
  belief that the standards of conduct necessary for indemnification have been met and a written undertaking to reimburse the Trust
  unless it is subsequently determined that the indemnitee is entitled to such indemnification and if a majority of the trustees determine
  that the applicable standards of conduct necessary for indemnification appear to have been met. In addition, at least one of the
  following conditions must be met: (i) the indemnitee shall provide adequate security for his undertaking, (ii) the Trust shall be insured
  against losses arising by reason of any lawful advances, or (iii) a majority of a quorum of the Disinterested Non-Party Trustees, or if a
  majority vote of such quorum so direct, independent legal counsel in a written opinion, shall conclude, based on a review of readily
  available facts (as opposed to a full trial-type inquiry), that there is substantial reason to believe that the indemnitee ultimately will be
  found entitled to indemnification.

  (d) The rights accruing to any indemnitee under these provisions shall not exclude any other right which any person may have or
  hereafter acquire under this Declaration, the By-Laws of the Trust, any statute, agreement, vote of stockholders or trustees who are
  “disinterested persons” (as defined in Section 2(a)(19) of the Investment Company Act) or any other right to which he or she may be
  lawfully entitled.

  (e) Subject to any limitations provided by the Investment Company Act and this Declaration, the Trust shall have the power and
  authority to indemnify and provide for the advance payment of expenses to employees, agents and other Persons providing services to
  the Trust or serving in any capacity at the request of the Trust to the full extent corporations organized under the Delaware General
  Corporation Law may indemnify or provide for the advance payment of expenses for such Persons, provided that such indemnification
  has been approved by a majority of the trustees.

  5.3 No Bond Required of Trustees. No trustee shall, as such, be obligated to give any bond or other security for the performance of any
  of his duties hereunder.

  5.4 No Duty of Investigation; Notice in Trust Instruments, etc. No purchaser, lender, transfer agent or other person dealing with the
  trustees or with any officer, employee or agent of the Trust shall be bound to make any inquiry concerning the validity of any
  transaction purporting to be made by the trustees or by said officer, employee or agent or be liable for the application of money or
  property paid, loaned, or delivered to or on the order of the trustees or of said officer, employee or agent. Every obligation, contract,
  undertaking, instrument, certificate, Share, other security of the Trust, and every other act or thing whatsoever executed in connection
  with the Trust shall be conclusively taken to have been executed or done by the executors thereof only in their capacity as trustees
  under this Declaration or in their capacity as officers, employees or agents of the Trust. The trustees may maintain insurance for the
  protection of the Trust Property, its Shareholders, trustees, officers, employees and agents in such amount as the trustees shall deem
  adequate to cover possible tort liability, and such other insurance as the trustees in their sole judgment shall deem advisable or is
  required by the Investment Company Act.

  5.5 Reliance on Experts, etc. Each trustee and officer or employee of the Trust shall, in the performance of its duties, be fully and
  completely justified and protected with regard to any act or any failure to act resulting from reliance in




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  good faith upon the books of account or other records of the Trust, upon an opinion of counsel, or upon reports made to the Trust by
  any of the Trust’s officers or employees or by any advisor, administrator, manager, distributor, selected dealer, accountant, appraiser or
  other expert or consultant selected with reasonable care by the trustees, officers or employees of the Trust, regardless of whether such
  counsel or expert may also be a trustee.

  Insofar as indemnification for liabilities arising under the Securities Act of 1933, as amended (the “1933 Act”), may be permitted to
  trustees, officers and controlling persons of the Trust, pursuant to the foregoing provisions or otherwise, the Trust has been advised
  that in the opinion of the Commission such indemnification is against public policy as expressed in the 1933 Act and is, therefore,
  unenforceable. In the event that a claim for indemnification against such liabilities (other than the payment by the Trust of expenses
  incurred or paid by a trustee, officer or controlling person of the Trust in the successful defense of any action, suit or proceeding) is
  asserted by such trustee, officer or controlling person in connection with the securities being registered, the Trust will, unless in the
  opinion of its counsel the matter has been settled by controlling precedent, submit to a court of appropriate jurisdiction the question
  whether such indemnification by it is against public policy as expressed in the 1933 Act and will be governed by the final adjudication of
  such issue. Reference is made to Section 7 of the Dealer Manager Agreement, which will be filed as Exhibit (h) in a subsequent
  pre-effective amendment and will discuss the rights, responsibilities and limitations with respect to indemnity and contribution.


  Item 31.       Business and Other Connections of Investment Advisor
        (a) The description of the business of NexPoint Advisors, L.P. (“NexPoint”), the investment adviser, is set forth under the caption
  “Management of the Funds” in the Prospectus and under the caption “Management” in the SAI, each forming part of this Registration
  Statement. The information as to other businesses, if any, and the directors and officers of NexPoint is set forth in its Form ADV, as filed
  with the SEC through the Investment Adviser Registration Depository (IARD) on (File No. 801-54874) and as amended through the date
  hereof, and is incorporated herein by reference.

       (b) Highland Capital Management Fund Advisors, L.P. (“HCMFA”), Highland Capital Management, L.P. (“HCM”) and NexBank
  Securities, Inc., each with its principal place of business located at 300 Crescent Court, Suite 700, Dallas, Texas 75201, are registered
  investment advisers affiliated with NexPoint.

  The following person is a non-executive officer of HCMFA and NexPoint:

        (1) Jason Post, Chief Compliance Officer

  The following persons are executive offers of the general partner of HCMFA, Strand Advisors XVI, Inc.:
        (1) Frank Waterhouse, Treasurer
        (2) Dustin Norris, Executive Vice President
        (3) Lauren Thedford, Secretary

  The following persons are executive officers of the general partner of HCM and Strand Advisors, Inc.:
        (1) James Dondero, President
        (2) Mark Okada, Executive Vice President
        (3) Scott Ellington, Secretary
        (4) Frank Waterhouse, Treasurer
        (5) Trey Parker, Assistant Secretary

  The following persons are non-executive officers of NexBank Securities, Inc.
        (1) Eric Holt, Chief Compliance Officer
        (2) Stacy Hodges, Financial and Operations Principal

  The following person is the executive officer of NexBank Securities, Inc.:
        (1) Craig Campbell, President


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  Item 32.       Location of Accounts and Records
  (1) American Stock Transfer & Trust Company, LLC, 6201 15th Avenue, Brooklyn, NY 11219 (records relating to its function as transfer
  agent).

  (2) Bank of New York Mellon, 240 Greenwich Street, New York, New York 10286 (records relating to its function as custodian).

  (3) NexPoint Advisors, L.P., 300 Crescent Court, Suite 700, Dallas, Texas 75201 (records relating to its function as adviser and
  administrator).

  (4) SEI Investments Global Fund Services, One Freedom Valley Drive, Oaks, Pennsylvania 19456 (records relating to its function as
  sub-administrator).


  Item 33.       Management Services
  Not Applicable.


  Item 34.       Undertakings
  (1) The Registrant hereby undertakes to suspend the offering of its shares until it amends its prospectus if (a) subsequent to the
  effective date of its Registration Statement, the net asset value declines more than 10 percent from its net asset value as of the effective
  date of the Registration Statement, or (b) the net asset value increases to an amount greater than its net proceeds as stated in the
  prospectus.

  (2) The Registrant undertakes to file a post-effective amendment to the registration statement, and to suspend any offers or sales
  pursuant to the registration statement until such post-effective amendment has been declared effective under the 1933 Act in the event
  the shares of the Registrant are trading below its net asset value and either (i) the Registrant receives, or has been advised by its
  independent registered accounting firm that it will receive, an audit report reflecting substantial doubt regarding the registrant’s ability
  to continue as a going concern; or (ii) the Registrant has concluded that a material adverse change has occurred in its financial position
  or results of operations that has caused the financial statements and other disclosures on the basis of which the offering would be made
  to be materially misleading.

  (3) If the securities being registered are to be offered to existing shareholders pursuant to rights, and any securities not taken by
  shareholders are to be reoffered to the public, the Registrant undertakes to supplement the prospectus, after the expiration of the
  subscription period, to set forth the results of the subscription offer, the transactions by underwriters during the subscription period,
  the amount of unsubscribed securities to be purchased by underwriters, and the terms of any subsequent reoffering thereof. If any
  public offering by the underwriters of the securities being registered is to be made on terms differing from those set forth on the cover
  page of the prospectus, the Registrant further undertakes to file a post-effective amendment to set forth the terms of such offering.

  (4) The Registrant undertakes:
        (a) to file, during any period in which offers or sales are being made, a post-effective amendment to this Registration Statement:
               (1) to include any prospectus required by Section 10(a)(3) of the 1933 Act;
               (2) to reflect in the prospectus any facts or events arising after the effective date of the registration statement (or the most
               recent post-effective amendment thereof) which, individually or in the aggregate, represent a fundamental change in the
               information set forth in the registration statement; and
               (3) to include any material information with respect to the plan of distribution not previously disclosed in the registration
               statement or any material change to such information in the registration statement;




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        (b) that, for the purpose of determining liability under the 1933 Act, each such post-effective amendment shall be deemed to be a
        new registration statement relating to the securities offered therein, and the offering of those securities at that time shall be deemed
        to be the initial bona fide offering thereof; and
        (c) to remove from registration by means of a post-effective amendment any of the securities being registered which remain unsold
        at the termination of the offering;
        (d) that, for the purpose of determining liability under the 1933 Act to any purchaser, if the Registrant is subject to Rule 430C; each
        prospectus filed pursuant to Rule 497(b), (c), (d) or (e) under the 1933 Act, shall be deemed to be part of and included in this
        registration statement as of the date it is first used after effectiveness. Provided, however, that no statement made in this
        registration statement or prospectus that is part of this registration statement or made in a document incorporated or deemed
        incorporated by reference into this registration statement or prospectus that is art of this registration statement will, as to a
        purchaser with a time of contract of sale prior to such first use, supersede or modify any statement that was made in this
        registration statement or prospectus that was part of this registration statement or made in any such document immediately prior to
        such date of first use;
        (e) that for the purpose of determining liability of the Registrant under the 1933 Act to any purchaser in the initial distribution of
        securities, the undersigned Registrant undertakes that in a primary offering of securities of the undersigned Registrant pursuant to
        this registration statement, regardless of the underwriting method used to sell the securities to the purchaser, if the securities are
        offered or sold to such purchaser by means of any of the following communications, the undersigned Registrant will be a seller to
        the purchaser and will be considered to offer or sell such securities to the purchaser:
               (1) any preliminary prospectus or prospectus of the undersigned Registrant relating to the offering required to be filed
               pursuant to Rule 497 under the 1933 Act;
               (2) the portion of any advertisement pursuant to Rule 482 under the 1933 Act relating to the offering containing material
               information about the undersigned Registrant or its securities provided by or on behalf of the undersigned Registrant; and
               (3) any other communication that is an offer in the offering made by the undersigned Registrant to the purchaser.

  (5) The Registrant undertakes that:
        (a) For the purposes of determining any liability under the Securities Act of 1933, the information omitted from the form of
        prospectus filed as part of a registration statement in reliance upon Rule 430A and contained in the form of prospectus filed by the
        Registrant under Rule 497 (h) under the 1933 Act shall be deemed to be part of the Registration Statement as of the time it was
        declared effective.
        (b) For the purpose of determining any liability under the 1933 Act, each post-effective amendment that contains a form of
        prospectus shall be deemed to be a new registration statement relating to the securities offered therein, and the offering of the
        securities at that time shall be deemed to be the initial bona fide offering thereof.

  (6) The Registrant undertakes to send by first class mail or other means designed to ensure equally prompt delivery within two business
  days of receipt of a written or oral request, any Statement of Additional Information.

  (7) The Registrant undertakes to file a post-effective amendment under Section 8(c) of the 1933 Act in connection with any one or more
  offerings of the Registrant’s common shares (including rights to purchase the common shares) below net asset value that will result in
  greater than 15% dilution, in the aggregate, to existing net asset value per share.




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                                                                     SIGNATURES

  Pursuant to the requirements of the Securities Act of 1933, as amended (the “1933 Act”) and the Investment Company Act of 1940, as
  amended (the “1940 Act”), the Registrant has duly caused this Registration Statement to be signed on its behalf by the undersigned,
  thereunto duly authorized, in the City of Dallas and the State of Texas, on the on the 27th day of August, 2019.

                                                                                          /s/ James Dondero
                                                                                          James Dondero
                                                                                          President (Principal Executive Officer)

  Pursuant to the requirements of the 1933 Act and the 1940 Act, this Registration Statement has been signed by the following persons in
  the capacities set forth below on the 27th day of August, 2019.

  S ign atu re                                               Title

  /s/ James Dondero                                          President (Principal Executive Officer)
  James Dondero

  /s/ Ethan Powell*                                          Chairman of the Board of Trustees
  Ethan Powell

  /s/ Dr. Bob Froehlich*                                     Trustee
  Dr. Bob Froehlich

  /s/ John Honis*                                            Trustee
  John Honis

  /s/ Bryan A. Ward*                                         Trustee
  Bryan A. Ward

  /s/ Dustin Norris*                                         Trustee
  Dustin Norris

  /s/ Frank Waterhouse                                       Treasurer (Principal Financial and Accounting Officer)
  Frank Waterhouse

  * By: /s/ Frank Waterhouse
        Frank Waterhouse
        Attorney in Fact*

  * Pursuant to powers of attorney filed herewith.




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  EXHIBIT INDEX

  EXHIBIT
  NUMBER                                                                       DES C RIPTIO N

  (j)(1)              Master Custodian Agreement dated October 3, 2018 between Bank of New York Mellon (“BNY”) and NexPoint Real
                      Estate Strategies Fund, NexPoint Healthcare Opportunities Fund, NexPoint Latin American Opportunities Fund,
                      NexPoint Discount Strategies Fund, NexPoint Energy and Materials Opportunities Fund, NexPoint Strategic Income
                      Fund and NexPoint Event Driven Fund (the “Interval Funds”) listed on Annex A thereto (as Annex A may be
                      amended from time to time)
  (j)(2)              Amendment 1 to Master Custodian Agreement dated April 8, 2019 between BNY and the Trust, the Interval Funds, the
                      series of Highland Funds II, the series of Highland Funds I, the Trust, Highland Income Fund, Highland Global
                      Allocation Fund and Gambier Bay, LLC
  (j)(3)              Amendment 2 to Master Custodian Agreement dated April 8, 2019 between BNY and the Trust, the Interval Funds, the
                      series of Highland Funds II, the series of Highland Funds I, the Trust, Highland Income Fund, Highland Global
                      Allocation Fund and Gambier Bay, LLC
  (l)(2)              Consent of Counsel to the Trust Dated August 27, 2019
  (n)                 Consent of Independent Registered Public Accounting Firm
  (s)                 Powers of Attorney for Ethan Powell, Bryan A. Ward, John Honis , Dustin Norris and Dr. Bob Froehlich




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